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  1    Steve W. Berman (pro hac vice)
       steve@hbsslaw.com
  2    HAGENS BERMAN SOBOL SHAPIRO LLP
  3    1301 Second Avenue, Suite 2000
       Seattle, WA 98101
  4    Telephone: (206) 623-7292
       Facsimile: (206) 623-0594
  5

  6
       Matthew D. Schelkopf
       mds@sauderschelkopf.com
  7    SAUDER SCHELKOPF LLC
       1109 Lancaster Avenue
  8    Berwyn, PA 19312
       Telephone: (610) 200-0581
  9    Facsimile: (610) 421-1326
 10
       Interim co-Lead Counsel
 11
       [Additional counsel listed on signature page]
 12
                                   UNITED STATES DISTRICT COURT
 13
                                 CENTRAL DISTRICT OF CALIFORNIA
 14
       In re: Hyundai and Kia Engine                   Case No. 8:18-cv-02223-JLS-JDE
 15
       Litigation II
 16                                                    PLAINTIFFS’ AMENDED
                                                       CONSOLIDATED CLASS
 17
                                                       ACTION COMPLAINT
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  1             Plaintiffs file this lawsuit individually and on behalf of a class. Plaintiffs allege
  2    as follows, based upon personal knowledge as to their own acts and experiences, and,
  3    as to all other matters, based on the investigation of counsel and experts:
  4                                        I.    INTRODUCTION
  5             1.       The most important duty of a car manufacturer is to provide consumers
  6    with a safe car. A second related duty is to warn consumers and fix a car where the
  7    manufacturer learns of a vehicle defect that implicates serious safety issues.
  8             2.       Hyundai and Kia breached these fundamental duties. Certain Hyundai
  9    and Kia vehicles equipped with Gamma and Nu gasoline direct injection (“GDI”)
 10    engines and Theta II multipoint fuel injections (“MPI”) engines (“Class Vehicles”)
 11    contain an engine defect that presents consumers with an unacceptable risk of engine
 12    failure and spontaneous engine stalling and fire while driving.
 13             3.       The Class Vehicles include:
 14                  MODEL YEAR
                                                            MODEL
 15                   (“MY”)
                                        Hyundai Santa Fe vehicles equipped with a Theta
 16                     2010–2012
                                        II 2.4-liter MPI engine
 17                                     Hyundai Sonata Hybrid vehicles equipped with a
                        2011–2015
                                        Theta II 2.4-liter MPI engine
 18                                     Hyundai Sonata Hybrid/Plug-In vehicles equipped
                        2016-2019
 19                                     with a Nu 2.0 GDI engine
                                        Hyundai Tucson vehicles equipped with a Theta
 20                     2010–2013
                                        II 2.4-liter MPI engine
 21                                     Hyundai Tucson vehicles equipped with a Nu 2.0
                        2014-2021
                                        GDI engine
 22
                                        Hyundai Elantra Coupe vehicles equipped with a
                              2014
 23                                     Nu 2.0 GDI engine
                                        Hyundai Elantra vehicles equipped with a Nu 2.0
 24                     2014-2016
                                        GDI engine
 25                                     Hyundai Elantra GT vehicles equipped with a Nu
                        2014-2020
                                        2.0 GDI engine
 26
                                        Hyundai Veloster vehicles equipped with a
                        2012–2017
 27                                     Gamma 1.6-liter GDI engine
 28

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  1                  MODEL YEAR
                                                            MODEL
  2                   (“MY”)
                                        Kia Forte vehicles equipped with a Theta II 2.4-
  3                     2010–2013
                                        liter MPI engine
  4                                     Kia Forte Koup vehicles equipped with a Theta II
                        2010–2013
                                        2.4-liter MPI engine
  5                                     Kia Forte vehicles equipped with a Nu 2.0 GDI
                        2014–2018
  6                                     engine
                                        Kia Forte Koup vehicles equipped with a Nu 2.0
  7                     2014–2016
                                        GDI engine
  8                                     Kia Optima Hybrid vehicles equipped with a
                        2011–2016
                                        Theta II 2.4-liter MPI engine
  9
                                        Kia Optima Hybrid/Plug-In vehicles equipped
                        2017–2020
 10                                     with a Nu 2.0 GDI engine
 11                     2011–2013       Kia Sorento vehicles equipped with a Theta II
                                        2.4-liter MPI engine
 12
                        2012–2016       Kia Soul vehicles equipped with a Gamma 1.6-
 13                                     liter GDI engine
 14                                     Kia Soul vehicles equipped with a Nu 2.0 GDI
                        2014–2019
                                        engine
 15                                     Kia Sportage vehicles equipped with a Theta II
                        2011–2013
 16                                     2.4-liter MPI engine.
 17             4.       Hyundai and Kia knew before selling the Class Vehicles that their
 18    engines were defective, prone to premature and catastrophic failure, and posed an
 19    unreasonable risk of non-collision engine failures and fires. A defect exists in the
 20    Class Vehicles that causes the engine’s rotating assembly, inclusive of the connecting
 21    rod bearings and engine block, to prematurely wear to the point that the internal
 22    engine components become seized and/or pierce the engine block, which results in a
 23    sudden stop of engine operation while the vehicles are being operated (the “Engine
 24    Failure Defect”). In some instances, engine seizure can even cause internal parts, such
 25    as the connecting rods, to break and pierce a hole in the engine block, allowing fluids
 26    to leak and ignite a fire.
 27             5.       The Engine Failure Defect exposes putative class members to an
 28    unreasonable and increased risk of accident, injury, or death should their vehicle’s
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 1   engine fail while in operation, let alone spontaneously ignite. The Engine Failure
 2   Defect also exposes passengers and other drivers on the road to an unreasonable and
 3   increased risk of accident, injury, or death.
 4            6.       The Engine Failure Defect plagues an ever-increasing number of Hyundai
 5   and Kia vehicle models, years, and engines, including the Class Vehicles. Many
 6   putative class members, including Plaintiffs Joanna Caballero, Tavish Carduff, John
 7   H. Caro, Brian Frazier, Ashley Gagas, James J. Martino, Sharon Moon, William
 8   Pressley, Nicole Thornhill, James Michael Twigger, Janet O’Brien, James H. Palmer,
 9   Seane Ronfeldt, Christina Roos, Jeannett Smith and Stanton Vignes, have already
10   experienced catastrophic engine failure and/or fire because of the Engine Failure
11   Defect, costing them thousands of dollars in repairs and/or loss of use of the vehicle
12   for extended periods of time.
13            7.       The catastrophic engine failure and fire risk is the direct result of a defect
14   known to, concealed by, and still unremedied by Hyundai and Kia. Not only did
15   Hyundai and Kia actively conceal the Engine Failure Defect from consumers, but they
16   also concealed its consequences, including the serious safety hazards and monetary
17   harm caused by the Engine Failure Defect.
18            8.       Hyundai and Kia knew or should have known about the Engine Failure
19   Defect as evidenced by: (1) consumer complaints lodged with the National Highway
20   Traffic Safety Administration (“NHTSA”) and elsewhere online; (2) warranty claims,
21   part sales, and consumer complaints lodged with Hyundai and Kia directly;
22   (3) technical service bulletins and safety recalls issued by Hyundai and Kia in an
23   attempt to address the Engine Failure Defect; and (4) Hyundai and Kia’s own pre-sale
24   durability testing of the Class Vehicles.
25            9.       Despite Hyundai and Kia’s longstanding knowledge of the Engine Failure
26   Defect in the Class Vehicles, the automakers have issued piecemeal and belated recalls
27   over the last six years, all while omitting similar vehicles without apparent
28   explanation. On information and belief, only after the number of complaints about the
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 1   Engine Failure Defect increased and consumers grew dissatisfied with their vehicles’
 2   performance, did Hyundai and Kia publicly acknowledge the Engine Failure Defect
 3   inherent in the Class Vehicles and issue recalls.
 4            10.      Hyundai and Kia’s purported remedies for the Engine Failure Defect
 5   under these recalls only provide engine repairs and replacements, but do not reimburse
 6   vehicle owners and lessees for out-of-pocket expenses, loss of use, or loss of value.
 7   Replacement engines are also not readily available, so vehicle owners and lessees are
 8   left without a safely operable vehicle for unknown and often lengthy periods.
 9            11.      Meanwhile, Hyundai and Kia refuse to fix the Engine Failure Defect at
10   no cost in unrecalled vehicles, even within the warranty period. At times the
11   automakers and their dealerships even fail to disclose the Engine Failure Defect when
12   presented with vehicles displaying symptoms consistent with the Defect, ignoring the
13   problem until it causes significant mechanical problems necessitating costly repairs.
14   Hyundai and Kia also routinely deny warranty claims for the Engine Failure Defect
15   when it manifests after expiration of the warranty period despite their knowledge of
16   the Defect at the time of sale, or when a consumer cannot produce copies of all
17   maintenance records for the vehicle.
18            12.      Because of Hyundai and Kia’s unfair, misleading, deceptive, and
19   fraudulent business practices, in failing to disclose the Engine Failure Defect to
20   Plaintiffs and putative class members, owners and lessees of Class Vehicles are
21   injured in fact, incurred damages, and suffered ascertainable losses in money and
22   property. Had Plaintiffs and the putative class members known of the Engine Failure
23   Defect, they would not have purchased or leased those vehicles, or would have paid
24   substantially less for them. Engine failure and fire in the Class Vehicles also requires
25   expensive repairs, car rentals, car payments, towing charges, time off work, other
26   miscellaneous costs, and loss of use. Moreover, because of the Engine Failure Defect
27   and Hyundai and Kia’s concealment, the Class Vehicles have a lower market value
28   and are inherently worth less than they otherwise would be.
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 1            13.      Plaintiffs bring this consolidated class action to redress Hyundai and
 2   Kia’s widespread misconduct. Plaintiffs seek damages and a repair under state
 3   consumer-protection statutes and common law.
 4                               II.    JURISDICTION AND VENUE
 5            14.      This Court has subject matter jurisdiction under the Class Action Fairness
 6   Act of 2005 (“CAFA”), 28 U.S.C. §§ 1332(d)(2) and (6) because: (i) there are one
 7   hundred or more class members, (ii) there is an aggregate amount in controversy
 8   exceeding $5,000,000 exclusive of interest and costs, and (iii) there is minimal
 9   diversity because at least one plaintiff and one defendant are citizens of different
10   states. This Court also has supplemental jurisdiction over the state law claims under 28
11   U.S.C. § 1367.
12            15.      This Court has personal jurisdiction over Defendants by virtue of their
13   transactions and business conducted in this judicial district, and because Defendants
14   are headquartered in California. Defendants have transacted and done business, and
15   violated statutory and common law, in the State of California and in this judicial
16   district.
17            16.      Venue is proper in this judicial district under 28 U.S.C. § 1391 because
18   Defendants transact substantial business and are headquartered in this district.
19   Defendants advertised in this district and received substantial revenue and profits from
20   sales and/or leases of the Class Vehicles in this district. Defendants also have a
21   manufacturing plant in this district. Therefore, a substantial part of the events and/or
22   omissions giving rise to the claims occurred, in part, within this district.
23                                           III.   PARTIES
24   A.       Plaintiffs
25            17.      Plaintiff and proposed class representative Gabrielle Alexander is a
26   resident and citizen of Fountain Hills, Arizona. In June 2016, she purchased a new
27   2016 Kia Soul equipped with the 2.0-liter “Nu” engine for approximately $22,065
28   from Garden Grove Kia in Garden Grove, California.
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 1            18.      Through her exposure and interaction with Hyundai, Plaintiff Alexander
 2   was aware of Kia’s uniform and pervasive marketing message of dependability and
 3   safety, which is a primary reason she purchased her Class Vehicle. However, despite
 4   touting the safety and dependability of the Class Vehicles, at no point did Kia disclose
 5   the Engine Failure Defect to her. Had Defendants disclosed the safety-related defect
 6   and risk of fire or stalling at the time of purchase, Plaintiff would not have purchased
 7   the vehicle or would have paid considerably less for it. In fact, Defendants continue to
 8   conceal the truth about the Engine Failure Defect to this day.
 9            19.      Plaintiff and proposed class representative Robert Buettner is a resident
10   and citizen of Lacey, Washington. He purchased a new 2012 Santa Fe with a 2.4L
11   Theta II MPI engine on July 30, 2012, from Titus Will Hyundai in Olympia,
12   Washington. Mr. Buettner’s Santa Fe is a Class Vehicle equipped with the Engine
13   Failure Defect. Through his exposure and interaction with Hyundai, Mr. Buettner was
14   aware of Hyundai’s uniform and pervasive marketing message of dependability and
15   safety, upon which he relied and which was a primary reason he purchased his Class
16   Vehicle. However, despite touting the safety and dependability of the Class Vehicles,
17   at no point did Hyundai or their agents, dealers, or other representatives disclose the
18   Engine Failure Defect to him. Mr. Buettner regularly services the vehicle but is now
19   concerned about driving it due to the dangers resulting from the Engine Failure Defect
20   and believes that its market value is diminished as a result. Mr. Buettner would not
21   have purchased the vehicle, or he would have paid less for it, had he known about the
22   Engine Failure Defect.
23            20.      Plaintiff and proposed class representative Joanna Caballero is a
24   resident and citizen of San Diego, California. In July 2017, Ms. Caballero purchased a
25   used 2015 Kia Soul with a 2.0-liter “Nu” GDI engine from Kia of Alhambra in
26   Alhambra, California. The vehicle was still covered by the manufacturer’s warranty.
27   Ms. Caballero purchased the vehicle after she conducted research into its reliability,
28   safety, and affordability. She was looking for a commuting vehicle that would be safe,
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 1   comfortable, and achieve exceptional gas mileage. She considered several other
 2   vehicles, but ultimately chose this vehicle because of the safety reviews on Edmunds
 3   and Consumer Reports. At all times relevant herein, Ms. Caballero adhered to Kia’s
 4   recommended maintenance intervals as closely as possible. Neither Defendants nor
 5   their agents, dealers, or other representatives informed Ms. Caballero of the Engine
 6   Failure Defect’s existence at any time either before or following her purchase.
 7            21.      On February 24, 2019, the vehicle’s engine failed while Ms. Caballero’s
 8   twenty-five-year-old son was driving it on the freeway in Los Angeles. After he exited
 9   the vehicle, the engine started on fire. The vehicle was ultimately totaled. Ms.
10   Caballero has suffered an ascertainable loss as a result of Defendants’ omissions and
11   misrepresentations associated with the Engine Failure Defect, including, but not
12   limited to, out of pocket losses associated with the Engine Failure Defect, out of
13   pocket losses associated with an engine fire, diminished value of her vehicle,
14   increased risk to her safety, and other consequential damages. Ms. Caballero would
15   not have purchased the vehicle had she known about the Engine Failure Defect.
16            22.      Plaintiff and proposed class representative Tavish Carduff is a resident
17   and citizen of Kansas City, Missouri. In May 2014, she purchased a new 2014 Kia
18   Soul equipped with the 2.0-liter “Nu” engine for approximately $21,000 from Oakes
19   Kia in Kansas City, Missouri.
20            23.      Through her exposure and interaction with Kia, Plaintiff Carduff was
21   aware of Kia’s uniform and pervasive marketing message of dependability and safety,
22   which is a primary reason she purchased her Class Vehicle. However, despite touting
23   the safety and dependability of the Class Vehicles, at no point did Kia disclose the
24   Engine Failure Defect to her.
25            24.      In October 2019, Plaintiff Carduff’s vehicle suffered a catastrophic
26   engine failure while driving in rush hour traffic. The vehicle had approximately
27   106,000 miles at the time of the failure. Plaintiff paid out of pocket for a tow to Oakes
28   Kia for repair, where the service department informed her that the vehicle required a
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 1   new engine and catalytic converter to be drivable. Plaintiff Carduff’s vehicle
 2   experienced symptoms associated with the Engine Failure Defect.
 3            25.      The quoted cost of the engine replacement was $8,300, and the catalytic
 4   converter was $1,300. KA offered to pay for $3,000 toward the engine replacement,
 5   but only if Plaintiff Carduff and her husband signed a broad release of all potential
 6   legal claims. Plaintiff refused to sign the release and has paid $9,712.94 out of pocket
 7   for these repairs to date.
 8            26.      Before the failure, Plaintiff had repeatedly voiced concerns that the
 9   vehicle was running roughly and was making odd noises from the engine bay, but
10   dealership staff was unable or unwilling to diagnose a problem, despite multiple visits.
11            27.      Had Defendants disclosed the Engine Failure Defect and risk of fire or
12   stalling at the time of purchase, Plaintiff would not have purchased the vehicle or
13   would have paid considerably less for it. In fact, Defendants continue to conceal the
14   truth about the Engine Failure Defect to this day.
15            28.      Plaintiff and proposed class representative John H. Caro is a resident
16   and citizen of Fort Pierce, Florida. On or around July 24, 2014, Mr. Caro purchased a
17   2013 Kia Sportage from Smith Kia of Merritt Island, Florida. The vehicle came with
18   Kia’s standard 5-year/60,000-mile warranty and 10-year/100,000-mile powertrain
19   warranty. Before purchasing the Class Vehicle, Mr. Caro test drove the Class Vehicle,
20   viewed advertisements for the vehicle and the vehicle’s window sticker, and spoke
21   with Kia’s sales representatives concerning the vehicle’s features. Neither Defendants
22   nor their agents, dealers, or other representatives informed Mr. Caro about the Engine
23   Failure Defect at any time either before or following his purchase. Mr. Caro relied on
24   Defendants’ misrepresentations and omissions in deciding to purchase his vehicle. Mr.
25   Caro purchased (and still owns) this vehicle, which was used for personal, family
26   and/or household uses until it became inoperable.
27            29.      On or about September 19, 2020, Mr. Caro’s vehicle engine failed while
28   driving. Because Mr. Caro’s vehicle had more than 105,000 miles, it was not eligible
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 1   for repair under the 100,000-mile warranty. Mr. Caro was also informed that there
 2   were no replacement long block engines available to repair the vehicle. The vehicle
 3   remains unrepaired and in Mr. Caro’s possession. At all relevant times, Mr. Caro
 4   adhered to Kia’s recommended maintenance intervals as closely as possible. Mr. Caro
 5   has suffered an ascertainable loss because of Defendants’ omissions and/or
 6   misrepresentations about the Engine Failure Defect, including, but not limited to, out-
 7   of-pocket losses associated with the Engine Failure Defect, diminished value of his
 8   vehicle, increased risk to his safety, and other consequential damages. Mr. Caro would
 9   not have purchased the vehicle had he known about the Engine Failure Defect.
10            30.      Plaintiff and proposed class representative James Carpenter is a resident
11   and citizen of Seffner, Florida. In April 2015, Mr. Carpenter purchased a new 2015
12   Kia Soul with a 2.0-liter “Nu” GDI engine from Kia Country of Charleston in
13   Charleston, South Carolina. The vehicle came with Kia’s standard 5-year/60,000-mile
14   warranty and 10-year/100,000-mile powertrain warranty. Mr. Carpenter was a
15   longtime Kia consumer, including previously owning a 2014 Kia Forte with a GDI
16   engine. He chose the 2015 Soul after reviewing information from sources including
17   Consumer Reports and JD Powers, and based on his personal experience with the
18   brand, expecting the vehicle to be both safe and reliable. Neither Defendants nor their
19   agents, dealers, or other representatives informed Mr. Carpenter of the Engine Failure
20   Defect’s existence at any time either before or following his purchase. Mr. Carpenter
21   would not have purchased the vehicle, or he would have paid less for it, had he known
22   about the Engine Failure Defect.
23            31.      Plaintiffs and proposed class representatives Jennifer and Anthony
24   DiPardo are residents and citizens of Carnegie, Pennsylvania. The DiPardos
25   purchased a new 2014 Kia Soul equipped with the 2.0-liter “Nu” engine on September
26   16, 2014, from Baierl Kia in Wexford, Pennsylvania, for approximately $23,000.
27            32.      Through their exposure and interaction with Kia, the DiPardo Plaintiffs
28   were aware of Kia’s uniform and pervasive marketing message of dependability and
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 1   safety, which is a primary reason they purchased their Class Vehicle. However,
 2   despite touting the safety and dependability of the Class Vehicles, at no point did Kia
 3   disclose the Engine Failure Defect to them. Had Defendants disclosed the Engine
 4   Failure Defect and risk of sudden stalling or fire at the time of purchase, Plaintiffs
 5   would not have purchased their vehicle or would have paid considerably less for it. In
 6   fact, Defendants continue to conceal the truth about the Engine Failure Defect to this
 7   day.
 8            33.      The DiPardo Plaintiffs worry about driving their vehicle due to the
 9   dangers resulting from the Engine Failure Defect and believe that its market value has
10   been diminished as a result of the Engine Failure Defect.
11            34.      Plaintiff and proposed class representative Leslie Flaherty is a resident
12   and citizen of San Jose, California. In October 2013, Ms. Flaherty purchased a new
13   2013 Kia Soul with a 1.6-liter “Gamma” GDI engine from Capitol Kia in San Jose,
14   California for personal, family, and/or household use. The vehicle came with the
15   manufacturer’s 10-year/100,000-mile warranty. The safety and reliability of the
16   vehicle, along with its fuel economy, were important factors to Ms. Flaherty in
17   purchasing it. Neither Defendants nor their agents, dealers, or other representatives
18   informed Ms. Flaherty of the Engine Failure Defect’s existence at any time either
19   before or following her purchase. At all relevant times, Ms. Flaherty adhered to Kia’s
20   recommended maintenance intervals as closely as possible. Ms. Flaherty has suffered
21   an ascertainable loss because of Defendants’ omissions and misrepresentations
22   associated with the Engine Failure Defect, including, but not limited to, diminished
23   value of her vehicle, increased risk to her safety, and other consequential damages.
24   Ms. Flaherty would not have purchased the vehicle, or she would have paid less for it,
25   had she known about the Engine Failure Defect.
26            35.      Plaintiff and proposed class representative Brian Frazier is a resident
27   and citizen of Killingley, Connecticut. Plaintiff Frazier purchased a used 2014 Soul
28

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 1   from Courtesy Ford in Killingley, Connecticut in February 2016 with an odometer
 2   reading of 73,936 miles for approximately $12,070.
 3            36.      Prior to purchasing his Class Vehicle, Plaintiff Frazier reviewed Kia’s
 4   televised and website promotional materials without Kia disclosing the Engine Failure
 5   Defect.
 6            37.      Through his exposure and interaction with Kia, Plaintiff Frazier was
 7   aware of Kia’s uniform and pervasive marketing message of dependability and safety,
 8   which is a primary reason he purchased his Class Vehicle. However, despite touting
 9   the safety and dependability of the Class Vehicles, at no point did Kia disclose the
10   Engine Failure Defect to him.
11            38.      In August 2019, at approximately 103,200 miles, Plaintiff Frazier’s 2014
12   Soul, while operating in intended and foreseeable circumstances, suffered catastrophic
13   internal engine component failure that punctured a hole in the engine’s block, caught
14   fire and burned completely, as shown in the photo below. A wrecker service towed
15   Plaintiff Frazier’s vehicle to a salvage yard. The 2014 Soul was rendered a total loss
16   and a fire investigator concluded the fire originated at the engine. Plaintiff Frazier
17   submitted a written request for reimbursement to KA, which declined to compensate
18   Frazier or acknowledge fault.
19

20

21

22

23

24

25

26

27                  FRAZIER VEHICLE DAMAGED FROM THROWN CONNECTING ROD
                                     AND SUBSEQUENT FIRE
28

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 1            39.      Plaintiff Frazier did not receive the benefit of his bargain. He purchased a
 2   vehicle of lesser standard, grade, and quality than represented, and he did not receive a
 3   vehicle that met ordinary and reasonable consumer expectations regarding safe and
 4   reliable operation.
 5            40.      Had Kia disclosed the Engine Failure Defect, Plaintiff Frazier would not
 6   have purchased his Class Vehicle, or certainly would have paid less to do so.
 7            41.      Plaintiff and proposed class representative Ashley Gagas is a resident
 8   and citizen of Tamarac, Florida. On or around August 28, 2018, Ms. Gagas purchased
 9   a 2012 Hyundai Santa Fe. Before purchasing the Class Vehicle, Ms. Gagas test drove
10   the Class Vehicle, viewed advertisements for the vehicle, and conducted independent
11   research on Hyundai’s website about the vehicle’s features. Neither Defendants nor
12   their agents, dealers, or other representatives informed Ms. Gagas of the Engine
13   Failure Defect’s existence at any time either before or following her purchase. Ms.
14   Gagas relied on Defendants’ misrepresentations and omissions in deciding to purchase
15   her vehicle. Ms. Gagas purchased (and still owns) this vehicle, which is used for
16   personal, family and/or household uses.
17            42.      In or around November 2019, Ms. Gagas heard a knocking sound
18   emanating from the engine of her Class Vehicle. Ms. Gagas was pregnant at this time
19   and stopped driving the Class Vehicle out of fear that the engine would fail. Ms.
20   Gagas had the vehicle towed to a local mechanic, who diagnosed the cause of the
21   knocking noise as connecting rod bearing failure. Ms. Gagas then had her Class
22   Vehicle towed to Coconut Creek Hyundai in Coconut Creek, Florida. The dealership
23   employees also diagnosed the cause of the knocking noise as connecting rod bearing
24   failure. Ms. Gagas requested that Coconut Creek Hyundai repair her Class Vehicle
25   under warranty, but Coconut Creek Hyundai declined to do so. Ms. Gagas also
26   contacted Hyundai’s corporate customer service line and spoke to a number of
27   different Hyundai employees about receiving warranty coverage for the necessary
28   repairs. Hyundai declined to offer warranty coverage. Ms. Gagas also contacted the
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 1   Better Business Bureau, but they did not provide any assistance in resolving her issue.
 2   Ms. Gagas also called the National Highway Traffic Safety Administration and
 3   submitted a verbal complaint regarding the dangerous safety Defect in her Class
 4   Vehicle, and Hyundai’s unwillingness to assist her. After several attempts, Hyundai’s
 5   corporate customer service offered to reduce the cost of the required engine
 6   replacement by $1,500, to $4,721. Ms. Gagas then procured the necessary replacement
 7   by paying $4,721 out-of-pocket to Coconut Creek Hyundai. At all relevant times, Ms.
 8   Gagas adhered to Hyundai’s recommended maintenance intervals as closely as
 9   possible. Ms. Gagas has suffered an ascertainable loss because of Defendants’
10   omissions and misrepresentations about the Engine Failure Defect, including, but not
11   limited to, out of pocket losses associated with the Engine Failure Defect, diminished
12   value of her vehicle, increased risk to her safety, and other consequential damages.
13   Ms. Gagas would not have purchased the vehicle, or she would have paid less for it,
14   had she known about the Engine Failure Defect.
15            43.      Plaintiff and proposed class representative Kesha Franklin Marbury is
16   a resident and citizen of Tuscaloosa, Alabama. In 2017, Ms. Marbury bought a 2012
17   Hyundai Sonata Hybrid from Tuscaloosa Hyundai. The vehicle came with the used car
18   5-year/60,000-mile limited warranty. Before purchasing the Class Vehicle, Ms.
19   Marbury test drove the Class Vehicle, viewed advertisements for the vehicle and the
20   vehicle’s window sticker, and spoke with the sales representatives at Tuscaloosa
21   Hyundai concerning the vehicle’s features. Neither Defendants nor their agents,
22   dealers, or other representatives informed Ms. Marbury of the Engine Failure Defect’s
23   existence at any time either prior to or following her purchase. Ms. Marbury relied on
24   Defendants’ misrepresentations and omissions in deciding to purchase her vehicle.
25   Ms. Marbury purchased (and still owns) this vehicle, which was used for personal,
26   family and/or household uses, but now it stays in her garage because she is afraid to
27   drive it.
28

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 1            44.      On two occasions, in late 2019 and in early 2020, Ms. Marbury’s son was
 2   driving the car when there was a knocking sound in the engine, a warning light
 3   appeared, and the car stalled. On one of the occasions, the car stalled while Ms.
 4   Marbury’s son was making a left turn into traffic. Ms. Marbury’s son barely avoided
 5   an accident. On both occasions, the car was towed to the dealer. At all relevant times,
 6   Ms. Marbury adhered to Hyundai’s recommended maintenance intervals as closely as
 7   possible. Ms. Marbury has suffered an ascertainable loss because of Defendants’
 8   omissions and misrepresentations about the Engine Failure Defect, including, but not
 9   limited to, out of pocket losses associated with the Engine Failure Defect, diminished
10   value of her vehicle, increased risk to her safety, and other consequential damages.
11   Ms. Marbury would not have purchased the vehicle, or she would have paid less for it,
12   had she known about the Engine Failure Defect.
13            45.      Plaintiff and proposed class representative James J. Martino is a
14   resident and citizen of Dacula, Georgia. On or around March 10, 2018, Mr. Martino
15   purchased a used 2013 Kia Sorento from Ewing Motor Company of Buford, Georgia.
16   Before purchasing the Class Vehicle, Mr. Martino test drove the Class Vehicle, had a
17   vehicle inspection done at a Kia dealership and from that inspection obtained a report
18   that showed no issues with the Class Vehicle. Neither Defendants nor their agents,
19   dealers, or other representatives informed Plaintiff Martino of the Engine Failure
20   Defect’s existence at any time during the inspection or before or following his
21   purchase. Mr. Martino relied on Defendants’ misrepresentations and omissions in
22   deciding to purchase his vehicle. Mr. Martino purchased (and still owns) this vehicle,
23   which was used for personal, family and/or household uses until it became inoperable.
24            46.      On or about September 13, 2019, Mr. Martino’s vehicle had a total
25   internal failure in the lower end of the engine while driving. His vehicle had more than
26   94,994 miles on it and therefore was not eligible for repair under the used 60,000-mile
27   vehicle warranty. Mr. Martino was informed that the Class Vehicle had experienced
28   what was “definitely an engine failure,” but because it was the MPI engine, it was not
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 1   under recall. The dealer further informed Mr. Martino that the dealership could not
 2   even submit the repair for a warranty claim. The dealership representative further
 3   stated that the MPI engines would usually have cylinder 4 failures when the
 4   connecting rods become loose and start knocking and ultimately cause the engine to
 5   fail. Mr. Martino was further informed that his engine was “knocking like crazy” and
 6   that a connecting rod had failed. The vehicle remains unrepaired and in possession of
 7   the Kia dealership.
 8            47.      In September 2019, Mr. Martino put Kia on notice of his engine failure
 9   and his claims. His first contact to Kia Consumer Assistance occurred on or about
10   September 13, 2019. Mr. Martino has remained in contact almost continually since
11   that time and has contacted approximately 20 people at Kia and made more than 40
12   calls to the dealership and Kia. These contacts alone have resulted in over nine hours
13   of time discussing the engine failure and Mr. Martino’s concerns that the issue is
14   widespread. He has supplied Kia with information showing that there are numerous
15   NHTSA complaints, advised them about consent orders covering similar defects that
16   have been entered into with other engines, advised them of the GDI recalls with the
17   same issues, the GDI class action, and other information generally highlighting that
18   these issues are common and pervasive. Despite being supplied this information, Kia
19   has represented to him that they are unaware of substantial issues with the MPI
20   engines. Alternatively, Kia representatives said there was no open campaign on the
21   vehicle that they were aware of involving vehicles with engines similar to his.
22   Through continued contacts with Consumer Affairs, the director of Corporate
23   Communications, and Kia’s president, Defendants have remained adamant in advising
24   Mr. Martino that the issue is not prevalent and that no action needs be taken. Many
25   times the Consumers Affairs department would relay that they did not know if the
26   issue was being investigated as it was not their department. Consumer Affairs would
27   not give further information on how to escalate the issue. When Mr. Martino tried to
28   escalate this to Corporate Communications or other departments, he was always
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 1   referred back to Consumer Affairs. During this time, Kia offered to pay for one-third
 2   of the cost of the replacement engine. Kia declined to provide full warranty coverage.
 3   Throughout his discussions with Kia, Mr. Martino advised them of the number of
 4   NHTSA complaints getting filed and even filed his own.
 5            48.      In one of the final discussions Mr. Martino had with Kia, on or about
 6   June 23, 2020, he advised Kia that the issue was widespread, that he had suffered a
 7   decrease in value even if the vehicle was ultimately repaired, and that people who
 8   owned these vehicles were suffering due to Kia’s failure to warranty the Engine
 9   Failure Defect. He was told by Kia Consumer Affairs, “it is what it is” and, “there is
10   nothing more that we can do.” He was further advised that Kia could not tell him what
11   had been done to look in to the MPI failures. At all times relevant herein, Mr. Martino
12   adhered to Kia’s recommended engine maintenance intervals as closely as possible. In
13   fact, all of this maintenance has been performed by a Kia dealership. At no time did
14   the dealership advise that any kind of repairs, recalls or upgrades needed to be
15   performed on the vehicle related to the engine. Mr. Martino has suffered an
16   ascertainable loss as a result of Defendants’ omissions and/or misrepresentations
17   associated with the Engine Failure Defect, including, but not limited to, out of pocket
18   losses associated with the Engine Failure Defect, diminished value of his vehicle,
19   increased risk to his safety, and other consequential damages. Mr. Martino would not
20   have purchased the vehicle, or he would have paid less for it, had he known about the
21   Engine Failure Defect.
22            49.      Plaintiff and proposed class representative Sharon Moon is a resident
23   and citizen of La Plata, Maryland. In April 2015, Ms. Moon purchased a new 2015
24   Kia Soul Plus with a 2.0-liter “Nu” GDI engine from Kia of Waldorf in Waldorf,
25   Maryland. The vehicle came with a 100,000-mile powertrain warranty. The safety and
26   reliability of the vehicle were important to her, so she researched the vehicle’s ratings
27   online before purchasing it. The Kia dealership also told touted the vehicle’s superior
28   safety, and she relied on this information in buying the car. Ms. Moon ultimately
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 1   chose this vehicle for its reputation for safety and reliability, and because it provided
 2   optimal accessibility given her knee issues getting in and out of vehicles. Neither
 3   Defendants nor their agents, dealers, or other representatives informed Ms. Moon of
 4   the Engine Failure Defect’s existence at any time either before or following her
 5   purchase.
 6            50.      In or around November 2018, Ms. Moon brought the vehicle to her local
 7   dealer because the engine was having problems. When the dealership technicians took
 8   it for a test drive, the vehicle’s engine failed, and the dealership eventually informed
 9   Ms. Moon that her engine needed the short block replaced. On January 17, 2019, the
10   dealership performed the engine repair and when the technicians took it for a test drive
11   the engine started on fire. The vehicle was totaled in the fire. Ms. Moon has suffered
12   an ascertainable loss because of Defendants’ omissions and/or misrepresentations
13   associated with the Engine Failure Defect, including, but not limited to, out of pocket
14   losses associated with the Engine Failure Defect, out of pocket losses associated with
15   an engine fire, loss of value of her vehicle, increased risk to her safety while she had
16   the vehicle, and other consequential damages. Ms. Moon would not have purchased
17   the vehicle, or she would have paid less for it, had she known about the Engine Failure
18   Defect.
19            51.      Plaintiff and proposed class representative Janet O’Brien is a resident
20   and citizen of Ferndale, Michigan. In September 2012, Ms. O’Brien purchased a new
21   2012 Kia Sportage EX with a 2.4-liter Theta II MPI engine from Al Serra Kia of
22   Grand Blanc in Michigan. The vehicle came with the manufacturer’s standard
23   warranty. This warranty was a selling point for Ms. O’Brien, as she interpreted it as
24   indication about the quality of the vehicle and Kia’s commitment to stand behind its
25   product. Neither Defendants nor their agents, dealers, or other representatives
26   informed Ms. O’Brien of the Engine Failure Defect’s existence at any time either
27   before or following her purchase. Over the July 4, 2019 holiday weekend, the vehicle
28   suffered catastrophic engine failure while Ms. O’Brien was driving to a local dog park,
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 1   leaving her stranded on the side of the road with her two dogs in the summer heat. She
 2   had just paid the vehicle off a few months before in April. Two Kia dealerships
 3   inspected the vehicle and blamed the engine failure on lack of maintenance, even
 4   though Ms. O’Brien had it routinely serviced by her local Kia dealership and the
 5   dealership had the records to confirm this. After shopping the engine replacement
 6   around and receiving a quote for $8,000 from one Kia dealership, Ms. O’Brien sold
 7   the vehicle to an online auction house for around $2,000. But for the catastrophic
 8   engine failure caused by the Engine Failure Defect, Ms. O’Brien estimates her vehicle
 9   was worth around $10,000 based on regular offers to buy it that she received from
10   metro Detroit-based Kia dealerships. During the tumultuous three weeks her vehicle
11   was inoperable, Ms. O’Brien spent about $3,200 in rental car fees and had difficulty
12   finding and buying a new car given the July holiday. She eventually purchased a
13   Subaru that she had to drive to Ohio to pick up. Roughly a year-and-a-half after Ms.
14   O’Brien’s catastrophic engine failure, Kia finally recalled her vehicle for the Engine
15   Failure Defect. Ms. O’Brien suffered an ascertainable loss because of Defendants’
16   omissions and misrepresentations associated with the Engine Failure Defect,
17   including, but not limited to, out of pocket losses associated with the Engine Failure
18   Defect, loss of value of her vehicle, increased risk to her safety, and other
19   consequential damages. Ms. O’Brien would not have purchased the vehicle, or she
20   would have paid less for it, had she known about the Engine Failure Defect.
21            52.      Plaintiff and proposed class representative James H. Palmer is a resident
22   and citizen of Benson, Arizona. In April 2015, Mr. Palmer purchased a 2011 Kia
23   Optima Hybrid from Royal Kia in Arizona. Before purchasing the Class Vehicle, Mr.
24   Palmer test drove the Class Vehicle, viewed advertisements for the vehicle, and spoke
25   with Kia sales representatives concerning the vehicle’s features. Neither Defendants
26   nor their agents, dealers, or other representatives informed Plaintiff Palmer of the
27   Engine Failure Defect’s existence at any time either before or following his purchase.
28   Mr. Palmer relied on Defendants’ misrepresentations and omissions in deciding to
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 1   purchase his vehicle. Mr. Palmer purchased this vehicle and used it for personal,
 2   family and/or household uses until it was declared a total loss following an engine fire.
 3            53.      On or about July 8, 2016, Mr. Palmer had loaned his car to his son. While
 4   his son was driving, a pop was heard in the engine compartment, the car started to
 5   smoke and then was soon engulfed in flames. The vehicle was a total loss and there
 6   was damage to the bottom of the engine consistent with a thrown connecting rod, as
 7   shown in the photo below. Even though Mr. Palmer maintained insurance on the
 8   vehicle he was out of pocket for several thousand dollars as the full loan was not
 9   satisfied. Mr. Palmer tried to explore a resolution with Kia and was denied. He later
10   learned of defects in the Theta II GDI engines and the associated class action
11   litigation. He attempted to make a claim in that case, but found that, even though he
12   experienced the same type of failure as was experienced in that class action, it
13   involved only GDI Theta II engines and MPI engines were not part of the case. At all
14   times relevant herein, Mr. Palmer adhered to Kia’s recommended maintenance
15   intervals as closely as possible. Mr. Palmer has suffered an ascertainable loss as a
16   result of Defendants’ omissions and/or misrepresentations associated with the Engine
17   Failure Defect, including, but not limited to, out of pocket losses associated with the
18   Engine Failure Defect, out of pocket losses associated with an engine fire, diminished
19   value of his vehicle, increased risk to his safety, and other consequential damages. Mr.
20   Palmer would not have purchased the vehicle, or he would have paid less for it, had he
21   known about the Engine Failure Defect.
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 9   PALMER VEHICLE ENGINE DAMAGED FROM THROWN CONNECTING ROD AND SUBSEQUENT FIRE

10            54.      Plaintiff and proposed class representative Chad Perry is a resident and
11   citizen of Helendale, California. In September 2019, he purchased a used 2014 Kia
12   Soul equipped with the 2.0-liter “Nu” engine for approximately $22,285 from Valley
13   Hi Kia in Victorville, California.
14            55.      Through his exposure and interaction with Kia, Plaintiff Perry was aware
15   of Kia’s uniform and pervasive marketing message of dependability and safety, which
16   is a primary reason he purchased his Class Vehicle. However, despite touting the
17   safety and dependability of the Class Vehicles, at no point did Kia disclose the Engine
18   Failure Defect to him. In fact, Defendants continue to conceal the truth about the
19   Engine Failure Defect to this day.
20            56.      In April 2020, with fewer than 81,000 miles on the odometer, oil
21   consumption tests on the Soul determined that it needed a new engine. Plaintiff
22   Perry’s vehicle experienced symptoms associated with the Engine Failure Defect. Had
23   Defendants disclosed the Engine Failure Defect and risk of fire or stalling at the time
24   of purchase, Plaintiff Perry would not have purchased the vehicle or would have paid
25   considerably less for it.
26            57.      Plaintiff and proposed class representative William Pressley is a resident
27   and citizen of Charlotte, North Carolina. In August 2016, Plaintiff Pressley purchased
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 1   a used 2015 Soul from Hertz Car Sales in Charlotte, North Carolina, with an odometer
 2   reading of 45,079 miles for approximately $13,455.
 3            58.      Prior to purchasing his Class Vehicle, Plaintiff Pressley reviewed Kia’s
 4   televised and website promotional materials without Kia disclosing the Engine Failure
 5   Defect.
 6            59.      Through his exposure and interaction with Kia, Plaintiff Pressley was
 7   aware of Kia’s uniform and pervasive marketing message of dependability and safety,
 8   which is a primary reason he purchased his Class Vehicle. However, despite touting
 9   the safety and dependability of the Class Vehicles, at no point did Kia disclose the
10   Engine Failure Defect to him. In fact, Defendants continue to conceal the truth about
11   the Engine Failure Defect to this day.
12            60.      In July 2019, at approximately 84,790 miles, Plaintiff Pressley’s 2015
13   Soul, while operating in intended and foreseeable conditions, suffered catastrophic
14   internal engine component failure that punctured a hole in the engine’s block. A
15   wrecker service towed Plaintiff Pressley’s vehicle to Dutch Kia in Charlotte, North
16   Carolina, which examined the engine and diagnosed total rotating component and
17   block failure and quoted a replacement engine cost of approximately $10,000. Kia
18   offered Plaintiff Pressley no assistance in terms of goodwill warranty repair or
19   discounted engine replacement. Plaintiff Pressley’s vehicle experienced symptoms
20   associated with the Engine Failure Defect.
21            61.      Mr. Pressley declined Dutch Kia’s engine replacement bid and in August
22   2019 had the vehicle towed to Brake and Alignment Center, an independent repair
23   shop in Charlotte, North Carolina. Brake and Alignment Center removed the destroyed
24   factory engine and installed a used 2.0-liter “Nu” replacement engine for
25   approximately $5,729.00.
26            62.      Plaintiff Pressley did not receive the benefit of his bargain. He purchased
27   a vehicle of lesser standard, grade, and quality than represented, and he did not receive
28   a vehicle that met ordinary and reasonable consumer expectations regarding safe and
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 1   reliable operation. The Engine Failure Defect has significantly diminished the value of
 2   Plaintiff Pressley’s Class Vehicle.
 3            63.      Had Kia disclosed the Engine Failure Defect, Plaintiff Pressley would not
 4   have purchased his Class Vehicle, or certainly would have paid less to do so.
 5            64.      Plaintiff and proposed class representative Seane Ronfeldt is a resident
 6   and citizens of Toledo, Ohio. In November 2016, he purchased a new 2016 Kia Soul
 7   equipped with the 1.6-liter “Gamma” engine from Taylor Kia in Toledo, Ohio, for
 8   approximately $19,000.
 9            65.      Through his exposure and interaction with Kia, Plaintiff Ronfeldt was
10   aware of Kia’s uniform and pervasive marketing message of dependability and safety,
11   which is a primary reason he purchased his Class Vehicle. However, despite touting
12   the safety and dependability of the Class Vehicles, at no point did Kia disclose the
13   Engine Failure Defect to him. In fact, Defendants continue to conceal the truth about
14   the Engine Failure Defect to this day.
15            66.      On Saturday, July 20, 2019, Plaintiff Ronfeldt was driving his Kia Soul at
16   approximately 70 MPH on an interstate highway in Michigan when the engine
17   shuddered and lost all power. He maneuvered the vehicle onto an exit ramp and then,
18   with assistance from other people, pushed it into a nearby parking lot. The vehicle was
19   towed to Kia of Lansing, Michigan, which confirmed that the engine had blown a
20   connecting rod through the engine casing. Kia suggested replacing the engine but
21   refused to do this work under warranty or otherwise compensate Plaintiff Ronfeldt for
22   replacing the engine or any other repairs. Plaintiff had the vehicle towed back to
23   Toledo, Ohio, at his own expense. Plaintiff Ronfeldt’s vehicle experienced symptoms
24   associated with the Engine Failure Defect at approximately 55,000 miles.
25            67.      Plaintiff Ronfeldt contacted Defendant Kia of America through its
26   website and entered information to request repair of his engine under warranty.
27   Service managers at both Kia of Lansing and Taylor Kia of Toledo informed Plaintiff
28   Ronfeldt that Kia of America would not cover the repairs under warranty or otherwise
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 1   reimburse the repairs. Plaintiff Ronfeldt’s insurance company, however, upon
 2   inspection, concluded that the incident was the result of a design or manufacturing
 3   defect. Because Plaintiff Ronfeldt concluded that Kia’s charges for replacing the
 4   engine with a new engine were exorbitant without warranty coverage, and because
 5   Plaintiff still owed substantial amounts on the vehicle and relied on it for
 6   transportation, he had a local mechanic install a used 1.6-liter “Gamma” engine.
 7   Plaintiff services the vehicle regularly but is worried about driving it due to the
 8   dangers resulting from the Engine Failure Defect, especially since he has experienced
 9   the engine failure and connecting rod breakage once already—fortunately without a
10   resultant engine fire. He believes that his vehicle’s market value has been substantially
11   diminished as a result of the Engine Failure Defect and his vehicle’s repair and
12   incident history. Had Defendants disclosed the Engine Failure Defect and risk of fire
13   or stalling at the time of purchase, Plaintiff would not have purchased the vehicle or
14   would have paid considerably less for it.
15            68.      Plaintiff and proposed class representative Christina Roos is a resident
16   and citizen of Thorndale, Pennsylvania. On or around May 16, 2018, Ms. Roos
17   purchased a 2012 Kia Sportage from Jim Sipala Kia in Coatesville, Pennsylvania, for
18   personal, family and/or household uses. Before purchasing the Class Vehicle, Ms.
19   Roos test drove the Class Vehicle, viewed advertisements for the vehicle and spoke
20   with Kia’s sales representatives concerning the vehicle’s features. Neither Defendants
21   nor their agents, dealers, or other representatives informed Plaintiff Roos of the
22   Defect’s existence at any time either before or following her purchase. Ms. Roos relied
23   on Defendants’ misrepresentations and omissions in deciding to purchase her vehicle.
24            69.      On or about January 26, 2020, Ms. Roos was driving at approximately 55
25   miles per hour when the vehicle’s warning lights started flashing and the vehicle
26   suddenly lost power. She had a difficult time getting the vehicle safely to the side of
27   the road. Ms. Roos had the car towed to Great Valley Automotive in Malvern,
28   Pennsylvania. The mechanic at Great Valley said that he thought the problem was a
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 1   connecting rod bearing failure and that he had seen the problem before with other Kia
 2   and Hyundai vehicles. The mechanic told Ms. Roos she would have to take the car to a
 3   Kia dealership. Ms. Roos towed the vehicle to the Kia dealership in Coatesville. She
 4   was told by personnel there the engine had failed, but the repairs were not covered by
 5   Ms. Roos’ warranty. They advised Ms. Roos to contact Kia’s corporate office. Ms.
 6   Roos did so and was instructed to file a written complaint. After months of not having
 7   her problem resolved by either Kia corporate or Coatesville, Ms. Roos traded in the
 8   car for a 2018 Kia Optima at Kia Coatesville. Ms. Roos lost money on the transaction.
 9   At all relevant times, Ms. Roos adhered to Kia’s recommended maintenance intervals
10   as closely as possible. Ms. Roos has suffered an ascertainable loss because of
11   Defendants’ omissions and/or misrepresentations associated with the Engine Failure
12   Defect, including, but not limited to, out of pocket losses from the Engine Failure
13   Defect, diminished value of her vehicle, increased risk to her safety, and other
14   consequential damages. Ms. Roos would not have purchased the vehicle, or she would
15   have paid less for it, had she known about the Engine Failure Defect.
16            70.      Plaintiff and proposed class representative Linda Short is a resident and
17   citizen of Redmond, Washington. Plaintiff Short leased a new 2013 Hyundai Tucson
18   equipped with the 2.4-liter “Theta II” engine on or about March 30, 2013, and then
19   purchased the vehicle at the end of the lease from Hyundai of Kirkland in Kirkland,
20   Washington on January 6, 2016, at which time the vehicle was still covered by the
21   manufacturer’s warranty.
22            71.      Through her exposure and interaction with Hyundai, Plaintiff Short was
23   aware of Hyundai’s uniform and pervasive marketing message of dependability and
24   safety, which is a primary reason she purchased her Class Vehicle. However, despite
25   touting the safety and dependability of the Class Vehicles, at no point did Hyundai
26   disclose the Engine Failure Defect to her. Had Defendants disclosed the Engine
27   Failure Defect and risk of fire or stalling at the time of lease and purchase, Plaintiff
28   would not have leased or purchased the vehicle or would have paid considerably less
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 1   for it. In fact, Defendants continue to conceal the truth about the Engine Failure Defect
 2   to this day.
 3            72.      Plaintiff regularly services the vehicle but is now concerned about driving
 4   it due to the dangers resulting from the Engine Failure Defect and believes that its
 5   market value has been diminished as a result of the Engine Failure Defect.
 6            73.      Plaintiff and proposed class representative Jeannett Smith is a resident
 7   and citizen of Rowlett, Texas. Plaintiff Smith purchased a used 2012 Soul from
 8   Southwest Kia in Rockwall, Texas, in February 2013 with an odometer reading of
 9   approximately 48,000 miles for approximately $27,250.
10            74.      Prior to purchasing her Class Vehicle, Plaintiff Smith reviewed Kia’s
11   televised, website and hard copy promotional materials without Kia disclosing the
12   Engine Failure Defect.
13            75.      Through her exposure and interaction with Kia, Plaintiff Smith was aware
14   of Kia’s uniform and pervasive marketing message of dependability and safety, which
15   is a primary reason she purchased her Class Vehicle. However, despite touting the
16   safety and dependability of the Class Vehicles, at no point did Kia disclose the Engine
17   Failure Defect to her. In fact, Defendants continue to conceal the truth about the
18   Engine Failure Defect to this day.
19            76.      In December 2016, at approximately 105,559 miles, Plaintiff Smith’s
20   2012 Soul, while operating in intended and foreseeable conditions, suffered
21   catastrophic internal engine component failure that resulted in an engine fire that
22   consumed the entire vehicle within moments. Plaintiff Smith’s vehicle was rendered a
23   total loss, as shown in the photos below.
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                             SMITH VEHICLE DAMAGE FROM ENGINE FIRE
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25                           SMITH VEHICLE DAMAGE FROM ENGINE FIRE
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                              SMITH VEHICLE DAMAGE FROM ENGINE FIRE
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16            77.      Kia offered Plaintiff Smith no compensation for the loss of her vehicle.
17   Plaintiff Smith’s vehicle experienced symptoms associated with the Engine Failure
18   Defect.
19            78.      Plaintiff Smith did not receive the benefit of her bargain. She purchased a
20   vehicle of lesser standard, grade, and quality than represented, and she did not receive
21   a vehicle that met ordinary and reasonable consumer expectations regarding safe and
22   reliable operation. The Engine Failure Defect has significantly diminished the value of
23   Plaintiff Smith’s Class Vehicle.
24            79.      Had Kia disclosed the Engine Failure Defect, Plaintiff Smith would not
25   have purchased her Class Vehicle, or certainly would have paid less to do so.
26            80.      Plaintiff and proposed class representative Nicole Thornhill is a resident
27   and citizen of Ventura, California. In May 2018, Ms. Thornhill purchased a 2012 Kia
28   Optima Hybrid with a 2.4-liter Theta II MPI engine from a private seller in California
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 1   for personal, family, and/or household use. Ms. Thornhill purchased the Optima
 2   because all her research indicated that it was a safe vehicle, and the vehicle had low
 3   mileage and a clean CarFax. Ms. Thornhill had friends with Kias that told her they
 4   loved their cars, and her partner worked on Kia and Hyundai advertising campaigns
 5   years ago and loved their vehicles, too. She thought she was buying a safe, reliable
 6   vehicle. At all relevant times, Ms. Thornhill adhered to Kia’s recommended
 7   maintenance intervals as closely as possible.
 8            81.      In August 2018, just months after financing the vehicle purchase, Ms.
 9   Thornhill was driving to work when she noticed a knocking noise coming from the
10   engine. She dropped the vehicle off at a local mechanic to inspect it that same day.
11   The mechanic said the engine was on the verge of failure and needed immediate
12   repair. Ms. Thornhill took the vehicle to Kirby Kia of Ventura in Ventura, California,
13   where it found the engine had a “lower-end knock from crank area” and required
14   replacement of the short block. Because Ms. Thornhill was still making payments on
15   the vehicle, as well as insuring it, she had to charge the nearly $7,000 engine repair to
16   a credit card. The vehicle sat at the dealership for six months awaiting the short block
17   needed for the repair. This waiting period negatively affected Ms. Thornhill’s life and
18   livelihood, as she could not afford a rental vehicle and instead relied on public
19   transportation or borrowing her partner’s car for her 60 mile-per-day commute to
20   work. Finally, on February 9, 2019, her vehicle was repaired and returned to her.
21   Roughly one year later, Kia finally recalled her vehicle for the Engine Failure Defect.
22   Ms. Thornhill has suffered an ascertainable loss because of Defendants’ omissions and
23   misrepresentations associated with the Engine Failure Defect, including, but not
24   limited to, out of pocket losses associated with the Engine Failure Defect, diminished
25   value of her vehicle, increased risk to her safety, and other consequential damages.
26   Ms. Thornhill would not have purchased the vehicle, or she would have paid less for
27   it, had she known about the Engine Failure Defect.
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 1            82.      Plaintiff and proposed class representative James Michael Twigger is a
 2   resident and citizen of Charleston, West Virginia. In July 2014, he purchased a new
 3   2014 Kia Soul Plus equipped with the 2.0-liter “Nu” engine for approximately
 4   $19,500 from Dutch Miller Kia of South Charleston, West Virginia.
 5            83.      Through his exposure and interaction with Kia, Plaintiff Twigger was
 6   aware of Kia’s uniform and pervasive marketing message of dependability and safety,
 7   which is a primary reason he purchased his Class Vehicle. However, despite touting
 8   the safety and dependability of the Class Vehicles, at no point did Kia disclose the
 9   Engine Failure Defect to him. In fact, Defendants continue to conceal the truth about
10   the Engine Failure Defect to this day.
11            84.      On July 1, 2017, while driving on I-64, a major highway, his vehicle’s
12   engine spontaneously stopped working, so he moved the car to the shoulder of the
13   highway. Moments later, the engine started smoking, ignited into flames, and burned,
14   destroying the vehicle, as shown in the photos below.
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27                                    TWIGGER VEHICLE ENGINE FIRE
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                                      TWIGGER VEHICLE ENGINE FIRE

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                            TWIGGER VEHICLE DAMAGE FROM ENGINE FIRE
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 1            85.      Upon information and belief, the fire was caused by the Engine Failure
 2   Defect that resulted in a connecting rod failure that led to a hole in his engine block
 3   through which oil leaked, ultimately touching hot engine components and sparking
 4   this destructive fire. Plaintiff Twigger’s vehicle experienced symptoms associated
 5   with the Engine Failure Defect. The failure occurred at 118,349 miles. Had
 6   Defendants disclosed the Engine Failure Defect and risk of fire or stalling at the time
 7   of purchase, Plaintiff would not have purchased the vehicle or would have paid
 8   considerably less for it.
 9            86.      Plaintiff and proposed class representative Stanton Vignes is a resident
10   and citizen of Long Beach, California. In November 2014, Mr. Vignes purchased a
11   new 2014 Kia Soul with a 1.6-liter “Gamma” GDI engine from Kia of Alhambra in
12   Alhambra, California for personal, family, and/or household use. The vehicle came
13   with the standard manufacturer’s warranty. He chose this vehicle specifically for its 5-
14   star safety rating and safety features, which he researched before buying the car.
15   Neither Defendants nor their agents, dealers, or other representatives informed Mr.
16   Vignes of the Engine Failure Defect’s existence at any time either before or following
17   his purchase. At all relevant times, Mr. Vignes adhered to Kia’s recommended
18   maintenance intervals as closely as possible.
19            87.      In July or August 2015, when the vehicle had approximately six thousand
20   miles on it and was less than a year old, the catalytic converter melted and required
21   replacement. Mr. Vignes would not have purchased the vehicle had he known about
22   the Engine Failure Defect.
23   B.       Defendants
24            88.      Defendant Hyundai Motor Company (“HMC”) is a South Korean
25   multinational automaker headquartered in Seoul, South Korea. HMC, together with
26   Defendants Kia Motors Corporation, Kia Motors America, Inc., and Hyundai Motor
27   America, comprise the Hyundai Motor Group, which manufactures the Class Vehicles
28   at issue in this Complaint. HMC is the parent corporation of Hyundai Motor America.
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 1            89.      Defendant Hyundai Motor America (“HMA”) is an automobile design,
 2   manufacturing, distribution, and/or service corporation doing business within the
 3   United States. HMA designs, develops, manufactures, distributes, markets, sells,
 4   leases, warrants, services, and repairs passenger vehicles, including the Hyundai Class
 5   Vehicles.
 6            90.      Defendant HMA is incorporated and headquartered in the state of
 7   California with its principal place of business at 10550 Talbert Avenue, Fountain
 8   Valley, California 92708. HMA is the American sales, marketing, and distribution arm
 9   of its parent company, HMC, overseeing sales and other operations across the United
10   States. HMA distributes and sells a complete line of Hyundai vehicles through more
11   than 800 dealers throughout the United States. Money received from the purchase or
12   lease of a Hyundai vehicle from a dealership flows from the dealer to HMA and HMC
13   (together, “Hyundai”). Hyundai uses its nationwide dealerships as a means to
14   communicate with Plaintiffs and putative class members.
15            91.      On information and belief, Defendant HMA is responsible for the
16   distribution, service, repair, installation, and decisions regarding the Hyundai Class
17   Vehicles as they relate to the Engine Failure Defect.
18            92.      On information and belief, Defendant HMA developed the post-purchase
19   owner’s manuals, warranty booklets, and other information related to maintenance
20   recommendations and/or schedules for the Hyundai Class Vehicles.
21            93.      Defendant HMA engages in continuous and substantial business in
22   California.
23            94.      Defendant Kia Corporation (“KC”) is a South Korean multinational
24   automaker headquartered in Seoul, South Korea. KC is the parent corporation of Kia
25   America, Inc. As of December 31, 2017, Defendant KC’s largest shareholder is HMC,
26   which holds 33.88 percent of KC’s stock.1
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28         2017 KC Annual Report, available at https://worldwide.kia.com/int/company/
     ir/archive/annual-report (last visited Sept. 7, 2022).
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 1            95.      Defendant Kia America, Inc. (“KA”) is an automobile design,
 2   manufacturing, distribution, and/or service corporation doing business within the
 3   United States. KA designs, develops, manufactures, distributes, markets, sells, leases,
 4   warrants, services, and repairs passenger vehicles, including the Kia Class Vehicles.
 5            96.      Defendant KA is incorporated and headquartered in the state of California
 6   with its principal place of business at 111 Peters Canyon Road, Irvine, California
 7   92606. KA is the American sales, marketing, and distribution arm of its parent
 8   company, KC, overseeing sales and other operations across the United States. KA
 9   distributes and sells a complete line of Kia vehicles through more than 755 dealers
10   throughout the United States. Money received from the purchase or lease of a Kia
11   vehicle from a dealership flows from the dealer to KA and KC (together, “Kia”). Kia
12   uses its nationwide dealerships as a means to communicate with Plaintiffs and putative
13   class members.
14            97.      On information and belief, Defendant KA is responsible for the
15   distribution, service, repair, installation, and decisions regarding the Kia Class
16   Vehicles as they relate to the Engine Failure Defect.
17            98.      On information and belief, Defendant KA developed the post-purchase
18   owner’s manuals, warranty booklets, and other information related to maintenance
19   recommendations and/or schedules for the Kia Class Vehicles.
20            99.      Defendant KA engages in continuous and substantial business in
21   California.
22            100. On information and belief, the design, manufacture, modification,
23   installation, and decisions regarding the Class Vehicles and their engines were made
24   exclusively by Defendants.
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 1                                    IV.   FACTUAL ALLEGATIONS
 2   A.       The Engine Failure Defect
 3            101. The Class Vehicles are equipped with certain MPI and GDI engines,
 4   namely Theta II 2.4-liter MPI engines, 1.6-liter Gamma GDI engines, and 2.0-liter Nu
 5   GDI engines.
 6            102. Defendants manufactured the Class Vehicles’ engines in multiple
 7   locations, including Hyundai Motor Manufacturing Alabama in Montgomery,
 8   Alabama, Hyundai Motor Company in the Republic of Korea, and Kia Motor
 9   Company in the Republic of Korea. On information and belief, the engines in the
10   Class Vehicles were built with the same parts, on the same assembly lines, and using
11   the same manufacturing processes.
12            103. The engines in the Class Vehicles use four reciprocating pistons to
13   convert pressure into a rotating motion. Gasoline is mixed with air in the combustion
14   chambers of the engine. To generate such rotating motion, a four-stroke sequence is
15   used (the “Combustion Cycle”). First, the intake stroke begins with the inlet valve
16   opening and a vaporized fuel mixture is pulled into the combustion chamber. Second,
17   the compression stroke begins with the inlet valve closing and the piston beginning its
18   movement upward, compressing the fuel mixture in the combustion chamber. Third,
19   the power stroke begins when the spark plug ignites the fuel mixture, expanding the
20   gases and generating power that is transmitted to the crankshaft. And fourth, the
21   exhaust stroke begins with the exhaust valve opening and the piston moving back up,
22   forcing the exhaust gases out of the cylinder. The exhaust valve then closes, the inlet
23   valve opens, and the Combustion Cycle repeats itself. A diagram of the Combustion
24   Cycle is below:
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10                                       COMBUSTION CYCLE
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              104. The pistons are connected to the crankshaft via the connecting rod. As the
12
     connecting rod moves up and down during the Combustion Cycle, this causes the
13
     crankshaft to rotate, ultimately resulting in power to the drive wheels of the vehicle.
14
     During this cycle, the crankshaft rotates many thousands of times per minute within
15
     each connecting rod. To reduce friction and prolong longevity, this design utilizes a
16
     bearing placed between the connecting rod and crankshaft surfaces. The connecting
17
     rod bearings allow the crankshaft to rotate within the connecting rods during the
18
     Combustion Cycle. An exemplar diagram of the piston, connecting rod, connecting
19
     rod bearing and crankshaft is shown below:
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11            105. When the Class Vehicles are in operation, engine oil is used to lubricate
12   the pistons, cylinder walls, connecting rod bearings, and other rotating and moving
13   components as the pistons move up and down through the four-stroke sequence.
14   Engine oil is necessary to reduce wear on moving parts throughout the engine,
15   improve sealing, and cool the engine by carrying heat away from the moving parts.
16   Engine oil also cleans and transports contaminants away from the engine to the engine
17   oil filter. Oil is pumped and pressurized throughout the engine by the oil pump. The
18   oil pump draws oil from the oil pan, located underneath the piston and crankshaft. The
19   oil pump forces engine oil through the oil filter and then through passages in the
20   engine to properly lubricate and reduce friction in internal moving engine components.
21   The oil then returns to the oil pan through small drainage holes located throughout the
22   engine where it will be recirculated by the oil pump. Below is a diagram illustrating
23   the typical path and channels of engine oil lubrication in an overhead cam engine:
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11            106. The connecting rod bearings are also lubricated with engine oil to allow

12   the crankshaft to rotate within the connecting rods. A close-up picture of a functional

13   connecting rod bearing is below:

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24            107. On information and belief, the rotating assembly fails due to an improper

25   manufacturing and machining process. As a result, the connecting rod bearings in the

26   Class Vehicle engines undergo prolonged failure as the crankshaft rotates within the

27   connecting rod bearings and metal debris circulates throughout the engine via the

28   engine oil. Over time, and because of the manufacturing Defect within the rotating

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 1   assembly and the contaminants within the oiling system, the connecting rod bearings
 2   begin to fracture. Once the connecting rod bearings fracture, large amounts of metal
 3   debris begin to accumulate in the engine oil. As a result, the oil becomes so
 4   contaminated with metal debris that the oil filter can no longer remove the plethora of
 5   contaminants and maintain the necessary oil pressure within the engine. This
 6   contaminated engine oil is recirculated throughout the engine by the oil pump, causing
 7   and accelerating further damage to the various engine components and eventually
 8   resulting in sudden and unexpected catastrophic engine failure. If the vehicle is
 9   operated on the highway at the time of engine failure, it will result in a high-speed
10   stalling event.
11            108. Additionally, as the connecting rod bearings continue to fracture, the
12   acceptable tolerances between the bearings, the connecting rod, and the crankshaft
13   rapidly deteriorate. Eventually, the Class Vehicles produce a “knocking” sound
14   originating from the engine because of the deteriorating bearings. In some instances,
15   the defective connecting rod bearings may eventually cause the piston and connecting
16   rod to break through the engine block because of the deterioration.
17            109. Once the connecting rod breaks through the engine block, it can cause an
18   engine compartment fire as oil spills throughout the broken cylinder wall and engine.
19            110. A fractured connecting rod bearing is pictured below. The bearing has
20   fractured and worn away to the point of laying flush along the inside of the connecting
21   rod cap. A large fracture is also plainly visible along the bottom left side of the
22   bearing.
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11            111. After the connecting rod bearings fail and metal debris is circulated
12   throughout the engine via the engine oil, it can damage other key engine components.
13   For example, the main cap, which fastens the crankshaft to the engine, can also
14   become damaged by the metal debris in the engine oil. After the main cap is damaged,
15   play between the main cap and engine develops, which also leads to catastrophic
16   engine failure.
17            112. The metal debris circulating throughout the engine, scratching various
18   parts and creating buildup and blockages along the way, can also damage adjacent
19   systems, like the oil pump or catalytic converter. Damaged catalytic converters can put
20   back-pressure on the engine, leading to reduced engine power and, potentially,
21   stalling, among other issues.
22            113. Because of the Engine Failure Defect, the Class Vehicles suffer from
23   restricted and inadequate engine oil lubrication. Engines are designed to have oil
24   distributed throughout the engine via lubrication channels. When operating properly,
25   the oil pump distributes oil throughout the engine and then it flows back to the oil pan
26   where it is redistributed throughout the engine again.
27            114. In the Class Vehicles, the lubrication channels become clogged and
28   restricted because of the Engine Failure Defect, even under normal use and proper
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 1   maintenance. When the lubrication channels clog, engine oil cannot be pumped
 2   throughout the engine (via the oil pump) and cannot adequately return to the oil pan,
 3   causing a condition known as oil starvation. This results in insufficient lubrication
 4   throughout the Class Vehicle’s engine, which in turn causes premature wear of the
 5   engine components and catastrophic engine failure.
 6            115. The Engine Failure Defect poses serious safety issues for operators and
 7   occupants of Class Vehicles. For example, the California Department of Motor
 8   Vehicles asserts stalled engines pose a significant safety risk and, as part of its safety
 9   curriculum, instructs on proper response to a stalled action to avoid further risk of
10   injury.
11            116. NHTSA takes a similar view of engine failure during vehicle operation.
12   According to Forbes, in 2011, NHTSA recalled certain Chrysler and Dodge vehicles
13   due to “engine seizure because of connecting rod bearing failure … . Engine seizure
14   could increase the risk of a crash.”2
15            117. Defendants failed to adequately research, design, test, and/or manufacture
16   the Class Vehicles before warranting, advertising, promoting, marketing, and selling
17   the Class Vehicles as suitable and safe for use in an intended and reasonably
18   foreseeable manner.
19   B.       The Class Vehicles utilize various engines manufactured by Defendants.
20            118. Defendants manufacture and use a 2.4-liter “Theta II” MPI engine in
21   certain vehicles, including some Class Vehicles. On information and belief, Hyundai
22   used these Theta II MPI engines in certain Sonata, Sonata Hybrid, Santa Fe, and
23   Tucson vehicles, and Kia used them in certain Forte, Forte Koup, Optima Hybrid,
24   Sorento, and Sportage vehicles.
25            119. Defendants manufacture and use a 1.6-liter “Gamma” GDI engine in
26   certain vehicles, including some Class Vehicles. On information and belief, Hyundai
27
          2
28       http://www.forbes.com/sites/altheachang/2011/09/30/engine-problems-prompt-
     chrysler-recalls/ (last visited Sept. 7, 2022).
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 1   used the Gamma GDI engine in certain Veloster vehicles, and Kia used these engines
 2   in certain Soul vehicles.
 3            120. Defendants manufacture and use a 2.0-liter “Nu” GDI engine in certain
 4   vehicles, including some Class Vehicles. On information and belief, Kia used the Nu
 5   GDI engine in certain Forte, Forte Koup, Optima Hybrid, and Soul vehicles, and
 6   Hyundai used these engines in certain Tucson, Elantra, Elantra Coupe, Elantra GT,
 7   and Sonata Hybrid vehicles.
 8            121. On information and belief, the Class Vehicles are equipped with Theta II
 9   MPI, Gamma GDI, and Nu GDI engines that contain the Engine Failure Defect. Along
10   with creating a severe driving hazard and increasing the chance of injury or death, the
11   Engine Failure Defect causes serious, extensive, and expensive damage to the engine
12   and even total loss of the Class Vehicle.
13   C.       The Engine Failure Defect results in a serious risk of engine failure and
              spontaneous fires across multiple models and years of Defendants’ vehicles,
14            and Defendants were aware of such dangers.
15            122. On information and belief, Defendants knew or should have known about
16   the Engine Failure Defect as evidenced by: (1) consumer complaints lodged with
17   NHTSA and elsewhere online; (2) warranty claims, part sales, and consumer
18   complaints lodged with Hyundai and Kia directly; (3) technical service bulletins and
19   safety recalls issued by Hyundai and Kia in an attempt to address the Engine Failure
20   Defect; and (4) Hyundai and Kia’s own pre-sale durability testing of the Class
21   Vehicles.
22            1.       NHTSA and other online complaints evidence the Engine Failure
                       Defect in Class Vehicles going back as far as 2010.
23
              123. Plaintiffs’ experiences are not isolated or outlying occurrences. The
24
     internet is replete with consumer complaints on blogs and websites about the Engine
25
     Failure Defect in the Class Vehicles and other of Defendants’ vehicles with the same
26
     engines. Hyundai and Kia’s customer relations departments routinely monitor the
27
     internet for customer complaints, and Hyundai has retained the services of third parties
28

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 1   to do the same. Their customer relations divisions regularly receive and respond to
 2   customer calls concerning, inter alia, product defects. Through these sources, Hyundai
 3   and Kia were made aware of the Engine Failure Defect. The complaints also indicate
 4   Hyundai and Kia’s knowledge of the Defect and its potential danger.
 5            124. All vehicle manufacturers, including Defendants, are required by law
 6   (which is backed by criminal penalties) to routinely monitor and analyze NHTSA
 7   complaints to determine whether vehicles or automotive components should be
 8   recalled due to safety concerns. Thus, Defendants have knowledge of all NHTSA
 9   complaints. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).
10            125. Complaints submitted to Defendants and to NHTSA via Vehicle Owner
11   Questionnaires (“VOQ”) reveal a large number of Defendants’ vehicles catching on
12   fire.
13            126. In the NHTSA database, hundreds and thousands of drivers of Class
14   Vehicles have reported almost identical observations—including, e.g., knocking
15   sounds coming from their engines—and near if not total catastrophes, such as stalling
16   and fires. Many drivers directly report harrowing near accidents and fear for
17   themselves and their families.
18            127. Reproduced below are a representative sampling3 of the NHTSA
19   complaints related to Class Vehicles. This sample includes some early complaints,
20   some emblematic complaints of knocking and engine stalls, some harrowing reports of
21   near accidents and fires, as well as more recent complaints showing the ongoing
22   nature of the Engine Failure Defect. Some complaints occurred at low mileage,
23   indicating that the Defect manifested well within the range Defendants tested for in
24   their pre-sale durability testing (discussed below in Section IV.C.4.), and well before
25   the initial vehicle warranties expired. Some complaints also expressly mention that the
26   drivers took their vehicles to Defendants’ dealers and/or that the manufacturers were
27
         3
28         See generally Safety Issues and Recalls, NHTSA, https://www.nhtsa.gov/recalls
     (last visited Sept. 7, 2022).
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 1   notified. Some complaints note that after their vehicles were inspected, metal shavings
 2   or debris was found in the engine. Some complaints also expressly state that the
 3   drivers were told that their vehicles were not covered by Defendants’ recalls for other
 4   vehicles manifesting the same exact problems.
 5                                    2010 Hyundai Santa Fe
 6
              July 25, 2010 NHTSA ID NUMBER: 10345212
 7            ON TUESDAY, JUNE 8, 2010 I WAS ON A BUSY INTERSTATE
 8            HIGHWAY WITH FAST MOVING TRAFFIC AND MY CAR LOST ALL
              POWER WHILE TRAVELING AT 70 MPH. FORTUNATELY, I WAS ABLE
 9            TO BARELY GLIDE THE SANTE FE TO THE SHOULDER AND STOP
10            WITHOUT INCIDENT.
              ***
11            OBVIOUSLY, THIS IS A SERIOUS LIFE THREATENING SITUATION
12            THAT NEEDS TO BE RESEARCHED THOROUGHLY AND CORRECTED.
              *TR
13

14            February 1, 2011 NHTSA ID NUMBER: 10379895
              ON SATURDAY, JAN. 15TH, I WAS DRIVING MY 2010 HYUNDAI
15            SANTA FE V6 (4 1/2 MONTHS OLD, < 2000 MILES) WHEN I TURNED A
16            CORNER ONTO A BUSY STREET, AND THE CAR LOST ALL POWER
              AS IF SOMEONE HAD TURNED OF THE IGNITION. LUCKILY WE
17            WERE NOT IN AN ACCIDENT WHEN WE LOST POWER STEERING
18            AND ENGINE POWER OR WHEN WE SAT IN THE MIDDLE OF
              TRAFFIC SINCE THE CAR WOULD NOT RE-START. ROADSIDE
19            ASSISTANCE WAS UNABLE TO SEND ANYONE FOR ALMOST 40
20            MINUTES, SO WE HAD TO HAVE THE POLICE PUSH US TO SAFETY.
              AFTER BEING TOWED TO THE HYUNDAI DEALER FOR SERVICE,
21            THE CAR JUST STARTED UP AGAIN. WE WERE TOLD THAT THEY
22            COULD NOT FIND THE PROBLEM SINCE NO ERROR CODE WAS
              SEEN. THE TECHNICIANS UPDATED THE ECM TO VERSION CMAN S2
23            AB8F SINCE IT WAS A RECOMMENDED GENERAL SERVICE. NO ONE
24            KNEW IF IT WOULD FIX THE PROBLEM. THE TECHNICIANS ALSO
              MENTIONED THAT ANOTHER CUSTOMER HAD THE SAME PROBLEM
25            THE WEEK BEFORE. HYUNDAI CONSUMER AFFAIRS WAS NOT
26            HELPFUL, BUT DID OPEN A CASE NUMBER.
              PROBLEM HAS NOT RE-OCCURED YET ALTHOUGH TRANSMISSION
27            OFTEN POPS. *LN
28

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 1            November 30, 2018 NHTSA ID NUMBER: 11155264
 2
              ENGINE STOPPED AND ROD KNOCKING STARTED WHILE I WAS
              DRIVING ON A HIGHWAY
 3

 4            April 3, 2019 NHTSA ID NUMBER: 11193558
              TL* THE CONTACT OWNS A 2010 HYUNDAI SANTA FE. THE
 5            CONTACT STATED THAT THE MOTOR STARTED KNOCKING AND
 6            SPUTTERING, AND THE VEHICLE LOST POWER WHILE DRIVING 55
              MPH. BOB KING HYUNDAI (1601 SILAS CREEK PKWY, WINSTON-
 7            SALEM, NC 27127, (336) 724-2861) STATED THAT THERE WAS NO
 8            RECALL AND ADVISED THE CONTACT TO BRING THE VEHICLE IN
              FOR DIAGNOSTIC TESTING. THE CONTACT ALSO TOOK THE
 9            VEHICLE TO AN INDEPENDENT MECHANIC AND WAS INFORMED
10            THAT THE ENGINE NEEDED TO BE REPLACED. THE
              MANUFACTURER WAS NOT CONTACTED. THE FAILURE MILEAGE
11            WAS 115,000.
12
              October 1, 2020 NHTSA ID NUMBER: 11362147
13            ENGINE SHUTS DOWN WHILE DRIVING ON THE HIGHWAY OR I
14            EXPERIENCE A LURCHING. AT TIME IT JUST WON'T ACCELERATE.
              THIS HAPPENS ON SEVERAL OCCASION THIS YEAR
15

16                                    2011 Hyundai Santa Fe

17            June 30, 2011 NHTSA ID NUMBER: 10410037
18            NEW SANTA FE, 45 DAYS OLD, SCREECHING / METAL ON METAL
              GRINDING SOUND. DEALERSHIP COULD NOT FIND A PROBLEM. AT
19            3 MONTHS OLD, CAR ENGINE TURNED OFF WHILE DRIVING.
20            DEALERSHIP COULD NOT FIND A PROBLEM. NOTHING DONE TO
              CORRECT THE FAILURE. DO NOT TRUST CAR. *TR
21

22            November 17, 2011 NHTSA ID NUMBER: 10436180
              TL* THE CONTACT OWNED A 2011 HYUNDAI SANTA FE. THE
23            CONTACT STATED THAT WHILE DRIVING 68 MPH, THE ENGINE
24            BEGAN TO EMIT A LOUD BANGING NOISE AND CAUGHT ON FIRE.
              THE VEHICLE WAS MANEUVERED TO THE SHOULDER AND
25            STOPPED. A STATE TROOPER APPEARED ON THE SCENE TO
26            EXTINGUISH THE FIRE. THE VEHICLE WAS DESTROYED AND
              TOWED TO AN AUTHORIZED DEALER. THE FAILURE WAS NOT
27            DIAGNOSED AND THE MANUFACTURER WAS NOT MADE AWARE
28

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 1            OF THE FAILURE. THE FAILURE AND THE CURRENT MILEAGES
 2
              WERE 673.

 3            July 18, 2012 NHTSA ID NUMBER: 10466481
 4            I HAVE HAD THE SAME PROBLEM WITH MY 2011 HYUNDAI SANTA
              FE REPORTED IN OTHER ODI COMPLAINTS. SPECIFICALLY, MY
 5            VEHICLE STALLS RANDOMLY WHILE TRAVELING AT LOW SPEEDS.
 6            ODI ID #10460671, #10453272, AND #10412636, ALL SEEM TO REPORT
              THE SAME PROBLEM I HAVE. OCCASIONALLY, WHILE BRAKING OR
 7            ALLOWING THE CAR TO STOP, IT WILL STALL OUT. WHEN IT DOES,
 8            ACCELERATING, POWER STEERING, AND POWER BRAKING ARE
              ALL DISABLED. ONCE THE CAR GEAR IS SHIFTED TO PARK AND
 9            THE IGNITION IS TURNED OFF, THE PROBLEM RESOLVES AFTER RE-
10            STARTING THE CAR LATER. THE DEALERSHIP SERVICE
              DEPARTMENT HAD WORKED ON THIS CAR FOR THE SAME
11            PROBLEM FOUR TIMES WITHOUT BEING ABLE TO 1. DIAGNOSE THE
12            PROBLEM AND 2. COME UP WITH AN ADEQUATE REMEDY. EVEN
              THOUGH THE TECHNICIANS HAVE NOT BEEN ABLE TO REPRODUCE
13            THE STALLING, THE FIRST THREE TIMES IT WAS IN THE SHOP,
14            THREE DIFFERENT REPAIRS WERE MADE. THEY HAVE ALL
              INVOLVED COMPUTER FIXES, INCLUDING CHANGING OUT THE
15            CONTACTS, REPLACING THE JUNCTION BOX, AND UPDATING
16            SOFTWARE. HYUNDAI IS AWARE OF MY ISSUE AND THE PENDING
              LEMON LAW ARBITRATION CLAIM THAT I HAVE MADE. HYUNDAI
17            HAS CURRENTLY MADE THE UNILATERAL DETERMINATION THAT
18            THIS VEHICLE DOES NOT QUALIFY AS A LEMON, WHICH I DISPUTE
              BECAUSE 1. THIS DETERMINATION IS NOT CAPABLE OF BEING
19            MADE UNILATERALLY, AND 2. THIS IS A SERIOUS SAFETY DEFECT
20            AND MORE THAN A "REASONABLE" AMOUNT OF REPAIR
              ATTEMPTS HAVE BEEN UNSUCCESSFUL. A MANAGING ENGINEER
21            HAS EXAMINED THE VEHICLE WITHOUT FINDING ANY PROBLEMS,
22            AND I'M CURRENTLY WORKING WITH HYUNDAI TO HAVE A
              "FLIGHT RECORDER" INSTALLED TO RECORD DATA WHEN THE
23            CAR STALLS NEXT. THE MOST RECENT OCCURRENCE WAS WHILE I
24            WAS DRIVING IN HEAVY TRAFFIC WITHOUT A SHOULDER ON THE
              FREEWAY--A LIFE-THREATENING SITUATION. I CONSIDER THIS
25            CAR TO BE AN UNRELIABLE SAFETY THREAT ON THE ROADWAYS
26            AND HAVE COMMUNICATED THIS TO HYUNDAI, BUT ITS
              REPRESENTATIVE DO NOT HAVE THE SAME SENSE OF URGENCY I
27            HAVE. *TR
28

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 1            June 5, 2014 NHTSA ID NUMBER: 10596478
 2
              WHILE DRIVING THE ENGINE DIED SUDDENLY, I WAS ABLE TO
              RESTART THE ENGINE. THIS HAS HAPPENED MULTIPLE TIMES AND
 3            IS VERY DANGEROUS FOR A REAR END COLLISION, I HAVE TAKEN
 4            THE CAR TO HYUNDAI DEALERSHIPS BUT THEY ARE UNABLE TO
              DUPLICATE THE PROBLEM AND SAY THAT THEY CAN'T FIND
 5            ANYTHING WRONG WITH THE VEHICLE. I HAVE NOTIFIED
 6            HYUNDAI OF THE PROBLEM AND THEY JUST TELL ME TO TAKE IT
              TO A DIFFERENT DEALERSHIP. I HAVE RESEARCHED THIS ISSUE ON
 7            THE INTERNET AND THERE SEEMS TO BE MANY HYUNDAI
 8            OWNERS HAVING THE SAME ISSUE WITH THE SAME YEAR AND
              MAKE OF VEHICLE. THERE DOESN'T SEEM TO BE A FIX FOR THIS
 9            PROBLEM THAT HYUNDAI IS AWARE OF. PLEASE HELP! THANK
10            YOU *TR

11            December 30, 2020 NHTSA ID NUMBER: 11385612
12            AS I WAS DRIVING MY FAMILY HOME FROM A SOCCER MATCH IN
              DENVER TO OUR HOME IN BRECKENRIDGE MY CAR(HYUNDAI,
13            SANTA FE 2011) LOST ALL POWER WITH OUT THE ENGINE DYING.
14            WE WERE HEADING WEST AND IN THE TUNNEL. IT WAS
              EXTREMELY SCARY AND PUT MY FAMILY IN DANGER. NO
15            WARNING LIGHTS HAVE EVER COME UP ON MY CAR BEFORE OR
16            AFTER. THIS IS THE FIRST TIME OF MANY INCIDENTS THAT THIS
              HAS HAPPENED AND NOT ONLY WHEN I HAVE BEEN DRIVING BUT
17            ALSO MY DAUGHTER, SHE HAS HER PERMIT! IT DOESN'T JUST
18            HAPPEN ON THE INTERSTATE BUT ALSO AROUND OUR
              COMMUNITY WHILE DRIVING. I HAVE HAD IT CHECKED IT OUT
19            WITH MY MECHANIC AND THEY COULDN'T FIND THE ISSUE AS THE
20            DIAGNOSTIC CAME UP WITH NOTHING. THIS IS A SERIOUS SAFETY
              HAZARD NOT ONLY FOR MYSELF BUT MY FAMILY AND OTHERS
21            ON THE ROAD.
22
                                      2012 Hyundai Santa Fe
23

24            March 25, 2012 NHTSA ID NUMBER: 10452900
              ON THURSDAY MAR 22 2012 I WAS DRIVING MY HYUNDAI SANTA
25            FE SE AWD WITH 2400 MILES ON IT IN TWO WAY DOWN HILL ROAD
26            WITH A SPEED OF 20 TO 25 MILES PER HOUR THAN ALL OF SUDDEN
              WITHOUT ANY WARNING OR ANY SIGN THE CAR JUST DIE ON ME I
27            TRIED TO TURN IT BACK ON IT DID TURN ON SO NEXT DAY I TOOK
28            IT TO HYUNDAI DELEAR IN SAN JOSE CALIFORNIA THEEY
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 1            CHECKED IT AND SAID THEY COULDN'T FIND NOTHING WRONG
 2
              WITH SO I AM KIND OF CONCERN ABOUT MY SAFETY AND MY
              FAMILY IF THIS DOES HAPPEN AGAIN. *TR
 3

 4            August 7, 2012 NHTSA ID NUMBER: 10469577
              THE VEHICLE ENGINE STALLED RANDOMLY DURING DRIVING,
 5            TOTAL 4 TIMES, ALMOST CAUSING 4 ACCIDENTS. THE DEALER
 6            MECHANIC INSPECTED THE VEHICLE BUT COULD NOT FIND THE
              CAUSES FOR THIS PROBLEM AND THEREFORE WAS UNABLE TO FIX
 7            IT, LEAVING THE VEHICLE IN A STATUS WITH TREMENDOUS
 8            SAFETY CONCERNS. *TR

 9            September 14, 2017 NHTSA ID NUMBER: 11023494
10            MY SANTA FE HAS ONLY 78,000 MILES ON IT AND HAS BEEN
              MAINTAINED VERY WELL. DESPITE THIS, DURING OUR
11            EVACUATION FOR HURRICANE IRMA, THE ENGINE COMPLETELY
12            LOCKED UP ON THE HIGHWAY, DRIVING ABOUT 70 MPH WITH
              CRUISE CONTROL. THE VEHICLE WAS NOT UNDER STRAIN, WE
13            WERE NOT TOWING ANYTHING AND ONLY HAD 2 PERSONS IN THE
14            CAR. WE WERE LEFT HAVING TO GET THE VEHICLE TOWED TO A
              REPAIR SHOP WHERE I WAS INFORMED THE THETA II 2.4L ENGINE
15            THAT WAS IN MY VEHICLE WAS ON RECALL. HOWEVER THE
16            RECALL ONLY COVERED THIS ENGINE IN THE HYUNDAI SONATA
              MODELS AND FOR SOME REASON WAS NOT COVERED IN THE
17            SANTA FE. I CAN'T IMAGINE WHY AN IDENTICAL ENGINE WOULD
18            BE RECALLED FOR THIS PROBLEM IN ONE MODEL VEHICLE BUT
              NOT IN ANOTHER. I HAD EVEN HAD THE OIL CHANGED 3 WEEKS
19            PRIOR, WHICH THE MECHANIC CONFIRMED THAT EVERYTHING
20            APPEARED FULLY FUNCTIONAL AND IN GOOD WORKING ORDER
              WITH THE OIL, TRANSMISSION AND COOLING SYSTEM.
21

22            January 31, 2017 NHTSA ID NUMBER: 10948737
              4/1/2016: DRIVING ON INTERSTATE I-40 WESTBOUND IN LAS
23            CRUCES IN A CONSTRUCTION ZONE, THE CAR ENGINE DIED, BUT I
24            WAS ABLE TO GET TO SHOULDER. CAR TOWED TO AUTO REPAIR
              SHOP, BUT PROBLEM COULD NOT BE DIAGNOSED; CAR
25            EVENTUALLY RESTARTED. 2ND ATTEMPT TO DIAGNOSE ON 4/11/16;
26            NONE COULD BE FOUND. CAR STARTED TO MAKE OCCASIONAL
              LOUD ENGINE NOISE OVER ENSUING MONTHS. I CONTACTED
27            HYUNDAI, AND IN OCTOBER 2016 WAS TOLD TO BRING CAR 100
28            MILES BACK TO LAS CRUCES, NM (BORMAN AUTOPLEX) FOR
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 47
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 1            FURTHER DIAGNOSIS. BORMAN DIAGNOSED METAL SHAVINGS IN
 2
              ENGINE (SIMILAR OR IDENTICAL TO PROBLEM FOR THE 470,000
              SONATAS WITH METAL SHAVINGS IN THE ENGINE). A FULL ENGINE
 3            FAILURE AND ENGINE REPLACEMENT WAS RECOMMENDED. I
 4            CONTENDED THAT THE ENGINE SHOULD BE REPLACED FREE OF
              CHARGE, AS IT WAS A MANUFACTURING DEFECT AND THE
 5            VEHICLE DYING WITHOUT NOTICE WHILE BEING DRIVEN COULD
 6            PROVE DANGEROUS OR FATAL TO THE DRIVER/PASSENGERS. THE
              ENGINE FAILED FULLY, AND THE VEHICLE IS NOT DRIVABLE.
 7            AGAIN, ISSUE BEGAN 4/1/2016; ENGINE FAILED COMPLETELY
 8            12/28/2016. *TR

 9            February 25, 2021 NHTSA ID NUMBER: 11397903
10            TL* THE CONTACT OWNS A 2012 HYUNDAI SANTA FE. THE
              CONTACT STATED WHILE DRIVING 65 MPH, THERE WAS AN
11            ABNORMALLY LOUD KNOCKING COMING FROM THE VEHICLE. THE
12            CONTACT PULLED OVER TO THE SIDE OF THE ROADWAY AND
              WAITED A LITTLE WHILE BEFORE RESTARTING THE VEHICLE AND
13            CONTINUED DRIVING TO HER DESTINATION. THE CONTACT
14            ARRIVED HER DESTINATION AND THEN DECIDED TO HAVE THE
              VEHICLE TOWED BACK TO HER RESIDENCE. THE CONTACT LATER
15            DROVE THE VEHICLE TO THE LOCAL DEALER ADVANTAGE
16            HYUNDAI (440 PLAINVIEW RD, HICKSVILLE, NY 11801) TO BE
              DIAGNOSED. THE CONTACT WAS INFORMED THAT THE VEHICLE
17            WAS INCLUDED IN NHTSA CAMPAIGN NUMBER: 20V746000
18            (ENGINE) HOWEVER, THE PART TO DO THE RECALL REPAIR WAS
              NOT YET AVAILABLE. THE MANUFACTURER WAS MADE AWARE
19            OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
20            98,000.*DT*JB
21                                    2011 Hyundai Sonata Hybrid
22
              April 14, 2014 NHTSA ID NUMBER: 10579596
23            THE CAR SUDDENLY STARTED CHIMING LOUDLY, THE CHECK
24            ENGINE LIGHT LIT UP, A SECOND LIGHT LIT ON THE DASH AND A
              WARNING MESSAGE THAT SAID TO CHECK THE CHARGING
25            SYSTEM APPEARED ON THE CONSOLE. THE CAR BECAME NEAR
26            IMPOSSIBLE TO OPERATE: LIMITED ACCELERATION, JERKED
              REPEATEDLY TRYING TO STOP IN A SAFE LOCATION, LOST POWER
27            TO AC SYSTEM....DANGEROUS SITUATION IF OTHER TRAFFIC HAD
28

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 1            BEEN NEARBY. THE CAR IS NOW INOPERABLE AS WE WAIT FOR A
 2
              TOW TO TAKE IT TO THE NEAREST DEALER. *JS

 3            June 8, 2015 NHTSA ID NUMBER: 10724008
 4            I HAVE HAD THIS 2011 HYUNDAI SONATA HYBRID IN THE SHOP
              SINCE I PURCHASED IT IN 2011 NEW THE CAR HAS SERIOUS CAR
 5            HESITATION AND GAS MILEAGE IS 19 TO 30 PER GALLON.
 6            I HAVE HAD NUMEROUS PROBLEMS WITH OIL LEAKS AND ENDED
              UP WITH A BLOWN MOTOR AT 60,000 MILES.
 7            I ALSO HAVE NUMEROUS SERVICE ISSUES WITH THE BLOWER AC/
 8            HEATER NOT WORKING AS WELL.
              THE CAR IS A LEMON AFTER 30 VISITS TO DEALERSHIP FOR
 9            REPEATED PROBLEMS. I HAVE TAKEN CAR TO 4 DIFFERENT
10            DEALERSHIPS TO HAVE A NEW SET OF EYES FIX THE PROBLEMS
              AND STUCK WITH A REBUILT MOTOR IN MAY 2015. CAR IS BACK IN
11            THE SHOP FOR HESITATE AND ECS PROBLEMS AS OF JUNE 2015.
12            NEED HELP.

13            November 21, 2016 NHTSA ID NUMBER: 10927169
14            METAL SHAVINGS IN ENGINE OIL PAN CAUSING ENGINE FAILURE,
              KNOCKING, LOSE OF POWER WHILE DRIVING, MANUFACTURING
15            DEFECT ON SMALL BLOCK ENGINE BUT NOT ON THE SMALL
16            BLOCK HYBRID... WE WERE TOLD BY THE DEALER BUT THE
              HYBRID STILL HAS THE SAME DEFECT AS THE NONE HYBRID SAME
17            EXACT ISSUES METAL SHAVING IN OIL PAN DEFECTS FROM
18            MANUFACTURER. THE NONE HYBRID WAS RECALLED BUT A
              RECALL WAS NEVER ISSUED FOR THE HYBRID STATED BY
19            EMPLOYEES AT GLOBAL AUTO MALL IN NEW JERSEY.
20
              January 26, 2020 NHTSA ID NUMBER: 11301915
21            ENGINE BEGAN MAKING A ENGINE KNOCKING NOISE THAT
22            BECAME WORSE OVER THREE DAYS (ORIGINALLY MISTAKEN FOR
              BAD GAS BUT BECAME MUCH LOUDER THAN THAT WOULD BE).
23            WHILE DRIVING ALONG A BUSY STATE ROAD (NC 98) AND CAR
24            CHOKED TWICE WITH A LOUD THUMP AND I FEARED IT WOULD
              STALL. PULLED OVER, SHUT VEHICLE OFF. SMOKE WAS COMING
25            FROM ENGINE COMPARTMENT. NO ACTUAL FLAMES DETECTED.
26            TOWED TO DEALER. DEALER DESCRIBED HOLES IN THE ENGINE.
              CONSULTED HYUNDAI AND THEY WILL ONLY OFFER A SHORT
27            BLOCK REPLACEMENT. LABOR COSTS ARE APPROXIMATELY $2500
28            WHICH I AM REQUIRED TO PAY. VEHICLE HAS APPROXIMATELY
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 1            141K MILES. TOW TRUCK OPERATOR ALSO TOLD ME TO RESEARCH
 2
              THE RECALLS ON THIS VEHICLE BUT THIS VEHICLE WAS NOT
              LISTED BUT SHOULD BE. IT WOULD APPEAR THAT THE RECALL
 3            WAS INCOMPLETE AND SHOULD HAVE BEEN BROADER.
 4
              February 25, 2021 NHTSA ID NUMBER: 11397944
 5            TL* THE CONTACT OWNS A 2011 HYUNDAI SONATA HYBRID. THE
 6            CONTACT STATED WHILE DRIVING 75 MPH, THERE WAS AN
              ABNORMAL CLUNKING SOUND DETECTED. THERE WERE NO
 7            WARNING LIGHTS ILLUMINATED. THE CONTACT RECEIVED
 8            NOTIFICATION OF NHTSA CAMPAIGN NUMBER: 20V746000 (ENGINE)
              HOWEVER, THE PART TO DO THE RECALL REPAIR WAS
 9            UNAVAILABLE. THE VEHICLE WAS TOWED TO AMARILLO
10            HYUNDAI (1900 INTERSTATE 40 ACCESS RD #3029, AMARILLO, TX
              79103, (806) 376-4911) TO BE DIAGNOSED. THE CONTACT WAS
11            INFORMED THAT THE ENGINE NEEDED TO BE REPLACED
12            HOWEVER, THE VEHICLE WAS NOT REPAIRED. THE PART WAS NOT
              AVAILABLE. THE CONTACT STATED THAT THE MANUFACTURER
13            HAD EXCEEDED A REASONABLE AMOUNT OF TIME FOR THE
14            RECALL REPAIR. THE MANUFACTURER WAS MADE AWARE OF THE
              ISSUE. THE FAILURE MILEAGE WAS 105,000. VIN TOOL CONFIRMS
15            PARTS NOT AVAILABLE.
16
                                      2012 Hyundai Sonata Hybrid
17

18            September 15, 2014 NHTSA ID NUMBER: 10633248
              WE WERE TRAVELING DOWN HIGHWAY 125 WHEN MY 2012
19            HYUNDAI SONATA HYBRID CAUGHT ON FIRE. IT COMPLETELY
20            BURNED TO THE GROUND. WE HAD ABOUT 5 SECONDS TO JUMP
              OUT OF CAR. ALL 4 OCCUPANTS GOT OUT OF CAR THANK YOU
21            GOD. *TR
22
              October 25, 2015 NHTSA ID NUMBER: 10785863
23            WHILE DRIVING IT DOWN THE STREET STARTED TO HESITATE
24            FREQUENTLY WHILE DRIVING THEN HEARD A LOUD CLANKING
              SOUND WHICH CONTINUED ON WHILE DRIVING IT TO DEALER.
25            DEALER LOOKED AT IT AND WE WERE TOLD THE MOTOR HAD
26            GONE OUT AND NEEDED TO BE REPLACED! THEY ALSO SAID WE
              HAD TO PAY FOR IT BECAUSE THEY SAID OUR OIL CHANGES WERE
27            NOT APPROVED! ONCE WE GOT THE PAPER WORK BACK THEY
28            QUOTED THEY FOUND OIL BUILD UP AND LARGE CHUNKS OF
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 50
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 1            METAL THROUGHOUT THE ENGINE THAT HAS CONTAMINATED
 2
              THE VALVE TRAIN. THEY HAD TO REPLACE ENGINE, CYLINDER
              HEAD, VALVE, VALVE SPRING, CAMSHAFTS ,GASKETS! NOW THEY
 3            ARE ISSUING A RECALL ON HYUNDAI SONATAS FOR THIS EXACT
 4            PROBLEM , BUT THEY ARE ALSO SAYING OUR CAR IS NOT
              INCLUDED IN THE RECALL EVEN THOUGH WHAT THEY FIXED IS
 5            THE EXACT PROBLEM THAT IS LISTED ON THE RECALL. IT TOOK
 6            THEM ALMOST 2 MONTHS TO HAVE OUR CAR IN THE SHOP
              BECAUSE THEY COULDN'T FIND THE PARTS NEEDED TO FIX THE
 7            ENGINE!!!!
 8
              May 23, 2016 NHTSA ID NUMBER: 10870404
 9            MY VEHICLE BLEW A PISTON ROD WHILE I WAS DRIVING DOWN
10            THE HIGHWAY ON CRUISE CONTROL DOING 2000 RPM'S. I HAVE
              ALWAYS KEPT UP ON THE MAINTENANCE WITH THIS CAR BUT
11            WHEN I HAD IT TOWED TO THE DEALERSHIP THEY ARE SAYING
12            THAT IT WAS MY FAULT. THEY DO HAVE AN OPEN RECALL ON MY
              YEAR, MAKE, MODEL AND ENGINE SIZE BUT NOT MY VIN. I HAVE
13            DONE MY RESEARCH ONLINE AND I HAVE FOUND OTHER CASES
14            LIKE THIS. THE CAR ONLY HAS 69,000 MILES ON IT.

15            August 7, 2018 NHTSA ID NUMBER: 11118421
16            ENGINE STARTED MAKING A VERY LOUD KNOCKING SOUND
              WHILE DRIVING 70-75 MPH. SHORTLY THERE AFTER THE ENGINE
17            STOPPED AND SMOKE CAME OUT OF THE HOOD.
18            TOWED THE VEHICLE TO A LOCAL HYUNDAI DEALERSHIP THAT
              SAID THE PISTON BROKE AND WENT THROUGH THE FIREWALL.
19

20                                    2013 Hyundai Sonata Hybrid
21            August 4, 2016 NHTSA ID NUMBER: 10893204
22            TL* THE CONTACT OWNS A 2013 HYUNDAI SONATA HYBRID.
              WHILE DRIVING 25 MPH, A LOUD KNOCKING SOUND WAS HEARD
23            FROM THE HOOD OF THE VEHICLE. THE FAILURE RECURRED
24            INTERMITTENTLY. THE VEHICLE WAS TAKEN TO THE DEALER
              WHERE IT WAS DIAGNOSED, BUT THE CAUSE OF THE FAILURE WAS
25            NOT FOUND. THE VEHICLE WAS NOT REPAIRED. THE
26            MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE
              FAILURE MILEAGE WAS 64,000.
27

28            November 23, 2017 NHTSA ID NUMBER: 11048131
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 51
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 1            WE BOUGHT THIS CAR USED FROM THE DEALER EARLY ON WE
 2
              HAD HYBRID WARNING SYSTEM ISSUES WE HAVE BEEN STUCK ON
              THE SIDE OF THE ROAD SEVERAL TIMES HAVING TO HAVE THE
 3            CAR TOWED TO THE DEALER RECHARGED AND SERVICE EACH
 4            TIME WE WERE TOLD THEY DON'T FIND ANYTHING WRONG THE
              DEALER CHARGES THE BATTERY AND GIVES THE CAR BACK. NOW
 5            3 YEARS LATER WE GOT THE OIL CHANGED AS NORMAL, IT'S
 6            THANKSGIVING WEEK AND WE ARE HEADED TO VACATION 3
              HOURS FROM HOME WE AR E AN HOUR AWAY FROM DESTINATION
 7            AND THE CAR LOSES POWER GOING UP HILL THE OIL PAN LIGHT
 8            COMES ON, WE PULL OVER IN THE MIDDLE OF THE MOUNTAINS
              AND SIT ON THE SIDE OF THE ROAD WAITING FOR THE TOW
 9            TRUCK TO FIND US. WE TOW THE CAR TO THE DEALER HOPING
10            SOMETHING WASN'T DONE RIGHT WITH THE OIL CHANGED
              HOWEVER DEALER SAYS THE ENGINE SEIZED AND THE CAR IS
11            OUTSIDE OF WARRANTY AND EXTENDED WARRANTY SO WE WILL
12            NEED TO PAY $6600 TO REPLACE WITH USED ENGINE. THIS CAR IS 4
              YEARS OLD WE REGULARLY HAD THE OIL CHANGED. WE ARE NOT
13            GIVEN ANY REASON FOR THE SEIZED ENGINE. PLEASE LOOK INTO
14            THIS. THIS CAR HAS BEEN NOTHING BUT PROBLEMS SINCE THE
              DAY WE GOT IT AND THE DEALER HAS NEVER PROVIDED MUCH
15            HELP AS WERE ASKED TO TAKE PICTURES WHICH WE DID BUT
16            STILL NOTHING

17            June 28, 2018 NHTSA ID NUMBER: 11104473
18            MY HUSBAND AND I WERE DRIVING ON INTERSTATE 81 SOUTH
              NEAR WOODSTOCK, VA ON SUNDAY MORNING, JUNE 24, 2018. THE
19            CAR BEGAN MAKING A KNOCKING SOUND, THEN WE LOST POWER.
20            BY THE TIME WE WERE ABLE TO PULL OVER, THE ENGINE WAS ON
              FIRE. THE ENTIRE CAR ENDED UP BURNING. THE VA STATE POLICE,
21            VDOT, AND FIRE DEPARTMENT RESPONDED AND I-81 SOUTH WAS
22            SHUT DOWN FOR A TIME. I PURCHASED MY CAR NEW AND DID ALL
              REQUIRED MAINTENANCE PER FACTORY RECOMMENDATION
23            INCLUDING OIL CHANGES, TIRE ROTATIONS, ETC. BY THE
24            HYUNDAI DEALER IN BOWIE, MD. I HAVE COPIES OF ALL MY
              RECEIPTS FROM THE DEALER AND THEY HAVE THE RECORDS ON
25            THEIR COMPUTER SYSTEM. MY CAR HAD 91,000 MILES ON IT. WE
26            CONTACTED THE INSURANCE COMPANY AND THE CAR IS A TOTAL
              LOSS.
27

28            April 30, 2019 NHTSA ID NUMBER: 11204784
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 1            I WAS DRIVING HOME FROM WORK AND SUDDENLY LOUD
 2
              TICKING SOUNDS STARTING COMING FROM THE ENGINE. THEN
              THE POWER ALMOST WENT TO NOTHING AND THE CAR STARTED
 3            SLOWLY DOWN (AS IF THE CAR HAD BEEN TURNED OFF (IT WAS
 4            STILL ON).
              THE CHECK ENGINE LIGHT CAME ON AND THE TICKING SOUND
 5            GOT LOUDER. I WAS ABLE TO SAFELY DRIVE OFF WITHOUT ANY
 6            ACCIDENTS.
              I GOT HOME AND CALLED SEVERAL MACHANICS TO SEE IF
 7            ANYONE COULD COME BY AND SEE WHAT'S GOING ON AS I DIDN'T
 8            FEEL SAFE TO DRIVE THE CAR.
              TODAY A MECHANIC CAME AND SAID THE FOLLOWING:
 9            CHECK ENGINE LIGHT ON. LOUD VALVE TRAIN NOISES AND FAINT
10            KNOCKING CAN BE HEARD AT IDLE.
              DEAD MISFIRE ON ONE CYLINDER.
11            NOISE IS MECHANICAL.
12            ONE DTC RETURNED (PO365 - CAN SENSOR B CKT MALFUNCTION).
              PER MECHANIC - STRONGLY SUSPECT ENGINE IS IN EARLY STAGES
13            OF COMMON FAILURE.
14            INQUIRE W/MFG ENGINE RECALL.
              IT IS SHOWING SAME SYMPTOMS AS PREVIOUS YEAR RECALL FOR
15            SONATA HYBRIDS AND ENGINE FAILURES.
16            THERE IS LOW OF POWER AND LOUD TICKING NOISES FROM THE
              ENGINE.
17

18            August 13, 2020 NHTSA ID NUMBER: 11349028
              TL* THE CONTACT OWNS A 2013 HYUNDAI SONATA HYBRID. THE
19            CONTACT STATED THAT WHILE DRIVING APPROXIMATELY 55
20            MPH, THE VEHICLE LOSS MOTIVE POWER AND THE SPEED WAS
              REDUCED. AFTER STOPPING ON THE SIDE OF THE ROADWAY,
21            THERE WAS AN ABNORMAL KNOCKING SOUND COMING FROM THE
22            FROM THE ENGINE. THE VEHICLE WAS TOWED TO DEALER
              SOUTHERN STATE HYUNDAI OF RALEIGH LOCATED AT 2511 WAKE
23            FOREST RD, RALEIGH, NC 27609, WHO DIAGNOSED THAT THE
24            ENGINE WAS DEFECTIVE AND NEEDED TO BE REPLACED. THE
              VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOT
25            NOTIFIED OF THE FAILURE. THE CONTACT WAS INFORMED BY THE
26            DEALER THAT THE VEHICLE WAS NOT INCLUDED IN THE NHTSA
              CAMPAIGN NUMBER: 17V226000 (ENGINE AND ENGINE COOLING).
27            THE CONTACT STATED THAT THE VEHICLE HAD EXPERIENCED
28

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 1            THE SAME FAILURE LISTED IN THE RECALL. THE FAILURE
 2
              MILEAGE WAS 138,000

 3                                    2014 Hyundai Sonata Hybrid
 4
              May 25, 2017 NHTSA ID NUMBER: 10991578
 5            THE ENGINE STOP WORKING, DEALER SAID ENGINE IS SIS UP.
 6            DEALER DIDN'T WANT TO APPLY THE 100,000 MILES WARRANTY
              BECAUSE THE CAR WAS NOT CERTIFIED AND WE ARE 2ND OWNER.
 7            WE BOUGHT CERTIFY, BUT DEALER WASH THE HANDS AND SAID
 8            UPS IT WAS NOT, YOU NEED A NEW ENGINE.

 9            October 1, 2017 NHTSA ID NUMBER: 11030760
10            IT'S A 2014 HYUNDAI SONATA HYBRID, WITH A LITTLE OVER 61000
              MILES ON IT, I HAD TO EVACUATE FROM A HURRICANE ABOUT
11            WEEK AFTER THAT, WHEN I RETURNED I CHECKED THE OIL ON MY
12            CAR THERE WAS NO OIL SHOWING ON THE STICK THE OIL LIGHT
              NEVER CAME ON, I TOOK IT TO THE DEALERSHIP THEY SAID
13            ENGINE OIL DRAIN BOLT WASHER HAD CRACK IN IT, THEY PUT OIL
14            IN AND SAID EVERYTHING WAS FINE. I HAD TO GO OUT OF TOWN
              THIS PAST WEEK AND ON THE WAY BACK I CHECKED THE OIL IT
15            WAS ABOUT A QUART AND A HALF LOW I CALLED THE
16            DEALERSHIP AND ASK THE SERVICE MANAGER WHAT TYPE OF OIL
              THEY USED WAS IT SYNTHETIC OR REGULAR OIL SHE WENT AND
17            ASK THE MECHANIC SHE CAME BACK AND SAID DO NOT PUT OIL
18            IN IT BECAUSE IT WOULD VOID THE WARRANTY I ASK HER HOW
              THAT WOULD VOID IT, SHE DIDN'T HAVE AN ANSWER FOR ME AND
19            I GOT KINDA MAD CAUSE THEY WOULD NOT TELL ME WHAT OIL
20            TO PUT IN IT, THEN I DROVE TO THE NEXT REST AREA A CHECKED
              IT AGAIN THERE WAS NO OIL ON THE STICK I TRIED TO CALL THE
21            DEALERSHIP THEY WOULD NEVER ANSWER THE PHONE I GUESS
22            THEY HAD CALLER ID , SO I CALLED A TOW TRUCK AND TOOK IT
              TO THE CLOSET HYUNDAI DEALERSHIP THEY PUT IT ON THE RACK
23            THE UNDER BELLY WAS CLEAN THERE HAD BEEN NO LEAK, HE
24            THEN TOOK OFF THE OIL CAP AND THERE WAS SO MUCH SLUDGE
              BUILD UP HE SAID THE ENGINE WAS TORCHED NO WAY IT COULD
25            BE FIX, I ASK WAY THE OIL LIGHT NEVER CAME ON, HE SAID
26            BECAUSE OF ALL THE SLUDGE IN THERE, HE SAID THIS SHOULD
              HAVE NEVER BEEN SOLD
27

28            March 12, 2019 NHTSA ID NUMBER: 11186237
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 1            WHILE IN MOTION GOING 60MPH, VEHICLE SPUTTERED AND THEN
 2
              AN ALARM SOUNDED ALONG WITH A WARNING DISPLAYED ON
              THE DRIVERS SIDE SCREEN STATING "HYBRID SAFETY WARNING.
 3            PULL OVER AND DO NOT DRIVE." THE CAR WOULD NO LONGER
 4            ACCELERATE AND CAME TO A STOP. HAD TO RESTART THE CAR.
              THE SAME WARNING HAPPENED AGAIN THE FOLLOWING DAY
 5            WHILE IN MOTION GOING 50MPH. HAD TO GET OUT OF THE
 6            ROADWAY AND RESTART THE CAR. HYUNDAI REPLACED THE
              ENTIRE ENGINE UNDER MANUFACTURER WARRANTY (TOOK
 7            ABOUT 5 MONTHS). UPON RECEIVING VEHICLE BACK, THE SAME
 8            ISSUE HAPPENED IN THE FIRST 10 MINS OF DRIVING IT (ISSUE NOT
              FIXED). IT IS BACK AT THE HYUNDAI SERVICE CENTER AWAITING
 9            REPAIR.
10
                                      2015 Hyundai Sonata Hybrid
11

12            March 6, 2017 NHTSA ID NUMBER: 10958901
              A FEW MONTHS AGO THE VEHICLE STALLED AT A RED LIGHT. I
13            FOUND COMPLAINTS OF THE SAME MAKE, YEAR AND MODEL
14            STALLING ON OTHER OWNERS ON THE INTERNET. WENT TO
              DEALER AND AFTER NUMEROUS HOURS IN THE SHOP THEY COULD
15            NOT FIND THE PROBLEM. TODAY MY 19 YEAR OLD DAUGHTER
16            WAS ON A FOUR LANE HIGHWAY WITH NO PULL OFF LANES, ONLY
              CEMENT BARRIERS. THE VEHICLE STALLED AT 60 MPH. SHE
17            ALMOST DIED FROM BEING HIT BY A TRACTOR TRAILER. SHE WAS
18            MISSED BY ONLY A FEW INCHES. THE VEHICLE DID START AGAIN
              AND SHE GOT OFF THE HIGHWAY. MADE COMPLAINT WITH
19            HYUNDAI CONSUMER AFFAIRS.
20
              December 19, 2017 NHTSA ID NUMBER: 11055562
21            TL* THE CONTACT OWNS A 2015 HYUNDAI SONATA HYBRID. THE
22            CONTACT STATED THAT THE VEHICLE HAD PREMATURE ENGINE
              FAILURE DUE TO SLUDGE AND METAL FRAGMENTS ENTERING THE
23            ENGINE ASSEMBLY. THE VEHICLE STALLED MORE THAN TWICE.
24            THE VEHICLE WAS TOWED TO NORTH COUNTY HYUNDAI OF
              CARLSBAD (5285 CAR COUNTRY DR, CARLSBAD, CA 92008, (760) 929-
25            4900) FOR THE FIRST REPAIR. THE DEALER INDICATED THAT THEY
26            REPLACED THE GSI BELTS, BUT THE FAILURE RECURRED. THE
              VEHICLE WAS TOWED TO THE DEALER A SECOND TIME WHO
27            INDICATED THAT THE HYBRID BATTERY DETACHED. THE DEALER
28            RE-ATTACHED THE BATTERY, BUT THIS DID NOT PREVENT THE
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 1            FAILURE. THE VEHICLE STALLED AGAIN AND WAS UNABLE TO BE
 2
              DRIVEN. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE
              AND DID NOT ASSIST. THE VIN WAS NOT INCLUDED IN NHTSA
 3            CAMPAIGN NUMBER: 15V568000 (ENGINE AND ENGINE COOLING).
 4            THE APPROXIMATE FAILURE MILEAGE WAS 88,000.

 5            June 21, 2018 NHTSA ID NUMBER: 11103080
 6            TL* THE CONTACT OWNS A 2015 HYUNDAI SONATA HYBRID.
              WHILE DRIVING 65 MPH, A LOUD POP SOUND WAS HEARD COMING
 7            FROM UNDERNEATH THE VEHICLE ON THE FRONT PASSENGER
 8            SIDE. THE CONTACT NOTICED SMOKE COMING FROM THE FRONT
              PASSENGER SIDE FLOOR PANEL. THERE WERE NO WARNING
 9            INDICATORS. THE CONTACT COASTED THE VEHICLE TO THE SIDE
10            OF THE ROAD, EXITED THE VEHICLE, AND NOTICED FLAMES
              UNDERNEATH THE CENTER OF THE VEHICLE. THE ENTIRE VEHICLE
11            BECAME ENGULFED IN FLAMES. THE FIRE DEPARTMENT WAS
12            CALLED AND EXTINGUISHED THE FIRE. A FIRE REPORT WAS FILED.
              THE VEHICLE WAS TOWED TO A TOW LOT. THE VEHICLE WAS NOT
13            TAKEN TO A DEALER OR AN INDEPENDENT MECHANIC FOR
14            DIAGNOSTIC TESTING. THE VEHICLE WAS NOT REPAIRED. THE
              MANUFACTURER WAS NOTIFIED OF THE FAILURE AND DID NOT
15            ASSIST. THE APPROXIMATE FAILURE MILEAGE WAS 35,000. THE
16            VIN WAS NOT AVAILABLE. *TT

17            December 2, 2018 NHTSA ID NUMBER: 11155443
18            COMING HOME FROM A FUNERAL OUT OF TOWN. THE VEHICLE
              STARTED MAKING A CLICKING NOISE UNDER THE HOOD ON THE
19            PASSENGER SIDE OF THE CAR. THEN THE VEHICLE STARTED
20            SLOWING DOWN. WE WERE ABLE TO MAKE IT TO A GAS STATION
              AND THE VEHICLE STOPPED. THERE IS ALSO OIL LEAKAGE. IT
21            WOULD TURN OVER, BUT STOP AGAIN. HAD TO PAY 700 TO TOW US
22            AND THE VEHICLE HOME.
23                                    2016 Hyundai Sonata Hybrid
24
              January 8, 2018 NHTSA ID NUMBER: 11061129
25            ON 4 SEPARATE OCCASIONS WHILE TRAVELING ON HIGHWAYS AT
26            HIGHWAY SPEED IN EV MODE, GETTING A WARNING "CHECK
              HYBRID SYSTEM TURN OFF ENGINE" ALONG WITH A CHECK
27            ENGINE LIGHT; THESE ARE THE OCCURRENCE DATES 12/01/2017,
28            12/11/2017, 12/23/2017, 01/06/2018. EACH TIME HAS BEEN
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 1            ACCOMPANIED BY A COMPLETE LOSS OF GASOLINE ENGINE
 2
              AVAILABILITY RESULTING IN A SIGNIFICANT AND UNSAFE DROP
              IN VEHICLE SPEED DUE TO THE CAR ONLY BEING ABLE TO
 3            CONTINUE RUNNING ON BATTERY POWER. AFTER PULLING OVER I
 4            HAVE BEEN ABLE SHUTDOWN THE CAR AND RESTART.
              UPON RESTART, THE GASOLINE ENGINE DOES COME BACK ON.
 5            ALSO NOTE THE "CHECK ENGINE" LIGHT HAS TURNED BACK OFF
 6            BY THE TIME I HAVE TAKEN THE CAR BACK TO THE DEALERSHIP.
              THE CAR HAS BEEN TO THE DEALERSHIP TWICE NOW AND
 7            SUPPOSEDLY REPAIRED BOTH TIMES UNDER WARRANTY. THE
 8            FIRST REPAIR ATTEMPT ON 12/12/2017; THE DEALER WAS
              INSTRUCTED BY HYUNDAI TO TRY TSB 16-01-020-1. THE SECOND
 9            REPAIR ATTEMPT ON 12/27/2017; THERE HAD BEEN A P261F AND
10            P0A0F FAULT CODE AND THE DEALER WAS INSTRUCTED BY
              HYUNDAI TO REPLACE ALL FOUR SPARK PLUG COILS. THESE
11            ATTEMPTS HAVE NOT FIXED THE UNDERLYING PROBLEM AS
12            REPRESENTED BY THE LATEST OCCURRENCE ON 01/06/2018. THIS
              CAR IS LESS THAN TWO YEARS OLD AND HAD ONLY 36000 MILES
13            ON IT WHEN THIS STARTED HAPPENING.
14
              February 15, 2019 NHTSA ID NUMBER: 11180233
15            WENT TO GO GET AN OIL CHANGED ON FEB 9TH. MONDAY, FEB
16            11TH DROVE TO WORK AND BACK HOME, WHEN I REACHED THE
              EXIT OFF THE BELTWAY, THE CAR STARTED PUT PUTING, SMOKE
17            STARTED COMING OUT OF THE BACK, ENGINE AND OIL LIGHT
18            CAME ON. I IMMEDIATELY DROVE IT 6 MILES HOME TO PARK IT.
              HAD IT TOWED AN HOUR LATER. THE SHOP SAID THE ROD BUSTED
19            AND WENT THROUGH MY ENGINE AND NO OIL WAS IN THE CAR.
20            THIS HAS BEEN AN ONGOING ISSUES WITH THIS TYPE OF CAR. THIS
              EXPERIENCE HAS REALLY DRAMATIZED ME. NOT SURE IF MY
21            INSURANCE WILL PAY FOR IT AND I WILL HAVE TO COME OUT OF
22            POCKET TO REPLACE AN ENGINE THAT COULD HAVE POSSIBLY
              BEEN A RECALL. BASED OF MY VIN: ITS NOT, BUT JANUARY 2019 &
23            APRIL 2016, THERE WERE RECALLS WITH THIS SAME ISSUE. ITS
24            NOT RIGHT.
25            May 23, 2019 NHTSA ID NUMBER: 11209538
26            ON 5/11 MY WIFE WAS DRIVING WHEN SHE HEARD A CLICKING
              SOUND. SHE WAS NOT FAR FROM THE DEALERSHIP AND DECIDED
27            TO DRIVE THE CAR IN TO GET LOOKED AT. AS SHE GOT CLOSE TO
28            THE DEALERSHIP THE VEHICLE STARTED TO SMOKE. SHE PULLED
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 57
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 1            OVER TO A SAFE LOCATION WHERE SHE COULD GET OUT AND AS
 2
              SHE WAS PULLING OVER THE VEHICLE STARTED TO FLAME. SHE
              IMMEDIATELY GRABBED THE DOG AND JUMPED OUT OF THE CAR
 3            AND CALLED 911. WITHINJUST A COUPLE MINUTES OF EXITING
 4            THE VEHICLE IT WAS FULLY ENGULFED IN FLAMES AND
              EXPLODED.
 5

 6            March 25, 2021 NHTSA ID NUMBER: 11404829
              TL* THE CONTACT OWNS A 2016 HYUNDAI SONATA HYBRID. THE
 7            CONTACT RECEIVED NOTIFICATION OF NHTSA CAMPAIGN
 8            NUMBER: 20V746000 (ENGINE) HOWEVER, THE PART TO DO THE
              RECALL REPAIR WAS UNAVAILABLE. THE CONTACT CALLED BOB
 9            BAKER HYUNDAI (5285 CAR COUNTRY DR, CARLSBAD, CA 92008,
10            (760) 929-4900) WHERE IT WAS CONFIRMED THAT THE PART WAS
              NOT YET AVAILABLE FOR THE RECALL REPAIR. THE CONTACT
11            STATED THAT THE MANUFACTURER EXCEEDED A REASONABLE
12            AMOUNT OF TIME FOR THE RECALL REPAIR. THE CONTACT
              STATED WHILE DRIVING 30 MPH, A CLICKING SOUND WAS HEARD.
13            THE CONTACT STATED THAT SEVERAL WARNING LIGHTS WERE
14            ILLUMINATED. THE VEHICLE WAS NOT TAKEN TO AN
              INDEPENDENT MECHANIC OR DEALER TO DIAGNOSED OR
15            REPAIRED. THE MANUFACTURER WAS NOT MADE AWARE OF THE
16            ISSUE. THE FAILURE MILEAGE WAS APPROXIMATELY 55,707. PARTS
              DISTRIBUTION DISCONNECT.
17

18            May 19, 2021 NHTSA ID NUMBER: 11417828
              TL* THE CONTACT OWNS A 2016 HYUNDAI SONATA HYBRID. THE
19            CONTACT STATED WHILE DRIVING 15 MPH, THE VEHICLE LOSS
20            MOTIVE POWER AND SHUDDERED WHILE THE ACCELERATOR
              PEDAL WAS BEING DEPRESSED. THERE WAS NO WARNING LIGHT
21            ILLUMINATED. THE CONTACT PULLED OVER AND RESTARTED THE
22            VEHICLE HOWEVER, THE FAILURE PERSISTED. THE CONTACT
              TOOK THE VEHICLE TO THE LOCAL DEALER HOWEVER, THE
23            VEHICLE WAS NOT YET DIAGNOSED NOR REPAIRED. THE
24            CONTACT WAS CONCERNED THAT THE FAILURE WAS ENGINE
              RELATED. THE MANUFACTURER WAS MADE AWARE OF THE
25            FAILURE. THE FAILURE MILEAGE WAS 99,000.
26
                                      2010 Hyundai Tucson
27

28            December 16, 2013 NHTSA ID NUMBER: 10556218
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 58
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 1            TL* THE CONTACT OWNS A 2010 HYUNDAI TUCSON. THE CONTACT
 2
              STATED THAT WHILE TRAVELING VARIOUS SPEEDS, THE VEHICLE
              SUDDENLY LOST ACCELERATION POWER. THE VEHICLE WAS
 3            TAKEN TO THE DEALER WHERE THE FAILURE COULD NOT BE
 4            REPLICATED. THE MANUFACTURER WAS CONTACTED ABOUT THE
              FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY 20,000.
 5

 6            March 19, 2019 NHTSA ID NUMBER: 11190038
              I FIRST NOTICED WHITE SMOKE COMING FROM THE BACK OF MY
 7            SUV. I PULLED INTO A STORE PARKING LOT AND TRIED TO PARK.
 8            MY MAIN BRAKES FAILED. I THEN TRIED USING MY EMERGENCY
              BRAKE. IT TOO FAILED. WHITE SMOKE STARTED COMING
 9            THROUGH THE VENTS SO I TURNED THEM AWAY FROM ME AND
10            TRIED SHIFTING TO PARK WITH NO SUCCESS. I THEN PRESSED THE
              MAIN BRAKE AGAIN AND WAS ABLE TO SHIFT TO PARK. THEN
11            SOMEONE IN THE PARKING LOT YELLED, "YOUR CAR'S ON FIRE!
12            GET OUT!" I GRABBED MY KEYS, CELL PHONE AND WORK BADGE
              AND AS I WAS GETTING OUT, BLACK SMOKE BEGAN FILLING THE
13            CABIN. STORE EMPLOYEES TRIED TO PUT OUT THE FIRE WITH FIRE
14            EXTINGUISHERS WITH NO SUCCESS. WITHIN 10 MINUTES THE
              FRONT HALF OF THE SUV WAS ENGULFED IN FLAMES! I HAVE NO
15            CLUE WHAT COULD HAVE CAUSED THE BRAKES TO FAIL NOR THE
16            REASON FOR THE ENGINE TO CATCH FIRE! I HAVE VIDEO AND
              PHOTOS FOR VIEWING.
17

18            July 26, 2019 NHTSA ID NUMBER: 11235127
              TL* THE CONTACT OWNS A 2010 HYUNDAI TUCSON. THE CONTACT
19            STATED THAT THE VEHICLE WAS LEAKING FUEL. THE FUEL
20            PUDDLES UNDERNEATH THE VEHICLE GREW LARGER EACH WEEK.
              THE CONTACT CALLED HYUNDAI CUSTOMER SERVICE AT 1-855-
21            371-9460, BUT WAS NOT ASSISTED. THE CONTACT CALLED KEYS
22            MISSION HILLS HYUNDAI (10240 SEPULVEDA BLVD, MISSION HILLS,
              CA 91345, (818) 221-4000) AND WAS INFORMED THAT THE VIN WAS
23            INCLUDED IN NHTSA CAMPAIGN NUMBER: 19V063000 (ENGINE AND
24            ENGINE COOLING). THE MANUFACTURER WAS MADE AWARE OF
              THE FAILURE. THE FAILURE MILEAGE WAS 109,448. *JS *LN *JS
25

26                                    2011 Hyundai Tucson
27            September 29, 2010 NHTSA ID NUMBER: 10358198
28

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 1            TL*THE CONTACT OWNS A 2011 HYUNDAI TUCSON. AFTER
 2
              ATTEMPTING TO MOVE FORWARD FROM A STOP, THE VEHICLE
              SUDDENLY STALLED AND COMPLETELY SHUT OFF. THE CONTACT
 3            COULD NOT RESTART THE ENGINE. THE VEHICLE WAS TOWED TO
 4            AN AUTHORIZED DEALER BUT THE FAILURE COULD NOT BE
              DUPLICATED. THE MANUFACTURER SENT OUT A DISTRICT
 5            MANAGER TO INSPECT THE VEHICLE BUT COULD NOT FIND THE
 6            CAUSE FOR FAILURE. THE VEHICLE HAD NOT BEEN REPAIRED. THE
              FAILURE MILEAGE WAS APPROXIMATELY 600.
 7

 8            July 11, 2019 NHTSA ID NUMBER: 11231044
              ENGINE HAS A VERY BAD KNOCKING SOUND AS DESCRIBED IN
 9            RECALLED CARS THAT CATCH FIRE WITH THE SAME ENGINE. I
10            CAN'T DRIVE IT IN THIS CONDITION AND THE MECHANIC SAYS
              REPAIR IS VERY EXPENSIVE AND MIGHT NOT FIX THE PROBLEM.
11            THERE IS A CONCERN THAT THERE ARE NO GOOD ENGINE PARTS
12            FROM WHICH TO EVER FIX IT. THE SOUND JUST KEEPS GETTING
              WORSE.
13

14            October 28, 2019 NHTSA ID NUMBER: 11271483
              TL* THE CONTACT OWNS A 2011 HYUNDAI TUCSON. THE CONTACT
15            RECEIVED A RECALL NOTIFICATION FOR NHTSA CAMPAIGN
16            NUMBER: 19V063000 (ENGINE, AND ENGINE COOLING). THE
              VEHICLE WAS TAKEN TO RICK CASE HYUNDAI (19991 VILLAVIEW
17            RD, CLEVELAND, OH 44119, (216) 487-6295) AND REPAIRED PER THE
18            RECALL. WHILE DRIVING, THE RPMS INCREASED, AND THE ENGINE
              REVVED AND MADE A CLICKING NOISE. ALL THE WARNING
19            INDICATORS ILLUMINATED ON THE INSTRUMENT PANEL. THE
20            CONTACT COASTED THE VEHICLE TO THE SIDE OF THE ROAD AND
              SMOKE EMERGED FROM THE ENGINE. THE CONTACT LIFTED THE
21            HOOD AND NOTICED OIL SPILLED ALL AROUND THE ENGINE. THE
22            VEHICLE WAS TOWED TO AN INDEPENDENT MECHANIC WHO
              STATED THAT THE ENGINE NEEDED TO BE REPLACED. ACCORDING
23            TO HYUNDAI IT WAS A BOLT THAT GOT LOOSE AND CAUSED ALL
24            THE HAVOK. RODS AND METAL WERE EVERYWHERE IN THE
              VEHICLE AND THERE IS APPARENTLY (HAVEN’T SEEN IT YET) A
25            HOLE IN THE ENGINE BLOCK AND OIL PAN. THE VEHICLE WAS NOT
26            REPAIRED. THE DEALER AND MANUFACTURER WERE NOT
              NOTIFIED. THE FAILURE MILEAGE WAS APPROXIMATELY 140,000.
27            *TR*JB *BF *JS
28

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 1            August 31, 2020 NHTSA ID NUMBER: 11352210
 2
              TL* THE CONTACT OWNS A 2011 HYUNDAI TUCSON. THE CONTACT
              STATED THAT WHILE DRIVING ON THE HIGHWAY AT 55 MPH, THE
 3            VEHICLE STARTED LEAKING OIL, RESULTING IN A BLOWN PISTON.
 4            THE ENGINE WAS SEVERELY DAMAGED BY THE PISTON HOWEVER,
              THE COMPLETE EXTENT OF THE DAMAGES WERE UNKNOWN. THE
 5            CONTACT PULLED OVER TO THE SIDE OF THE ROADWAY. THE
 6            CONTACT STATED THAT THERE WAS EVIDENCE OF THE OIL LEAK
              ON THE ROADWAY. THE VEHICLE WAS TOWED BY THE INSURANCE
 7            COMPANY TO AN INDEPENDENT MECHANIC TO BE DIAGNOSED. AN
 8            UNKNOWN DEALER WAS CONTACTED AND INFORMED OF THE
              FAILURE. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
 9            HAD NOT BEEN CONTACTED. THE FAILURE MILEAGE WAS 78,000.
10
                                      2012 Hyundai Tucson
11

12            June 13, 2016 NHTSA ID NUMBER: 10873948
              WHILE DRIVING ON THE I90 THROUGH SNOQUALMIE PASS IN
13            WASHINGTON, MOVED TO OVERTAKE ANOTHER VEHICLE IN THE
14            OVERTAKING LANE.
              AS I MOVED INTO THE LANE AND ACCELERATED, THE ENGINE
15            DROPPED DOWN A GEAR AND A WHINING NOISE WAS HEARD. AT
16            THIS POINT I HAD TOTAL LOSS OF POWER AND WAS TRAVELLING
              AT ~70MPH.
17            I WAS ABLE TO SAFELY PULL OVER ONTO THE SIDE OF THE ROAD
18            AND THE CAR WAS TOWED. THERE WAS MEDIUM TRAFFIC AT THE
              TIME HOWEVER I WAS ON A SLIGHT DOWNHILL SO DIDN'T
19            RAPIDLY LOSE SPEED.
20            HYUNDAI CARPROS IN RENTON REPORTED THAT THE PISTON HAD
              FAILED AND HAD PUNCTURED THE ENGINE CASING.
21

22            October 3, 2016 NHTSA ID NUMBER: 10911312
              TRAVELING STRAIGHT ON INTERSTATE, SPONTANEOUSLY LOST
23            ALL POWER TO VEHICLE AFTER A LOUD METAL CRUNCHING
24            SOUND. HARDLY WAS ABLE TO DRIFT OUT OF INTERSTATE
              TRAFFIC ON TO SHOULDER OF ROAD. I WAS UNABLE TO TURN
25            IGNITION OVER, OIL AND ENGINE CAUTION LIGHTS WERE ON. NO
26            VISIBLE ISSUES OR LEAKS FROM ENGINE.
              ONE OWNER VEHICLE, TRAVELED MOSTLY HIGHWAY MILES, HAD
27            REGULAR MAINTENANCE FROM DEALER SHIP WHERE PURCHASED
28            FROM, AND ONLY HAD 70776 MILES ON A 2012 MODEL.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 61
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 1

 2
              April 11, 2017 NHTSA ID NUMBER: 10971922
              WHILE DRIVING --LOUD KNOCKING NOISE IN THE ENGINE. WAS
 3            DIAGNOSED BY DEALER AS HAVING WORN
 4            ROD/CRANKSHAFT;METAL DEBRIS IN OIL PAN -- IF CONTINUING TO
              DRIVE, THEN WARNED TO CAUSE ENGINE FAILURE AND
 5            SHUTDOWN. THIS SAME PROBLEM RECEIVED A RECALL IN
 6            SONATAS, BUT NOW IS HAPPENING WITH THE TUCSONS.

 7            June 25, 2019 NHTSA ID NUMBER: 11222384
 8            TL* THE CONTACT OWNS A 2012 HYUNDAI TUCSON. THE CONTACT
              RECEIVED A NHTSA CAMPAIGN NUMBER : 19V063000 (ENGINE AND
 9            ENGINE COOLING). THE CONTACT STATED THAT WHILE DRIVING
10            AT 65 MPH, HE HEARD AN EXPLOSION IN THE ENGINE AND THE
              POWER BRAKES STOPPED WORKING. THE ENTIRE PANEL
11            ILLUMINATED AND THE CONTACT PULLED THE VEHICLE OVER.
12            THE VEHICLE WAS SMOKING AND THE CONTACT HAD TO BE
              HELPED OUT OF THE VEHICLE BY A PASSER BY. THE ENTIRE
13            VEHICLE ENGULFED IN FLAMES. THE FIRE WAS FROM THE FRONT
14            OF THE VEHICLE BY THE ENGINE AND WENT TO THE REAR
              PASSENGER DOORS. THERE WERE NO INJURIES. A POLICE AND
15            FIRE REPORT WERE COMPLETED AND THE FLAMES WERE FINALLY
16            PUT OUT BY THE FIRE COMPANY. THE DEALER KEY HYUNDAI 4660
              SOUTHSIDE BLVD #100, JACKSONVILLE, FL 32216 (904) 642-6060
17            WERE EMAILED BY THE CONTACT TO TRY TO ARRANGE TO HAVE
18            THE VEHICLE TOWED TO THEIR LOCATION FOR A DIAGNOSIS. THE
              MANUFACTURER WAS NOT YET CONTACTED. THE FAILURE
19            MILEAGE WAS 134,000.
20
              January 19, 2021 NHTSA ID NUMBER: 11388898
21            WHILE ACCELERATING ONTO THE HIGHWAY, A CLICKING OR
22            CLACKING NOISE WAS HEARD FROM THE ENGINE, THE VEHICLE
              THEN SEEMED TO SUDDENLY LOOSE POWER THEN STALL. I WAS
23            FORTUNATE TO BE ABLE TO COAST THE VEHICLE OFF THE ROAD
24            AND INTO A PARKING LOT. WITH THE VEHICLE PARKED, FOUND
              OIL POURING FROM UNDER THE ENGINE AND ALSO SAW A LONG
25            TRAIL OF OIL LEADING FROM THE HIGHWAY TO THE VEHICLE.
26            ALSO FOUND METAL SHAVINGS IN THE OIL AND DEBRIS FROM THE
              BROKEN ENGINE BLOCK CAUGHT IN THE PLASTIC SHROUD UNDER
27            THE ENGINE.
28

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 1                                    2013 Hyundai Tucson
 2
              April 17, 2017 NHTSA ID NUMBER: 10978772
 3            TL* THE CONTACT OWNS A 2013 HYUNDAI TUCSON. WHILE
 4            DRIVING VARIOUS SPEEDS, THE VEHICLE STALLED AND THE
              ENGINE SEIZED WITHOUT WARNING. THE VEHICLE WAS TAKEN TO
 5            THE DEALER, BUT THE CAUSE OF THE FAILURE COULD NOT BE
 6            DUPLICATED. THE VIN WAS NOT INCLUDED IN NHTSA CAMPAIGN
              NUMBER: 17V226000 (ENGINE). THE MANUFACTURER WAS MADE
 7            AWARE OF THE FAILURE AND INFORMED THE CONTACT THAT
 8            NOTHING COULD BE DONE TO ASSIST. THE FAILURE MILEAGE WAS
              APPROXIMATELY 61,000.
 9

10            May 20, 2017 NHTSA ID NUMBER: 10990692
              I OWN A 2013 HYUNDAI TUCSON WITH 70,000 MILES ON IT. I
11            MAINTAIN IT PROPERLY, USE SYNTHETIC OIL REGULARLY, BUT
12            THE ENGINE SEIZED YESTERDAY WHILE DRIVING ON THE
              PENNSYLVANIA TURNPIKE. HYUNDAI KNOWS THEY HAVE A
13            PROBLEM WITH THEIR ENGINES AND I AM HOPING MY ACTION
14            TODAY WILL LEAD TO A RECALL OF THIS TYPE OF VEHICLE.

15            June 7, 2017 NHTSA ID NUMBER: 10993737
16            TL* THE CONTACT OWNS A 2013 HYUNDAI TUCSON. WHILE
              DRIVING APPROXIMATELY 65 MPH, THERE WAS A KNOCKING
17            NOISE COMING FROM THE FRONT PASSENGER SIDE OF THE ENGINE
18            COMPARTMENT WHILE ACCELERATING. THE ENGINE SEIZED
              WITHOUT WARNING. THE CONTACT COASTED THE VEHICLE TO
19            THE SIDE OF THE ROAD AND ATTEMPTED TO START THE ENGINE,
20            BUT IT FAILED. THE VEHICLE WAS TOWED TO THE DEALER
              (HEADQUARTERS HYUNDAI LOCATED AT 3775 N US HIGHWAY 17-
21            92, SANFORD, FL, 32773) WHERE IT WAS DIAGNOSED THAT THE
22            SECOND BEARING MELTED AND THE ENTIRE ENGINE NEEDED TO
              BE REPLACED. THE DEALER INFORMED THE CONTACT THAT THE
23            VEHICLE WAS OUT OF WARRANTY AND COULD NOT BE SERVICED.
24            THE VEHICLE WAS NOT REPAIRED. THE VIN WAS NOT INCLUDED
              IN NHTSA CAMPAIGN NUMBER: 17V226000 (ENGINE AND ENGINE
25            COOLING). THE MANUFACTURER WAS NOTIFIED. THE
26            APPROXIMATE FAILURE MILEAGE WAS 95,000.
27

28

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 1            August 8, 2018 NHTSA ID NUMBER: 11118639
 2
              AT HIGHWAY SPEED VEHICLE BEGAN TO SHUDDER THEN LOUD
              "CLUNK" AND LOST POWER. SMALL ENGINE COMPARTMENT FIRE
 3            DEVELOPED BUT THEN THANKFULLY WENT OUT. VEHICLE WAS
 4            TOWED TO NEAREST SHOP WHICH INFORMED US THAT VEHICLE
              HAD THROWN A ROD AND WILL REQUIRE ENGINE REPLACEMENT.
 5            VEHICLE HAS NOW BEEN TOWED TO NEAREST HYUNDAI DEALER
 6            THAT "WILL GO TO BAT TO TRY AND GET HYUNDAI TO FIX". WE
              ARE NOT THE ORIGINAL OWNERS OF VEHICLE SO APPARENTLY
 7            THE 10/100 DOES NOT APPLY. VEHICLE HAS BEEN MAINTAINED
 8            PROPERLY. NEED TO KNOW WHAT TO DO OR WHO TO
              COMMUNICATE WITH TO GET HYUNDAI TO RECOGNIZE THIS
 9            PROBLEM.
10
              April 9, 2021 NHTSA ID NUMBER: 11407201
11            I WAS DRIVING AT HIGH SPEED OF 55 MPH AND EXPERIENCED A
12            HIGH-SPEED STALL ON MY 2013 HYUNDAI TUSCON. I HEARD A
              KNOCKING SOUND AND THEN ALL MY LIGHTS CAME ON
13            (OIL,ENGINE,ETC.). I WAS SO SCARED AND MADE IT TO THE
14            SHOULDER SAFELY. THANK GOD. I TRIED TO START THE CAR BUT
              IT WOULDN'T START. I ALSO, SAW SMOKE SO I DIDN'T KNOW
15            WHAT WAS HAPPENING. SO I WAS STRANDED ON THE HIGHWAY
16            AND CALLED A TOW TRUCK AND THEY TOWED ME TO THE
              MECHANICS SHOP IN MY TOWN. THE MECHANIC STATED TO ME
17            THAT THERE IS OIL LEAKING UNDERNEATH AND THAT MY ENGINE
18            IS SHOT! I HAVE ALWAYS TAKEN VERY CARE OF MY VEHICLE, I
              STILL HAVE TWO YEARS OF CAR PAYMENTS ON IT! HE SAID IT
19            LOOKS LIKE A ROD BROKE AND THERE IS A HOLE IN MY ENGINE!
20            ALSO, SOME KIND OF METAL DEBRIS IN MY OIL. SO GLAD I AM
              SAFE AND MY 9 YEAR OLD DAUGHTER IS SAFE. I AM SO UPSET.
21            VERY SCARY SITUATION. STAY SAFE WITH THESE VEHICLES
22            EVERYONE. NOT GOOD...
23                                    2016 Hyundai Tucson
24
              December 1, 2017 NHTSA ID Number: 11052577
25            MY CAR TURNED OFF TWICE WHILE DRIVING WITH NO
26            INDICATORS LIGHTING UP. I WAS GOING TO TAKE IT FOR OIL
              CHANGE CLOSER TO MY WORK; BUT HAD TO PULL OVER THE
27            VEHICLE STARTED TO KNOCK AGAIN NO INDICATORS CAME ON. I
28            FINALLY GET TO A DEALERSHIP FOR KIA AND AGENT TOLD ME
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 1            THEY HAD TO CHECK FOR RECALLS ON THE ENGINE BECAUSE
 2
              PAST CARS LIKE 2014,2015,2016 ALL HAD ENGINE TROUBLE. THEN
              TOLD ME ENGINE IS KNOCKING AND I SHOULD PARK IT TO AVOID
 3            FURTHER DAMAGE . I TOLD HIM BUT CAR IS ONLY A YEAR OLD.
 4            BOUGHT IT IN 2016 BRAND NEW; BUT BECAUSE OF MY
              NEGLIGENCE OF GETTING THE OIL CHANGE ON TIME; I HAVE TO
 5            COVER MY OWN REPAIRS.---AGAIN NO INDICATOR TELLING ME ITS
 6            OUT OF OIL OR RUNNING HOT CAME ON.

 7            April 11, 2018 NHTSA ID Number: 11164324
 8            HYUNDAI TUCSON ENGINE THE VEHICLE IS BURNING EXCESS
              AMOUNTS OF OIL. THE RATE OF ENGINE OIL LOSS IS OVER ONE
 9            QUART PER 500 MILES. MY MECHANIC TELLS ME HIS EVALUATION
10            IS THE VEHICLE'S TURBO UNIT CAUSES THE ENGINE TO RUN VERY
              HOT, AND THE INTERNAL SEALS ARE BREAKING DOWN, CAUSING
11            OIL TO MIX WITH THE FUEL. THE SOLUTION IS AN ENGINE
12            REBUILD, WHICH WILL COST OVER $3,000. SUCH A REBUILD WILL
              RESULT IN THE SAME ISSUE ARISING AGAIN AFTER THE VEHICLE
13            IS IN USE FOR A PERIOD OF TIME. THE MANUFACTURER HAS
14            REFUSED TO ADDRESS THE ISSUE, AS I HAVE CORRESPONDED
              WITH THEM ABOUT IT. THE ISSUE IS GENERIC TO ALL HYUNDAI
15            TUCSONS WITH 1.6 LITRE TURBOCHARGED ENGINE. MY MECHANIC
16            HAS RESEARCHED THE ISSUE, AND SAYS IT OCCURS IN ALL
              HYUNDAI TUCSON VEHICLES WITH THIS ENGINE CONFIGURATION.
17            THERE ARE OTHER ISSUES RELATED TO BUILD QUALITY,
18            TRANSMISSION, AND OTHER COMPONENTS, BUT THIS ISSUE OF
              THE DEFECTIVE ENGINE DESIGN IS OBVIOUSLY THE MOST
19            IMPORTANT. THE DEALER THAT SOLD ME THIS VEHICLE KNEW OF
20            THIS CONDITION AND DID NOT DISCLOSE IT AT THE TIME OF SALE,
              AND REPRESENTED THAT THE ENGINE WAS IN SOUND WORKING
21            ORDER. *DT*JB
22
              June 24, 2018 NHTSA ID Number: 11114946
23            THE ENGINE OIL PRESSURE WARNING LIGHT TURNED ON
24            WITHOUT ANY AUGURIES WHILE DRIVING ON A HIGHWAY. WE
              PULLED OVER THE CAR AS SOON AS POSSIBLE, BUT THE CAR
25            COULD NOT BE STARTED AGAIN AFTER WE TURNED OFF THE
26            ENGINE. WE HAD THE CAR TOWED TO A HYUNDAI DEALERSHIP,
              AND THEN WE WERE TOLD THE ENGINE WAS SEIZED AND NEEDED
27            TO BE REPLACED. WHEN WE ASKED HOW IT HAPPENED, THEY
28            TOLD US THAT OUR ENGINE OIL PLUG WAS MISSING, SO ALL THE
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 1            ENGINE OIL WAS DRAINED OUT. THEY CHECKED OUR
 2
              MAINTENANCE RECORD, AND FOUND THAT WE HAD AN OIL
              CHANGE THREE MONTHS BACK AT ANOTHER HYUNDAI
 3            DEALERSHIP. WE WERE TOLD THAT IT COULD BE POSSIBLE THAT
 4            THE ENGINE OIL PLUG WAS NOT PROPERLY INSTALLED DURING
              LAST MAINTENANCE SERVICE, BUT THEY WERE NOT SURE ABOUT
 5            IT, AFTER ALL IT HAD BEEN 3 MONTHS NOT 30 MINUTES SINCE
 6            THEN. WE WERE NEVER GIVEN A SURE REASON FOR WHAT
              HAPPENED TO THE CAR, BUT THE ENGINE REPLACEMENT WAS
 7            TAKEN CARE OF BY HYUNDAI WARRANTY. PERSONALLY I DON'T
 8            THINK THE 'MAINTENANCE MISTAKE' HYPOTHESIS MAKE SENSE.
              WE DID NOT DRIVE THIS CAR DAILY, MAXIMUM AVERAGE USAGE
 9            WAS ABOUT WEEKLY, BUT LONG DISTANCE MOST TIMES. IF THE
10            PLUG WAS LOOSE DUE TO THE MAINTENANCE, WE SHOULD HAVE
              A PROBLEM SOONER UNLESS THE OIL DOESN'T DRAIN WHEN A
11            CAR IS PARKED. IN ADDITION, IT COULD NOT BE SOMEONE LOOSE
12            THE PLUG AT A PARKING LOT ON PURPOSE EITHER. BECAUSE
              WHEN WE DROVE THE CAR OUT, WE DID NOT NOTICE ANY OIL
13            TRACE ON THE GROUND, AND WE HAD BEEN CONTINUOUSLY
14            DRIVING THIS CAR FOR ABOUT 2 HOURS BEFORE THE ENGINE
              FAILURE HAPPENED. THE MOST POSSIBLE REASON THAT I COULD
15            THINK OF IS THE ENGINE WAS DEFECTIVE. I AM HOPING THIS
16            ISSUE CAN BE BROUGHT INTO A FORMAL INVESTIGATION,
              BECAUSE IT COULD LEAD TO VERY SERIOUS CONSEQUENCES.
17

18            March 25, 2019 NHTSA ID Number: 11203826
              I GO TO START MY CAR IN THE MORNING AND IT IS MAKING A
19            LOUD TAPPING NOISE THE VEHICLE WAS STATIONARY IN MY
20            DRIVEWAY. BUT AS IT WARMED UP IT WENT AWAY SO I
              CONTINUED TO DRIVE TO WORK IT WAS FINE ALL DAY BUT I
21            FIGURED I WOULD LET THE DEALERSHIP TAKE A LOOK AT IT
22            SINCE IT'S WASNT A PLEASANT NOISE. I DROP THE VEHICLE OFF
              AND THEY SAID THE OIL IS EXTREMELY LOW (I'VE ONLY HAD THIS
23            CAR FOR ABOUT A MONTH) I HAD BOUGHT IT FROM A DEALERSHIP
24            SO I ASSUMES ALL THE FLUIDS WOULD BE FINE UNTIL I NEEDED
              AN OIL CHANGE. WELL THEY CONTINUED WITH THE OIL CHANGE
25            AND FOUND METAL SHAVINGS IN THE OIL PAN THEY THEN
26            DROPPED THE OIL PAN AND FOUND METAL CHUNKS. THEY TOLD
              ME THE VEHICLE IS STILL UNDER THE BUMPER TO BUMPER
27            WARRANTY AND THAT THE ENGINE NEEDED TO BE REPLACED. I
28            THEN ASKED AROUND ABOUT WHY A VEHICLE THIS NEW WOULD
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 1            NEED THE ENGINE REPLACED AND THEY SAID THAT HYUNDAI
 2
              HAS A RECALL OUT FOR THOSE ENGINES THAT THEY TEND TO
              FAIL BUT I CAN NOT FIND ANYWHERE THAT MY VEHICLE HAS A
 3            RECALL. THIS HAS BEEN THE MOST INCONVENIENT PROCESS THE
 4            DEALERSHIP HAS HAD MY CAR FOR ABOUT A MONTH AND DO NOT
              EVEN HAVE A ETA FOR WHEN THE ENGINE WILL COME IN.
 5

 6                                    2017 Hyundai Tucson

 7            October 23, 2017 NHTSA ID Number: 11035690
 8            ENGINE FIRE. PULLING INTO OUR DRIVEWAY THE CAR WAS
              STOPPED IN FRONT OF OUR GARAGE. SMOKE WAS ISSUING FROM
 9            UNDER THE HOOD. OPENING THE HOOD REVEALED A FIRE FROM
10            UNDER THE ENGINE TOP COWLING AND ON THE FELT HOOD LINER.
              A FIRE EXTINGUISHER (A,B,C) IN THE GARAGE WAS USED TO
11            QUICKLY EXTINGUISH THE FIRE. THE FIRE DID NOT SPREAD
12            BEYOND THE ENGINE COMPARTMENT.

13            November 2, 2018 NHTSA ID Number: 11171387
14            THIS CAR WORKED FINE UNTIL IT DIED ON THE FREEWAY AT 60
              MILES PER HOUR ONE EVENING. I WAS ABLE TO RESTART IT AND
15            MAD IT 3 MORE MILES TO HOME. NEXT DAY IT WOULD NOT START
16            AND WAS TOWED TO DEALER AND DEALER SAYS THE ENGINE IS
              BAD AND OIL IS SLUDGY DUE TO LACK OF MAINTENANCE AND IT
17            IS NOT COVERED UNDER WARRANTY. CAR HAS 30,000 MILES AND
18            HAS HAD 4 OIL CHANGES AND WAS DUE FOR NEXT OIL CHANGE.

19            January 11, 2019 NHTSA ID Number: 11173612
20            AS I WAS DRIVING, THE CAR BEGAN TO SLOW DOWN SO I PULLED
              OVER AND THE ENGINE TURNED OFF. IT WOULDN'T TURN BACK
21            ON. LIGHTS, RADIO, HEAT-ALL WORKING BUT THE ENGINE
22            DOESN'T START. WE HAVE IT TOWED TO THE DEALER AND THEY
              SAY THE ENGINE SEIZED UP ON US. IT WILL BE REPLACED
23            BECAUSE IT IS UNDER WARRANTY BUT IT WILL TAKE 1-2 MONTHS
24            FOR A NEW ONE TO COME IN. APPARENTLY HYUNDAI IS AWARE
              OF THE ISSUE AND IS REDESIGNING THE ENGINES TO FIX THE
25            PROBLEM. HOW MANY TIMES DOES THIS HAVE TO HAPPEN
26            BEFORE THEY ARE RECALLED? WHAT IF YOU ARE ON THE
              HIGHWAY AND YOUR CAR SHUTS OFF? NO PRIOR WARNING,
27            NOTHING. THEY TRIED TO GIVE US THE SAME BOLOGNA ABOUT
28

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 1            ENGINE MAINTENANCE AND OIL CHANGES. THIS IS A SERIOUS
 2
              DESIGN FLAW.

 3            September 15, 2019 NHTSA ID Number: 11269357
 4            DRIVING ABOUT 25 MPH TURNING INTO A PARKING LOT THE
              VEHICLE JERKED FORWARD, THEN JUST STALLED. I BARELY GOT
 5            IT OFF THE ROAD AND FINALLY HAD BYSTANDERS HELP PUSH ME
 6            OFF. IT WAS TOWED TO LOCAL HYUNDAI DEALER AND AFTER
              REVIEW, THEY STATED SOMETHING ABOUT DEBRIS MELTED AND
 7            GOT INTO THE ENGINE, WHICH DESTROYED THE ENGINE. WAS
 8            UNDER FULL WARRANTY AND NOW IT'S BEEN 30 DAYS I'VE BEEN
              WITHOUT MY VEHICLE.
 9

10            December 31, 2019 NHTSA ID Number: 11292362
              TL* THE CONTACT OWNED A 2017 HYUNDAI TUCSON. WHILE
11            DRIVING 20-25 MPH DOWN A ROAD PREPARING TO MERGE, THE
12            VEHICLE STALLED AND CONTINUED TO ROLL FORWARD. THE
              CONTACT ATTEMPTED TO RESTART THE VEHICLE BUT FAILED.
13            THE CONTACT NOTICED WHITE SMOKE AND STOPPED THE
14            VEHICLE BY ENGAGING THE EMERGENCY BRAKE. THE CONTACT
              GATHERED SOME OF HER BELONGINGS AS THE SMOKE TURNED
15            GRAY AND GOT 20 FEET AWAY FROM THE VEHICLE. THERE WERE
16            FLAMES NOTICED COMING FROM UNDER THE HOOD. A
              BYSTANDER ATTEMPTED TO EXTINGUISH THE FIRE WITH A FIRE
17            EXTINGUISHER MEANWHILE THE FIRE DEPARTMENT ARRIVED TO
18            THE SCENE. THE FIRE DEPARTMENT EXTINGUISHED THE FIRE. THE
              CONTACT SUSTAINED POST TRAUMATIC STRESS DISORDER DUE
19            TO THE INCIDENT. A POLICE REPORT WAS FILED. THE CONTACT
20            ALSO MENTIONED THAT HER CHILD WOULD RIDE IN THE REAR OF
              THE VEHICLE AND THE SAFETY SEAT WAS DESTROYED DURING
21            THE FIRE. THE CHILD WAS NOT PRESENT AT THE TIME OF THE
22            FAILURE. THE CONTACT STATED THAT THE VEHICLE WAS
              REPAIRED PER NHTSA CAMPAIGN NUMBER: 17V226000 (ENGINE) BY
23            ROUTE 2 HYUNDAI DEALER (743 NORTH MAIN STREET,
24            LEOMINSTER, MA 01453, (978) 534-9999) IN MAY OF 2019 DUE TO THE
              INITIAL FAILURE IN JANUARY OF 2019 WHERE THE ENGINE BLEW
25            UP. THE DEALER REPLACED THE ENGINE, BUT THE FAILURE
26            REOCCURRED WHICH LEAD TO THE ENTIRE VEHICLE CATCHING
              ON FIRE MOST RECENT. THE MANUFACTURER WAS NOT NOTIFIED
27            OF THE FAILURE. THE VEHICLE WAS DESTROYED AND TOWED
28

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 1            AWAY. THE FAILURE MILEAGE WAS 118,000. THE VIN WAS
 2
              UNKNOWN.

 3                                    2018 Hyundai Tucson
 4
              October 12, 2019 NHTSA ID Number: 11268441
 5            THE CAR STARTED MAKING A LOUD NOISE MY OIL LAMP LIGHT
 6            STARTED FLASHING, AFTER I STOPPED AT A RED LIGHT I
              ACCELERATED THEN MY ALTERNATOR LIGHT CAME ON THE CAR
 7            DIED. WITHIN SECONDS MY CAR STARTED SMOKING A WHITE
 8            COLOR LIGHTLY AND THEN WITHIN MINUTES THE SMOKE TURNED
              BLACK AND HEAVY THEN CAR CAUGHT ON FIRE.
 9

10            November 13, 2019 NHTSA ID Number: 11289665
              I GET OIL CHANGES QUITE FREQUENTLY DUE TO THE MILEAGE I
11            PUT IN A VEHICLE. I HAVE 7 OIL CHANGES/TIRE ROTATIONS
12            BETWEEN NOVEMBER 2018 AND NOVEMBER 2019. ON NOVEMBER
              13TH 2019 MY CHECK ENGINE LIKE CAME ON AND AT THE SAME
13            TIME MY ENGINE STARTED MAKING A KNOCKING SOUND. PRIOR
14            TO THIS I HAD NO INDICATORS THAT ANYTHING WAS WRONG. I
              IMMEDIATELY TOOK IT TO THE DEALERSHIP AND WAS INFORMED
15            THAT I NEED A NEW ENGINE AND THAT IT'S NOT COVERED UNDER
16            THE WARRANTY SINCE I AM THE SECOND OWNER. AND THAT IT'S
              GOING TO COST ABOUT $10,000 FOR A NEW ENGINE WHICH
17            INCLUDES LABOR. DID I MISS SOMETHING HERE. MY CAR IS MY
18            LIVELIHOOD AND I HAVE GOTTEN EVERY REQUIRED
              MAINTENANCE. THEY SAID MY CAR IS BURNING THROUGH OIL AT
19            A HIGH RATE OF SPEED. THERE WERE ZERO SIGNS OF AN OIL LEAK
20            AND EVERYTHING LOOKED FIND OTHER THAN THE VEHICLE HAD
              NO OIL. WHY DIDN'T MY VEHICLE ALERT ME OF THIS. WHY
21            WASN'T THERE ANY INDICATION UNTIL IT WAS TOO LATE. WHERE
22            THE HELL DID ALL THE OIL GO?? NOW I'M STUCK WITH A HIGH
              CAR PAYMENT FOR A VEHICLE I CAN NOT EVEN DRIVE PLUS
23            BECAUSE I NEED MY CAR FOR MY WORK I HAD TO BE LET GO
24            FROM MY JOB. CAN'T WORK WITHOUT A VEHICLE CAN PAY FOR
              $10,000 IN REPAIRS WITHOUT A JOB AND CAN'T PAY MY CAR
25            PAYMENT WITHOUT WORKING. I DON'T KNOW WHAT TO DO. THIS
26            IS JUST RIDICULOUS ESPECIALLY SINCE I HAVE DONE
              EVERYTHING HYUNDAI SUGGESTS AS FAR AS MAINTENCE
27            (FREQUENT OIL CHANGES AND SYSTEMS CHECKS ON A REGULAR
28

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 1            BASIS. HYUNDAI SAYS 'SORRY THERE'S NOTHING WE CAN DO FOR
 2
              YOU, YOU HAVE TO PAY TO REPLACE THE ENGINE.'.

 3            April 5, 2020 NHTSA ID Number: 11320680
 4            I HAVE A 2018 HYUNDAI TUCSON AND IT CUT OFF ON ME WHILE
              RETURNING HOME FROM OUT OF TOWN ON 4/5/2020 ON 495
 5            CAPITAL BELTWAY. WHITE SMOKE STARTED COMING OUT THE
 6            TAILPIPE SO I PULLED OVER AND CUT THE TRUCK OFF, I TRIED TO
              RESTART AND IT WOULDN'T TURN OVER, ALL OF THE DASH
 7            LIGHTS LIT UP, I HAD TO CALL AAA TO TOW ME HOME, THE TOW
 8            DRIVER NOTICED OIL UNDER THE TRUCK AND EVEN AFTER HE
              TOWED ME AND PUT MY TRUCK ON THE STREET THERE WAS OIL
 9            ON HIS FLATBED. THIS TRUCK HAS A DEFAULT WITH THE OIL
10            PLUG OR SOMETHING, I KEEP UP ON MY OIL CHANGES EVERY 3
              MONTHS, THERE WAS NO WARNING ON THE DASH ABOUT LOW OIL
11            OR ANYTHING BEFORE IT STARTED SMOKING. SOMETHING IS
12            WRONG WITH HOW THIS TRUCK BURNS OIL AND IT NEEDS TO BE
              INVESTIGATED. NOW I HAVE A TRUCK SITTING THAT I CAN;T
13            DRIVE AND STILL HAVE TO PAY A CAR NOTE ON. *TR
14
              July 22, 2020 NHTSA ID Number: 11351329
15            VEHICLE CAUGHT FIRE WHILE DRIVING ON THE HIGHWAY.
16

17                                    2015 Hyundai Veloster
18
              February 26, 2018 NHTSA ID Number: 11110447
19            TL* THE CONTACT OWNED A 2015 HYUNDAI VELOSTER. WHILE
20            DRIVING 60 MPH, THE CONTACT NOTICED SMOKE UNDER THE
              PASSENGER SIDE DASHBOARD. THERE WERE NO WARNING
21            INDICATORS ILLUMINATED. THE CONTACT WAS ABLE TO COAST
22            THE VEHICLE TO THE SIDE OF THE ROAD AS THE ENGINE STALLED.
              THE CONTACT OPENED THE HOOD AND OBSERVED FLAMES
23            AROUND THE ENGINE COMPARTMENT. THE FIRE DEPARTMENT
24            WAS CALLED AND EXTINGUISHED THE FIRE. A POLICE REPORT
              WAS FILED AND THERE WERE NO INJURIES. THE VEHICLE WAS
25            DESTROYED AND TOWED. THE DEALER WAS NOT CONTACTED.
26            THE MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
              VIN WAS INVALID. THE FAILURE MILEAGE WAS APPROXIMATELY
27            53,000.
28

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 1            March 14, 2020 NHTSA ID Number: 11378128
 2
              I HAD PROBLEMS WITH MY ENGINE. FOUND OUT THE ROD
              BEARING WAS GONE. CALL HYUNDAI AND POWER TRAIN
 3            WARRANTY EXPIRE WEEKS BEFORE IT HAPPENED. HAD TO SWAP
 4            ENGINES ON THE CAR BECAUSE IT WAS BAD. ALWAYS HAD
              PROBLEMS WITH THE ENGINE BURNING OIL REALLY BAD. I ALSO
 5            HAD PROBLEMS WITH THE TRANSMISSION GEARS DROPPING OUT
 6            OF NO WERE. LAST TIME IT HAPPENED WHEN I WHEN TO MAKE A
              RIGHT TURN AND SHIFT IT INTO 2ND GEAR AND WHEN IT SHIFT TO
 7            3RD IT DROP TO 1. THANKFULLY THERE WASN'T ANY OTHER CAR
 8            BEHIND ME. IT WOULD OF DEFINITELY COST AN ACCIDENT AND
              HAD MY 1 YEAR OLD WITH ME. I TALK TO HYUNDAI AND TOLD ME
 9            THEY COULDN'T DO MUCH ABOUT IT BECAUSE THEY DIDN'T
10            KNOW ABOUT ANYONE ELSE WITH SAME ISSUES.

11            September 17, 2020 NHTSA ID Number: 11360200
12            DRIVING ON MAJOR HIGHWAY, CAR LOST POWER. STEPPING ON
              THE GAS WOULD NOT ALLOW THE CAR TO MOVE. CAR IS NO
13            LONGER ABLE TO BE DRIVEN AND HAD TO BE TOWED TO
14            DEALERSHIP. WE ARE BEING TOLD THE ENGINE IS BAD AND NEEDS
              TO BE REPLACED. THE ONLY DETAIL IS THERE IS A NOISE. THIS IS
15            SIMILAR TO THE SAME PROBLEM AS THE EARLIER YEAR
16            VEHICLES. THIS IS A HUGE SAFETY CONCERN AND LUCKILY
              NOBODY WAS INJURED AND THERE WAS NO CRASH OR FIRE. IT
17            HAS TAKEN 4 DAYS TO GET A DIAGNOSTIC FROM HYUNDAI. THEY
18            WILL NOT AUTHORIZE A RENTAL UNTIL WARRANTY WORK IS
              AUTHORIZED BY HYUNDAI, WHICH COULD TAKE ANOTHER THREE
19            TO FOUR DAYS. CONSIDERING THE SERVICE DEPT IS TRYING TO
20            GO THROUGH HYUNDAI FOR WARRANTY INSTEAD OF THE
              EXTENDED WARRANTY COMPANY LEADS ME TO BELIEVE THERE
21            IS SOMETHING BIGGER THAT THEY ARE NOT BEING TRANSPARENT
22            ABOUT. I REGRET BUYING THIS CAR.
23            January 11, 2021 NHTSA ID Number: 11397275
24            TL* THE CONTACT OWNS A 2015 HYUNDAI VELOSTER. THE
              CONTACT STATED THAT WHILE DRIVING 60 MPH, THERE WAS AN
25            ABNORMAL KNOCKING SOUND DETECTED. THE CHECK ENGINE
26            WARNING LIGHT WAS FLASHING. THE VEHICLE WAS TAKEN TO
              BOB BELL HYUNDAI (7117 RITCHIE HWY, GLEN BURNIE, MD 21061,
27            (410) 766-3600) TO BE DIAGNOSED. THE CONTACT WAS INFORMED
28            THAT THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 71
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 1            NOT REPAIRED. THE CONTACT STATED THAT THE FAILURE WAS
 2
              SIMILAR TO NHTSA CAMPAIGN NUMBER: 20V746000 (ENGINE). THE
              MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
 3            MILEAGE WAS 124,000. *DT*JB
 4
                                      2016 Hyundai Veloster
 5

 6            April 22, 2020 NHTSA ID Number: 11378055
              IS BURNING TO MUCH OIL AND MOSTLY TIMES SMOKE MY CAR
 7            JUST HAVE 110,543 MILES...
 8
              November 13, 2020 NHTSA ID Number: 11378264
 9            I WAS DRIVING THE CAR WHEN IT STARTED SMOKING AND THEN
10            SHUT OFF WHILE I WAS DRIVING STRAIGHT DOWN HIGHWAY 195
              IN TEXAS. THE CAR WAS TOWED TO EUROPE SERVICES IN
11            KILLEEN, TX AND WE WERE TOLD THAT THE ENGINE IS BLOWN
12            OUT. WE ARE UNABLE TO FIND A NEW ENGINE ANYWHERE. I
              LOOKED ONLINE AND SAW THAT THE YEAR, MAKE AND MODEL
13            OF MY CAR HAD A RECALL WITH PREMATURE ENGINE ISSUES.
14
              January 15, 2021 NHTSA ID Number: 11389833
15            TL* THE CONTACT OWNS A 2016 HYUNDAI VELOSTER. THE
16            CONTACT STATED WHILE DRIVING 60 MPH, THE VEHICLE
              DECELERATED INDEPENDENTLY WITH THE CHECK ENGINE
17            WARNING LIGHT ILLUMINATED. THE CONTACT PARKED THE
18            VEHICLE ON THE SIDE OF THE ROADWAY AND THEN HAD IT
              TOWED TO AN INDEPENDENT MECHANIC TO BE DIAGNOSED. THE
19            CONTACT WAS INFORMED THAT THE ENGINE NEEDED TO BE
20            REPLACED. THE VEHICLE WAS NOT REPAIRED. THE CONTACT
              BECAME AWARE THAT THE VIN WAS INCLUDED IN NHTSA
21            CAMPAIGN NUMBER: 20V746000 (ENGINE) HOWEVER, THE PART TO
22            DO THE RECALL REPAIR WAS NOT YET AVAILABLE. THE VEHICLE
              WAS TAKEN TO TEMECULA HYUNDAI (27430 YNEZ RD, TEMECULA,
23            CA 92591, (951)699-6807) WHERE IT WAS CONFIRMED THAT THE
24            PART WAS NOT YET AVAILABLE. THE CONTACT STATED THAT THE
              MANUFACTURER HAD EXCEEDED A REASONABLE AMOUNT OF
25            TIME FOR THE RECALL REPAIR. THE MANUFACTURER WAS NOT
26            MADE AWARE OF THE ISSUE. THE APPROXIMATE FAILURE
              MILEAGE WAS 81,500. VIN TOOL CONFIRMS PARTS NOT
27            AVAILABLE.
28

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 1                                    2010 Kia Forte
 2
              March 25, 2014 NHTSA ID NUMBER: 10574780
 3            TL* THE CONTACT OWNS A 2010 KIA FORTE. THE CONTACT
 4            STATED THAT THERE WAS A LOAD KNOCKING IN THE ENGINE. THE
              VEHICLE WAS TAKEN TO THE DEALER, WHO DIAGNOSED THAT
 5            THE VEHICLE EXHIBITED A ROD KNOCK AND RECOMMENDED
 6            HAVING THE ENGINE REPLACED. THE VEHICLE WAS NOT
              REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE PROBLEM.
 7            THE APPROXIMATE FAILURE MILEAGE WAS 47,000
 8
              July 7, 2014 NHTSA ID NUMBER: 10608579
 9            TL* THE CONTACT OWNS A 2010 KIA FORTE. THE CONTACT
10            STATED THAT WHILE DRIVING 40 MPH, THE ENGINE STALLED. THE
              CONTACT WAS ABLE TO RESTART THE VEHICLE BUT THE
11            PROBLEM RECURRED SEVERAL TIMES. THE VEHICLE WAS TAKEN
12            TO THE DEALER, WHO COULD NOT DUPLICATE THE FAILURE. THE
              VEHICLE HAD NOT BEEN REPAIRED. THE MANUFACTURER WAS
13            NOT MADE AWARE OF THE PROBLEM. THE APPROXIMATE FAILURE
14            MILEAGE WAS 43,000.

15            March 8, 2016 NHTSA ID NUMBER: 10845617
16            I HAVE KIA FORTE WHICH WAS RUNNING FINE. UNTIL I CHANGE
              THE STARTER THEN THE OIL WAS PUMPING TO THE ENGINE IT
17            WOULD KNOCK LOUDLY & IF I WOULD ANY LONGER IT WOULD
18            BLOW THE ENGINE.

19            February 14, 2019 NHTSA ID NUMBER: 11180050
20            2010 KIA FORTE; 113,000 MILES. CHECK ENGINE LIGHT CAME ON.
              CODE READ '3RD ENGINE BANK SENSORS.' DEALERSHIP
21            DIAGNOSED THE PROBLEM AS 'KNOCKING RODS COMING APART
22            INSIDE THE ENGINE.' THE DEALERSHIP CURRENTLY HAS TWO KIA
              FORTES IN THE SHOP WITH THE SAME MILEAGE AND PROBLEM.
23            SEEMS LIKE A PATTERN.
24
              September 15, 2020 NHTSA ID NUMBER: 11355065
25            I HAD A MILD ENGINE KNOCKING NOISE FOR A SEVERAL WEEKS,
26            BUT JUST HAD AN OIL CHANGE A FEW DAYS PRIOR TO THE
              INCIDENT. I WAS DRIVING DOWN THE ROAD AND THE CAR
27            SEEMED TO BE STRUGGLING TO SHIFT GEARS AND GO. I PULLED
28            OVER AND HEARD TERRIBLE ROD KNOCKING AND ENGINE
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 1            CLANKING NOISES. I TURNED THE CAR OFF TO CALL MY FATHER
 2
              AND ASK IF HE THOUGHT I COULD MAKE IT HOME, AND I AGREED
              TO ATTEMPT IT. WHEN I TURNED THE CAR BACK ON THE ROD
 3            KNOCKING WAS WORSE THAN BEFORE, IT MADE A VERY LOUD
 4            CLICKING NOISE WHEN I ACCELERATED, AND THE OIL LIGHT
              CAME ON. I GOT BACK ON THE ROAD AND THE ENGINE STALLED
 5            WITHIN MINUTES, IN THE MIDDLE OF A BUSY INTERSECTION.
 6
                                      2011 Kia Forte
 7

 8            October 28, 2015 NHTSA ID NUMBER: 10786802
              TOOK MY 2011 KIA FORTE INTO THE KIA DEALERSHIP TODAY
 9            BECAUSE THE ENGINE IS MAKING A TICKING SOUND. I HAVE HAD
10            TWO OTHER MECHANICS IN RECENT WEEKS TELL ME IT IS A
              SERIOUS PROBLEM WITH THE LIFTERS AND/OR THE PISTONS
11            INSIDE THE ENGINE. THE KIA MECHANIC REFUSES TO
12            ACKNOWLEDGE THERE IS A TICKING SOUND, BUT IN FORMED ME
              THE AIR BAG SENSOR IS MALFUNCTIONING AND I WILL HAVE TO
13            PAY $1100 TO HAVE THE AIR BAG SENSOR REPAIRED BEFORE I CAN
14            SELL THE CAR. ALSO, MY BRAKES WILL OCCASIONALLY MAKE A
              VERY LOUD 'THUMP' WHEN I APPLY THEM, BUT THE KIA DEALER
15            CAN FIND NOTHING WRONG WITH THEM.
16
              September 21, 2016 NHTSA ID NUMBER: 10908482
17            WHEN DRIVING STRAIGHT ALONG AN INTERSTATE WITH MY
18            CRUISE CONTROL SET TO THE SPEED LIMIT, A LOUD BANG CAME
              FROM UNDER THE HOOD OF MY KIA, THE CHECK ENGINE
19            INDICATOR TURNED ON, AND SMOKE BEGAN TO POUR OUT FROM
20            UNDER THE HOOD AND INSIDE MY CAR THROUGH THE AIR VENTS.
              WHEN I PUSHED THE GAS PEDAL GENTLY, THERE WAS A LOW
21            GUTTURAL NOISE AND MY CAR WAS NOT PICKING UP SPEED. I PUT
22            MY CAR INTO NEUTRAL AND COASTED TO THE SHOULDER WITH
              LOW VISIBILITY AS THE SMOKE BECAME MORE DENSE AND
23            DARKER IN COLOR. I BROUGHT MY VEHICLE TO A FULL STOP ON
24            THE SHOULDER AND PUT IT INTO PARK BEFORE TURNING IT OFF
              AND REMOVING MY KEY FROM THE IGNITION. UPON EXITING THE
25            CAR I NOTICED THE SMOKE WAS EVEN MORE INTENSE THAN
26            BEFORE AND PROMPTLY CALLED 911 AND GAVE MY LOCATION
              AND SITUATION INFORMATION TO THE 911 REPRESENTATIVE. AS I
27            WAS SPEAKING, I NARRATED IN HORROR AS FLAMES BECAME
28            VISIBLE FROM UNDER THE CAR ITSELF AND UNDER THE HOOD AS
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 74
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 1            WELL, IN AS LITTLE AS ONE MINUTE AFTER EXITING MY CAR. BY
 2
              THE TIME THE FIRE DEPARTMENT GOT TO THE VEHICLE, THE
              FLAMES WERE OVER 20 FEET TALL AND THE HEAT WAS
 3            UNBEARABLE; I RELOCATED MYSELF FARTHER AND FARTHER
 4            AWAY TO STAY COOL AND SAFE AS THE TIME WENT ON. NOBODY
              WAS BURNED, HURT, OR INJURED AS A RESULT OF THE INCIDENT,
 5            BUT ONLY MY MERE COINCIDENCE.
 6
              February 2, 2018 NHTSA ID NUMBER: 11066683
 7            THE ENGINE IS MAKING A LOUD TICKING SOUND SO I BROUGHT IT
 8            TO THE DEALER THAT I PURCHASED IT FROM 11 MONTHS EARLIER.
              THEY TOLD ME THE ENGINE NEEDS TO BE REPLACED AND IT WILL
 9            COST ABOUT $7,000. I PAID $9,000 FOR THE CAR 11 MONTHS AGO
10            AND IT ONLY HAS 77,000 MILES ON IT. I'VE LEARNED THROUGH
              SOME EXTENSIVE RESEARCH THAT KIA HAS RECALLED THE
11            ENGINES IN SEVERAL OF THEIR OTHER MODELS. THIS RECALL
12            WAS PUT INTO PLACE BECAUSE THE ENGINES ARE "STALLING"
              AND POSING A SAFETY HAZZARD. THIS CAR CAN NOT BE DRIVEN
13            UNTIL THE ENGINE IS REPLACE. ALL SCHEDULED MAINTENANCE
14            HAS BEEN PERFORMED AND THE ENGINE STILL GAVE OUT AT
              ONLY 77,000 MILES. THE DEALER IS BERLIN CITY IN GORHAM, NH.
15            THE R.O. PRINT OUT OF CODES AND ISSUES WITH THE ENGINE IS
16            HALF A PAGE LONG AND INCLUDES BLUE SMOKE FROM EXHAUST,
              MISSFIRING ON TWO CYLINDERS, KNOCKING, FLASHING "CHECK
17            ENGINE LIGHT", LEAKING HEAD GASKET, ETC. MY RESEARCH
18            SEEMS TO TELL ME THAT THIS MODEL LINE SHOULD BE ADDED TO
              THE RECALL LIST. SEEMS LIKE THE SAME ISSUES AS THE ENGINES
19            WITH THE RECALL ARE HAVING.
20
              August 15, 2020 NHTSA ID NUMBER: 11349555
21            ENGINE ISSUES! THIS ENGINE NEEDS TO BE RECALLED FOR
22            SAFETY REASONS AND POSSIBLE LEMON. MY CAR HAS ONLY
              106,890 MILES ON IT. THE ENGINE STARTED MAKING A TAPPING
23            NOISE. THEN I STARTED TO HAVE A LOSS OF POWER WHEN
24            ACCELERATING OR GOING UP HILL. HAD THE CODES READ AND IT
              SAID THE CRANKSHAFT POSITION SENSOR. REPLACED THAT. THEN
25            IT STARTED TO IDLE ROUGH. HAD CODE READ AGAIN. IT SAID MAP
26            SENSOR AND NUMBER 2 CYLINDER MISFIRE. REPLACED PLUGS,
              COILS, AND MAP SENSOR. NOW IT WON'T START. IT HAS NO SPARK.
27            NOW IT IS SHOWING CODES FOR MAP SENSOR AGAIN. NUMBER 2
28            CYLINDER MISFIRE, THROTTLE ACTUATOR CONTROL SENSOR AND
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 75
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 1            THE POWER TRAIN CONTROL MODULE. AT JUST OVER 100,000
 2
              MILES THIS SHOULD NOT BE HAPPENING. OTHER MODEL CARS
              WITH THE SAME 2.0 ENGINE HAVE BEEN RECALLED. THE 2.0
 3            ENGINE NEEDS TO ALSO BE RECALLED IN THE 2011 KIA FORTE
 4            KOUP EX. I'M NOT THE ONLY OWNER OF THIS MODEL CAR THAT
              HAS HAD MULTIPLE ISSUES AND OR TOTAL ENGINE FAILURE.
 5

 6            February 17, 2021 NHTSA ID NUMBER: 11396697
              AFTER OWNING MY 2011 KIA FORTE FOR THE LAST 6 YEARS IT HAS
 7            DEVELOPED A TICKING SOUND IN THE ENGINE. IT IS VERY MILD
 8            WHILE IDLING, AND WHILE RPMS ARE UNDER 1500. AFTER RPMS
              GO PAST 2000 THE TICKING NOISE IS PROGRESSIVELY LOUDER.
 9            WHEN I BOUGHT THE CAR IT HAD ROUGHLY 85,000 MILES ON IT
10            AND NOW HAS $125,000. I HAVE HAD REGULAR OIL CHANGES ON
              IT, EVERY 3000-5000 MILES. AFTER HEARING THE TICKING I TOOK
11            IT IN TO MY MECHANIC WHO SAID THIS IS A REGULAR
12            OCCURRENCE WITH KIA FORTES AND THAT THE ONLY FIX IS
              REPLACING OR REPAIRING THE ENGINE. I HAVE BEEN DOING A
13            LOT OF RESEARCH AND READING A LOT OF COMPLAINTS ON THIS
14            WEBSITE ABOUT KIA ENGINES GOING BAD AROUND 100,000 MILES
              AND I BELIEVE YOU SHOULD LOOK INTO KIA FOR THIS. THERE
15            NEEDS TO BE A RECALL ON KIA'S ENGINES.
16
                                      2012 Kia Forte
17

18            October 17, 2012 NHTSA ID NUMBER: 10480912
              WE WERE DRIVING OUR 2012 KIA FORTE EX (SEDAN) WHICH WE
19            HAD PURCHASED BRAND NEW IN DECEMBER 2011 TO THE STORE
20            TO GET BREAD AND WERE ON OUR WAY HOME (ONLY ABOUT 2
              MINUTES INTO THE DRIVE) WHEN WE SAW SMOKE COMING FROM
21            THE FRONT OF THE CAR. WE PULLED OVER WITHIN ABOUT 50 FEET
22            OF SEEING IT, PUT IT IN PARK- WHICH BY THE TIME WE DID SO, WE
              LOST ALL POWER AND COULDN'T EVEN GET THE KEY OUT OF THE
23            IGNITION. WE GOT OUT AND MY BOYFRIEND TRIED TO POP THE
24            HOOD BUT IT WAS ALREADY SO HOT HE COULDN'T DO IT... I RAN
              ABOUT 20 FEET AWAY FOR SAFETY REASONS, SO I AM NOT SURE
25            WHERE IT STARTED, BUT WITHIN ABOUT 30 SECONDS, THE
26            FLAMES CAME OUT OF THE SIDES AND FRONT OF THE HOOD. MY
              BOYFRIEND THINKS IT WAS ABOUT WHERE THE FUSE BOX IS,
27            BECAUSE THAT IS WHERE HE NOTICED THE PAINT START TO
28

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 1            BUBBLE OFF. HE IS A MECHANIC AND HAS NEVER SEEN ANYTHING
 2
              LIKE IT.
              THE ENTIRE FRONT OF THE CAR, THROUGH THE DASH IS
 3            DISINTEGRATED. MY AIRBAGS MELTED AND POURED OUT OF THE
 4            DASH AND ROOF, UPHOLSTERY MELTED OFF THE SEATS, AND
              DOOR PANELS BUBBLED UP. ALL THE SPEAKERS BLEW AND
 5            MELTED.
 6            IT HAPPENED SO QUICKLY, IF I HAD KIDS IN THE BACK OR
              COULDN'T HAVE PULLED OVER IN TIME, THERE COULD HAVE
 7            BEEN VERY SERIOUS INJURIES OR DEATHS. I AM VERY THANKFUL
 8            IT DIDN'T HAPPEN ON MY WAY TO WORK, AS I DRIVE IN TRAFFIC
              ON A HIGHWAY WITH NO SHOULDER.
 9            I HAD NO ELECTRONIC MODIFICATIONS. IT WAS ENTIRELY STOCK,
10            WITH THE EXCEPTION OF WINDOW TINT, EXHAUST, A LOWERING
              KIT, AND AFTERMARKET TIRES AND WHEELS--ALL WHICH WERE
11            INSTALLED BY PROFESSIONALS. THE CAR HAD 8900 MILES ON IT
12            AND ALL MAINTENANCE WORK HAD BEEN DONE. EVEN 3 OIL
              CHANGES- EVEN THOUGH KIA CLAIMS THE CAR CAN GO 7K
13            WITHOUT ONE.
14            MY INSURANCE COMPANY IS GOING TO TREAT IT AS A TOTAL
              LOSS AND DO AN INVESTIGATION ON IT. KIA HAS A CASE GOING
15            BUT HAVE NOT YET SENT AN ENGINEER OUT. *TR
16
              January 9, 2017 NHTSA ID NUMBER: 10943968
17            DRIVING HOME ON CHRISTMAS DAY FROM MY PARENTS ON THE
18            FREEWAY, HEARD A NOISE IN ENGINE IMMEDIATELY PULLED
              OVER. NOTICED THAT THE CAR WAS SMOKING. THE CAR
19            WOULDN'T TURN OFF AND MY HUSBAND GOT OUT AND UPON
20            OPENING THE HOOD OF THE CAR NOTICED IT WAS IN FLAMES. HE
              IMMEDIATELY YELLED FOR US TO ALL GET OUT OF THE CAR. AS
21            WE STARTED RUNNING THE ENTIRE CAR WENT UP IN FLAMES.
22            THANKFULLY WE GOT OUT WHEN WE DID, HOWEVER ALL OF MY
              CHILDREN'S CHRISTMAS GIFTS, ALL OF OUR BELONGINGS
23            WEREN'T SO LUCKY. MY KIDS ARE TRAUMATIZED AND IN SHOCK.
24            THE CAR ONLY HAD 40K MILES ON IT. RECENTLY HAD THE 35K
              SERVICE BY KIA AND NOTHING WAS WRONG WITH IT. YET THEIR
25            WARRANTY MEANT NOTHING. THEY WON'T EVEN INSPECT THE
26            CAR YET THEY DETERMINED THAT IT ISN'T THEIR PROBLEM. HOW
              DOES A RELATIVELY NEW CAR JUST BURN UP ?!?! *TR
27

28            April 13, 2017 NHTSA ID NUMBER: 10972281
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 77
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 1            MY WIFE AND I WERE PASSING ANOTHER VEHICLE GOING ABOUT
 2
              75MPH ON A HIGHWAY IN SOUTHEAST KANSASWHEN MY CAR
              ESSENTIALLY TURNED OFF. LUCKILY THERE WAS A SHOULDER TO
 3            PULL ONTO. TRIED JUMPING IT WITH NO LUCK. WE HAD IT TOWED
 4            TO A NEARBY TOWN TO A BODY SHOP WHO KEPT IT OVER THE
              WEEKEND TO TRY AND REPLICATE THE ISSUE. THIS WAS A FRIDAY
 5            AND WE RETURNED THAT FOLLOWING MONDAY TO PICK UP THE
 6            CAR. BODYSHOP STATED THEY COULD NOT GET THE CAR TO
              REPICATE WHAT HAD HAPPEND AND NOTHING FLASHED ON THE
 7            COMPUTER. WE DROVE IT IN THE TOWN A LITTLE BIT WITH NO
 8            ISSUES AND PROCEEDED HOME. WE WERE OUT OF THE TOWN
              ABOUT 10 MINUTES WHEN WE HEARD A SMALL KNOCKING THAT
 9            CONTINUED TO GET WORSE. WE PULLED OVER. WE CONTINUED
10            DOWN THE ROAD TO THE NEXT TOWN WHICH WAS ABOUT 5 MILES
              AWAY TO A BODY SHOP. WE JUST GOT INTO TOWN WHEN THE CAR
11            DIED AGAIN AS IF I TURNED THE CAR OFF. I MUSCLED THE CAR TO
12            A PARKING LOT. TRIED TURNING THE CAR ON AGAIN AND ENGINE
              STARTED SMOKING. GOT IT TOWED BACK HOME TO A LOCAL
13            BODY SHOP WHO LOOKED AT IT THE NEXT DAY TO INFORM ME I
14            NEEDED A NEW ENGINE, MAIN WIRE HARNESS, AND STARTER. I
              CONTACTED KIA, EVENTHOUGH I WAS ONLY 11K MILES OVER
15            WARRANTY, TO SEE WHAT COULD BE DONE. GOT IT TOWED TO A
16            LOCAL KIA DEALERSHIP WHO LOOKED IT OVER AND FOUND LOTS
              A METAL IN THE OIL. THEY PUT A CLAIM IN WITH KIA WHICH
17            THEY DENIED. I CALLED CUSTOMER SERVICE WHO THEN SENT IT
18            TO THE DISTRICT MANAGER AND HE DENIED ANY HELP. IT THEN
              GOT ESCALATED TO A HIGHER DEPARTMENT AND THEY DENIED
19            ANY HELP EITHER. PRIOR TO THIS I HAD NO ISSUES OR PROBLEMS
20            WITH THE CAR.
              DURING THE TIME I HAD MY CAR I HAD PROPER OIL CHANGES
21            AND MAINTENANCE. THE CAR IS ONLY 5 YEARS OLD WITH ONLY
22            71,462 MILES ON IT AND NOW NEEDS A WHOLE NEW ENGINE.
              THANKFULLY THE TIMES IT STALLED, WHICH NO WARNING LIGHT
23            EVER CAME ON NOR WAS THERE EVER A NOISE OF ANY KIND
24            INDICATING ANYTING WAS WRONG, MY WIFE AND I WERE NOT IN
              A CRASH.
25

26            February 26, 2020 NHTSA ID NUMBER: 11311653
              TURN ON THE CAR AND THE ENGINE STARTED MAKING A LOUD
27            KNOCKING NOISE. I WAS TOLD THE ENGINE NEEDS TO BE
28

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 1            REPLACED. I HAVE ALWAYS TAKEN THE CAR IN FOR REGULAR
 2
              SCHEDULED OIL CHANGES AND MAINTENANCE SERVICES.

 3            January 2, 2021 NHTSA ID NUMBER: 11386061
 4            DEVELOPED A VERY SUBTLE TICKING NOISE IN 2018, HAPPENING
              MOSTLY AT LOW SPEEDS, GONE AFTER WARM UP. TOOK IT TO
 5            DEALERSHIP (NAPLETON’S IN URBANA, IL), AND WAS TOLD THEY
 6            COULD NOT LOCATE ANY NOISE AND DIDN’T FIND ANY IMPACT
              ON DRIVABILITY. I CONTINUED DRIVING THE CAR, WITH REGULAR
 7            OIL CHANGES (ALL MY MAINTENANCE WAS DONE AT THE
 8            DEALER), UNTIL SEPTEMBER 2020, WHEN THE NOISE BECAME
              VERY NOTICEABLE, AT ALL SPEEDS AND ALMOST CONSTANT.
 9            BECAUSE I HAD MOVED TO CALIFORNIA, I TOOK IT TO ANOTHER
10            KIA DEALERSHIP IN OAKLAND AND THEY SAID THEY CAN
              INSTALL A USED ENGINE REPLACEMENT (WITH 30 K MILES ON IT
11            ALREADY) FOR A MINIMUM OF 6200 BEFORE TAX. I THOUGHT
12            THEY WERE KIDDING, TOOK IT TO AN INDEPENDENT MECHANIC
              BECAUSE THEY DIDN’T EVEN DO SO MUCH AS CHANGE THE OIL IN
13            THAT VISIT.... WELL THE INDEPENDENT MECHANIC AGREES ON
14            THE ROD BEARING BEING ON ITS WAY OUT AND THAT THE ENGINE
              CAN SEIZE AT ANY POINT. THE INDEPENDENT MECHANIC TORE
15            DOWN THE ENGINE TO DIAGNOSE IT. I NOW HAVE TO PAY MORE
16            THAN THE CAR’S WORTH TO ENSURE IT DOESN’T SEIZE AT
              HIGHWAY SPEEDS AND KILL SOMEONE, OR HAVE TO SELL IT FOR
17            SCRAPS, DESPITE INSTALLING BRAKE PADS, ROTORS, A NEW EVAP
18            CANISTER (CRACKED AND FAILED SMOG TEST IN
              CALIFORNIA)AND PURGE VALVE JUST THIS YEAR ALONE. THE
19            VEHICLE IS DANGEROUS TO DRIVE NOW. KIA NEEDS TO FIX THIS.
20            THESE ENGINES NEED TO BE REPLACED UNDER WARRANTY.
              FORUMS ARE FULL OF FAILED KIA FORTES FROM 2012, SOME
21            MUCH EARLIER THAN MINE. 93.5K MILES SINCE BUYING IT IN
22            AUGUST 2013).
23                                    2013 Kia Forte
24
              May 2, 2013 NHTSA ID NUMBER: 10510076
25            THE CONSUMER STATED THREE WEEKS AFTER HER DAUGHTER
26            PURCHASED THE VEHICLE, THE CHECK ENGINE LIGHT
              ILLUMINATED AND THE VEHICLE OVERHEATED. THE VEHICLE
27            STARTED TO MALFUNCTION AND BECAME DIFFICULT TO
28            CONTROL. SMOKE AND A VERY STRONG BURNING ODOR EMITTED
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 79
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 1            FROM THE ENGINE. THE VEHICLE WAS TOWED TO THE DEALER
 2
              FOR AN INSPECTION. THE RADIATOR WAS FOUND TO BE FAULTY.
              SINCE THE REPAIRS WERE MADE, THE VEHICLE WAS BURNING
 3            EXCESSIVE AMOUNT OF OIL, WHICH REQUIRED ADDING OIL TO
 4            KEEP IT AT FULL LEVEL. THE TAIL PIPE WAS DARK BLACK AND
              HEAVILY SOILED, WHICH INDICATED THE VEHICLE STILL HAD A
 5            SERIOUS PROBLEM. ONE MONTH LATER, THE CONSUMER
 6            EXPERIENCED DELAYED ACCELERATION

 7            September 4, 2014 NHTSA ID NUMBER: 10630711
 8            I PURCHASED THE CAR DECEMBER 2012; 2013 KIA FORTE EX.
              ABOUT A 9 MONTHS AFTER I PURCHASED THE CAR, I WAS DRIVING
 9            AND THERE WAS A LOUD KNOCKING NOSE IN THE ENGINE AND
10            ABOUT A HOUR LATER THE CAR STALLED ON ME IN DOWNTOWN
              SACRAMENTO, CA. I GOT THE CAR TOWED TO SACRAMENTO KIA
11            (2820 FULTON AVE, SACRAMENTO, CA 95821). AFTER THE CAR WAS
12            DIAGNOSED THEY TOLD ME THAT IT WAS A MANUFACTURING
              PROBLEM, THEY SAID WHEN THE CAR WAS BUILT A FEW PARTS IN
13            THE ENGINE WERE PUT IN INCORRECTLY WHICH CAUSED MY
14            ENGINE TO BASICALLY OVER HEAT AND START TO FALL APART.
              SO THEY SAID THAT THEY WILL REPLACE THE ENGINE FREE OF
15            CHARGE.
16            AUGUST 17 2014 AWHILE AFTER THE NEW ENGINE WAS PUT IN MY
              CAR, THE CAR STALLED ON ME AGAIN WITH THE SAME KNOCKING
17            NOISE COMING FROM THE ENGINE. AT THE TIME I WAS ON THE
18            FREEWAY GOING ABOUT 60MPH. AFTER THE CAR STALLED ON ME
              I COULD NOT GO ABOVE 30MPH NO MATTER HOW HARD I PUSHED
19            THE GAS PEDAL. I HAD TO DRIVE ALL THE WAY HOME ON THE
20            FREEWAY WITH THE HAZARD LIGHTS ON GOING 30MPH. WHEN I
              GOT HOME I HAD THE CAR TOWED TO SACRAMENTO KIA (2820
21            FULTON AVE, SACRAMENTO, CA 95821). IT TOOK THEM A FEW
22            DAYS TO A WEEK FOR THEM TO CALL ME AND LET ME KNOW THE
              CAR WAS THERE. I CALLED TWICE EVERYDAY AND NEVER
23            RECEIVED A CALL BACK WHEN THEY SAID THEY WERE BUSY. I
24            DID NOT RECEIVE A PHONE CALL UNTIL THEY CALLED ME THE
              THIRD WEEK AND SAID THEY ARE ORDERING PARTS FOR THE CAR.
25            I DID NOT AUTHORIZE ANYONE TO ORDER PARTS FOR THE CAR
26            BECAUSE I DID NOT FIND OUT WHAT WAS WRONG WITH THE CAR.
              TWO DAYS AGO SEPTEMBER 2 2014 WAS THE DATE I FOUND OUT
27            THAT I NEEDED A WHOLE NEW ENGINE WHEN THE ENGINE WAS
28            REPLACED A YEAR AGO. SO THIS WOULD BE THE THIRD ENGINE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 80
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 1            FOR MY BRAND NEW 2013 KIA FORTE EX I PURCHASED A YEAR
 2
              AGO. *TR

 3            December 14, 2017 NHTSA ID NUMBER: 11054770
 4            TL* THE CONTACT OWNS A 2013 KIA FORTE. WHILE DRIVING 70
              MPH, THE MOTOR FAILED. THERE WERE NO WARNING INDICATORS
 5            ILLUMINATED. THE VEHICLE WAS TOWED TO DELAND KIA (2322 S
 6            WOODLAND BLVD, DELAND, FL 32720, (386) 734-7800) WHERE IT
              WAS DIAGNOSED THAT THE CRANK SHAFT FAILED AND
 7            DESTROYED THE ENGINE. THE VEHICLE WAS REPAIRED. THE
 8            MANUFACTURER STATED THAT THEY WOULD NOT REPAIR THE
              VEHICLE BECAUSE THERE WAS NO OPEN RECALL AND THE
 9            VEHICLE WAS NOT UNDER WARRANTY. THE FAILURE MILEAGE
10            WAS 66,000.

11            June 12, 2018 NHTSA ID NUMBER: 11101299
12            I WAS ENTERING THE FREEWAY, ACCELERATED TO MATCH
              TRAFFIC SPEED, I HEARD THE ENGINE'S RPMS INCREASE BUT
13            ALMOST IMMEDIATELY AFTERWARDS THE CAR SHUT DOWN. I
14            WAS IN THE MIDDLE LANE OF A VERY BUSY INTERCHANGE AND
              GOING ABOUT 60MPH WHEN THE CAR QUIT. I KEPT TRYING TO
15            RESTART THE CAR BY PUTTING IT IN NEUTRAL AND AT THE SAME
16            TIME STEER IT TOWARDS THE SHOULDER. THERE WERE NO
              WARNING LIGHTS. WHEN I HEARD THE ENGINE NOISE I LOOKED
17            AT THE DASH, ALL WAS NORMAL, THE D FOR DRIVE WAS VISIBLE.
18            IT HAPPENED VERY QUICKLY. ONCE STOPPED AND OUT OF
              TRAFFIC, I TRIED TO RESTART THE CAR, IT RAN FOR JUST
19            SECONDS THEN NOTHING. THIS CAR HAD JUST BEEN SERVICED AT
20            THE KIA DEALER. IT ONLY HAS 51K MILES ON IT. I HAD TO HAVE IT
              TOWED TO THE DEALER. THEY ARE TELLING ME THE ENGINE IS
21            FAULTY BUT THEY DON'T MAKE IT ANYMORE AND THEY HAVE NO
22            RESOLUTION FOR ME. THE CAR IS ONLY 4 MONTHS PAST THE 5
              YEAR MARK AND IT IS UNDER 60000 MILES. IT HAS BEEN
23            MAINTAINED PERFECTLY, IT STILL LOOKS NEW. THE ORIGINAL
24            OWNER DID ALL THE SERVICE AS WELL. KIA KNOWS THEY HAVE
              FAULTY ENGINES, YET THEY DO NOTHING TO WARN THE OWNERS
25            OR REMEDY THE PROBLEM.
26            THE SAY THEIR CARS ARE GOOD FOR 10YRS OR 100K MILES, THEN
              THEY SHOULD MAKE IT SO. THIS CAR IS A TOP OF THE LINE 2013
27            FORTE SX (WITH ALL THE BELLS AND WHISTLES) . I BELIEVE IT IS
28            ALSO AFFECTED BY THE LATEST AIRBAG RECALL AS WELL.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 81
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 1

 2
              February 23, 2021 NHTSA ID NUMBER: 11397481
              LOUD TICKING OR KNOCKING SOUND COMING FROM ENGINE.
 3            SOUNDS EXACTLY THE SAME AS OTHER ENGINES THAT WERE
 4            REPLACED BECAUSE OF “ROD KNOCK”. THIS SAME ENGINE WAS
              RECALLED ON MANY OTHER MODELS SO WHY NOT ON THE 2013
 5            KIA FORTE?
 6
                                      2014 Kia Forte and Forte Koup
 7

 8           August 16, 2017 NHTSA ID Number: 11118352
             TL* THE CONTACT OWNS A 2014 KIA FORTE. WHILE DRIVING 30
 9           MPH, AN ABNORMAL KNOCKING SOUND WAS HEARD COMING
10           FROM THE ENGINE COMPARTMENT. THERE WERE NO WARNING
             INDICATORS ILLUMINATED. THE VEHICLE WAS TAKEN TO THE
11           DEALER (SHAWNEE MISSION KIA USED CARS, 7810 SHAWNEE
12           MISSION PARKWAY, OVERLAND PARK, KS 66202) WHERE IT WAS
             DIAGNOSED THAT THE MOTOR FAILED. THE VEHICLE WAS NOT
13           REPAIRED. THE MANUFACTURER WAS NOT NOTIFIED OF THE
14           FAILURE. THE FAILURE MILEAGE WAS 48,000.

15           November 15, 2017 NHTSA ID Number: 11046543
16           2014 KIA FORTE EXPERIENCED AN UNEXPLAINED CATASTROPHIC
             ENGINE FIRE WHILE DRIVING DOWN THE ROAD AT A STEADY
17           40MPH IN 40 DEG. F. WEATHER. ALL SUSPENSION COMPONENTS
18           SHOWED NO OBVIOUS DAMAGE, AND THE OWNER DID NOT
             PERFORM ANY RECENT SERVICE WORK. NO SYMPTOMS SUCH AS
19           ENGINE LIGHTS OR SOUNDS WERE OBSERVED UNTIL THE CAR
20           BEGAN LOSING POWER AND CAUGHT FIRE ABOUT 60 SECONDS
             LATER. THE CHECK ENGINE LIGHT ILLUMINATED AFTER SMOKE
21           WAS OBSERVED BY THE DRIVER WHO WAS STOPPING THE CAR.
22
             April 26, 2018 NHTSA ID Number: 11092181
23           TL* THE CONTACT OWNS A 2014 KIA FORTE. THE CONTACT STATED
24           THAT THE ENGINE SEIZED WHILE DRIVING APPROXIMATELY 25
             MPH. THE FAILURE OCCURRED WITHOUT WARNING. HOMETOWN
25           KIA (111 MIDTOWN AVE, MT HOPE, WV) DIAGNOSED THAT THE
26           ENGINE FAILED AND NEEDED TO BE REPLACED. THE
             MANUFACTURER WAS NOTIFIED AND REFERRED THE CONTACT TO
27           NHTSA. THE FAILURE MILEAGE WAS APPROXIMATELY 121,000.
28

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 1           June 7, 2018 NHTSA ID Number: 11112156
 2
             TL* THE CONTACT OWNS A 2014 KIA FORTE. WHILE DRIVING AT AN
             UNKNOWN SPEED, AN ABNORMAL KNOCKING NOISE WAS HEARD.
 3           THERE WERE NO WARNING INDICATORS ILLUMINATED. THE
 4           VEHICLE WAS TOWED TO THE LOCAL DEALER (RICK CASE KIA, 3190
             SATELLITE BLVD, DULUTH, GA 30096, (888) 322-3854) WHERE IT WAS
 5           DIAGNOSED THAT THE ENGINE NEEDED TO BE REPLACED. THE
 6           VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOTIFIED
             OF THE FAILURE AND PROVIDED CASE NUMBER: 12774224. NO
 7           FURTHER ASSISTANCE WAS PROVIDED. THE FAILURE MILEAGE
 8           WAS 75,000.

 9           July 13, 2018 NHTSA ID Number: 11113392
10           TL* THE CONTACT OWNED A 2014 KIA FORTE. WHILE DRIVING 15
             MPH, THE CONTACT DETECTED AN ABNORMAL ODOR. ALSO,
11           WHILE THE VEHICLE WAS PARKED WITH THE ENGINE RUNNING,
12           SMOKE WAS SEEN COMING FROM UNDER THE HOOD AND FLAMES
             APPEARED FROM THE FRONT OF THE VEHICLE. A POLICE REPORT
13           WAS FILED. THE FIRE DEPARTMENT EXTINGUISHED THE FIRE. THE
14           FIREFIGHTERS INFORMED THE CONTACT THAT THE VEHICLE WAS
             SEVERELY DAMAGED AND THE CAUSE OF THE FIRE WAS NOT
15           DETERMINED. THE CONTACT'S SIGNIFICANT OTHER SUFFERED
16           BURNS ON THE RIGHT HAND THUMB, BUT NO MEDICAL ATTENTION
             WAS REQUIRED. THE VEHICLE WAS TOWED TO A TOW LOT AND
17           DEEMED A TOTAL LOSS. THE DEALER WAS NOT CONTACTED. THE
18           MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE FAILURE
             MILEAGE WAS 60,000.
19

20           September 6, 2018 NHTSA ID Number: 11130517
             AT APPROXIMATELY 63,000 MILES I BEGAN HEARING A KNOCK IN
21           THE ENGINE AND NOTICED HESITANCY AS THE ENGINE SHIFTED
22           GEARS. ABOUT 4 DAYS LATER THE CHECK ENGINE LIGHT CAME ON.
             I TOOK THE CAR TO THE DEALERSHIP AND WAS TOLD THERE WAS
23           SLUDGE IN THE ENGINE. THE SERVICE REP AT THE DEALERSHIP
24           INDICATED THAT THE WOULD CONTACT KIA TO DETERMINE IF THE
             ENGINE REPAIR WOULD BE COVERED UNDER THE WARRANTY.
25           YESTERDAY I WAS TOLD IT MAY BE AN ENGINE ROD. IT HAS BEEN
26           OVER A WEEK WITHOUT ANY RESOLUTION. I MENTIONED THAT
             KIA HAD RECALLED KIA OPTIMA FOR SIMILAR ENGINE AND WAS
27           RUDELY ADVISED THAT THE FORTE AND OPTIMA HAD DIFFERENT
28           ENGINES.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 83
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 1

 2
             October 19, 2018 NHTSA ID Number: 11141568
             MILEAGE 109000. DRIVING ALONG A HEARD KNOCKING IN ENGINE.
 3           PULLED TO SIDE AND WAITED FOR IT TO COOL DOWN AND
 4           CHECKED FLUIDS. EVERYTHING WAS GOOD. STARTED BACK
             DRIVING AND KNOCKING INCREASED AND THEN ENGINE SHUT OFF
 5           CAUSING US TO COAST FROM 60MPH ON A 4 LANE ROAD. LUCKILY
 6           WAS ABLE TO DRIFT TO A SAFE SPOT TO PULL OVER.

 7           November 29, 2018 NHTSA ID Number: 11154793
 8           TAKATA RECALL, THE INDICATOR GAUGES/SENSORS ON THE
             INSTRUMENT PANEL INDICATING LOW OIL PRESSURE, AS WELL AS
 9           OTHERS ARE CURRENTLY NOT WORKING AND MY ENGINE IS
10           BURNING OIL IN EXCESS OF MANUFACTURES SPECIFICATIONS.
             GENERAL KNOWLEDGE IS THAT THIS CAN CAUSE MY ENGINE TO
11           SEIZE OR CATCH ON FIRE WHICH IS AN IMMENSE SAFETY
12           CONCERN. PER THE YORK PA KIA DEALER, THE OIL WAS EMPTY
             THE OIL PRESSURE INDICATOR NEVER ILLUMINATED. IT WASN'T
13           UNTIL MY CAR WAS DEEMED EMPTY THAT THE CHECK ENGINE
14           LIGHT CAME ON. CAR WAS INSPECTED BY DEALER AND YORK KIA
             (SEPT 18) CLAIMED NO PERMANENT DAMAGE TO MY ENGINE AS A
15           RESULT. (VEHICLE PASSED EMISSIONS/SAFETY TWO WEEKS LATER
16           - MONROE MUFFLER & BREAK, YORK PA) AS MY CAR DIDN'T SEEM
             TO BE LEAKING OIL, SUBSEQUENT VIGILANCE BY ME REVEALED
17           THAT MY CAR WAS BURNING OIL. TWO FOLLOW-UP VISITS SINCE
18           SEPTEMBER TO REMEDY THE PROBLEM WITH LANCASTER PA KIA
             (LAST 11/27 - 11/28 (81,500 K ON ENGINE) AND WORK WITH GWC
19           (POWER TRAIN $2,100 WARRANTY) AN AFTERMARKET WARRANTY
20           HAVE BEEN REJECTED DESPITE EVIDENCE THAT MY CAR IS
             BURNING OIL IN EXCESS OF SPECS. AS I AM NOT THE ORIGINAL
21           OWNER, NOR DID I PURCHASE THIS AS A CERTIFIED VEHICLE, AS
22           THERE IS NO ACTIVE RECALL, KIA WILL NOT REMEDY.
             MAINTENANCE RECORDS SUPPORT THAT THIS VEHICLE WASN'T
23           MECHANICALLY NEGLECTED AND MAINTAINED BY ALL PREVIOUS
24           OWNERS. IF YOU REQUEST NOTES FROM THE DEALERS THAT I
             HAVE BEEN WORKING WITH PLEASE CALL ME AT [XXX] AND
25           LEAVE ME A MESSAGE SO I KNOW WHAT THE CALL IS REGARDING.
26           IN ADDITION MY EMAIL IS [XXX] THANK YOU. PS. AS THIS IS MY
             ONLY VEHICLE, AND NOT REALLY SAFE, INFORMATION THAT
27           WOULD INDICATE THAT A RECALL FOR MY MAKE AND MODEL
28           WOULD BE VERY HELPFUL ON HOW I HANDLE THE SITUATION
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 84
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 1           WITH MY CURRENT VEHICLE. LOST AROUND $500 NEEDING
 2
             RENTALS ETC. PLUS WORTHLESS WARRANTY. INFORMATION
             REDACTED PURSUANT TO THE FREEDOM OF INFORMATION ACT
 3           (FOIA), 5 U.S.C. 552(B)(6). *TR
 4
             June 10, 2019 NHTSA ID Number: 11221325
 5           2014 KIA FORTE EX 2.0 LITER GDI ENGINE HAS KNOCKING NOISES.
 6           WHEN I TOOK IT TO GROSSINGER KIA OF LINCOLNWOOD, IL THEY
             QUOTED OVER $4,300 + LABOR DUE TO METAL SHRAPNEL IN THE
 7           ENGINE AND THEY TOLD ME THAT I NEEDED TO REPLACE THE
 8           SHORT BLOCK OF THE ENGINE. THEY TOLD ME THAT THE CAR WAS
             OUT OF WARRANTY BECAUSE I WAS NOT THE FIRST OWNER AND
 9           THAT THE ENGINE WAS ONLY COVERED UNTIL 60,000 MILES. I
10           BOUGHT THE CAR USED AROUND NOVEMBER 2018 WHEN IT HAD
             AROUND 61,000 MILES BECAUSE IT HAD A CLEAN CARFAX HISTORY
11           BUT I NOTICED THE KNOCKING NOISES BECAME INCREASINGLY
12           LOUDER UNTIL I TOOK IT TO THE DEALER. I'VE SEARCHED ONLINE
             AND IT APPEARS THAT HYUNDAI/KIA HAS A MANUFACTURING
13           DEFECT WITH THEIR GDI ENGINES AS THERE ARE CURRENTLY
14           LAWSUITS CONCERNING THEIR ENGINES FAILING DUE TO A
             MANUFACTURING DEFECT. I BELIEVE THIS CAR ALSO HAS A
15           DEFECT ENGINE AND AN INVESTIGATION SHOULD BE DONE TO
16           COMPEL THEM TO REPAIR THEIR DEFECTIVE ENGINES.

17                                    2015 Kia Forte and Forte Koup
18
              June 6, 2017 NHTSA ID Number: 10994965
19            TL* THE CONTACT OWNS A 2015 KIA FORTE. THE CONTACT
20            STATED THAT THERE WAS AN ABNORMAL NOISE THAT SUDDENLY
              PROGRESSED WHILE THE VEHICLE WAS BEING PULLED INTO THE
21            DRIVEWAY TO BE PARKED. THE VEHICLE WAS NOT SAFE TO DRIVE
22            AND WAS TOWED TO THE DEALER (WORLD KIA JOLIET, 2525 W
              JEFFERSON ST, JOLIET, IL 60435, (815) 725-2575). THE DEALER
23            INDICATED THAT THE ENGINE WAS A GDI MODEL. THE
24            MANUFACTURER HAD NOT DEVELOPED A REPAIR SOLUTION AND
              THAT THERE WAS A CAMPAIGN TO ADDRESS THE GDS MODEL
25            TYPES. THE CONTACT WAS UNCERTAIN AS TO WHY THE DEALER
26            HAD NOT BEEN ABLE TO DETERMINE A SOLUTION. THE REPAIR
              CONCERNS WERE TO BE ESCALATED BUT, WHEN THE CONTACT
27            FOLLOWED UP, THEY HAD NOT BEEN ESCALATED. THE
28            APPROXIMATE FAILURE MILEAGE WAS 39,000. UPDATED
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 85
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 1            08/03/17*LJ THE CONSUMER STATED THE DEALER CLAIMED THE
 2
              FAILURE WAS DUE TO POOR MAINTENENCE. THE CONSUMER
              LOCATED OIL CHANGE RECIEPTS. THE DEALER THE REPLACED
 3            THE ENGINE. *JS
 4
              September 13, 2017 NHTSA ID Number: 11023328
 5            BEARINGS IN THE ENGINE WENT BAD AND ENGINE LOCKED UP
 6            WITH LESS THAN 45000 MILES ON THE VEHICLE. VEHICLE IS TWO
              YEARS OLD. IT WAS IN THE SERVICE DEPARTMENT ONE MONTH
 7            AGO AND THEY REPORTED NO PROBLEMS AT THE TIME. VEHICLE
 8            WAS IN MOTION IN A PARKING LOT WHEN THE ENGINE LOCKED
              UP.
 9

10            June 7, 2018 NHTSA ID Number: 11101058
              TL* THE CONTACT OWNS A 2015 KIA FORTE. WHILE DRIVING AT AN
11            UNKNOWN SPEED, SMOKE APPEARED UNDER THE HOOD. THE
12            CONTACT WAS ABLE TO COAST THE VEHICLE TO THE ROAD
              SHOULDER. THE CONTACT UNLATCHED THE HOOD AND FOUND
13            FLAMES UNDER THE HOOD. THE CONTACT STATED THAT
14            SOMEONE STOPPED AND ASSISTED WITH A FIRE EXTINGUISHER
              AND WAS ABLE TO EXTINGUISH THE FIRE. THE FIRE DEPARTMENT
15            AND LOCAL POLICE ARRIVED AND A POLICE REPORT WAS FILED.
16            THE FIRE DEPARTMENT DID NOT DETERMINE THE ORIGIN OF THE
              FIRE. THE VEHICLE WAS TOWED TO AN UNKNOWN LOCATION AND
17            WAS AWAITING TO BE TOWED TO A DEALER FOR FURTHER
18            INSPECTION. THE VEHICLE WAS NOT REPAIRED. THE
              MANUFACTURER WAS NOT NOTIFIED. THE VIN WAS NOT
19            AVAILABLE. THE FAILURE MILEAGE WAS 37,000.
20
              July 27, 2018 NHTSA ID Number: 11114380
21            I WAS DRIVING ON HIGHWAY 8 IN SAN DIEGO,CA AND I HEARD A
22            LOUD RATTLING NOISE, THE CHECK ENGINE LIGHT LIT UP AND
              THE ENGINE DIED AND I WAS LUCKY TO BE ABLE TO COAST THE
23            CAR TO THE SHOULDER OF THE FREEWAY. I HAD IT TOWED TO MY
24            KIA DEALERSHIP IN EL CAJON, CA. THEY LOOKED AT IT AND TOLD
              ME MY ENGINE SEIZED AND THE ENGINE WAS BLOWN. I BOUGHT
25            THIS CAR 11 MONTHS AGO AS A CPO AND IT IS WITHIN THE
26            WARRANTY OF 10 YRS/100,000 MILES. I'VE ONLY PUT 21,000 MILES
              ON IT. THEY ARE ASKING FOR MY MAINTENANCE RECORDS AND
27            ARE HAVING A SPECIAL INVESTIGATOR TO COME OUT ON 7/31/2018
28            TO DETERMINE THE CAUSE. I HAVE HAD ONE OIL CHANGE DONE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 86
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 1            AT THE DEALER IN JANUARY OF 2018, THE REST OF THE OIL
 2
              CHANGES I DID ON MY OWN. THE LAST OIL CHANGE WAS JUST 2
              WEEKS AGO. THE DEALERSHIP IS NOW TELLING ME THAT IT'S UP
 3            TO THE INVESTIGATOR TO DECIDE IF THE ENGINE WAS DEFECTIVE
 4            AND IF THEY'LL COVER MY ENGINE UNDER THE POWERTRAIN
              WARRANTY. WHEN I TOOK MY VEHICLE IN TO THE DEALER IN
 5            JANUARY 2018, I INFORMED THE MECHANIC THAT THERE WAS A
 6            KNOCKING/PINGING NOISE IN THE ENGINE, HE TOLD ME THAT
              THIS WAS NORMAL. THEY NEVER DOCUMENTED MY COMPLAINT.
 7            AFTER READING ABOUT ALL THE PROBLEMS WITH THESE
 8            ENGINES AND HOW KIA IS HANDLING THESE PROBLEMS, I AM
              VERY CONCERNED THAT THEY'LL HONOR THE WARRANTY. I AM
 9            MAKING CAR LOAN PAYMENTS ON THIS CAR AND CANNOT
10            AFFORD TO PAY FOR A NEW ENGINE WHILE THE BATTLE OVER
              THESE ENGINES PLAY OUT IN THE COURTS, YOUR
11            INVESTIGATIONS AND THE RECENT FBI INVOLVEMENT. THE
12            DEALER NEVER INFORMED ME OF POSSIBLE PROBLEMS WITH
              THESE ENGINES. I NEVER WOULD'VE PURCHASED THIS CAR.
13            PLEASE HELP, I AM CONCERNED THAT THE INVESTIGATOR WILL
14            FALSIFY WHAT IS FOUND IN THE ENGINE UPON INVESTIGATION.

15            December 26, 2018 NHTSA ID Number: 11164177
16            TL* THE CONTACT OWNS A 2015 KIA FORTE. WHILE DRIVING
              APPROXIMATELY 72 MPH, THE FRONT OF THE VEHICLE CAUGHT
17            FIRE. THE CONTACT NOTICED THAT THE FIRE WAS COMING FROM
18            THE ENGINE. THERE WERE NO INJURIES. THE FIRE DEPARTMENT
              EXTINGUISHED THE FIRE. THE VEHICLE WAS TOWED TO A LOCAL
19            TOW LOT. THE DEALER AND MANUFACTURER WERE NOT
20            NOTIFIED OF THE FAILURE. THE CAUSE OF THE FAILURE WAS NOT
              DIAGNOSED. THE APPROXIMATE FAILURE MILEAGE WAS 83,000.
21            THE VIN WAS NOT PROVIDED.
22
              March 4, 2019 NHTSA ID Number: 11184245
23            ENGINE LIGHT CAME ON TOOK IT TO KIA THEY DID A TUNE UP
24            AND FUEL FLUSH CAR SOUNDED TERRIBLE. TOLD ME THEY
              COULDN'T DIAGNOSE THE PROBLEM UNLESS THE ENGINE LIGHT
25            CAME ON AGAIN. I TOOK IT BACK BECAUSE THE SOUND WAS
26            WORSE 3 WEEKS LATER. THEY SAID I NEEDED A NEW ENGINE $7702
              OR THEY COULD CHECK THE ENGINE FOR $2000 AND REPLACE IT IF
27            NEEDED THE PRICE WOULD BE $7702 PLUS TAX. I DO NOT
28            UNDERSTAND WHY IT SOUNDED WORSE AFTER THE TUNE UP OR
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 87
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 1            WHY THEY DID NOT IDENTIFY THE PROBLEM BEFORE THE TUNE.
 2
              THEY SAID IT WAS INTERNAL ENGINE FAILURE.

 3            March 30, 2019 NHTSA ID Number: 11193333
 4            ON SATURDAY MARCH 30, 2019, I WAS DRIVING ALONG THE 110
              NORTH HIGHWAY ( CALIFORNIA) WITH MY ONLY SON , MY
 5            MOTHER AND MY BOYFRIEND , I WAS GETTING SIGNALED TO PULL
 6            OVER BY OTHER DRIVERS AT THAT VERY MOMENT MY CAR
              STALLED AND HEAVY DARK SMOKE STARTED TO COME OUT OF
 7            AIR VENT , MY BOYFRIEND SHOUTED FOR US TO GET OUT OF THE
 8            CAR QUICK , MY MOTHER IS DISABLED AND USES A WALKER TO
              WALK WE HAD TO MAKE SURE SHE GOT OUT FIRST , AS WE
 9            STARTED TO RUN FROM THE CAR I TURNED AROUND AND
10            NOTICED A FIRE UNDER MY CAR ( I WAS DRIVING LIKE THAT ,
              UNKNOWINGLY) MY CAR WENT INTO FLAMES WITHIN MINUTES
11            AND IT WAS A TOTAL LOSS. I HAVE PROVIDED PICTURES FOR YOU
12            REVIEW, I WAS VERY AFRAID FOR NOT ONLY MY LIFE BUT MY
              FAMILIES LIFE, IT CROSSED MY MIND THAT I WAS GOING TO DIE,
13            IF THESE DOORS DON'T OPEN
14
                                      2012 Kia Forte Koup
15

16            December 22, 2019 NHTSA ID NUMBER: 11290669
              2012 KIA FORTE KOUP DRIVING ON A 45MPH ROAD WHEN WITHOUT
17            WARNING ENGINE SEIZED CAUSING DANGEROUS SITUATION
18            ATTEMPTING TO PULL CAR TO SIDE WITHOUT POWER.
              TOOK VEHICLE TO DELEARSHIP FOR WARRANTY SERVICE AS CAR
19            WAS STILL UNDER WARRANTY
20            WAS DENIED WARRANTY SERVICE FOR LUDICROUS REFUSAL TO
              ACCEPT MAINTENANCE RECORDS BECAUSE I SCANNED THE
21            ORIGINALS AND WOULD NOT HAND OVER THE ORIGINALS.
22            VEHICLE WAS IN PERFECT RUNNING ORDER AND I PROVIDED
              VIDEO EVIDENCE SHOWING KIA VIDEO I HAPPENED TO HAVE SHOT
23            JUST A FEW WEEKS BEFORE THE ENGINE FAILED DEMONSTRATING
24            CAR WAS RUNNING PERFECT WITHOUT ANY SHAKES,
              RUMBLES,ODD NOISES AND ABSOLUTELY NO "SERVICE ENGINE"
25            OR OTHER WARNING LIGHTS.
26            KIA TOOK 2 MONTHS TO EVEN GIVE ME A PRELIMINARY DECISION
              THAT WOULD NOT COVER THE REPAIRS WITH NO OFFER TO ASSIST
27            WITH A LOANER CAR OR RENTAL OR ANY OTHER ASSISTANCE.
28

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 1            OPENED ENGINE UP TO FIND METAL SHAVINGS AND OTHER
 2
              REMNANTS FROM MANUFACTURE FLOATING AROUND IN OIL PAN
              UPON INVESTIGATING A LITTLE FURTHER DISCOVERED THAT KIA
 3            NEEDS TO HELD ACCOUNTABLE NOT ONLY FOR THE GDI THETA
 4            ENGINES THAT HAVE BEEN RECALLED UNDER SC147 BUT ALSO
              THE MPI MODEL ENGINES LIKE I HAVE IN MY CAR.
 5            IN THE RECALL KIA CLAIMS METAL SHAVINGS FROM
 6            MANUFACTURE OF THE CRANKSHAFTS ON THE GDI ENGINES
              CAUSED THE ISSUES.......HOWEVER, THE EXACT SAME
 7            CRANKSHAFT DOWN TO THE PART NUMBERS ARE 100%
 8            IDENTICAL.
              PLEASE I IMPLORE YOU TO HOLD KIA ACCOUNTABLE NOT ONLY
 9            FOR THE GDI ENGINES BUT ALSO THE MPI AS WELL. THEY BOTH
10            USE THE EXACT SAME PART KIA CLAIMS HAD ISSUES AND KIA
              CONTINUES TO LIE AND NOT HONOR THEIR WARRANTY.
11

12            December 6, 2020 NHTSA ID NUMBER: 11378120
              2012 KIA FORTE KOUP CAR WILL SHUT OFF WHILE DRIVEING AND
13            VERY LOUD KNOCK IN THE ENGINE TOOK IT TO KIA IN
14            LANCASTER OHIO VEHICLE THROWING NO CODES WHY IS THIS
              ENGINE NOT INCLUDED IN THE RECALL I HAVE SEEN OTHERS ASK
15            THE VERY SAME QUESTION FOR EXACT VEHICLE
16
                                      2013 Kia Forte Koup
17

18            August 10, 2019 NHTSA ID NUMBER: 11242998
              I HAVE A 2013 KIA FORTE KOUP SX WITH THE 2.4L MPI ENGINE. I
19            WAS DRIVING DOWN THE INTERSTATE AT 75MPH AND ALL OF THE
20            SUDDEN THE ENGINE QUIT RUNNING. I COASTED TO THE SIDE OF
              THE ROAD AND OPENED MY HOOD AND DID NOT SEE ANY
21            APPARENT PROBLEMS IN THE ENGINE BAY. OIL LEVEL WAS OK. I
22            STARTED THE CAR AGAIN AND DID NOT HEAR ANY ABNORMAL
              NOISES SO I DROVE IT HOME. TWO WEEKS LATER THE ENGINE
23            STARTED TO MAKE KNOCKING SOUNDS ON MY WAY HOME FROM
24            ANOTHER TRIP. I AM NOW TOLD THAT THE CAR NEEDS A NEW
              ENGINE WITH ONLY 69,000 MILES ON IT. THE KIA RECALL
25            17V224000 FOR IMPROPERLY MACHINED ENGINES IS NOT NEARLY
26            AS COMPREHENSIVE AS IT NEEDS TO BE AND DOES NOT INCLUDE
              THE FORTE. KIA CLAIMS THAT ONLY THE GDI ENGINES ARE
27            AFFECTED BUT THE REALITY IS THE MPI VERSION OF THE 2.0 AND
28            2.4 THETA II ENGINES ARE FAILING PREMATURELY IN THE EXACT
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 89
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 1            SAME MANNER AS EVIDENCED BY THE MANY REPORTS FROM
 2
              OWNERS ONLINE.

 3            January 1, 2021 NHTSA ID NUMBER: 11386011
 4            DRIVING ON INTERSTATE I-70 MD AT 65MPH WHEN I HEARD A
              TICKING SOUND AND I WASNT GETTING ANY POWER. CAR WAS
 5            STRUGGLING TO MOVE WHEN ALL THE SUDDEN BANG!!!! SMOKE,
 6            PLASTIC AND METAL WENT FLYING EVERYWHERE FROM THE
              ENGINE BAY, RICOCHETING OFF THE ASPHALT TOWARDS THE
 7            SIDES OF MY VEHICLE AND OTHER CARS TRAILING BEHIND ME.
 8            CARS SWERVED TO AVOID THE DEBRIS FROM HITTING THEIR
              VEHICLES. POWER STEERING WENT OUT AND I STRUGGLED TO
 9            MOVE THE CAR OVER TO THE SHOULDER ACROSS ANOTHER LANE.
10            I COULDVE EASILY BEEN KILLED HAD A DRIVER NOT BEEN
              PAYING ATTENTION OR LOOKING AT THEIR PHONE CROSSING
11            LANES AS THE VEHICLE QUICKLY WAS COMING TO A STOP,
12            INABLE TO MOVE. I SOMEHOW SAFELY GOT TO THE SHOULDER
              AND GOT THE CAR TOWED AT MY EXPENSE TO THE MECHANIC.
13            CATASTROPHIC ENGINE FAILURE. ROD SNAPPED AND BLEW A 2
14            INCH HOLE THROUGH THE ENGINE BLOCK AND CAR LIT ON FIRE
              BRIEFLY. BOUGHT A NEW (USED) THETA II ENGINE (THE SAME
15            ENGINE RECALLED IN HUNDREDS OF THOUSANDS OTHER KIAS
16            AND HYUNDAIS) BUT NOT FOR THE 2013 KIA KOUP WITH THE
              SAME ENGINE PROBLEM. $4800+ LATER, IM STILL SCARED DRIVING
17            ON THE HIGHWAY AS I COULDVE EASILY BEEN SMASHED THAT
18            DAY BY ANOTHER VEHICLE. KIA NEEDS TO RECALL EVERY SINGLE
              MAKE YEAR AND MODEL WITH THE THETA 2 ENGINE. HAVE NEW
19            (USED) ENGINE RECIEPT AND ALL DOCUMENTATION PERTAINING
20            TO THE INCIDENT.
21            February 15, 2021 NHTSA ID NUMBER: 11396326
22            SEVERAL RECALLS HAVE BEEN ISSUED FOR THE THETA II ENGINE.
              I OWN A 2013 KIA FORTE KOUP EX WHICH IS EQUIPPED WITH THE
23            2.0L MPI ENGINE. THE 2.4L ENGINE OF THE SAME TYPE WAS
24            RECALLED JUST A FEW WEEKS AGO. THE ONLY DIFFERENCE
              BETWEEN THESE TWO ENGINES IS THE SIZE. THEY ARE NOT
25            FUNDAMENTALLY DIFFERENT OTHER THAN A FEW TWEAKS TO
26            ACCOUNT FOR THE EXTRA VOLUME. LIKELY THIS MEANS THE
              SAME MANUFACTURING PROCESSES WERE USED FOR BOTH
27            ENGINES. IT WOULD BE INCREDIBLY INEFFICIENT TO CREATE NEW
28            MANUFACTURING PROCESSES FOR EACH OF THESE ENGINES.
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 1            THEREFORE, IF THERE WAS A MAJOR MANUFACTURING ERROR IN
 2
              THE 2.4L PRODUCTION (SAY METAL SHAVINGS THAT BLOCK OIL
              ACCESS TO THE ROD BEARINGS CAUSING CRITICAL WEAR AND
 3            DAMAGE), THEN THAT ERROR PROBABLY OCCURRED IN THE 2.0L
 4            MANUFACTURING.
              I WANT TO KNOW WHY THE 2.0L MPI ENGINE HAS NOT BEEN
 5            RECALLED.
 6            THE 2.0L MPI ENGINE ON MY KIA FORTE KOUP EX HAS BEGUN TO
              KNOCK. BY THE SOUND, THE ROD BEARING HAS PROBABLY WORN
 7            THROUGH AND THE LIFE OF MY CAR AND MY OWN SAFETY ARE
 8            AT A HIGH RISK. I CANNOT AFFORD A NEW ENGINE OR A NEW CAR
              RIGHT NOW JUST BECAUSE KIA SCREWED UP. PLEASE LOOK INTO
 9            THIS ISSUE. JUST BECAUSE NOT AS MANY PEOPLE HAVE CARS
10            WITH THE THETA II 2.0L MPI ENGINE DOESN’T MEAN OUR SAFETY
              AND OUR LIFE SAVINGS CAN BE THROWN OUT THE WINDOW.
11

12

13                                    2011 Kia Optima Hybrid
14
              July 17, 2017 NHTSA ID NUMBER: 11005850
15            MY ENGINE DID EXACTLY AS THE RECALL ON THE NON-HYBRID
16            ENGINES. LOST OIL PRESSURE, OIL INDICATOR CAME ON, CHECK
              ENGINE LIGHT CAME ON AS ENGINE SEIZED ON HIGHWAY DURING
17            DRIVING. DEALERSHIP REFUSING TO INCLUDE MY CAR ENGINE IN
18            RECALL BECAUSE OF HYBRID -EVEN THOUGH IT HAS A GAS
              ENGINE. KIA CORPORATE CONTACTED AND STATED THEY WERE
19            WILLING TO "WORK SOMETHING OUT" WITH IT IF DEALERSHIP
20            WILL CONTACT THEM. I CANNOT GET DEALERSHIP TO DO THIS
              YET. LIKELY LEGAL COUNSEL WILL HAVE TO BE CONTACTED.
21            INSURANCE ADJUSTER ALSO COMMENTED DEFECTIVE PART
22            LIKELY CAUSE. GOOD THING I DID NO HAVE CARDIAC ISSUE -HAD
              TO WAIT IN HEAT ON HIGHWAY DURING SUMMER MORNING FOR
23            TOW TRUCK AFTER SUDDEN ENGINE FAILURE IN TRAFFIC WHILE
24            EXITING ON TO THE HIGHWAY. ALSO FORTUNATE THE CARS
              BEHIND ME DID NOT HIT ME CAUSING MORE DAMAGE OR
25            PERSONAL INJURY. STILL TRAUMATIC EXPERIENCE.
26
              August 18, 2017 NHTSA ID NUMBER: 11016266
27            TL* THE CONTACT OWNS A 2011 KIA OPTIMA HYBRID. THE
28            CONTACT STATED THAT THE ENGINE SEIZED WHILE DRIVING 60
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 91
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 1            MPH. THE CONTACT WAS ABLE TO COAST THE VEHICLE OVER TO
 2
              THE EMERGENCY LANE. THERE WERE NO WARNING INDICATORS
              ILLUMINATED. THE CONTACT WAS ABLE TO DRIVE THE VEHICLE.
 3            THE CONTACT ALSO STATED THAT THE VEHICLE MADE A VERY
 4            LOUD KNOCKING NOISE AND SOUNDED LIKE SOMETHING WAS
              DRAGGING FROM THE BOTTOM OF THE VEHICLE. THE CONTACT
 5            COASTED TO THE SIDE OF THE ROAD AND WAS UNABLE TO
 6            RESTART THE VEHICLE. THE VEHICLE WAS TOWED TO AN
              UNKNOWN KIA DEALER IN IRVINE, CA. THE CONTACT WAS
 7            INFORMED THAT THE ENGINE NEEDED TO BE TORN DOWN TO
 8            DETERMINE WHAT CAUSED THE FAILURE. THE TECHNICIAN
              DIAGNOSED THAT THE FAILURE WAS DUE TO A ROD BEARING AND
 9            THERE WERE METAL SHAVINGS IN THE OIL PAN; HOWEVER, THE
10            VEHICLE WAS FREE OF SLUDGE. THE MANUFACTURER WAS
              CONTACTED. BECAUSE THE CONTACT WAS THE THIRD OWNER OF
11            THE VEHICLE, THE VEHICLE WOULD NOT BE REPAIRED FOR FREE.
12            THE CONTACT WAS ALSO INFORMED THAT THE FAILURE WAS
              IDENTICAL TO A PREVIOUS UNKNOWN RECALL. THE VEHICLE HAD
13            A 100,000 MILE WARRANTY, WHICH WAS NO LONGER VALID. THE
14            APPROXIMATE FAILURE MILEAGE WAS 67,000. THE VIN WAS NOT
              AVAILABLE.
15

16            November 30, 2017 NHTSA ID NUMBER: 11051611
              WHILE DRIVING ON THE HIGH WAY THE ENGINE STARTED MAKING
17            A KNOCKING SOUND AND THEN THERE WAS A BURNING SMELL
18            AND THE CAR WOULD NOT ACCELERATE THEN THE CAR SHUT
              OFF. I WAS FORCED TO SWITCH LANES AND GET OFF THE NEAREST
19            EXIT.
20
              May 16, 2018 NHTSA ID NUMBER: 11094133
21            DRIVING ON RAMP TO I10 IN CHANDLER AZ , SUDDENLY I'VE LOST
22            POWER ON THE CAR, NO WARNING LIGHTS ON OR ANY SOUND
              HEARD .I COAST TO THE EMERGENCY LINE AND TRY TO START
23            THE ENGINE AGAIN BUT NOTHING HAPPENED. AAA TOW THE CAR
24            TO KIA DEALER AND THEY SAID THE ENGINE IS SEIZED. ONLY
              64000 MILES . NO WARNING LIGHTS ON , NO ENGINE CHECK LIGHT
25            ON .
26
              March 25, 2019 NHTSA ID NUMBER: 11191408
27            OUR CAR BEGAN EXHIBITING A CLACKING NOISE WHEN DRIVING
28            THAT WOULD WORSEN WITH ACCELERATION. WITHIN 1-2 DRIVES,
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 92
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 1            IT QUICKLY PROGRESSED TO BE QUITE LOUD AND CONSTANT, SO
 2
              WE TOOK IT TO OUR LOCAL DEALERSHIP. WE WERE INFORMED
              THAT OUR ENGINE HAD THROWN A ROD AND WOULD NEED TO BE
 3            COMPLETELY REPLACED. WE ARE JUST OUTSIDE THE 100,000 MILE
 4            WARRANTY AND BOUGHT THE CAR BRAND NEW IN 2012 (YES, THE
              YEAR AFTER THE MODEL DATE, TAKING ADVANTAGE OF THE
 5            PRICE BREAK IN BUYING OLD STOCK), SO IT IS STILL A FAIRLY
 6            YOUNG ENGINE TO BE HAVING THIS PROBLEM. IT APPEARS OTHER
              NON-HYBRID KIA AND HYUNDAI MODELS FROM THE SAME YEAR
 7            ARE HAVING THE SAME PROBLEM AND HAVE BEEN RECALLED,
 8            BUT NOTHING ON THE HYBRID VEHICLES, DESPITE THAT WE WERE
              ALSO TOLD THIS HAS BEEN A COMMON PROBLEM.
 9

10                                    2012 Kia Optima Hybrid

11            September 2, 2016 NHTSA ID NUMBER: 10903342
12            AFTER ~20K MILES, I NOTICED A SLIGHT TAPPING/KNOCKING
              NOISE COMING FROM THE ENGINE. I TOOK THE CAR TO THE
13            DEALERSHIP FOR MAINTENANCE AND ASKED ABOUT THE NOISE.
14            THEY SAID THERE WAS NOTHING WRONG. OVER TIME, IT GOT A
              BIT LOUDER BUT NOT MUCH AND EACH TIME IT WAS TAKEN TO
15            THE DEALERSHIP, THEY WOULD SAY THERE WAS NOTHING
16            WRONG. AT ~80K MILES, MY WIFE WAS TRAVELING HOME ON THE
              FREEWAY AT 70MPH WHEN THE ENGINE STARTED MAKING A
17            TERRIBLE NOISE (SOUNDED LIKE A ROD WAS ABOUT TO COME
18            THROUGH THE ENGINE), LOST POWER, AND ALL OF THE LIGHTS
              CAME ON, WHICH ALMOST CAUSED HER TO WRECK, AS SHE WAS
19            IN HEAVY TRAFFIC. SHE IMMEDIATELY PULLED OVER AND WE
20            HAD TO CALL A TOW TRUCK. AFTER CALLING THE DEALERSHIP,
              THEY SAID THAT THEY WOULDN'T FIX IT AND THAT I'D HAVE TO
21            PAY 7K TO HAVE THE ENGINE REPLACED. I ENDED UP BUYING AN
22            ENGINE FROM A WRECKED 2014 KIA OPTIMA HYBRID. SO MUCH
              FOR A WARRANTY. AFTER DOING RESEARCH, IT SEEMS THAT
23            THERE ARE NUMEROUS PEOPLE HAVING THE EXACT SAME ISSUES
24            I'VE EXPERIENCED.
25            January 3, 2017 NHTSA ID NUMBER: 10939306
26            LOUD BANGING NOISE FROM THE MOTOR THEN LOUD BAND AND 2
              PARTS FLEW OUT THE BOTTOM ANT IT STARTED SPILLING OIL
27            EVERYWHERE
28

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 1            May 18, 2018 NHTSA ID NUMBER: 11096650
 2
              WHILE DRIVING, AT NIGHT WITH MY TWO YEAR OLD SON, ON A
              TWO LANE ROAD MY CAR STARTING MAKING A LOUD KNOCKING
 3            NOISE, I BEGAN TO LOSE POWER QUICKLY. THANK GOD I WAS
 4            ABLE TO GET THE CAR TO THE EDGE OF THE ROAD. I CALLED
              FAMILY, WHO SAID TO STAY PUT, THEY BROUGHT A TRAILER TO
 5            LOAD MY CAR ON. I WASN'T SURE WHAT TO DO NEXT, I WAS
 6            BEING TOLD THE MOTOR HAD THROWN A ROD. SADLY THEY
              WERE ALL CORRECT. I CALLED KIA HEADQUARTERS, THEY GAVE
 7            ME A CASE NUMBER AND THE NAME OF A DEALERSHIP NEAR ME,
 8            WHICH IS STILL 60 MILES AWAY, WEST PALM BEACH KIA. I TOWED
              THE CAR OVER ON APRIL 3, 2018, AFTER THEIR DIAGNOSES I WAS
 9            TOLD I NEEDED A MOTOR. I TOO QUESTIONED THE KIA OPTIMA
10            RECALL, I WAS TOLD THE HYBRIDS ARE NOT INCLUDED IN THAT
              RECALL, NEITHER WAS MY VIN. TODAY IS MAY 18, 2018, MY CAR IS
11            STILL AT WEST PALM BEACH KIA AWAITING A MOTOR. SINCE
12            BEING AT WEST PALM BEACH KIA, WHO I REMIND YOU WAS
              SUGGESTED BY KIA HEADQUARTERS I HAVE BEEN THROUGH
13            THREE SERVICE MANAGERS. I HAVE BEEN INFORMED THAT I WILL
14            HAVE TO PAY $3500 OF THE $8000 BILL, DUE TO KIA GOODWILL."
              TENTATIVE DATE OF MAY 29, 2018", WHICH IS THE THIRD CHANGE
15            OF DATE ALSO. MY CAR IS STILL THERE WITH A MY CAR HAS
16            92,000 MILES ON IT. WITH KIA OFFERING TO PAY AT ALL, IT SEEMS
              THEY KNOW THEY HAVE A PROBLEM MOTOR, WITH A SAFETY
17            ISSUE SO WHY IS THERE NOT A RECALL?? MY TWO YEAR OLD SON
18            AND I COULD HAVE BEEN HURT SERIOUSLY IF A SEMI TRACTOR
              TRAILER OR PICK UP TRUCK HAD BEEN BEHIND ME. PLEASE ISSUE
19            A RECALL BEFORE PEOPLE GET KILLED!!!
20
              May 12, 2019 NHTSA ID NUMBER: 11207083
21            WHILE DRIVING ON A HIGHWAY AROUND 45MPH, THE ENGINE
22            SUDDENLY MADE A RATTLING NOISE, THEN SHORTLY AFTER,
              MADE A LOUD SQUEALING NOISE AND THEN A SUDDEN JOLT. THE
23            CAR SHUT DOWN AND SHOWED AN ERROR ABOUT THE HYBRID
24            SYSTEM MALFUNCTION AND I EXPERIENCED A QUICK DROP IN
              SPEED AND WAS UNABLE TO ACCELERATE. AFTER PULLING OVER,
25            THE CAR WOULD NOT START. CAR WAS TOWED TO DEALER AND
26            THEY WERE ABLE TO START VEHICLE, BUT IT MAKES A LOUD
              'CLANKING' NOISE AND CAR VIBRATES. DEALER INFORMED THAT
27            APPEARS A PART INSIDE ENGINE HAD FAILED AND WILL NEED
28            COMPLETE ENGINE REPLACEMENT
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 94
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 1

 2
              January 19, 2021 NHTSA ID NUMBER: 11388790
              TL* THE CONTACT OWNS A 2012 KIA OPTIMA HYBRID. THE
 3            CONTACT STATED WHILE DRIVING 75 MPH, WHEN SHE HEARD AN
 4            ABNORMAL NOISE AND THE VEHICLE BEGAN TO DECELERATE.
              THE CONTACT STATED NO WARNING LIGHT WAS ILLUMINATED.
 5            THE CONTACT STATED THE VEHICLE FAILED TO EXCEED 40 MPH.
 6            THE CONTACT PARKED ON THE SIDE OF THE ROAD AND HAD THE
              VEHICLE TOWED TO AN INDEPENDENT MECHANIC WHERE THE
 7            CONTACT WAS INFORMED THAT THE ENGINE NEEDED TO BE
 8            REPLACED. THE VEHICLE WAS THEN TOWED TO BOB KING KIA
              (1725 LINK RD, WINSTON-SALEM, NC 27103, (336) 724-3866) TO BE
 9            DIAGNOSED. THE CONTACT WAS INFORMED THAT THE ENGINE
10            NEEDED TO BE REPLACED. THE VEHICLE WAS NOT REPAIRED.
              UPON INVESTIGATION, THE CONTACT ASSOCIATED THE FAILURE
11            WITH NHTSA CAMPAIGN NUMBER: 20V750000 (ENGINE) HOWEVER,
12            THE VIN WAS NOT INCLUDED. THE MANUFACTURER WAS
              INFORMED OF THE FAILURE. THE FAILURE MILEAGE WAS
13            APPROXIMATELY 118,000.
14
                                      2013 Kia Optima Hybrid
15

16            September 11, 2018 NHTSA ID NUMBER: 11128714
              1. DRIVING VEHICLE ON FREEWAY AND THE ENGINE BLEW. KIA
17            REBUILT THE TOP HALF OF THE ENGINE. 2. DRIVING VEHICLE ON
18            STREET AND THE POWER STEERING WENT OUT. TOOK A LOT OF
              STRENGTH TO STEER TO THE SIDE OF THE ROAD. KIA RESET MAIN
19            CONTROL UNIT TO FIX ISSUE. 3. DRIVING VEHICLE ON STREET AND
20            THE POWER STEERING WENT OUT AGAIN. KIA WANTS TO REPLACE
              MAIN CONTROL UNIT. CAR HAS PASSED THE WARRANTY BY 10K
21            MILES. NOT COVERED.
22
              May 26, 2019 NHTSA ID NUMBER: 11210065
23            HYBRID WARNING LIGHT SUDDENLY CAME ON INDICATING THAT
24            I SHOULD PULL OVER WHILE I WAS DRIVING ON THE FREEWAY. I
              IMMEDIATELY VEERED TO MY LEFT TO GET TO THE SHOULDER,
25            AS THE CAR HAD ALREADY DIED, AND I WAS MOVING ONLY ON
26            MOMENTUM. I WAS ALMOST HIT BY A CAR BEHIND ME. I WAITED
              A WHILE, AND THE CAR RESTARTED. THE ENGINE LIGHT CAME ON
27            AND WENT AWAY LATER THAT DAY. THIS WAS A SATURDAY, AND
28            I TOOK THE CAR TO THE DEALERSHIP ON MONDAY. THIS WAS NOT
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 95
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 1            THE FIRST OCCURRENCE. THE FIRST TIME I EXPERIENCED THE
 2
              SAME SCENARIO AND ALSO ALMOST GOT HIT BY A CAR AS I WAS
              TRYING TO GET TO THE RIGHT SHOULDER. MY CAR DID NOT
 3            START IN THAT INCIDENT, AND I HAD TO GET IT TOWED. THE
 4            SECOND TIME WAS AGAIN THE SAME SCENARIO, AND IT DID
              RESTART. EACH TIME I TOOK IT TO THE DEALERSHIP. EACH TIME
 5            THEY SAID THEY COULDN'T REPLICATE THE PROBLEM, AND THEY
 6            MADE ANCILLARY UPDATES, WHICH DIDN'T HELP. THE THIRD
              TIME IT HAPPENED, I WAS ADAMANT THAT THEY FIX IT BECAUSE
 7            THEY WERE AT RISK OF SERIOUS LIABILITY BECAUSE I WAS BEING
 8            PLACED IN EXTREME DANGER. FURTHER, IT BROUGHT ABOUT
              MUCH ANXIETY KNOWING THAT THIS COULD HAPPEN WITHOUT
 9            WARNING AT ANY TIME WHILE DRIVING. MY CAR IS STILL WITHIN
10            THE 100K WARRANTY. THE FIRST TIME, THEY REFUSED TO
              ADDRESS IT UNDER WARRANTY, AND THEY ARGUED WITH ME
11            ABOUT IT ONLY TO CONCEDE LATER THAT, IN FACT, IT WAS
12            COVERED UNDER WARRANTY.

13            April 28, 2021 NHTSA ID NUMBER: 11414285
14            TL* THE CONTACT OWNS A 2013 KIA OPTIMA HYBRID. THE
              CONTACT RECEIVED NOTIFICATION OF NHTSA CAMPAIGN
15            NUMBER: 20V750000 (ENGINE). THE CONTACT'S DAUGHTER WAS
16            DRIVING AT AN UNDISCLOSED SPEED, WHEN THE VEHICLE
              STALLED. THE VEHICLE WAS TOWED TO KIA OF MCCOMB (1030
17            LONGLEAF RD, MCCOMB, MS 39648) AND DIAGNOSED THAT THE
18            ENGINE HAD THROWN A ROD AND NEEDED TO BE REPLACED. THE
              DEALER INFORMED THE CONTACT THAT THE VEHICLE WAS
19            ELIGIBLE FOR A NEW ENGINE UNDER THE RECALL HOWEVER,
20            AFTER SPEAKING WITH THE MANUFACTURER, THE CONTACT WAS
              INFORMED THAT THE VEHICLE WAS EXCLUDED FROM THE
21            RECALL REPAIR BECAUSE THE MILEAGE WAS OVER 150,000. THE
22            CONTACT STATED THAT THE VEHICLE HAD A HYBRID AND
              GASOLINE ENGINE SO THE ODOMETER MILEAGE SHOULD NOT BE
23            THE DECIDING FACTOR IN DETERMINING WHICH VEHICLES WERE
24            INCLUDED OR EXCLUDED FROM THE FREE RECALL REPAIR AND
              ENGINE REPLACEMENT. THE FAILURE MILEAGE WAS 162,900. VIN
25            WAS UNAVAILABLE.
26
                                      2011 Kia Sorento
27

28            August 1, 2012 NHTSA ID NUMBER: 10468798
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 96
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 1            TL* THE CONTACT OWNS A 2011 KIA SORENTO. THE CONTACT
 2
              STATED THAT THE VEHICLE WOULD STALL SPORADICALLY WITH
              THE ILLUMINATION OF THE CHECK ENGINE AND OIL WARNING
 3            LIGHTS. THE VEHICLE HAD BEEN TAKEN TO THE DEALER THREE
 4            TIMES FOR THE FAILURE BUT THE TECHNICIANS WERE UNABLE TO
              DUPLICATE OR CORRECT THE PROBLEM. THE VIN WAS NOT
 5            AVAILABLE. THE FAILURE MILEAGE WAS 7,000 AND THE CURRENT
 6            MILEAGE WAS 15,000.

 7            November 2, 2012 NHTSA ID NUMBER: 10483125
 8            TL* THE CONTACT OWNS A 2011 KIA SORENTO. THE CONTACT
              STATED THAT WHILE DRIVING 10 MPH THE VEHICLE STALLED
 9            WITHOUT WARNING. THE VEHICLE WAS TAKEN TO THE DEALER
10            WHO WAS UNABLE TO DIAGNOSE THE FAILURE BUT REPLACED
              THE ALTERNATOR AS A TEMPORARY REMEDY. THE REMEDY
11            FAILED TO REPAIR THE FAILURE. THE MANUFACTURER WAS
12            MADE AWARE OF THE FAILURE WHO ADVISED THE CONTACT
              THAT THEY WOULD FOLLOW UP WITH THE DEALER. THE VEHICLE
13            WAS NOT REPAIRED. THE FAILURE MILEAGE WAS 10 AND THE
14            CURRENT MILEAGE WAS 47,000.

15            September 7, 2013 NHTSA ID NUMBER: 10542432
16            FROM POINT OF PURCHASE (NOVEMBER 2010) THE VEHICLE
              ALWAYS HAD A HARD START, THE SEAT BELT WAS INCORRECTLY
17            INSTALLED AND THE GAS LID FAILS TO OPEN WITHOUT MANUAL
18            PRODDING. IN APRIL 2012 THE ENGINE FAILED TO START, AND
              THEN THIS CONTINUED TO HAPPEN MULTIPLE TIMES
19            THEREAFTER. THE DEALERSHIP CHANGED THE BATTERY AND
20            SERVICE THE VEHICLE. IN THE FOLLOWING MONTHS A SERIES OF
              ISSUES CONTINUED, WINDSHIELD WASHER PUMP STOPPED
21            WORKING, FAILURE START, LOUD KNOCKING SOUND IN THE
22            ENGINE WHILE IDLE AND DRIVING, AND THEN THE CAR STARTED
              TO STALL AND THRUST HARD FORWARD. THE CAR WAS SERVICED
23            AGAIN, OIL CHANGED, THE CHANGED THE PUMP AND FILTERS,
24            ALL REPORTED PROBLEMS PERSISTED THROUGH 2013. FOR THREE
              MONTHS THE CAR REMAINED IN THE DEALERSHIP SERVICE SHOP
25            WHERE THE ENGINE WAS SERVICED, AND SOME ?TAPPETS? WERE
26            REPLACED. THE DEALERSHIP CRACKED THE ENGINE COVER,
              REPLACED IT, WITHOUT INFORMING ME. ALL ENGINE, FAIL START,
27            AND WINDSHIELD PUMP ISSUES CONTINUES TO PERSIST TO DATE
28            (SEPTEMBER 2013) DESPITE MULTIPLE SERVICES.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 97
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 1

 2
              July 21, 2016 NHTSA ID NUMBER: 10887421
              ENGINE WAS MAKING A CYCLICAL CLICKING/KNOCKING NOISE.
 3            WE TOOK THE VEHICLE TO KIA DEALERSHIP AND THEY SAID THEY
 4            COULD NOT FIND ANY ISSUES WITH THE CAR. ABOUT A WEEK
              LATER THE CAR BROKE DOWN WHILE DRIVING AT HIGHWAY
 5            SPEEDS. AFTER HAVING IT TOWED TO AN INDEPENDENT GARAGE,
 6            WE WERE INFORMED THE ENGINE HAD A CONNECTING ROD
              FAILURE. THIS IS THE EXACT SAME PROBLEM THE HYUNDAI
 7            SONATA HAS WITH THE EXACT SAME THETA 2.4 LITER ENGINE.
 8            HYUNDAI HAS ISSUES A RECALL BUT KIA FAILS TO
              ACKNOWLEDGE THE ISSUE.
 9

10            January 14, 2021 NHTSA ID NUMBER: 11388180
              IT STARTED LIKE A LOW SOUND FROM THE ENGINE WHEN I TRIED
11            TO SPEED UP THREE DAYS BEFORE MONDAY. AND THIS NOISE
12            WAS GROWING WHILE DRIVING ON ROAD. THE CAR SLOWED
              DOWN GRADUALLY AND STOPPED THE ENGINE. THE MECHANIC
13            HELPED ME REACH MY APT AND PARKED AFTER HE CHANGED
14            ONLY THE STARTER, HE SAID ENGINE FAILURE DUE TO DEFEATED
              BEARING.
15

16            April 27, 2021 NHTSA ID NUMBER: 11414131
              TL* THE CONTACT OWNED A 2011 KIA SORENTO. THE CONTACT
17            STATED WHILE DRIVING 70 MPH, THE CONTACT HEARD A LOUD
18            NOISE COMING FROM THE ENGINE COMPARTMENT. THE CONTACT
              PULLED OVER TO THE SIDE OF THE ROAD AS SPARKS AND FLAMES
19            WERE SEEN COMING FROM THE ENGINE COMPARTMENT. THE
20            CONTACT EXITED THE VEHICLE, OPENED THE HOOD AND A FIRE
              EMERGED FROM THE ENGINE. THE CONTACT STATED THAT SHE
21            SUSTAINED AN EYE INJURY DUE TO THE FLAMES. THE FIRE
22            DEPARTMENT WAS CONTACTED AND WAS ABLE TO EXTINGUISH
              THE FIRE. THE CONTACT WAS UNAWARE IF A POLICE OR FIRE
23            DEPARTMENT REPORT WAS FILED. THE VEHICLE WAS TOWED TO A
24            JUNK YARD. THE CONTACT NOTIFIED KIA OF SOUTH AUSTIN (5306
              S IH 35 FRONTAGE RD, AUSTIN, TX 78745) AND THEY INFORMED
25            THE CONTACT THAT THEY COULD NOT ASSIST DUE TO THE
26            VEHICLE NOT BEING UNDER A RECALL. THE VEHICLE HAD NOT
              BEEN DIAGNOSED OR REPAIRED. THE VEHICLE WAS DESTROYED.
27            THE MANUFACTURER HAD BEEN INFORMED OF THE FAILURE AND
28            COMPLAINT WAS FILED. THE FAILURE MILEAGE WAS UNKNOWN.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 98
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 1

 2
                                      2012 Kia Sorento

 3            August 9, 2012 NHTSA ID NUMBER: 10469985
 4            TL* THE CONTACT OWNS A 2012 KIA SORENTO. THE CONTACT WAS
              DRIVING 20 MPH WHEN THE VEHICLE STALLED WITHOUT
 5            WARNING. THERE WERE NO WARNING LIGHTS ILLUMINATING. THE
 6            ENGINE WAS TURNED OFF AND THEN RESTARTED WITHIN TEN
              MINUTES. THE DEALER WAS NOTIFIED AND THE CONTACT WAS
 7            WAITING ON A RETURN CALL. THE MANUFACTURER WAS NOT
 8            NOTIFIED. THE FAILURE MILEAGE WAS 17,000.

 9            November 26, 2012 NHTSA ID NUMBER: 10486070
10            TL* THE CONTACT OWNS A 2012 KIA SORENTO. THE CONTACT
              STATED THAT WHILE DRIVING 60 MPH THE VEHICLE STALLED. THE
11            VEHICLE WAS MERGED TO THE SIDE OF THE ROAD AND THEN
12            TOWED TO A DEALER FOR DIAGNOSIS. THE TECHNICIAN STATED
              THAT THE ENGINE LOCKED UP AND AS A RESULT, IT WOULD NEED
13            TO BE REPLACED. THE VEHICLE WAS IN THE PROCESS OF BEING
14            REPAIRED. THE MANUFACTURER WAS NOTIFIED BUT OFFERED NO
              ASSISTANCE. THE FAILURE AND CURRENT MILEAGE WAS 22,000...
15            UPDATED 01/04/13 *BF THE DEALER REPLACED THE ENGINE BLOCK
16            UNDER WARRANTY. UPDATED 01/09/13

17            July 7, 2015 NHTSA ID NUMBER: 10732492
18            MY 2012 KIA SORENTO WAS RUNNING FINE, NO WARNING
              WHATSOEVER. I WAS ON THE HIGHWAY WHEN I HEARD A
19            FLUTTER NOISE THAT TURNED INTO A KNOCKING SOUND. HAD
20            THE CAR TOWED TO DEALER. TOW TRUCK DRIVER STARTED THE
              CAR AND DROVE IT APPROXIMATELY 60 FT TO A PARKING SPOT. I
21            WAS TOLD BY THE DEALER I HAD CATASTROPHIC ENGINE
22            FAILURE AND THAT THE ENGINE WAS SEIZED TIGHT (WHICH WAS
              NOT TRUE AT ALL) DUE TO NEGLECT. I HAVE PROVIDED KIA CORP.
23            AND THE DEALER WITH ALL OF THE SERVICE RECORDS AS WELL
24            AS THE OIL PURCHASE RECEIPTS, OIL FILTER RECEIPTS AND OIL
              CHANGE RECORDS. OIL CHANGES WERE PERFORMED TO WHAT
25            KIA'S MANUAL SUGGESTS. I HAVE DONE RESEARCH AND HAVE
26            FOUND NUMEROUS KIA OWNERS WITH THE EXACT SAME ISSUE I
              HAD. THEIR COMPLAINTS ARE ALMOST EXACTLY WORD FOR
27            WORD WHAT HAPPENED TO MY KIA. SOMETHING NEEDS TO BE
28            DONE ABOUT THIS...MOST KIA OWNERS HAD THIS CATASTROPHIC
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 1            ENGINE FAILURE HAPPEN ON THE HIGHWAY OR WHEN THEIR
 2
              TEENAGERS WERE DRIVING. KIA HAS A CLASS ACTION LAW SUIT
              AGAINST THEM FOR THIS VERY REASON. PLEASE DO SOMETHING
 3            BEFORE SOMEONE REALLY GETS HURT. I WAS VERY LUCKY
 4            THERE WAS NOT A LOT OF TRAFFIC AND WAS ABLE TO GET OFF OF
              THE HIGHWAY. IF THERE WERE TRAFFIC AND I WAS NOT ABLE TO
 5            GET OFF OF THE HIGHWAY.. IT COULD GAVE RESULTED IN MUCH
 6            WORSE. PLEASE I AM BEGGING YOU TO DO SOMETHING ABOUT
              THIS. I HAVE CAME ACROSS SO MANY PEOPLE IN STORES,
 7            RESTAURANTS, AND DEALERS WHILE LOOKING FOR ANOTHER
 8            CAR TO BE ABLE TO GET MY CHILD TO AND FROM SCHOOL,
              FOOTBALL, ETC. I STILL HAVE A LOAN ON MY KIA AND NOW HAVE
 9            ANOTHER LOAN BECAUSE THIS ISSUE. KIA HAS BASED MY
10            WARRANTY REPAIR ON PICTURES THE DEALER TOOK. THEY
              ABSOLUTELY REFUSE TO LISTEN TO ME NOR HELP ME. I BEGGED
11            AND PLEADED WITH THEM TO LOOK FURTHER INTO IT AND THEY
12            WANTED NOTHING TO DO WITH IT. THEN I WAS TOLD THERE WAS
              NOTHING ELSE THEY COULD DO AND I NEEDED TO GET MY CAR
13            OFF OF THEIR LOT.
14
              June 1, 2017 NHTSA ID NUMBER: 10992669
15            TL* THE CONTACT OWNS A 2012 KIA SORENTO. WHILE DRIVING 45
16            MPH, THE CRANK CASE BEARING IN THE ENGINE DISINTEGRATED
              AND RUINED THE MOTOR. THE VEHICLE WAS TOWED TO
17            OXONDALE KIA IN FLAGSTAFF ARIZONA WHERE IT WAS
18            DIAGNOSED THAT METAL FRAGMENTS ENTERED INTO THE
              ENGINE OIL DEPOSIT, WHICH CAUSED FURTHER DAMAGE TO THE
19            VEHICLE. THE SERVICE MANAGER AT THE DEALER STATED THAT
20            THERE WAS A RECALL FOR THE FAILURE, BUT THE CONTACT'S VIN
              WAS NOT INCLUDED. THE MANUFACTURER WAS MADE AWARE OF
21            THE FAILURE. THE RECALL DETAILS WERE NOT PROVIDED. THE
22            FAILURE MILEAGE WAS APPROXIMATELY 81,000.
23            June 16, 2017 NHTSA ID NUMBER: 10995476
24            TL* THE CONTACT OWNS A 2012 KIA SORENTO. WHILE OPERATING
              THE VEHICLE, A LOUD TICKING NOISE WAS PRESENT COMING
25            FROM THE ENGINE AND THE VEHICLE SUDDENLY SHUT OFF. THE
26            VEHICLE WAS TOWED TO SOUTHWEST KIA OF ROUND ROCK,
              TEXAS WHERE IT WAS DIAGNOSED THAT THE ENGINE WAS
27            FAULTY AND NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
28

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 1            REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE.
 2
              THE FAILURE MILEAGE WAS 103,000.

 3                                    2013 Kia Sorento
 4
              April 3, 2013 NHTSA ID NUMBER: 10505487
 5            ENGINE STARTED MAKING A LOUD NOISE, CHECKED OIL TURNED
 6            ENGINE OFF AND ON AGAIN AND NOISE CONTINUED. DROVE HOME
              APPROX 150 MILES FROM VISITING OUR SON AT COLLEGE. AFTER
 7            ARRIVING AT HOME ENGINE STILL MADE NOISE. TOOK INTO
 8            DEALER THE FOLLOWING DAY AND TODAY WAS INFORMED WE
              ARE NEEDING A NEW SHORT BLOCK ENGINE AND IT'S ON
 9            BACKORDER FOR A WEEK AND A HALF. NOT A HAPPY CUSTOMER,
10            SINCE I AM MAKING CAR PAYMENTS AND DON'T HAVE THE
              VEHICLE. IT WORRIES ME WHAT IS YET TO COME WITH THIS
11            VEHICLE. THE REASON WE PURCHASED IT TO BEGIN WITH WAS
12            THE WARRANTY, BUT HAD WE KNOWN WE'D BE USING IT 7
              MONTHS INTO OWNING THIS KIA I WOULD HAVE NEVER
13            PURCHASED IT TO BEGIN WITH. I DO WANT TO SAY THE
14            DEALERSHIP WE ARE DEALING WITH ARE EXTREMELY HELPFUL
              WITH A LOANER CAR, ALTHOUGH IT'S A SEDAN AND NOT WHAT I
15            PURCHASED. SO THEY ARE DOING THEIR PART AND I APPRECIATE
16            THAT FACT. *TR

17            March 27, 2014 NHTSA ID NUMBER: 10575062
18            ENGINE STALLED A TOTAL OF 8 TIMES WHILE IN MOTION SINCE
              6/13/12, THE DATE OF PURCHASE OF THIS NEW CAR. THIS CAR HAD
19            BEEN TAKEN INTO THE DEALER MULTIPLE TIMES. KIA HAS SAID IT
20            CANNOT DIAGNOSE THE PROBLEM. *TR
21            October 2, 2017 NHTSA ID NUMBER: 11030863
22            I EXPERIENCE A LOUD KNOCKING IN MY ENGINE, UPON BRINGING
              TO THE DEALERSHIP FOR FURTHER INSPECTION, THE ENGINE IS
23            BELIEVED THAT THE ROD BEARINGS FAILED AND THE ENGINE
24            HAS METAL DEBRI INSODE OF ENGINE. CAUSING THE ENGINE TO
              BE COMPLETELY UNUSABLE AND POSSIBLY OTHER ENGINE
25            DAMAGE BECAUSE OF THIS. NOT TO MENTION THE SENSORS ON
26            THE CAR NEVER CAME ON TO WARN ME OF ANY POSSIBLE
              PROBLEMS THAT MIGHT BE HAPPENING. THE CAR IS STILL BEING
27            OWED ON AND IN UNDRIVABLE CONDITION. IT HAS BEEN SINCE
28            PARKED, EXCEPT WHEN TOWED ( FULL BED TOW) TO THE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 101
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 1            DEALERSHIP FOR INSPECTION AND THAN TOWED BACK TO MY
 2
              RESIDENCE. THE ESTIMATED COST KIA OFFERED WAS OVER $9,000
              FOR PARTS AND LABOR WITH ONLY A 12,000 MILE/ 1 YEAR
 3            WARRANTY WHEN THE ORIGINAL ENGINE WARRANTY IS 100.000
 4            MI WARRANTY. THE MAINTENCE HAS BEEN KEPT UP ON DURING
              THE LIFE OF THE VWHICLE AND NO KNOWN NEGLIGENCE WAS
 5            DONE TO CAUSE THIS PROBLEM. THE PROBLEM WAS IDENTIFIED
 6            WHEN MY HUSBAND WAS DRIVING AND THE CAR STALLED OUT 3
              TIMES WHILE PICKING UP OUR KIDS FROM SCHOOL. WHEN HE
 7            ARRIVED HOME IT HAD LOUND KNOCKING NOISES COMING FROM
 8            ENGINE , SO WE ARRANGED FOR THE DEALER TO INSPECT THE
              ISSUE. THEY INFORMED ME IT WAS OVER THEIR WARRANTY
 9            BECAUSE OF THE MILEAGE AND WOULDNT COVER THE DAMAGE. I
10            HAVE SINCE FOUND OUT OTHER OWNERS WITH SIMILAR
              PROBLEMS AS MY KIA HAPPENING TO THEM AS WELL AS THE
11            LAWSUIT THAT KIA /HYUNDAI PAID OUT FOR REPAIRS IN THE
12            CASE GREG WALLIS VS. KIA MOTORS CASE #8:16-CV-01033 (US
              DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA.
13            WITH THEM AGREEING TO PAY ALL REPAIRS.
14
              February 16, 2021 NHTSA ID NUMBER: 11396451
15            DRIVING HOME FROM 30 MILE TRIP AND ENGINE MADE A BIG
16            TICKING NOISE THEN A BOOM. LOTS OF SMOKE COMING FROM
              HOOD AND COASTED TO STOP. ONLY HAS 107K MILES. NEVER HAD
17            A CAR DO THIS BEFORE. GOT IT ANALYZE FROM GARAGE AND
18            THERE IS A HOLE IN THE ENGINE BLOCK.

19            March 11, 2021 NHTSA ID NUMBER: 11400294
20            TL* THE CONTACT OWNS A 2013 KIA SORENTO. THE CONTACT
              STATED THAT WHILE DRIVING APPROXIMATELY 40 MPH, THE
21            VEHICLE STALLED WITHOUT WARNING. THE CONTACT COASTED
22            TO THE SIDE OF THE ROAD AND TURNED OFF THE VEHICLE. THE
              VEHICLE WAS TOWED TO A CERTIFIED MECHANIC WHO STATED
23            THAT THE ENGINE BEARINGS WERE WORN, CAUSING THE ENGINE
24            TO SEIZE. THE VEHICLE WAS NOT REPAIRED. THE MANUFACTURER
              WAS MADE AWARE OF THE FAILURE AND INFORMED THE
25            CONTACT THAT THE VIN WAS NOT UNDER RECALL. THE
26            APPROXIMATE FAILURE MILEAGE WAS 100,000.
27                                    2012 Kia Soul
28

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 1            October 25, 2021 NHTSA ID NUMBER: 11438456
 2
              APPROXIMATELY SIX MONTHS AGO, MY CHECK ENGINE LIGHT
              CAME ON AND I TOOK MY CAR TO A LOCAL MECHANIC. HE SAID
 3            THAT I NEEDED AN OIL CHANGE AND MY OIL LEVEL SEEMED A BIT
 4            LOW EVEN THOUGH IT WASN’T AT THE 5000 MILE MARK YET, SO I
              SHOULD KEEP AN EYE ON OIL CONSUMPTION. AROUND 3500 MILES
 5            AFTER THIS OIL CHANGE, MY CHECK ENGINE LIGHT CAME ON
 6            AGAIN. I TOOK MY CAR BACK TO THE MECHANIC AT MIDAS AND
              HE INFORMED ME THAT MY CAR WAS CONSUMING OIL DUE TO
 7            FAULTY SEALS AROUND THE PISTONS, AND I WOULD NEED TO
 8            MAKE A WARRANTY CLAIM TO KIA. THE DEALERSHIP
              IMMEDIATELY KNEW WHAT THE ISSUE WAS AND AGREED TO
 9            MAKE AN APPOINTMENT TO REPLACE THE ENGINE, BUT CALLED
10            BACK AND INFORMED ME I NEEDED TO DO AN OIL CONSUMPTION
              TEST AND WOULD HAVE TO PAY FOR AN ADDITIONAL OIL
11            CHANGE FROM THE DEALERSHIP. I AGREED AND AFTER DRIVING
12            1000 MILES I BROUGHT MY CAR BACK. THE DEALERSHIP
              CONFIRMS IT IS BURNING OVER A QUART OF OIL EVERY 1000
13            MILES, BUT NOW THEY CLAIM THE ENGINE WILL NOT BE COVERED
14            UNLESS IT SEIZES UP WHILE I AM DRIVING. THEIR SUGGESTION IS I
              REPLACE THE ENGINE ON MY OWN DIME OR PUT MORE OIL IN
15            EVERY FEW THOUSAND MILES UNTIL IT SEIZES AND CAUSES A
16            POTENTIALLY FATAL ACCIDENT. AS I HAVE BEEN RESEARCHING
              ONLINE, I HAVE FOUND SEVERAL PEOPLE WITH SIMILAR ISSUES,
17            AND MANY WHO’S CARS HAVE SEIZED WHILE THEY WERE
18            DRIVING HIGHWAY SPEEDS. IT SEEMS AS THOUGH KIA’S PLAN TO
              KEEP COSTS LOW IS TO HOPE ANYONE WITH AN ENGINE CLAIM
19            DIES IN THE CRASH WHEN IT INEVITABLY SEIZES UP. BURNING
20            OVER A QUART OF OIL EVERY 1000 MILES AND SUGGESTING I
              PUMP MORE OIL IN TO GET BURNED UP IS HARDLY
21            ENVIRONMENTALLY FRIENDLY OR HEALTHY FOR THE AIR WE
22            BREATHE. THERE SHOULD BE A RECALL FOR KIA ENGINES
              BECAUSE THIS IS OBVIOUSLY A WIDESPREAD AND WELL KNOWN
23            ISSUE, BUT FOR SOME REASON KIA WAS ALLOWED TO GET AWAY
24            WITH RECALLING A FRACTION OF THE CARS THEY SHOULD AND
              LETTING THE REST OF US RISK OUR LIVES WAITING FOR OUR
25            ENGINE TO SEIZE UP GOING 75MPH!
26
              October 21, 2021 NHTSA ID NUMBER: 11438146
27            WHILE ATTEMPTING TO ACCELERATE ON THE INTERSTATE
28            (AROUND 70 MPH), THE ENGINE BEGAN TO KNOCK. NO WARNING
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 103
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 1            LIGHTS WERE ILLUMINATED. TOOK THE VEHICLE TO A LOCAL
 2
              AUTOMOTIVE REPAIR AND WAS INFORMED THAT IT HAD
              COMPLETELY BURNED THROUGH THE OIL AND THE ENGINE
 3            WOULD NEED TO BE REPLACED. THE TECHNICIAN ADVISED THAT
 4            THERE IS A TECHNICAL SERVICE BULLETIN OUT FOR THE ISSUE IN
              QUESTION AS IT RELATES TO EXCESSIVE OIL CONSUMPTION FOR
 5            AFFECTED VEHICLES. THE ENGINE COULD HAVE FAILED AT ANY
 6            POINT AND WE WERE ADVISED IT WAS UNSAFE TO DRIVE. AS
              STATED EARLIER, THERE WERE NO WARNING LIGHTS AND NO
 7            REASON TO BELIEVE ANYTHING WAS WRONG WITH THE CAR
 8            PRIOR TO THIS INCIDENT AS IT HAS HAD ROUTINE OIL CHANGES
              AND MAINTENANCE. THE PROBLEM WAS DETECTED AT A TIRES
 9            PLUS LOCATION BUT THE CAR IS BEING TOWED TO THE DEALER
10            TO CONFIRM THE ISSUE THIS WEEK. THE VEHICLE HAS NOT BEEN
              INSPECTED BY ANYONE ELSE.
11

12            October 1, 2019 NHTSA ID NUMBER: 11436437
              THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
13            WHILE DRIVING APPROXIMATELY 65 MPH WHEN THE ENGINE
14            BEGAN TO KNOCK. THE CONTACT STATED NO WARNING LIGHTS
              WERE ILLUMINATED. THE VEHICLE WAS TAKEN TO A LOCAL
15            DEALER WHERE IT WAS DIAGNOSED WITH NEEDING ENGINE
16            REPLACED BUT WAS NOT REPAIRED. UPON INVESTIGATION, THE
              CONTACT ASSOCIATED THE FAILURE WITH NHTSA CAMPAIGN
17            NUMBER: 19V120000 (ENGINE, ENGINE AND ENGINE COOLING)
18            HOWEVER THE VIN WAS NOT INCLUDED. THE MANUFACTURER
              WAS INFORMED OF FAILURE AND TOLD THE CONTACT THAT
19            THEIR VEHICLE WAS NOT INCLUDED IN A RECALL. THE FAILURE
20            MILEAGE WAS APPROXIMATELY 130,000
21            January 1, 2018 NHTSA ID NUMBER: 11436472
22            THE ROD PUNCTURED THE ENGINE BLOCK AND CAUSED A FIRE
              AROUND THE FUEL PUMP AREA. SIGNS ON THE POSITIVE BATTERY
23            TERMINAL OF JUMPING BACKWARDS. KIA BELIEVES THE CAUSE
24            OF THE FIRE WAS THE ENGINE FALLING APART. I HAD BEEN
              TRAVELLING FREE OF WORRY WHEN I HEARD A HIGH WHIRRING
25            SOUND THEN A BANG COMING FROM THE ENGINE. I PULLED OVER
26            IMMEDIATELY AND UPON OPENING THE HOOD DISCOVERED A
              FIRE. GOOD SAMARITANS PULLED OVER AND PUT THE FIRE OUT,
27            THERE WERE 3 FEMALES IN MY CAR WHO COULD'VE BURNED
28            ALIVE HAD THE OTHERS NOT STOPPED. THE CAR NEEDED A NEW
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 104
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 1            ENGINE AT THE COST OF $7,404.08 I SOLD THIS CAR TO CARVANA
 2
              AND AM WAITING FOR KIA TO GET THEIR ACT TOGETHER AND
              REFUND THE COST OF POTENTIALLY KILLING 3 PEOPLE. I HAVE
 3            ALL PAPERWORK FROM KIA REGARDING THE INCIDENT.
 4
              July 14, 2021 NHTSA ID NUMBER: 11432801
 5            THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
 6            UPON STARTING THE VEHICLE, THE CHECK ENGINE WARNING
              LIGHT ILLUMINATED. THE VEHICLE WAS TAKEN TO AN
 7            INDEPENDENT MECHANIC WHO DIAGNOSED THAT THE ESC
 8            SENSORS NEEDED TO BE REPLACED. THE CONTACT STATED THAT
              THE VEHICLE WAS REPAIRED HOWEVER, THE FAILURE PERSISTED.
 9            THE CONTACT STATED WHILE DRIVING 60 MPH, THE ENGINE
10            STARTED KNOCKING. THE CHECK ENGINE WARNING LIGHT
              ILLUMINATED. THE CONTACT WAS ABLE TO PULL INTO A NEARBY
11            GAS STATION. THE VEHICLE WAS TOWED TO THE DEALER WHO
12            DIAGNOSED THAT THE ENGINE HAD FAILED AND NEEDED TO BE
              REPLACED. THE DEALER INFORMED THE CONTACT THAT THE
13            VEHICLE COULD NOT BE REPAIRED UNDER NHTSA CAMPAIGN
14            NUMBER: 19V120000 (ENGINE, ENGINE, AND ENGINE COOLING)
              SINCE THE VEHICLE WAS OUT OF WARRANTY. THE
15            MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
16            VEHICLE WAS NOT REPAIRED. THE APPROXIMATE FAILURE
              MILEAGE WAS 118,000.
17

18            July 24, 2021 NHTSA ID NUMBER: 11430641
              THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
19            THAT WHILE DRIVING AT 55 MPH, A ABNORMAL NOISE AND ODOR
20            APPEARED FROM THE REAR BOTH DRIVER AND PASSENGER SIDE
              OF THE VEHICLE. THE CONTACT MANAGED TO VEER TO THE
21            SHOULDER OF THE ROAD, TURN THE VEHICLE OFF, WAIT FOR
22            ABOUT 15 MINUTES, ATTEMPTED TO TURN THE VEHICLE BACK ON
              WHEN THE NOISE BECAME LOUDER AND THE CHECK ENGINE
23            WARNING ILLUMINATED. THE VEHICLE THEN WAS TOWED TO AN
24            INDEPENDENT MECHANIC WHERE IT WAS DIAGNOSED THAT THE
              COMMAND ROD FRACTURED AND WENT THROUGH THE ENGINE.
25            THE VEHICLE WAS NOT REPAIRED. THE VEHICLE WAS NOT
26            DRIVABLE. IN ADDITION, A VISIBLE LEAK WAS NOTICED BY THE
              TECHNICIAN. THE MANUFACTURER WAS NOTIFIED OF THE
27            FAILURE AND INFORMED THE CONTACT THAT NO RECALLS WERE
28            UNDER THE VIN. THE CONTACT MENTIONED NHTSA CAMPAIGN
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 105
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 1            NUMBER: 19V12000 ( ENGINE, ENGINE COOLANT ) AS A POSSIBLE
 2
              SOLUTION TO THE FAILURE HOWEVER THE VIN WAS NOT
              INCLUDED. THE FAILURE MILEAGE WAS APPROXIMATE 90,600.
 3

 4            May 1, 2021 NHTSA ID NUMBER: 11416175
              I RECEIVED A RECALL LETTER THAT WAS DATED ON APRIL 6,2021
 5            FROM KIA THAT MY CAR NEEDED TO COME IN FOR UPDATE TO
 6            THE ENGINE TO PROTECT FROM EXCESSIVE ROD BEARING
              DAMAGE. UPON GETTING THE CAR FROM THE COLLEGE CAMPUS
 7            AND ON THE WAY TO BRING IT BACK INTO THE AREA TO GET THE
 8            WORK DONE, IT BLEW THE ENGINE. KIA IS NOW STATING THAT
              THEY WILL NOT TAKE CARE OF THE PROBLEM SINCE I WASN'T
 9            ABLE TO GET THE CAR THERE TO HAVE THE WORK DONE BEFORE
10            THE DAMAGE HAPPENED. THE ENGINE BLEW ON MAY 1,2021 LESS
              THAN A MONTH AFTER THEIR LETTER WAS DRAFTED. THIS IS A
11            CAR THAT HAS ALWAYS BEEN DEALER MAINTAINED AND HAS
12            ALWAYS BEEN KEPT UP ON ITS REPAIRS. THEY TOLD ME THAT
              THEY DIDN'T EVEN LOOK INTO THE HISTORY OF THE CAR AND
13            JUST SAID THAT IT WAS MY FAULT FOR NOT MAKING IT IN TO THE
14            SHOP, EVEN THROUGH THAT'S WHERE I WAS GETTING IT TO. THEY
              IN THEIR LETTER STATE THAT HAD I BEEN ABLE TO GET THE CAR
15            IN IT WOULD HAVE EXTENDED THE WARRANTY TO 150,000 MILES,
16            THE CAR ONLY HAS 107,000 ON IT WHEN THIS HAPPENED. EVEN
              THROUGH THEY SENT A LETTER STATING THAT THEY SOLD ME A
17            CAR WITH FAULTY PARTS NOW THEY WON'T COVER THE DAMAGE.
18            DAMAGE THAT LUCKILY DIDN'T END IN A MAJOR ACCIDENT BUT
              DID TOTAL MY CAR. THE CAR WAS TRAVELING AT 75 MILES PER
19            HOUR ON THE HIGHWAY WHEN THE ROD BROKE OFF AND WENT
20            THRU THE SIDE OF THE ENGINE.
21            May 1, 2018 NHTSA ID NUMBER: 11415244
22            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
              WHILE DRIVING AT VARIOUS SPEEDS, AN ABNORMAL KNOCKING
23            SOUND WAS COMING FROM THE ENGINE. THERE WAS NO
24            WARNING LIGHT ILLUMINATED. THE CONTACT ALSO STATED
              THAT A RATTLING SOUND WAS COMING FROM THE VEHICLE
25            WHILE DEPRESSING THE ACCELERATOR PEDAL, WITHOUT
26            WARNING. UPON INVESTIGATION, THE CONTACT DISCOVERED
              NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE, ENGINE AND
27            ENGINE COOLING) WHICH SHE LINKED TO THE FAILURE. THE
28            MANUFACTURER WAS NOTIFIED OF THE FAILURE AND INFORMED
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 106
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 1            HER THAT THE VIN WAS NOT UNDER RECALL. THE VEHICLE WAS
 2
              NOT REPAIRED. THE FAILURE MILEAGE WAS UNKNOWN.

 3            March 19, 2021 NHTSA ID NUMBER: 11414287
 4            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
              WHILE DRIVING 55 MPH, THE VEHICLE STARTED TO DECELERATE
 5            AND LOSE FORWARD MOMENTUM. THE CONTACT STATED THAT
 6            WITH THE ACCELERATOR PEDAL DEPRESSED, THE VEHICLE
              FAILED TO EXCEED 40 MPH. THE CHECK ENGINE WARNING LIGHT
 7            WAS ILLUMINATED. THE VEHICLE WAS DRIVEN TO THE LOCAL
 8            MECHANIC WHO HAD THE VEHICLE TOWED TO SOUTHWEST KIA -
              DALLAS (39650 LYNDON B JOHNSON FWY, DALLAS, TX 75237, (972)
 9            283-9797) TO BE DIAGNOSED. THE CONTACT WAS INFORMED THAT
10            THE ENGINE NEEDED TO BE REPLACED DUE TO A CONNECTING
              ROD FAILURE. THE VEHICLE WAS REPAIRED. THE MANUFACTURER
11            WAS NOT MADE AWARE OF THE FAILURE. THE APPROXIMATE
12            FAILURE MILEAGE WAS 154,000.

13            March 10, 2021 NHTSA ID NUMBER: 11400128
14            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
              THAT WHILE DRIVING AT 65 MPH, AN ABNORMAL KNOCKING
15            NOISE COULD BE HEARD FROM THE VEHICLE AS AN UNKNOWN
16            COLOR SMOKE BEGAN TO EMIT FROM THE ENGINE. AS THE
              CONTACT PULLED OVER AND OPENED THE HOOD, FLAMES BEGAN
17            TO EMIT FROM THE ENGINE AS TWO FELLOW MOTORISTS
18            ASSISTED HER WITH THROWING A BLANKET OVER THE FLAMES
              TO EXTINGUISHED THE FIRE. NO INJURIES WERE REPORTED AND
19            THE AUTHORITIES WERE NOT CALLED TO THE SCENE. DUE TO THE
20            FAILURE, THE CONTACT HAD THE VEHICLE TOWED TO TOM
              DOLAN'S RENO KIA(9455 S VIRGINIA ST, RENO, NV 89511) WHERE
21            THEY DISCOVERED THAT AN ENGINE ROD HAD BLOWN THREW AN
22            ENGINE BLOCK. THEY DIAGNOSED THE VEHICLE WITH ENGINE
              FAILURE AND THE CONTACT HAD THE ENGINE REPLACED. THE
23            MANUFACTURER WAS NOTIFIED OF THE FAILURE AND OFFERED
24            NO ASSISTANCE. THE VEHICLE WAS REPAIRED BY THE DEALER.
              THE FAILURE MILEAGE WAS 105,402.
25

26            February 20, 2021 NHTSA ID NUMBER: 11397731
              TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
27            THAT WHILE HIS DAUGHTER WAS DRIVING AT HIGHWAY SPEEDS,
28            AN ABNORMAL KNOCKING NOISE BEGAN TO EMIT FROM THE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 107
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 1            ENGINE WITHOUT WARNING. DESPITE THE NOISE, HIS DAUGHTER
 2
              WAS ABLE TO RESUME NORMAL DRIVING AND DROVE THE
              VEHICLE HOME. THE NEXT DAY, THE CONTACT STARTED THE
 3            VEHICLE AND BEGAN HEARING THE KNOCKING NOISE FOR
 4            HIMSELF AND IMMEDIATELY TURNED THE VEHICLE OFF. THE
              CONTACT CALLED KIA OF GREER (14345 E WADE HAMPTON BLVD,
 5            GREER, SC 29651) WHERE HE WAS INFORMED THAT NO REPAIRS
 6            COULD BE PERFORMED ON THE VEHICLE UNLESS THE
              MANUFACTURER APPROVED OF THE REPAIR. THE
 7            MANUFACTURER WAS THEN NOTIFIED OF THE FAILURE AND
 8            INFORMED THE CONTACT THAT THE VEHICLE WAS NOT UNDER
              RECALL. THE CONTACT WAS REFERRED TO NHTSA FOR
 9            ASSISTANCE. THE VEHICLE WAS NOT REPAIRED. THE FAILURE
10            MILEAGE WAS APPROXIMATELY 134,000.

11            January 27, 2021 NHTSA ID NUMBER: 11390200
12            THE ENGINE MADE A POPPING SOUND AND BURST INTO FLAMES.

13            December 9, 2020 NHTSA ID NUMBER: 11382733
14            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
              THAT WHILE OPERATING THE VEHICLE, THE CHECK ENGINE LIGHT
15            HAD ILLUMINATED AND THE SPEED OF THE VEHICLE HAD
16            SUDDENLY REDUCED. THE VEHICLE WAS TAKEN TO THE LOCAL
              DEALER TROPHY KIA OF CARSON LOCATED AT 22020 RECREATION
17            RD, CARSON, CA 90745, WHO RESET THE ENGINE SOFTWARE BUT
18            THE FAILURE CONTINUED TO OCCUR. THE ENGINE LATER
              EXPERIENCED A LOUD KNOCKING NOISE AND EXCESSIVE OIL
19            CONSUMPTION. THE MANUFACTURER WAS NOTIFIED OF THE
20            FAILURE AND INFORMED THAT THE VIN WAS NOT INCLUDED IN
              NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE AND ENGINE
21            COOLING). THE CONTACT STATED THAT THE VEHICLE HAD
22            EXPERIENCED THE SAME FAILURE LISTED IN THE RECALL. THE
              FAILURE MILEAGE WAS 125,000.
23

24            August 17, 2020 NHTSA ID NUMBER: 11349920
              7/22/20 - CAR DRIVEN TO FIRESTONE STORE #005738, NEWPORT, KY
25            TO PURCHASE 2 NEW TIRES AND AN ENGINE COURTESY CHECK
26            WAS PERFORMED - FIRESTONE ID #7046930 - NO ENGINE LIGHTS,
              NO SAFETY WARNINGS, MILEAGE 77,071 MILES ON CAR. 7/27/20 -
27            THE CAR STOPPED RUNNING WHILE BEING DRIVEN - CAR WAS
28            TOWED TO FIRESTONE, MASON, OH. 7/29/20 - THEY EXAMINED THE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 108
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 1            CAR, MILEAGE 77,398. THE ENGINE HAD A ROD BLOW THROUGH
 2
              THE OIL PAN CAUSING ALL OF THE OIL TO DRAIN FROM THE CAR.
              THEY ALSO RAN A DIAGNOSITC ON THE CAR AND THE MECHANIC
 3            GOT A READING OF CODES: P0300 - RANDOM MULTIPLE PISTONS
 4            MIS FIRE, P0303 - CYLANDER #3 MIS FIRING. THIS IS SIMILAR TO A
              CURRENT RECALL ON 2012–2016 KIA SOULS - RECALL #19V120000.
 5            [VEHICLES EQUIPPED WITH 1.6LGASOLINE DIRECT INJECTION (GDI)
 6            ENGINES. HIGH EXHAUST GAS TEMPERATURES MAY DAMAGE
              CALYTIC CONVERTER POSSIBLY RESUTLING IN ABNORMAL
 7            ENGINE COMBUSTION AND DAMAGE TO ONE OR MORE OF THE
 8            ENGINE'S PISTONS AND POSSIBLE PISTON CONNECTING ROD
              FAILURE.] PER KIA, CONSEQUENCES OF THIS POSSIBLE
 9            CONVERTER FAILURE CAN CAUSE THE ROD TO PUNCTURE THE
10            ENGINE AND CAUSE THE OIL TO DRAIN OUT. WE CHECKED WITH
              THE RECALL SITE TO VERIFY IF THE VEHICLE VIN# WAS LISTED
11            FOR THE RECALL. THE KIA DEALERSHIP HAS STATED THAT THE
12            VEHICLE DID NOT QUALIFY BECUASE THE P0420 CODE DID NOT
              DISPLAY. THEY DID NOT VISUALLY INSPECT THE CATALYTIC
13            CONVERTER OR COULD NOT RUN A HEAT TEST ON THE ENGINE
14            SINCE THE VEHICLE WOULD NOT RUN. WE ARE REQUESTING THAT
              THIS VEHICLE BE CONSIDERED PART OF THE RECALL BECUASE
15            WHAT HAPPEND TO OUR VEHICLE IS THE SAME AS WHAT HAPPENS
16            TO VEHICLES INVOLVED IN THE RECALL.

17            June 22, 2020 NHTSA ID NUMBER: 11330025
18            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
              THAT WHILE DRIVING A KNOCKING NOISE OCCURRED COMING
19            FROM THE ENGINE AS WELL AS SMOKE WAS SEEN COMING FROM
20            UNDER THE HOOD. THE ENGINE AND OIL WARNING LIGHTS
              ILLUMINATED. THE CONTACT STATED THAT SHE WAS CLOSED TO
21            THE DEALER AND COASTED INTO SPRITZER KIA CLEVELAND (3414
22            BROOKPARK RD, CLEVELAND, OH 44134) WHERE THE VEHICLE
              WAS DIAGNOSED THAT A ROD WENT THROUGH THE SIDE OF THE
23            ENGINE AND THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE
24            WAS NOT REPAIRED. THE CONTACT REFERRED THE FAILURE TO
              NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE, ENGINE AND
25            ENGINE COOLING), HOWEVER HER VIN WAS NOT INCLUDED IN THE
26            RECALL. THE MANUFACTURER WAS NOT MADE AWARE OF THE
              FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY 109,000.
27

28

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 1            April 9, 2020 NHTSA ID NUMBER: 11320642
 2
              TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
              THAT THE VEHICLE WAS TAKEN TO AN INDEPENDENT MECHANIC
 3            FOR AN OIL CHANGE. THE CONTACT WAS INFORMED THAT THE
 4            ENGINE NEEDED TO BE REPLACED DUE TO A CONNECTING ROD
              FAILURE. THE CONTACT STATED THAT THERE WAS AN
 5            ABNORMAL SOUND COMING FROM THE ENGINE. THE VEHICLE
 6            WAS TAKEN TO WILLIAMS KIA OF ELMIRA LOCATED AT (951
              COUNTY RD 64, ELMIRA, NY 64903), AND IT WAS DETERMINED
 7            THAT THE ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS
 8            INCLUDED IN NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE,
              ENGINE AND ENGINE COOLING). THE VEHICLE WAS NOT
 9            REPAIRED. THE MANUFACTURER WAS NOT NOTIFIED OF THE
10            FAILURE. THE FAILURE MILEAGE WAS 136,341.

11            January 3, 2020 NHTSA ID NUMBER: 11297013
12            I WAS ON THE WAY OUT OF TOWN WITH MY FAMILY, I WAS
              TRAVELING ON A DARK COUNTY ROAD AT NIGHT, I WAS DRIVING
13            70 MILES AND ALL OF A SUDDEN A PIECE FLEW UNDER THE CAR
14            AND OIL STARTED SPRAYING OUT AND MY CAR STARTED
              SMOKING AND WHEN I PULLED OVER TO SEE WHAT HAPPENED
15            THE CAR WOULD NOT EVEN GO IN NEUTRAL SO THAT I COULD
16            MOVE IT TO THE GRASS. I WAS STRANDED IN A SMALL TOWN ON
              THE HIGHWAY WITH FAST MOVING VEHICLES AND 18- WHEELERS
17            WITH MY 2 KIDS. IT WAS VERY SCARY IT TOOK THE POLICE 15
18            MINUTES TO COME OUT. VERY UNSAFE WAITING ON THE SIDE OF
              THE HIGHWAY IN THE DARK. THE CAR WAS INOPERABLE SO I HAD
19            TO LEAVE IT ON SIDE OF THE ROAD.
20
              December 12, 2019 NHTSA ID NUMBER: 11288689
21            TL* THE CONTACT OWNS A 2012 KIA SOUL. WHILE THE CONTACT'S
22            PARENTS WERE DRIVING APPROXIMATELY 60 MPH, THE VEHICLE
              SUDDENLY STALLED. THERE WERE NO WARNING INDICATORS
23            ILLUMINATED. THE VEHICLE WAS TOWED TO GOSSETT KIA
24            (LOCATED AT 1900 COVINGTON PIKE, MEMPHIS, TN 38128, 901-255-
              6320) WHERE IT WAS DETERMINED THAT SLUDGE IN THE ENGINE
25            CAUSED THE ENGINE TO BURN OIL TOO QUICKLY. THE DEALER
26            STATED THAT THE ENGINE NEEDED TO BE REPLACED. THE
              VEHICLE HAD NOT BEEN REPAIRED. THE MANUFACTURER WAS
27            MADE AWARE OF THE FAILURE AND INFORMED THE CONTACT
28            THAT BECAUSE THE DIAGNOSTIC CODE SHOWN FOR THE VEHICLE
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 1            WAS DIFFERENT FROM THE ONE MENTIONED IN THE CLASS
 2
              ACTION LAWSUIT, THE VEHICLE WOULD NOT BE COVERED. THE
              MANUFACTURER PROVIDED CASE NUMBER: 13404459. THE
 3            APPROXIMATE FAILURE MILEAGE WAS 65,000. THE VIN WAS
 4            INVALID.

 5            July 17, 2019 NHTSA ID NUMBER: 11232709
 6            TL* THE CONTACT OWNS A 2012 KIA SOUL. WHILE DRIVING
              APPROXIMATELY 25 MPH, THE VEHICLE MADE A LOUD NOISE AND
 7            WOULD NOT ACCELERATE. THE CONTACT ALSO NOTICED BLACK
 8            SMOKE EMERGING FROM THE ENGINE COMPARTMENT ALONG
              WITH A STRONG BURNING ODOR. THE VEHICLE WAS TOWED TO
 9            THE CONTACT'S RESIDENCE AND THEN TO AN INDEPENDENT
10            MECHANIC. THE VEHICLE WAS THEN TOWED TO KIA OF BEDFORD
              (18180 ROCKSIDE RD, BEDFORD, OH 44146) WHERE IT WAS
11            DIAGNOSED THAT THE VEHICLE NEEDED A NEW ENGINE;
12            HOWEVER, NO CODES APPEARED FOR THE CATALYTIC
              CONVERTER. WHILE RESEARCHING THE FAILURE ONLINE, THE
13            CONTACT FOUND NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE,
14            ENGINE AND ENGINE COOLING) ASSOCIATED WITH THE VIN. THE
              VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
15            NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
16            WAS 79,000.

17            July 9, 2019 NHTSA ID NUMBER: 11230319
18            A LOUD TICKING NOISE DEVELOPED IN THE ENGINE THIS SPRING.
              IT WAS DIAGNOSED BY A KIA TECHNICIAN AS WORN CONNECTING
19            ROD/CRANKSHAFT BEARINGS. I HAVE PERFORMED REGULAR
20            RECOMMENDED MAINTENANCE, INCLUDING OIL CHANGES,
              WITHIN MANUFACTURER'S GUIDELINES. THE NOISE BEGAN
21            SUBTLY AND WORSENED OVER TIME. IT CAN BE HEARD WHEN
22            THE VEHICLE IS STATIONARY AND AT ALL SPEEDS. IT IS LOUDEST
              WHILE ACCELERATING AND IS FAINT WHILE COASTING. MY
23            SPECIFIC VEHICLE IS 2012 KIA SOUL+ (PLUS) WHICH HAS A NU 2.0-
24            LITER GDI ENGINE. THE SAME ENGINE IN OTHER VEHICLES AND
              DIFFERENT ENGINE IN THIS VEHICLE HAVE BEEN RECALLED FOR
25            THIS SAME PROBLEM. I BELIEVE THIS IS AN ERROR IN
26            MANUFACTURING AND SHOULD BE RECALLED BECAUSE OF THE
              SAFETY HAZARD IT PRESENTS (ENGINE FIRE).
27

28

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 1            June 28, 2019 NHTSA ID NUMBER: 11228311
 2
              MY CAR DOES NOT SEEM TO BE COVERED UNDER RECALL
              19V120000, HOWEVER IT IS HAVING THE SAME ISSUES ASSOCIATED
 3            WITH THAT RECALL NUMBER. HIGH EXHAUST TEMPERATURES
 4            WITHIN THE CATALYTIC CONVERTER MAY CAUSE INTERNAL
              ENGINE DAMAGE TO THE PISTONS AND CONNECTING RODS,
 5            RESULTING IN AN ENGINE STALL AND FAILURE. THERE IS ENGINE
 6            SHAVINGS IN MY OIL AND IT IS MAKING A HORRIBLE NOISE. IT IS
              NO LONGER DRIVEABLE. I TOOK IT INTO KIA SERVICE
 7            PREVIOUSLY AND THEY TOLD ME IT WAS RELATED TO THE ABOVE
 8            CONCERNS,

 9            June 3, 2019 NHTSA ID NUMBER: 11217440
10            OCCASIONALLY, THE CHECK ENGINE LIGHT WOULD TURN ON AND
              THEN TURN OFF. FOR ONLY A DAY OR TWO, I COULD HEAR A
11            RATTLING SOUND UPON ACCELERATION. WHILE DRIVING ON THE
12            HIGHWAY, THE NOISE BECAME MUCH LOUDER, THE ENGINE
              FAILED AND BEGAN SMOKING. THE CAR BECAME INOPERABLE. I
13            HAD THE CAR TOWED TO AN AUTO SHOP WHERE THEY SHOWED
14            ME THAT A PISTON ROD HAD PUNCTURED THE CAR'S ENGINE
              BLOCK. I LEARNED THAT THE CAR HAD BEEN RECALLED UNDER
15            NHTSA RECALL NUMBER 19V120. I FOLLOWED RECALL
16            INSTRUCTIONS AND BROUGHT THE CAR TO A LOCAL DEALER. THE
              DEALER REFUSED TO REPAIR THE CAR. THEY STATED THAT THERE
17            IS NO PROOF THAT THE ENGINE MALFUNCTION WAS RELATED TO
18            THE RECALL.

19            May 21, 2019 NHTSA ID NUMBER: 11208897
20            TL* THE CONTACT OWNS A 2012 KIA SOUL. WHILE DRIVING 60
              MPH, THE CONTACT HEARD A LOUD EXPLOSION COMING FROM
21            THE FRONT OF THE VEHICLE. THERE WAS NO WARNING
22            INDICATOR ILLUMINATED. THE CONTACT NOTICED SMOKE UNDER
              THE HOOD OF THE VEHICLE. THE CONTACT WAS ABLE TO SAFELY
23            PULL THE VEHICLE OFF OF THE ROADWAY. UPON RAISING THE
24            HOOD, THE CONTACT NOTICED OIL EVERYWHERE IN THE ENGINE
              COMPARTMENT AND ON THE ROAD SURFACE. THE VEHICLE WAS
25            TOWED TO AN INDEPENDENT MECHANIC, BUT WAS NOT
26            DIAGNOSED OR REPAIRED. CHARLIE'S KIA (LOCATED AT 475
              WESTERN AVE, AUGUSTA, ME 04330, (207) 622-6621) WAS NOTIFIED
27            OF THE FAILURE. THE CONTACT BELIEVED THAT THE DEALER
28            WOULD NOT ASSIST BECAUSE THE VEHICLE WAS NOT PURCHASED
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 112
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 1            FROM THEM. THE VEHICLE WAS INCLUDED IN NHTSA CAMPAIGN
 2
              NUMBER: 19V120000 (ENGINE AND ENGINE COOLING). THE
              VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOT
 3            NOTIFIED OF THE FAILURE. THE APPROXIMATE FAILURE MILEAGE
 4            WAS 108,000.

 5            May 13, 2019 NHTSA ID NUMBER: 11207234
 6            TL* THE CONTACT OWNS A 2012 KIA SOUL. CONSUMER STATED ON
              OR ABOUT MARCH 29, A TAPPING NOISE WAS NOTICED COMING
 7            FROM THE ENGINE, WE HAD THE OIL CHANGED ON APRIL 2ND AND
 8            THE NOISE WAS REDUCED. ON APRIL 3RD WHILED DRIVING TO
              WORK THE VEHICLE BEGAN TO SMOKE AND THE FIRE
 9            DEPARTMENT WAS CALLED. THE CONTACT STATED THAT A ROD
10            FRACTURED CAUSING A HOLE IN THE OIL PAN WHICH RESULTED
              IN A CATASTROPHIC ENGINE FIRE. THE VEHICLE WAS UNABLE TO
11            BE DRIVEN. A FIRE INSPECTION REPORT WAS PROVIDED. THE
12            VEHICLE WAS INCLUDED IN NHTSA CAMPAIGN NUMBER:
              19V120000 (ENGINE AND ENGINE COOLING) HOWEVER, THE
13            DEALER GOSSETT KIA, 1900 COVINGTON PIKE, MEMPHIS, TN 38128,
14            901-388-8989, WAS NOTIFIED OF THE FAILURE TO BUT OFFERED NO
              ASSISTANCE. THE MANUFACTURER WAS NOTIFIED OF THE
15            FAILURE. THE FAILURE MILEAGE WAS NOT AVAILABLE. *BF*JB
16
              May 9, 2019 NHTSA ID NUMBER: 11206564
17            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT STATED
18            WHILE DRIVING AT 35 MPH, AN ABNORMAL NOISE WAS HEARD AS
              THE CHECK ENGINE WARNING LIGHT ILLUMINATED. IN ADDITION,
19            THE CONTACT STATED HE HEARD A LOUD BOOM NOISE AND THE
20            VEHICLE CEASED IN THE MIDDLE OF THE ROAD. THE CONTACT
              STATED HE SAW OIL LEAKING UNDER THE VEHICLE. THE VEHICLE
21            WAS TOWED TO AN INDEPENDENT MECHANIC WHERE THE
22            VEHICLE WAS DIAGNOSED WITH NEEDING AN ENGINE
              REPLACEMENT. THE MANUFACTURER WAS INFORMED OF FAILURE
23            AND INFORMED THE CONTACT THAT NO RECALL WAS
24            ASSOCIATED WITH VIN. THE CONTACT TOWED THE VEHICLE TO
              HIS RESIDENCE. THE CONTACT STATED ON APRIL 26, 2019 HE
25            RECEIVED NOTIFICATION OF NHTSA CAMPAIGN NUMBER:
26            19V120000 (ENGINE, ENGINE AND ENGINE COOLING). THE CONTACT
              CALLED THE MANUFACTURER, WERE HE WAS NOTIFIED THE
27            VEHICLE WOULD BE TOWED TO LOCAL DEALER DEMONTROND
28            KIA (14101 NORTH FWY, HOUSTON, TX 77090, (281) 607-1973) WHERE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 113
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 1            IT WAS DIAGNOSED THAT THE DAMAGE ON THE ENGINE WAS NOT
 2
              ASSOCIATED TO NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE,
              ENGINE AND ENGINE COOLING). THE VEHICLE WAS NOT REPAIRED
 3            AND WAS STILL AT THE DEALER. THE FAILURE MILEAGE WAS
 4            104,000.

 5            May 8, 2019 NHTSA ID NUMBER: 11206203
 6            TL* THE CONTACT OWNS A 2012 KIA SOUL. THE CONTACT'S
              ENGINE SEIZED WHILE EXITING A FUEL STATION. THE CONTACT
 7            PULLED THE VEHICLE OVER AND ATTEMPTED TO RESTART THE
 8            ENGINE, BUT WAS UNSUCCESSFUL. THE CONTACT HAD TO LEAVE
              THE VEHICLE AT THE SCENE AND THE CHECK ENGINE INDICATOR
 9            ILLUMINATED. THE VEHICLE WAS TAKEN TO SOUTHWEST KIA OF
10            AUSTIN (13175 US-183 N, AUSTIN, TX 78750, (512) 583-1900) WHERE IT
              WAS DIAGNOSED THAT METAL SHAVINGS WERE IN THE ENGINE
11            AND SENSORS. THE VEHICLE WAS NOT REPAIRED. THE
12            MANUFACTURER WAS NOT MADE AWARE OF THE FAILURE. THE
              FAILURE MILEAGE WAS 124,131.
13

14            March 16, 2019 NHTSA ID NUMBER: 11187247
              WAS DRIVING ON HIGHWAY. WAS EXITING ON OFF RAMP CAR
15            LOST EXCELERATION CAR BLEW OUT SMOKE AND STALLED
16            COASTED OFF EXIT. WOULD NOT RUN AFTER THAT. IT CLICKED
              LIKE IT WANTED TO START. FOUND HUGE HOLE BLOWN IN MY
17            ENGINE BLOCK
18
              May 17, 2018 NHTSA ID NUMBER: 11096613
19            WAS DRIVING ON THE EXPRESS WAY BEHIND A SEMI. WHEN THE
20            SEMI GOT OVER IN THE RIGHT LANE I ACCELERATED AND HERD A
              LOUD BANG AND DARK SMOKE STARTED COMING FROM MY
21            ENGINE. IT SMELLED OFTEN AND IMPAIRED MY VISION. SEVERAL
22            OF MY CAUSATION LIGHT ILLUMINATED AND I WAS STUCK AT 60
              MPH MY CAR WOULD NOT ACCELERATE AND STOPPED WORKING.
23            I GOT OVER IN THE RIGHT LANE SAFELY AND COASTED FOR
24            ABOUT A MILE AND A HALF TO THE NEAREST EXIT. SOMETHING
              TOLD ME DO NOT PUT YOUR FOOT ON THE BRAKES OR YOU WILL
25            BE IN SERIOUS TROUBLE. AS I GOT OF THE EXIT I STARTED TO
26            BRAKE AND MY CAR STOPPED AND DIED.OIL WAS LEAKING OUT
              AND NOTHING WAS WORKING. I HAD TO GET PEOPLE TO PUSH ME
27            OFF TO THE SIDE OF THE ROAD AND GET A TOW TO THE
28            DEALERSHIP. THEY TOLD ME I HAD CATASTROPHIC ENGINE
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 1            FAILURE. SO MY ENGINE FAILED ME AND I COULD HAVE BEEN
 2
              KILLED. I DID RESEARCH AND THERE HAVE BEEN MANY KIA'S
              WITH RECALL AND VERY SIMILAR SITUATIONS AS MINE BUT NOT
 3            WITH MY MODEL CAR. I AM SURE THIS IS A MANUFACTURES
 4            ERROR AND I PRAY KIA DOES A RECALL TO PROTECT PEOPLE'S
              LIVES. *JS *JS
 5

 6                                    2013 Kia Soul

 7            October 13, 2021 NHTSA ID NUMBER: 11436672
 8            THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
              WHILE DRIVING 55-60 MPH, SHE HEARD ABNORMAL KNOCKING
 9            SOUNDS COMING FROM THE ENGINE. THE CHECK ENGINE
10            WARNING LIGHT ILLUMINATED. THE CONTACT STATED SHE
              CONTINUED TO DRIVE THE VEHICLE AND TOOK THE VEHICLE TO
11            THE DEALER. THE DEALER DIAGNOSED THAT THE ENGINE HAD
12            FAILED AND NEEDED TO BE REPLACED. THE MANUFACTURER WAS
              NOT NOTIFIED OF THE FAILURE. THE VEHICLE WAS NOT
13            REPAIRED. THE APPROXIMATE FAILURE MILEAGE WAS 46,000.
14
              September 28, 2021 NHTSA ID NUMBER: 11434669
15            ENGINE LOCKED UP ON THE HIGHWAY AT HIGH SPEED. WE HAD
16            TO GET THE CAR OFF THE ROAD VERY QUICKLY. OUR MECHANIC
              DIAGNOSIS WAS LOWER BEARING FAILURE RESULTING IN A
17            SEIZED ENGINE. NO SYMPTOMS WERE NOTICED BEFORE SEIZING
18            UP.

19            June 24, 2021: NHTSA ID NUMBER: 11422200
20            THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
              WHILE DRIVING AT 55 MPH, A LOUD KNOCKING NOISE WAS
21            COMING FROM THE ENGINE COMPARTMENT. THE CONTACT
22            STATED NO WARNING LIGHT WAS ILLUMINATED. THE VEHICLE
              WAS TAKEN TO AN INDEPENDENT MECHANIC WHERE IT WAS
23            DIAGNOSED WITH THE ENGINE NEEDING TO BE REPLACED DUE TO
24            METAL SHAVINGS BEING FOUND IN THE OIL PAN. THE VEHICLE
              WAS NOT REPAIRED. THE CONTACT THEN TOOK THE VEHICLE TO
25            A LOCAL DEALER WHERE IT WAS DIAGNOSED WITH THE ENGINE
26            NEEDING TO BE REPLACED. THE VEHICLE WAS NOT REPAIRED.
              THE CONTACT WAS RELATING THE FAILURE TO NHTSA CAMPAIGN
27            NUMBER: 19V120000 (ENGINE, ENGINE AND ENGINE COOLING). THE
28            MANUFACTURER HAD BEEN INFORMED OF THE FAILURE AND
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 115
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 1            INFORMED THE CONTACT THAT THEY WOULD CALL HIM BACK.
 2
              THE FAILURE MILEAGE WAS APPROXIMATELY 134,000.

 3            May 2, 2021 NHTSA ID NUMBER: 11414788
 4            METAL SHAVINGS FOUND IN ENGINE AND ROD WENT THRU THE
              BLOCK. KEEPS OVERHEATING EVEN WHEN SEEN BY 3 DIFFERENT
 5            MECHANICS. VALUE 3 WON'T WORK NO MATTER WHAT WE DO TO
 6            FIX IT

 7            March 4, 2021 NHTSA ID NUMBER: 11399102
 8            TL* THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
              WHILE DRIVING AT 25 MPH, THE CONTACT HEARD A LOUD NOISE
 9            COMING FROM THE ENGINE COMPARTMENT FOLLOWED BY AN
10            ODOR OF SOMETHING BURNING. THE CONTACT STOPPED THE
              VEHICLE, AND UPON INSPECTION THE VEHICLE WAS LEAKING OIL
11            FROM THE ENGINE COMPARTMENT. THE CONTACT STATED THE
12            CHECK OIL WARNING LIGHT WAS ILLUMINATED. THE VEHICLE
              WAS TOWED TO CONTACTS RESIDENCE. THE VEHICLE WAS NOT
13            REPAIRED. UPON INVESTIGATION, THE CONTACT ASSOCIATED THE
14            FAILURE WITH NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE,
              ENGINE AND ENGINE COOLING) HOWEVER THE VIN WAS NOT
15            INCLUDED. THE MANUFACTURER WAS INFORMED OF FAILURE
16            AND TOLD THE CONTACT THAT THE VEHICLE WAS NOT UNDER A
              RECALL. THE FAILURE MILEAGE WAS APPROXIMATELY 175,000.
17

18            February 17, 2021 NHTSA ID NUMBER: 11396626
              TL* THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
19            THAT WHILE DRIVING AT 65 MPH, THE VEHICLE BEGAN TO STALL
20            AS A BLACKISH SMOKE BEGAN TO EMIT FROM THE ENGINE. AFTER
              THE ENGINE COMPLETELY FAILED, THE OIL AND CHECK ENGINE
21            WARNING LIGHTS BOTH APPEARED ON THE INSTRUMENT PANEL.
22            DUE TO THE FAILURE, THE CONTACT HAD THE VEHICLE TOWED
              TO AN INDEPENDENT MECHANIC WHO INFORMED HIM THAT A
23            ROD PIERCED THROUGH THE ENGINE BLOCK. THE VEHICLE WAS
24            DIAGNOSED WITH A COMPLETE ENGINE FAILURE AND WAS
              REPLACED WITH ANOTHER ENGINE BY THE SAME MECHANIC. THE
25            VEHICLE WAS REPAIRED. THE CONTACT LINKED HIS FAILURE TO
26            NHTSA CAMPAIGN NUMBER: 19V120000 (ENGINE, ENGINE AND
              ENGINE COOLING); HOWEVER THE VIN WAS NOT INCLUDED. THE
27            DEALER AND THE MANUFACTURER WERE NOT NOTIFIED OF THE
28            FAILURE. THE FAILURE MILEAGE WAS 76,250.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 116
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 1

 2
              January 21, 2021 NHTSA ID NUMBER: 11389180
              TL* THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
 3            THAT THE WHILE DRIVING APPROXIMATELY 40 MPH, THE
 4            CLUNKING NOISE WAS PRESENT COMING FROM THE ENGINE. THE
              VEHICLE WAS TAKEN TO THE LOCAL DEALER EWALD KIA
 5            LOCATED AT 36883 E WISCONSIN AVE, OCONOMOWOC, WI 53066
 6            WHO DIAGNOSED THAT THE ENGINE ROD HAD FAILED AND THE
              ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
 7            REPAIRED. THE MANUFACTURER WAS NOTIFIED OF THE FAILURE
 8            BUT NO ASSISTANCE WAS OFFERED. THE FAILURE MILEAGE WAS
              117,000.
 9

10            December 15, 2020 NHTSA ID NUMBER: 11383499
              BOUGHT THIS CAR FOR MY TEENAGE DAUGHTER. ROD BROKE,
11            PUNCTURED THE ENGINE BLOCK, WHICH CAUSED THE OIL
12            LEAKED OUT AND IT CAUGHT FIRE WITH MY DAUGHTER AND HER
              FRIENDS IN THE CAR.
13

14            September 1, 2020 NHTSA ID NUMBER: 11352564
              TL* THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
15            THAT WHILE DRIVING 75 MPH, THE ENGINE MADE A KNOCKING
16            SOUND. THE CONTACT CHECKED THE OIL AFTER PULLING IN TO A
              GAS STATION. THE CONTACT CONTINUED DRIVING HOME
17            HOWEVER, THE ENGINE BLEW AND OIL STARTED SQUIRTING
18            FROM UNDER THE HOOD. THE CONTACT PULLED OFF THE
              ROADWAY AND THE VEHICLE WAS TOWED TO AN INDEPENDENT
19            MECHANIC. THE MECHANIC DISCOVERED A HOLE AT THE BOTTOM
20            OF THE ENGINE HOWEVER, A DIAGNOSTIC TEST WAS NOT
              PERFORMED. NEITHER THE DEALER NOR THE MANUFACTURER
21            WERE CONTACTED. THE VEHICLE WAS NOT REPAIRED. THE
22            FAILURE MILEAGE WAS 112,000.
23            August 6, 2020 NHSA ID NUMBER: 11343594
24            WAS DRIVING MY 2013 KIA SOUL AND IT THREW A ROD AND MY
              ENGINE LOCKED UP. I FOUND OUT THAT THERE WAS A RECALL ON
25            THE CATALYTIC CONVERTER. DEALERSHIP SAID THEY TRIED TO
26            RUN A DIAGNOSTIC AND IT SAID ENGINE FAILURE AFTER THEY
              REPLACED THE RECALLED CATALYTIC CONVERTER.
27

28

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 1            July 12, 2020 NHTSA ID NUMBER: 11338842
 2
              WAS DRIVING ON THE HIGH WAY ENGINE BLINKED FIVE TIMES
              AND CAR LOCKED UP BEGAN TO SHUT OFF. GOT OUT THE CAR
 3            THINKING I NEED OIL POPPED THE HOOD SAW SOMETHING FALL
 4            LOOKED UNDER THE CAR THERE WAS A FIRE PUT THE FIRE OUT
              WITH A TOWEL CALLED THE POLICE AND THE FIRE DEPARTMENT
 5            CAME AND SAID A ROD BLEW? AND I GOOGLED THERE IS A
 6            RECALL FOR THIS EXACT HAPPENING

 7            June 29, 2020 NHTSA ID NUMBER: 11331600
 8            WHILE DRIVING MY CERTIFIED 2013 KIA SOUL ON A BUSY
              HIGHWAY IT SUDDENLY LOST ALL POWER. I WAS ABLE TO GET IT
 9            TO THE SIDE OF THE ROAD AND PUSH IT INTO A PARKING LOT. I
10            OPENED THE HOOD AND FOUND OIL HAD EXPLODED
              EVERYWHERE SO I HAD TO HAVE IT TOWED TO MY HOME. A
11            MECHANIC SAID THE ENGINE THREW A ROD THAT WENT
12            THROUGH THE BLOCK, SO THE WHOLE ENGINE WOULD HAVE TO
              BE REPLACED. I HAD THE CAR SERVICED 2 MONTHS PRIOR TO THE
13            FAILURE AND THEY DIDN'T ADVISE OF ANY ISSUES. AFTER
14            CONTACTING THE DEALERSHIP WHERE I PURCHASED THE KIA
              SOUL THEY CONFIRMED KIA WAS ALREADY AWARE OF THIS
15            PROBLEM AND SHOULD HAVE TOLD ME THERE WAS A RECALL ON
16            MY VEHICLE BEFORE THE ENGINE WAS DAMAGED. WHEN I
              CONTACTED KIA THEY TOLD ME MY VEHICLE DIDN'T QUALIFY
17            FOR THE RECALL, BUT SINCE THE FAILURE OF MY VEHICLE IS
18            EXACTLY WHAT HAS HAPPENED ON OTHER VEHICLES I'M NOT
              SURE WHY MINE DOESN'T QUALIFY. I'M CURRENTLY WITHOUT A
19            VEHICLE BECAUSE I DON'T HAVE THE FUNDS TO REPLACE THE
20            ENGINE. I NEED DIRECTION ON WHAT TO DO.
21            March 6, 2020 NHTSA ID NUMER: 11316535
22            I WAS DRIVING TO WORK AND MY CHECK ENGINE LIGHT CAME
              ON. I FIGURED I WOULD TAKE IT TO MY MECHANIC THE NEXT DAY
23            SINCE I DID NOT SEE, HEAR, OR SMELL ANYTHING AT THAT TIME.
24            WITHIN 10 MINUTES, A KNOCKING NOISE STARTED UNDER MY
              HOOD. I IMMEDIATELY HEADED TOWARDS MY MECHANIC'S SHOP -
25            I MADE IT 8 MILES, WITH THE KNOCKING BECOMING MORE
26            FREQUENT, UNTIL IT STOPPED AND MY ENGINE DIED. I WAS IN THE
              RIGHT LANE OF THE HIGHWAY AT APPROXIMATELY 50 MPH. I WAS
27            ABLE TO COAST FROM THE CLOSEST EXIT RAMP INTO A GAS
28            STATION PARKING LOT. I HAD MY VEHICLE TOWED THE REST OF
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 118
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 1            THE WAY TO MY MECHANIC, WHO DIAGNOSED A SPUN OR
 2
              THROWN ROD BEARING. HE IDENTIFIED ONE HOLE IN THE
              BOTTOM OF THE ENGINE - THE EJECTED PART HAD PIERCED THE
 3            ENGINE BLOCK AND MY OIL PAN. I CALLED KIA CONSUMER
 4            AFFAIRS, WHO ADVISED THIS SOUNDED LIKE AN ISSUE I SHOULD
              TAKE IT TO A DEALERSHIP TO HAVE EVALUATED FOR
 5            REPLACEMENT/REPAIR BY KIA. AS FAR AS I KNOW, THERE HAS
 6            BEEN NO RECALL, BUT KIA SEEMS TO ALREADY BE AWARE OF
              THIS PROBLEM IN SOULS AND HAS NOT ISSUED A RECALL. THE
 7            REPRESENTATIVE ON THE PHONE AT KIA CONSUMER AFFAIRS
 8            SAID I "MAY NOT HAVE EVEN RECEIVED THE LETTER YET". MY
              VEHICLE WAS NOT INCLUDED IN THE PREVIOUS RECALL BUT
 9            APPEARS TO HAVE SUFFERED THE EXPECTED ISSUE. THE RECALL
10            SHOULD BE EXPANDED. I TOOK MY VEHICLE TO MY LOCAL
              DEALERSHIP, WHO COORDINATED WITH THEIR DISTRICT
11            MANAGER AND KIA HAS AGREED TO REPAIR MY ENGINE. I AM
12            CONCERNED THAT THEY WILL ONLY REPAIR THE DAMAGE BUT
              NOT ADDRESS THE ACTUAL ISSUE. THE DEALERSHIP ALSO
13            IDENTIFIED A SECOND HOLE THAT HAD BEEN MADE IN MY ENGINE
14            BLOCK BY DEBRIS WHEN MY ENGINE BROKE DOWN.

15            July 23, 2019 NHTSA ID NUMBER: 11234222
16            I WAS DRIVING MY 2013 KIA SOUL, AND I WAS TURNING ACROSS A
              BUSY INTERSECTION. AS I WAS IN THE MIDDLE OF CROSSING THE
17            INTERSECTION MY CAR STALLED OUT AND I WAS ALMOST IN A
18            VERY SERIOUS ACCIDENT. IF THE ONCOMING CAR HAD NOT
              SWERVED IT WOULD HAVE BEEN A SERIOUS COLLISION. SINCE
19            THIS INCIDENT, MY CAR HAS BEEN TOWED TO A KIA SERVICE
20            CENTER AND EVALUATED. THE KIA TECHNICIAN STATED THAT
              MY CAR HAD METAL SHAVINGS WITHIN THE CRANKSHAFT OIL
21            PASSAGES, AND THE CRANKPINS THEMSELVES MAY BE TOO
22            ROUGH ON THE EDGES. AS A RESULT, OIL MAY BE BLOCKED AND
              CAUSE THE CONNECTING ROD BEARINGS TO WEAR, WHICH
23            WOULD THEN CAUSE THEM TO FAIL AND SEIZE THE WHOLE
24            ENGINE. THAT, OF COURSE, WOULD CAUSE THE CAR TO STALL
              DURING DRIVING. THIS IS THE EXACT SAME PROBLEM THAT THE
25            OTHER KIA ENGINES WERE RECALLED FOR. IN ADDITION TO
26            STALLING THIS COULD CAUSE THE RODS TO PIERCE THE ENGINE
              AND CAUSE A FIRE. MORE LIVES ARE AT RISK BECAUSE THE KIA
27            RECALL IS NOT COMPLETE. ENGINES LIKE MINE, ARE STILL OUT
28            THERE POSSIBLY CAUSING SERIOUS AND OR FATAL INCIDENTS.
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 1            KIA NEEDS TO EXPAND THE RECALL TO THE 2. ENGINES AS WELL.
 2
              THIS IS A MANUFACTURING DEFECT THAT NEEDS IMMEDIATE
              ACTION. PLEASE EXPAND THE RECALL AS THIS PROBLEM IS STILL
 3            CONTINUING IN OTHER KIA SOUL ENGINES NOT LISTED IN THE
 4            RECALL. *TR CONSUMER STATED MY 2013 KIA SOUL HAS BEEN
              TOWED TO THE DULLES KIA DEALERSHIP. THEY ARE SAYING THAT
 5            EVEN THOUGH THE ISSUE MY CAR IS HAVING IS THE SAME/ OR
 6            SIMILAR TO THE OTHER RECALLED KIA SOUL ENGINES, MY
              ENGINE IS NOT LISTED ON THE RECALL. SINCE IT IS NOT ON THE
 7            RECALL, I NEED A NEW ENGINE AT THE COST OF $6,200 DOLLARS.
 8            MY KIA IS A 2013, WITH 86,712 MILES ON IT.*JB

 9            April 29, 2019 NHTSA ID NUMBER: 11204492
10            TL* THE CONTACT OWNS A 2013 KIA SOUL. WHILE DRIVING, A
              LOUD EXPLOSION WAS HEARD UNDERNEATH THE VEHICLE. THE
11            CONTACT WAS ABLE TO COAST THE VEHICLE TO THE SIDE OF THE
12            ROAD AND BYSTANDERS HELPED PUSH THE VEHICLE INTO A
              PARKING LOT. THE VEHICLE WAS TOWED TO WORLD CAR KIA
13            NEW BRAUNFELS (LOCATED AT 3363 INTERSTATE 35 FRONTAGE
14            RD, NEW BRAUNFELS, TX 78132, (830) 214-7280) WHERE IT WAS
              DIAGNOSED THAT THE PISTON ROD EXPLODED AND BLEW A HOLE
15            IN THE ENGINE. THE ENGINE NEEDED TO BE REPLACED. THE
16            VEHICLE WAS NOT REPAIRED. THE VIN WAS INCLUDED IN NHTSA
              CAMPAIGN NUMBER: 19V120000 (ENGINE, ENGINE AND ENGINE
17            COOLING). THE MANUFACTURER WAS NOT NOTIFIED OF THE
18            FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS 143,000. *DT

19            April 18, 2018 NHTSA ID NUMBER: 11120842
20            THE ENGINE IN MY 2013 KIA SOUL BLEW AT ONLY 56000 MILES. MY
              WIFE WAS DRIVING THE CAR ON THE INTERSTATE WHEN SHE
21            HEARD A KNOCKING NOISE AND SHE PULLED OVER. A MAN CAME
22            UP TO HER WINDOW AND TOLD HER THERE WAS FLAMES COMING
              FROM THE BOTTOM OF THE CAR. IT TURNS OUT THAT A ROD WENT
23            THROUGH THE ENGINE BLOCK AND LEAKED ALL THE OIL OUT OF
24            THE CAR. WHEN I TOOK THE VEHICLE TO KIA, THE SERVICE TECH
              ASKED ABOUT THE OIL CHANGES AND HAD MENTIONED THAT
25            THE OEM OIL FILTER THAT KIA PUTS HAS SOME TYPE OF
26            PRESSURE RELEASE AND WHEN YOU GET THE OIL CHANGED
              SOMEWHERE ELSE THEY DON'T HAVE THAT TYPE OF FILTER. I
27            ASKED IF IT WAS REQUIRED TO HAVE THE OIL CHANGED AT A KIA
28            DEALER AND HE SAID NO. WE HAVE HAD ALL THE OIL CHANGES
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 120
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 1            UP TO DATE ON THE VEHICLE. IT IS REALLY HARD TO
 2
              UNDERSTAND HOW AN ENGINE WITH 56K MILES CAN STOP.

 3            July 19, 2018 NHTSA ID NUMBER: 11112510
 4            TAKATA RECALL MY 2013 KIA SOUL HAD BEEN A GREAT CAR FOR
              ALMOST 5 YEARS NOW. OUT OF NO WHERE WHEN I WAS DRIVING
 5            MY CAR IT JUST STARTED TO MAKE THIS REALLY LOUD
 6            KNOCKING AND TICKING SOUND. THE CHECK ENGINE LIGHT
              CAME ON AND IT SHUTS OFF WHILE I'M DRIVING. I GOT IT TO TURN
 7            ON I TOOK IT TO KIA THEY DID THE DIAGNOSIS ITS AN ENGINE
 8            FAILURE MY ROD IS FAULTY THE GUY SAID BUT MY WARRANTY
              APPARENTLY JUST ENDED BUT HOW DOES MY 5 YEAR OLD CAR
 9            HAVE ENGINE FAILURE OUT OF THE BLUE IT ONLY HAS 56.263
10            MILES ON IT I ONLY USE IT LOCALLY I MAINTENANCE MY CAR
              HOW DOES THIS HAPPEN.
11

12            August 3, 2020 NHTSA ID NUMBER: 11343004
              TL* THE CONTACT OWNS A 2013 KIA SOUL. THE CONTACT STATED
13            THAT THE PISTON BLEW WITHOUT WARNING AND CAUSED OIL TO
14            LEAK INTO THE ENGINE AND CAUSED THE ENGINE TO BURN. THE
              CONTACT RECEIVED NOTIFICATION OF NHTSA CAMPAIGN
15            NUMBER: 19V120000 (ENGINE, ENGINE AND ENGINE COOLING) THE
16            VEHICLE WAS TAKEN TO THE STOKES KIA DEALER (202 S GOOSE
              CREEK BLVD, GOOSE CREEK, SC 29445) WHERE IT WAS STATED
17            THAT NO CODES WERE FOUND AND THEREFORE THE ENGINE
18            WOULD NOT BE REPLACED. THE MANUFACTURER WAS MADE
              AWARE OF THE ISSUE AND STATED THAT THE ENGINE WAS
19            PURCHASED USED AND DID NOT QUALIFY FOR A REPLACEMENT
20            UNDER THE RECALL. THE VEHICLE WAS NOT REPAIRED. THE
              FAILURE MILEAGE WAS APPROXIMATELY 70,000.*DT*DT*JB*DT*AS
21

22                                    2014 Kia Soul
23            June 29, 2015 NHTSA ID Number: 10731276
24            TAKING A DAY TRIP TO THE CRAYOLA FACTORY, WE WERE 10
              MILES FROM OUR DESTINATION WHEN WE FIRST SMELLED SMOKE
25            THEN SAW IT COMING IN THROUGH THE VENTS AND FROM THE
26            FRONT PASSENGER CORNER OF THE VEHICLE. I FIRST CHECKED
              THE GAUGES TO SEE IF IT WAS OVER HEATED, NOTHING. POPPED
27            THE HOOD AND THAT'S WHEN WE REALIZED IT WAS ON FIRE. WE
28            RACED TO GET THE 2 SMALL KIDS OUT OF THE VEHICLE AS THE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 121
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 1            FLAMES WERE STARTING TO OVER TAKE THE FRONT HOOD. WE
 2
              WERE ABLE TO SECURE THE KIDS AND GET FAR ENOUGH AWAY
              FROM THE VEHICLE BUT 3 MINUTES LATER THE CAR WAS GUTTED.
 3            NOTHING BUT METAL LEFT ON THE INSIDE. WE HAD NO WARNING
 4            THAT SOMETHING WAS WRONG WHILE DRIVING THE CAR, NO
              ENGINE LIGHT, NO OVERHEATING - JUST SMELLED AND THEN SAW
 5            SMOKE. WE WERE LUCKY WE HAD A PLACE TO PULL OFF ON A
 6            BUSY HIGHWAY. I WAS TOLD BY THE POLICE OFFICER THAT I'M
              LUCKY THAT I TURNED OFF THE CAR AND OPENED THE DOORS
 7            BEFORE THE LOCKS MALFUNCTIONED AS HE HAS SEEN IN OTHER
 8            KIA CARS. MY HOPE IS THAT KIA CAN FIND THE SOURCE OF THE
              FIRE AND DO A RECALL BEFORE ANYONE ELSE IS FACED WITH
 9            THIS NIGHTMARE. I REPORTED IT TO KIA VIA SOCIAL MEDIA, BUT
10            THEY SEEMED MORE CONCERNED ON HOW TO TAKE MY PICTURES
              OFF RATHER THAN FIX THE ISSUE. *TR UPDATED 11/02/2017*CN
11

12            June 1, 2017 NHTSA ID Number: 11043182
              2014 KIA SOUL BURNING OIL EXCESSIVELY. HAVE TO REFILL OIL
13            ONE A WEEK. THIS VEHICLE HAS NEVER MISSED AN OIL CHANGE.
14            100,XXX MILES. STARTED AT 80,XXX MILES.

15            July 25, 2017 NHTSA ID Number: 11011211
16            ENGINE CUT OFF WITHOUT WARNING WHILE CAR WAS MOVING IN
              BOULEVARD TRAFFIC, DECELERATING AS I APPROACHED A TURN
17            INTO A SHOPPING PLAZA. OIL LIGHT CAME ON. ENGINE WOULD
18            NOT RESTART. MECHANIC SAYS THERE ARE LOOSE LITTLE PIECES
              OF METAL INSIDE ENGINE AND THAT ENGINE MUST BE REPLACED.
19            I HAVE FOLLOWED ALL MANUFACTURER'S RECOMMENDATIONS
20            FOR MAINTENANCE. THIS ENGINE SHOULD NOT HAVE SELF-
              DESTRUCTED AT 93,000 MILES. I AM FILING THIS INFO WITH NHTSA
21            BECAUSE I SUSPECT THAT PREVIOUS KIA ENGINE RECALL SHOULD
22            HAVE INCLUDED THIS MODEL ALSO.
23            October 25, 2017 NHTSA ID Number: 11041768
24            ON 10/25/2017 WHILE DRIVING ON THE HIGHWAY, MY 2014 KIA
              SOUL CAUGHT ON FIRE - SPONTANEOUSLY AND WITHOUT
25            WARNING (NO APPARENT ISSUES IN OPERATING THE CAR,
26            WARNING LIGHTS ON THE DASH, ETC.). TWO FELLOW MOTORISTS
              HONKED THEIR HORNS AND FLASHED THEIR LIGHTS IN AN EFFORT
27            TO SIGNAL ME. THE BACK WINDSHIELD BEGAN TO 'FOG UP' DUE
28            TO THE HEAT/FIRE, AND WE IMMEDIATELY PULLED OFF THE
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 122
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 1            HIGHWAY. IN AN EFFORT TO ESCAPE THIS EMERGENCY, I ALONG
 2
              WITH MY SON, WHO WAS DRIVING, IMMEDIATELY GOT OUT OF
              THE VEHICLE AND MOVED A SAFE DISTANCE AWAY BEFORE
 3            CALLING 911. AT THIS POINT FLAMES WERE COMING FROM BOTH
 4            UNDERNEATH THE VEHICLE AND FROM THE ENGINE
              COMPARTMENT. THE CAR WAS SOON ENGULFED IN FLAMES.
 5            MULTIPLE FIRE ENGINES RESPONDED TO THE SCENE IN
 6            EXTINGUISHING THE FIRE AND SECURING THE SCENE. THE CAR
              WAS A COMPLETE LOSS (SEE PICTURES ATTACHED IN THE
 7            REPORT). IT IS IMPORTANT TO NOTE THAT MY 2014 KIA SOUL WAS
 8            TAKEN TO A LOCAL KIA DEALERSHIP BETWEEN 10/17/2017 -
              10/19/2017 FOR DIAGNOSTICS DUE TO LIGHTS (INTERNAL AND ON
 9            THE DASH) FLICKERING AND AN ABNORMAL SOUND. THE
10            DEALERSHIP'S SERVICE DEPARTMENT REPLACED THE BATTERY,
              PERFORMED A SAFETY INSPECTION, BUT WERE UNABLE TO
11            IDENTIFY THE FLICKERING LIGHTS ISSUE, NOR WERE THEY ABLE
12            TO IDENTIFY THE SOURCE OF THE ABNORMAL SOUND ALTHOUGH
              THEY DID ACKNOWLEDGE ITS PRESENCE. THE SERVICE
13            DEPARTMENT RELEASED THE VEHICLE TO ME AND ADVISED ME
14            TO DRIVE THE VEHICLE TO SEE WHAT HAPPENED. MY CAR WAS
              BROUGHT HOME, PARKED, AND NOT DRIVEN UNTIL THE INCIDENT
15            ON 10/25/2017.
16
              November 10, 2017 NHTSA ID Number: 11045951
17            11/10/17: DRIVING SOUTH BOUND ON THE TACONIC STATE
18            PARKWAY MY VECHICLE STARTED MAKING A KNOCKING SOUND
              AND STALLED DURING DRIVING. LUCKILY I WAS ON THE RT HAND
19            SIDE AND MADE IT TO PULL OVER. GOT MY CAR TOLD AND
20            MECHANIC TOLD ME MY ENGINE SEIZED. HE ALSO TOLD ME THIS
              WASN'T THE FIRST 2014 KIA SOUL THAT THIS HAS HAPPENED TOO.
21            TOOK ME BY SURPRISE BECAUSE MY VEHICLE HAS NEVER MISSED
22            AN OIL CHANGE. I CALLED KIA AND THEY ARE LOOKING INTO IT.
23            March 3, 2018 NHTSA ID Number: 11080315
24            MY KIA SOUL 2014 JUST BLEW UP AND CAUGHT FIRE. THE ENGINE
              WAS A 4 CYLINDER GDI. THE CAR WENT UP IN FLAMES. THE
25            ENGINE BLEW LOUD AND AS I CAME TO A HALT THE ENTIRE CAR
26            WAS ON FIRE. THEN THE GAS TANK EXPLODED. I WAS IN CRUISE
              CONTROL GOING UP A HIP NOTICED THE ENGINE RIVETING HARD
27            AND THEN THE CAR ENGINE MADE THAT LOUD BANG AND THEN
28

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 1            IN 12 MINUTES CAR WAS ENGULFED AND GAS TANK BLEW AS THE
 2
              FIRE DEPARTMENT ARRIVED.

 3                                    2015 Kia Soul
 4
              August 10, 2016 NHTSA ID Number: 10940026
 5            THE ENGINE FAILED AT 23,600 MI. I WAS SITTING IN TRAFFIC WHEN
 6            THE "OIL" LIGHT CAME ON AND THE ENGINE SEIZED UP
              COMPLETELY. FORTUNATELY THIS DID NOT HAPPEN ON THE
 7            HIGHWAY. THE KIA DEALERSHIP DENIED THE POWERTRAIN
 8            WARRANTY STATING THAT SINCE I DID THE OIL CHANGES
              MYSELF THE WARRANTY WAS VOID. I PAID A MECHANIC TO
 9            REPLACE THE ENGINE. WHEN I TOOK IT TO THE SHOP THE
10            MECHANIC SAID THEY HAD JUST REPLACED THE ENGINE IN A 2014
              KIA OPTIMA AND WHERE MORE THAN FAMILIAR WITH AN ENGINE
11            SWAP ON A MODERN KIA. THESE CARS ARE NOT SAFE, THE
12            GOVERNMENT SHOULD BE INVESTIGATING KIA MOTORS FOR
              THEIR FRAUDULENT PRACTICES.
13

14            August 24, 2016 NHTSA ID Number: 10898504
              THE CAR CAUGHT FIRE UNDER THE HOOD OF THE ENGINE. UPON
15            ARRIVING HOME FROM GROCERY STORE PASSENGER NOTICED
16            SMOKE UNDER THE HOOD. THE FIRE WAS EXTINGUISHED AND THE
              KIA EMERGENCY ROADSIDE SERVICE WAS CALLED. THE LOCAL
17            KIA DEALER DOESNT WANT ANYTHING TO DO WITH THE CAR
18            EVEN THOUGH THE CAR IS STILL UNDER FACTORY WARRANTY .
              KIA CORPORATE ISN'T MUCH HELP EITHER SAYING IT WILL BE 2-5
19            BUSINESS DAYS BEFORE SOMEONE FROM THERE WILL BE ABLE TO
20            COME AND INSPECT IT. IN THE MEANTIME I AM STRANDED IN
              FORT WAYNE WITH NO TRANSPORTATION. AGAIN THE CAR IS
21            STILL UNDER FACTORY WARRANTY!!!!!!!!!
22
              April 5, 2018 NHTSA ID Number: 11089043
23            I WAS DRIVING MY 2015 KIA SOUL ON MY NORMAL ROUTE TO
24            WORK ON 4/5/18. IT WAS A DARK, CLEAR MORNING ON A BUSY
              HIGHWAY. I WAS MOVING WITH TRAFFIC AT APPROXIMATELY 60
25            MPH. AT JUST ABOUT 5:30 A.M., THE VEHICLE MADE A NOISE AND
26            LOST ACCELERATION. I WAS ABLE TO GET TO THE SIDE OF THE
              HIGHWAY AND PARK THE VEHICLE. I WAS PARKED FOR
27            APPROXIMATELY 3 MINUTES WHEN I SAW SMOKE AND FLAMES
28            COMING FROM THE ENGINE. I EXITED THE VEHICLE. SHORTLY
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 124
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 1            THEREAFTER, THE VEHICLE WAS FULLY ENGULFED IN FLAMES.
 2
              NO OTHER PERSONS OR VEHICLES WERE INVOLVED IN THIS
              INCIDENT. I PURCHASED THE VEHICLE NEW AND IT HAD HAD NO
 3            SIGNIFICANT MECHANICAL WORK IN THE 2 YEARS THAT I OWNED
 4            IT, JUST NORMAL OIL CHANGES AND A COUPLE OF SAFETY
              RECALLS. NEITHER THE FIREFIGHTER ON THE SCENE, NOR THE
 5            INSURANCE ADJUSTER, WERE ABLE TO DETERMINE THE CAUSE OF
 6            THE FIRE, ONLY THAT IT STARTED IN THE ENGINE.

 7            April 19, 2018 NHTSA ID Number: 11089999
 8            OWNER WAS DRIVING ON INTERSTATE 80 HEADING EAST AT APX
              65 MILES PER HOUR.WITH NO WARNING , OIL LIGHT STARTED
 9            FLASHING ,CAR SEIZED UP AND STARTED MAKING A VERY LOUD
10            BANGING.OWNER IS A 22 YEAR OLD NEW DRIVER AND WAS VERY
              LUCKY TO HAVE NOT BEEN KILLED. VEHICLE HAS BEEN TOWED
11            TO AN AUTHORIZED KIA DEALER.THE SAME DEALERSHIP OWNER
12            PURCHASED CAR. MILEAGE IS 78.000 MILES AND OIL CHANGES
              HAVE BEEN DONE AT RECOMMENDED INTERVALS.OWNER IS
13            WAITING TO HEAR FROM DEALERSHIP SERVICE DEPARTMENT.
14
              July 28, 2018 NHTSA ID Number: 11122204
15            TL* THE CONTACT OWNED A 2015 KIA SOUL. WHILE THE
16            CONTACT'S SON WAS DRIVING 60 MPH, SMOKE APPEARED FROM
              THE FRONT OF THE VEHICLE, THE VEHICLE STALLED, AND AN
17            ABNORMAL NOISE WAS HEARD. THE CONTACT'S SON EXITED THE
18            VEHICLE AND OBSERVED THAT THE BOTTOM OF THE ENGINE WAS
              ON FIRE. WITHIN A MATTER OF MINUTES, THE ENTIRE VEHICLE
19            CAUGHT ON FIRE. THE FIRE DEPARTMENT EXTINGUISHED THE
20            FIRE AND INDICATED THAT THE VEHICLE WAS A TOTAL LOSS. THE
              VEHICLE WAS TOWED. THE CAUSE OF THE FIRE WAS UNKNOWN.
21            THERE WERE NO INJURIES AND NO POLICE REPORT WAS FILED.
22            THE MANUFACTURER AND DEALER WERE NOT NOTIFIED OF THE
              FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY 80,000.
23

24                                    2016 Kia Soul
25            September 19, 2017 NHTSA ID Number: 11153156
26            I WAS GETTING READY TO MERGE ONTO THE INTERSTATE WHEN I
              HEARD NOISE COMING FROM THE ENGINE COMPARTMENT. WHEN I
27            GOT ONTO THE INTERSTATE THE CAR WOULD NOT ACCELERATE,
28            SO I PULLED OVER TO THE SHOULDER, AND THE ENGINE DIED.
     PLS.’ AM. CONSOLIDATED CLASS ACTION COMPL. – 125
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 1            SMOKE WAS COMING FROM UNDER THE HOOD, AND TWO MEN IN
 2
              TWO VEHICLES STOPPED AND OPENED THE HOOD AND FLAMES
              WERE COMING OUT FROM UNDER THE HOOD. THEY HAD WATER
 3            AND A FIRE EXTINGUISHER AND ALSO THREW SOME DIRT ON THE
 4            FIRE TO PUT IT OUT. THE VEHICLE WAS TOWED TO THE KIA
              DEALERSHIP WHERE IT WAS BOUGHT. THE INSURANCE COMPANY
 5            HAD THE KIA SOUL TOWED TO DENVER COLORADO TO HAVE
 6            THEIR AGENT LOOK IT THE KIA. IT WAS DECLARED A TOTAL LOSS
              AND WAS NOT AN ARSON FIRE. THE KIA DEALERSHIP FROM
 7            WHICH THE KIA SOUL WAS BOUGHT NEVER INSPECTED THE SOUL.
 8            ALL ROUTINE MAINTENANCE WAS DONE ON SCHEDULE BY THE
              KIA DEALERSHIP FOR THE 9 MONTHS I OWNED THE KIA. IT WAS
 9            BOUGHT NEW IN DECEMBER OF 2016 AND CAUGHT FIRE IN
10            SEPTEMBER OF 2017. THE CAUSE OF THE FIRE WAS NEVER
              DETERMINED AND KIA NEVER TOOK ANY RESPONSIBLE.
11

12            January 19, 2018 NHTSA ID Number: 11073041
              MY CAR IS 2016, ITS 18 MONTHS OLD HAS 19K MILES AND THE
13            ONLY THING DONE TO THE CAR WAS OIL CHANGES WHICH WERE
14            PERFORMED AT THE DEALER WHERE I BOUGHT MY CAR. ON JAN
              19, 2018 MY CAR STOP WORKING WHILE DRIVING 45 MILES AN
15            HOUR ON THE STREET. IT HAPPENED ON NW 36TH STREET GOING
16            EAST IN MIAMI, FLORIDA ZIPCODE 33166 WHEN TOWED TO THE
              DEALER WAS TOLD ON THE FOLLOWING MONDAY THE PISTON
17            PUSH THE ROD BLOCK AND THE ENGINE LOCK UP. ITS STILL AT
18            THE DEALER. ON MONDAY IT WILL BE A MONTH. AND EVEN
              THOUGH I AM DRIVING A RENTAL ( WHICH THE DEALER IS PAYING
19            FOR) THEY HAVE NO IDEA WHEN THE CAR WILL BE FIXED.
20            EVERYTHING IS UNDER WARRANTY. MY CONCERN IS HOW CAN
              THIS MANUFACTURE BUILD CARS WHICH THEIR ENGINES LOCK UP
21            AFTER LESS THAN 2 YEARS. THANK GOD I WAS NOT DRIVING IN
22            AN EXPRESSWAY. I AM BEYOND SCARED TO DRIVE THIS KIND OF
              CAR AGAIN. *TR
23

24            September 18, 2018 NHTSA ID Number: 11133366
              CAR WAS IN GOOD CONDITION AND WELL MAINTAINED
25            ACCORDING TO MANUFACTURER'S SERVICE SCHEDULE. IT WAS
26            LAST SERVICED ON 7/31/18 WHEN IT PASSED NYS INSPECTION. THE
              OWNER WAS INFORMED ON 9/18/18 @ 7:03 PM BY DAUGHTER THAT
27            CAR STARTED MAKING A STRANGE SOUND ON 9/17/18. PLANNED
28            TO HAVE DEALER CHECK OUT CAR ON 9/19/18. ON 9/18/18 @
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 1            APPROXIMATELY 8:35 PM, WHILE BEING DRIVEN ON THE LOCAL
 2
              PORTION OF AN INTERSTATE HIGHWAY, THE CAR'S OIL LIGHT
              BLINKED ON AND OFF. A FEW MINUTES LATER THE CHECK ENGINE
 3            LIGHT WENT ON. A FEW MINUTES LATER THE CAR ENGINE BEGAN
 4            TO SMOKE AND SMOKE CAME INTO THE CAR THROUGH THE AIR
              VENTS. THE DRIVER, MY DAUGHTER'S BOYFRIEND, PULLED OVER
 5            INTO THE BREAKDOWN LANE, TURNED OFF THE CAR, GOT OUT,
 6            STEPPED AWAY FROM IT AND THE ENGINE ERUPTED IN FLAMES.
              BY APPROXIMATELY 8:50 PM THE CAR WAS TOTALLY ENGULFED
 7            IN FLAMES. THE CAR LOOKS LIKE IT WAS FIRE BOMBED.
 8
              November 30, 2018 NHTSA ID Number: 11156931
 9            OIL LIGHT CAME ON, PULLED OVER TO CHECK OIL. AS CAR
10            SLOWED DOWN THE OIL LIGHT STARTED TO BLINK, THE CHECK
              ENGINE LIGHT CAME ON, AND THE ENGINE STARTED TO KNOCK
11            AND MISFIRE. WHEN THE CAR GOT TO ABOUT 15–20 MPH IT
12            STALLED / CUT OFF AND I HAD TO COAST TO A PARKING LOT TO
              STOP. CAR TURNED BACK ON, BUT IMMEDIATELY BEGAN
13            SQUEAKING AND KNOCKING BADLY. CAR WAS TOWED TO A SHOP
14            WHERE WE WERE TOLD THE MOTOR IS "BLOWN". SINCE ALL
              SERVICE RECORDS COULD NOT BE PROVIDED KIA WILL NOT
15            HONOR THE WARRANTY (UNDER 60K MILES), EVEN THOUGH THE
16            OWNERS MANUAL SPECIFICALLY STATES THAT A LACK OF
              MAINTENANCE RECORDS CANNOT BE THE SOLE REASON
17            WARRANTY CLAIMS ARE DENIED. THE PREVIOUS VERSION OF THIS
18            MOTOR IS ALREADY RECALLED, AND THIS VERSION IS ALREADY
              SUSPECTED TO BE DEFECTIVE AS WELL. QUOTED ROUGHLY $6,000
19            TO REPAIR THE MOTOR, HAS A REPLACEMENT IS NOT AVAILABLE,
20            AND ALL MOTORS ARE BACKORDERED FROM THE
              MANUFACTURER.
21

22            February 24, 2019 NHTSA ID Number: 11183448
              I PURCHASED MY KIA SOUL IN FEBRUARY 2016. I'VE DRIVEN
23            AROUND 45,000 MILES AND REALLY ENJOYED IT UNTIL THE OTHER
24            NIGHT. DRIVING ABOUT 45MPH ON A MAJOR STREET WHEN A
              LOUD SCREECH CAME FROM THE ENGINE. THE CAR JERKED AND I
25            THOUGHT IT WAS GOING TO STALL BUT IT DIDN'T. A LOUD
26            KNOCKING SOUND STARTED FROM UNDER THE HOOD AND THE
              OIL LIGHT FLICKERED A COUPLE OF TIMES. DROVE ABOUT 1/4
27            MILE TO THE NEAREST GAS STATION. ADDED AROUND 1 QUART
28            OF OIL SINCE I SAW THE OIL LIGHT FLICKER. I THEN DROVE HOME
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 1            (ABOUT 5 MILES) AND THE OIL LIGHT FLICKERED A COUPLE OF
 2
              TIMES ON THE WAY. THE NEXT DAY I STARTED THE CAR, THE OIL
              LIGHT WAS OFF BUT THE CHECK ENGINE LIGHT WAS ON. SO, I
 3            DROVE IT TO THE DEALERSHIP (1.5 MILES AT THE MOST) AND WAS
 4            TOLD I NEEDED A WHOLE NEW ENGINE. I WAS QUOTED $4,000 TO
              $6,000 FOR A USED ONE AND FOR A NEW ONE IT WOULD BE
 5            SUBSTANTIALLY MORE. I'VE TAKEN GOOD CARE OF THIS VEHICLE
 6            AND HAVE MAINTAINED AND REGULAR OIL CHANGES. SEVERAL
              OF THE OIL CHANGES WERE PERFORMED AT AN AUTO REPAIR
 7            SHOP THAT WENT BANKRUPT. I HAVE NO WAY TO OBTAIN COPIES
 8            OF THOSE RECEIPTS. ALL I COULD SUPPLY THE DEALERSHIP WAS
              ONE RECEIPT AND THEY HAD ONE RECEIPT IN THEIR SERVICE
 9            RECORDS. THEREFORE, NO COPIES... NO WARRANTY. I CAN'T
10            AFFORD THE COST TO REPAIR IT AND I HAVE NO IDEA WHAT TO
              DO AT THIS POINT. THE DEALER WILL BUY THE CAR BACK FOR
11            AROUND $4,000 AT BEST. WHY IS IT THAT ONE MINUTE A 3 YEAR
12            OLD CAR IS RUNNING GREAT WITHOUT A PROBLEM AND THE
              NEXT MINUTE IT'S PARKED AND IN NEED OF A NEW ENGINE?
13            SOMETHING ISN'T RIGHT ABOUT THAT AND I AM AT A LOSS OF
14            WHAT TO DO NEXT.

15                                    2017 Kia Soul
16
              November 28, 2018 NHTSA ID Number: 11312243
17            WHILE IN MOTION ON THE HIGHWAY I EXPERIENCE ENGINE
18            FAILURE. I WAS TOLD THAT MY ENGINE THREW A ROD AND
              PUNCTURED A HOLE IN MY ENGINE.
19

20            June 20, 2019 NHTSA ID Number: 11269075
              AT 75K MILES THE ENGINE FAILED ON MY 2017 KIA SOUL.
21            SPECIFICALLY, IT THREW A ROD. THE CAR WAS SOLD TO ME AS A
22            CERTIFIED USED CAR, THAT BEING THE DEALER SAID THERE WAS
              NOTHING WRONG WITH THE CAR. I TOOK THE CAR INTO GOSSETT
23            KIA IN MEMPHIS, WHERE I PURCHASED THE CAR FOR AN OIL
24            CHANGE. I WAS CALLED LATER AND TOLD THE ENGINE WAS
              KNOCKING. THE SERVICE WRITER TOLD ME, "DO NOT WORRY
25            ABOUT THIS. IT IS A KNOWN PROBLEM WITH THE 2016 AMD 2017
26            KIA SOUL AND YOUR CAR IS UNDER WARRANTY." KIA TOLD ME
              THE CAR WAS NOT UNDER WARRANTY BECAUSE I CHOSE TO
27            DRIVE FOR A RIDE SHARE COMPANY AND THAT VOIDED THE
28

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 1            WARRANTY. THE PROBLEM IS THEY SOLD ME A CAR AS CERTIFIED
 2
              WHEN THEY KNEW ABOUT THE ENGINE FAILURE ISSUE.

 3            February 2, 2020 NHTSA ID Number: 11309150
 4            ENGINE- 2017 KIA SOUL 2.0 L 4-CYL. MILEAGE AT THE TIME OF
              PURCHASE 42,788. MILEAGE AT FAILURE WAS 89,144. USAGE
 5            PREDOMINATELY HWY MILES. AT THE TIME OF FAILURE, WE
 6            OWNED THE VEHICLE 19 MONTHS. REGULAR OIL CHANGES WITH
              CASTROL GTX AND EDGE 100% SYNTHETIC 5W20 OIL. FEBRUARY
 7            02, 2020 MY WIFE STARTED THE DAY DRIVING AWAY FROM HOME.
 8            THE OUTSIDE TEMPERATURE IN THE 60'S AND SUNNY. DROVE 4.5
              MILES TRAVELING 45MPH ON A STRAIGHT LEVEL CITY ROADWAY
 9            IN HEAVY TRAFFIC. SHE COULD HAVE BEEN REAR-ENDED OR
10            WHEN TURNING OFF THE ROADWAY WITH LOSS OF POWER T-
              BONED TRYING TO EXIT THE ROADWAY IN AN EMERGENCY.
11            THERE IS NO BREAKDOWN LANE OR ENOUGH GROUND ON THE
12            SIDE OF THE ROADWAY TO PULL OFF. ALL OF A SUDDEN, FOR NO
              REASON, THE ENGINE LOST POWER AND MADE A KNOCKING
13            SOUND. SHE CHECKED THE INSTRUMENT PANEL, NO WARNING
14            LIGHTS. TEMPERATURE GAUGE READ NORMAL. WITHIN SECONDS,
              SHE PULLED INTO A PARKING LOT AND TURNED OFF THE MOTOR.
15            NO VISIBLE SIGNS OF ANY DAMAGE ON THE EXTERIOR OF THE
16            MOTOR OR UNDERNEATH THE VEHICLE. WE ARE THE SECOND
              OWNER OF THIS VEHICLE. MANUFACTURES INITIAL
17            TRANSFERABLE WARRANTY EXPIRED. WE TOWED THE VEHICLE
18            TO OUR REGULAR ASE CERTIFIED MECHANIC. THEY DETERMINED
              THE ISSUE TO BE A ROD KNOCK. FURTHER DIAGNOSIS
19            DETERMINED FROM A COMPRESSION TEST THE #2 CYLINDER IS AT
20            80#'S COMPRESSION THE OTHER THREE AT 150#'S. I HAVE READ
              YOUR REPORT REGARDING THE ONGOING INVESTIGATION INTO
21            KIA'S MOTOR FAILURES. I BELIEVE THIS MOTOR SHOULD BE
22            INCLUDED IN THE INVESTIGATION ALTHOUGH BOTH VIN
              SEARCHES TURNED UP NO RECALL ON MY VEHICLE. WE ARE
23            CURRENTLY TRYING TO GET THE LOCAL DEALER TO WORK ON
24            THE VEHICLE AND THEY WANT TO CHARGE A MINIMUM FEE OF
              1500-1600 TO TEAR THE MOTOR DOWN AND COMPLETE AN
25            INVESTIGATION INTO WHY THE MOTOR FAILED. WE HAVE AN
26            AFTERMARKET WARRANTY PROGRAM AND THEY ARE TRYING TO
              FIND A WAY NOT TO PAY FOR ANY CLAIM ON THIS ISSUE. OUR
27            DILEMMA IS ONGOING AT THE TIME OF THIS COMPLAINT.
28

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 1            April 6, 2020 NHTSA ID Number: 11320360
 2
              MILEAGE 75,000 AND THE ENGINE THREW A ROD THROUGH THE
              BOTTOM OF THE ENGINE BLOCK AND THROUGH THE OIL PAN. I
 3            PURCHASED THE CAR WITH ABOUT 22,000 MILES. I'VE DRIVEN THE
 4            CAR LESS THAN 2 YEARS AND HAVE PUT ABOUT 50,000 MILES ON
              IT. I HAVE MAINTAINED THE VEHICLE ACCORDING TO
 5            MANUFACTURER SPECIFICATIONS WITH REGULAR OIL CHANGES
 6            EVERY 5000 MILES. I HAVE NEVER HAD THE CHECK ENGINE OR OIL
              LIGHTS COME ON SINCE I'VE OWNED THE VEHICLE. WHILE
 7            DRIVING ON THE INTERSTATE ABOUT 80 MPH WITH THE CRUISE
 8            CONTROL ON, THE CAR STRUGGLED AND FELT LIKE IT WAS GOING
              TO STALL OUT, LIKE IT WASN'T GETTING GAS OR THE
 9            ALTERNATOR WAS FAILING. THE CHECK ENGINE AND OIL LIGHT
10            CAME ON AND SMOKE WAS BILLOWING FROM UNDER THE HOOD. I
              HAD TO DRIVE FOR ABOUT HALF A MILE OR SO TO THE NEAREST
11            EMERGENCY PULL OFF AND TURNED OFF THE CAR. WHEN I WAS
12            FINALLY BRAVE ENOUGH TO POP THE HOOD, THERE WAS OIL
              SPRAYED ALL OVER THE ENGINE BAY, A SMALL PUDDLE ON THE
13            GROUND, AND NO OIL IN THE ENGINE. I HAD IT TOWED TO MY
14            LOCAL GARAGE AND WAS TOLD THAT THE ENGINE BLEW THE
              CONNECTOR ROD OUT OF THE ENGINE BLOCK AND THROUGH THE
15            OIL PAN. MY VEHICLE HAS NOT BEEN RECALLED FOR THIS ISSUE
16            BUT THERE HAS BEEN A RECALL ON 2012-16 KIA SOUL FOR THE
              EXACT SAME PROBLEM. IT CANNOT BE A COINCIDENCE THAT MY
17            VEHICLE HAS THIS PROBLEM AS WELL. MY LOCAL KIA
18            DEALERSHIP HAS SAID I CAN BRING IT IN, PAY THE $100
              DIAGNOSTICS FEE, AND THEY'LL DECIDE IF IT CAN BE COVERED
19            SINCE THE WARRANTY HAS LAPSED. SINCE I AM THE SECOND
20            OWNER, I DO NOT HAVE THE 100,000 MILE 10 YEAR WARRANTY.
              THE WARRANTY IS REDUCED TO 3 YEARS 60,000 FROM THE
21            ORIGINAL (FIRST OWNER) PURCHASE DATE.
22
              July 15, 2020 NHTSA ID Number: 11339618
23            AT 91K MILES, THE ENGINE BLEW. AT 84K MILES THE CATALYTIC
24            CONVERTER WAS CONDEMNED.
25                                    2018 Kia Soul
26
              June 8, 2020 NHTSA ID Number: 11338396
27            ON 7/8/20, MY CAR MADE A VERY LOUD NOISE AND SHUT OFF ON
28            ME. NO SENSORS, NO LIGHTS CAME ON. I HAD IT TOWED TO THE
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 1            KIA IN WHICH I PURCHASED IT FROM, AND THEY TOLD ME MY
 2
              ENGINE BLEW. MY WARRANTY WAS SUPPOSE TO COVER THE
              REPAIRS BUT THEY ARE REFUSING TO COVER THE REPAIR.
 3

 4            August 17, 2020 NHTSA ID Number: 11351542
              TL* THE CONTACT OWNS A 2018 KIA SOUL. THE CONTACT STATED
 5            THAT WHILE DRIVING AT 30 MPH, AN ABNORMAL NOISE WAS
 6            PRESENT WITHOUT WARNING. THE VEHICLE WAS TAKEN TO THE
              DEALER (KIA OF MUNCIE 6732 W HOMETOWN BLVD, MUNCIE, IN
 7            47304) WHERE IT WAS DIAGNOSED AND DETERMINED THAT THAT
 8            THE ENGINE ROID FAILED AND NEEDED TO BE REPLACED. THE
              VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS NOT
 9            MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE WAS
10            APPROXIMATELY 60,000.

11            August 20, 2020 NHTSA ID Number: 11361636
12            WHILE DRIVING THE VEHICLE TO WORK, VEHICLE CAME TO A
              COMPLETE STOP AND WOULD NOT TURN ON. AT FIRST THOUGHT
13            IT WAS THE BATTERY BUT THE TOW TRUCK CHARGED THE
14            BATTERY AND WHEN STARTED THE RODS WERE KNOCKING. WE
              TOWED TO THE DEALERSHIP, REGAL KIA AND THEY DIAGNOSED
15            MY CAR FOR NEEDING A WHOLE NEW ENGINE. IF WE WERE TO
16            DRIVE THE VEHICLE ANY FURTHER THE ENGINE WOULD BLOW.
              OIL CHANGE WAS JUST A MONTH BEFORE AT THE REGAL KIA
17            DEALERSHIP SO IT WASN'T DUE TO LOW OIL. THE 2018 KIA SOUL
18            HAD 61,000 MILES AT IT AND ENGINE WAS RUINED.

19            January 2, 2021 NHTSA ID Number: 11386699
20            TL* THE CONTACT OWNS A 2018 KIA SOUL. THE CONTACT STATED
              THAT WHILE HER SON WAS DRIVING 60 MPH, THE VEHICLE
21            STALLED WITHOUT WARNING. THE VEHICLE WAS NOT DRIVABLE.
22            THE VEHICLE WAS TOWED TO HER SON'S APARTMENT. THE
              VEHICLE WAS TAKEN TO THE LOCAL DEALER KIA OF SOUTH
23            AUSTIN (5306 S IH 35 FRONTAGE RD, AUSTIN, TX 78745, (512) 444-
24            6635) TO BE DIAGNOSED. THE CONTACT WAS INFORMED THAT THE
              ENGINE NEEDED TO BE REPLACED. THE VEHICLE WAS NOT
25            REPAIRED. THE MANUFACTURER HAD BEEN INFORMED OF THE
26            FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY 68,000.
27            October 12, 2021 NHTSA ID Number: 11436700
28

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 1            ENGINE STARTED TO KNOCK, THEN IT GOT LOUDER AND FINALLY
 2
              THE ENGINE STOPPED RUNNING. IF IT WOULD HAVE SHUT DOWN
              ON THE BUSY INTERSTATE, IT COULD HAVE BEEN A DISASTER.
 3            THE PROBLEM HAS NOT BEEN INSPECTED BY MANUFACTURE.
 4            TRYING TO REPORT TO KIA. ENGINE HAS LESS THAN 84000. THE
              OIL LIGHT CAME ON RIGHT BEFORE IT DIED.
 5

 6                                      2019 Kia Soul

 7            October 10, 2018 NHTSA ID Number: 11397349
 8            TL* THE CONTACT OWNS A 2019 KIA SOUL. THE CONTACT STATED
              THAT WHILE DRIVING AT VARIOUS SPEEDS, THE CHECK ENGINE
 9            WARNING LIGHT ILLUMINATED AND AN ABNORMAL ODOR
10            APPEARED. THE VEHICLE WAS TAKEN TO KIA SERVICE CENTER
              1137 U S 46, STE A, CLIFTON, NJ 07013 (973) 779-7000 WHERE IT WAS
11            DIAGNOSED THAT THE VEHICLE NEEDED AN OIL CONSUMPTION
12            TEST. THE VEHICLE OIL WAS REPLACED HOWEVER THE FAILURE
              RECURRED. THE VEHICLE WAS SEEN 3 ADDITIONAL TIMES AT THE
13            DEALER. THE CONTACT MENTIONED THAT THE VEHICLE WAS
14            BURNING 1 QUART OF OIL EVERY MONTH. THE MANUFACTURER
              WAS NOT NOTICED OF THE FAILURE. THE FAILURE MILEAGE WAS
15            APPROXIMATELY 35,000.
16
              May 15, 2021 NHTSA ID Number: 11422713
17            BOUGHT A 2019 KIA SOUL+ AND AFTER HITTING A FEW HUNDRED
18            MILES OUTSIDE THE 60,000 WARRANTY THE ENGINE DIES TO THE
              POINT KIA HAS TO REPLACE THE WHOLE ENGINE.
19

20                                    2011 Kia Sportage
21            October 1, 2014 NHTSA ID NUMBER: 10640483
22            SECOND CATASTROPHIC FAILURE OF 2.0 LITER TURBOCHARGED
              ENGINE IN LESS THAN 30,000 MILES SERVICE. *TR
23

24            June 20, 2016 NHTSA ID NUMBER: 10875228
              ENGINE SHUT DOWN IN THE HIGHWAY CAUSING LOSS OF POWER
25            STEERING/BRAKES. CAR HAS LESS THAN 80K MILES, ALL OIL
26            CHANGES PERFORMED PER SPEC RECENTLY ADTER SWITCHING TO
              FULL SYNTHETIC OIL CHANGED EVERY 5000 MILES. ENGINE
27            SEIZED. VERY SIMILAR TO HYUNDAI RECALL ISSUED 9/25/2015.
28

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 1            SAME ENGINE MANUFACTURED IN THE SAME PLANT WITH A
 2
              DIFFERENT NAME BADGE.

 3            February 13, 2017 NHTSA ID NUMBER: 10954281
 4            2011 KIA SPORTAGE - ENGINE FAILED WITHOUT WARNING WITH
              TWO TODDLERS IN CAR. LUCKILY THIS HAPPENED AS I TURNED
 5            OFF A HIGHWAY AND WAS ABLE TO STOP ON THE SHOULDER.
 6            MANUFACTURER REFUSES TO FIX BECAUSE I DON'T HAVE
              MAINTENANCE RECORD. I HAVE A FRIEND WHO HAS BEEN
 7            CHANGING OIL/SERVICING CAR. I HAVE LEARNED THAT MANY
 8            OWNERS OF THIS YEAR/MODEL CAR HAVE SIMILAR EXPERIENCES.
              I FEEL THE MANUFACTURER SHOULD DEAL WITH A PROBLEM AS
 9            SEVERE AS THIS IMMEDIATELY!
10
              October 13, 2017 NHTSA ID NUMBER: 11033238
11            THE ENGINE BLEW UP IN MY 2011 KIA SPORTAGE. IT HAD JUST A
12            LITTLE OVER 100,000 MILES ON IT. I'M TOLD THAT IT IS NOT ONE OF
              THE ENGINES THAT HAVE BEEN RECALLED AND I FEEL THAT IT
13            SHOULD BE. I WAS DRIVING INTO WORK AND WAS STRANDED. I
14            COULD HEAR A LOUD BANGING NOISE AS I WAS DRIVING INTO
              WORK. SO I TOOK IT TO A LOCAL MECHANIC AND HE SAID THAT
15            THE ENGINE HAD BLOWN UP. I HAD TO HAVE IT TAKEN TO MY
16            HOME ON A FLATBED.

17            February 6, 2019 NHTSA ID NUMBER: 11174660
18            I'M EXPERIENCING THE SAME BEARING WEAR ISSUE THAT THE
              ENGINE RECALL IS FOR BUT MY VIN IS NOT LISTED WITHIN THE
19            RECALL. I WILL BE DRIVING AT SPEED AND WITHOUT WARNING
20            THE ENGINE WILL STALL OUT FOR MAYBE 1 TO 2 SECONDS AND
              THEN PICK BACK UP AT THE SPEED I WAS TRAVELLING AT. IN
21            CERTAIN INSTANCES WHEN THIS HAPPENS THE CHECK ENGINE
22            LIGHT WILL COME ON AND THE CAR WILL IDLE EXTREMELY
              ROUGH UNTIL THE ENGINE IS SHUTOFF AND ALLOWED TO SIT FOR
23            A FEW MINUTES BEFORE BEING RESTARTED. I FEEL THIS IS THE
24            EXACT COMPLAINT THAT THE RECALL WAS ISSUED FOR BUT MY
              CAR IS NOT LISTED IN THE RECALL. I FEEL THE RECALL IS VERY
25            LIMITED IN IT'S SCOPE AND THE RECALL SHOULD BE EXTENDED
26            TO FURTHER VIN NUMBERS.
27                                    2012 Kia Sportage
28

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 1            November 20, 2012 NHTSA ID NUMBER: 10485272
 2
              I PULLED A TRAILER FOR THE FIRST TIME ON THIS DATE. THE
              TRUCK ONLY MADE IT 10 MILES, AND LOST ALL POWER, AND I
 3            BARELY MADE IT OFF OF THE FREEWAY. BROUGHT IT TO THE
 4            DEALER, AND THEY FOUND THE SPARK PLUGS BLEW APART. ALL
              THEY DID WAS CHANGE THE SPARK PLUGS AND SENT ME ON MY
 5            WAY. ON JULY 13TH, I TOWED MY CAMPER, WHICH WAS LIGHTER
 6            THAN THE LAST TRAILER I PULLED. THIS TIME, ABOUT 6 MILES
              INTO THE TRIP, THE ENGINE COMPLETELY LET GO ON THE
 7            HIGHWAY. I HAD TO GET ACROSS 4 LANES OF TRAFFIC WITH NO
 8            POWER AND A CAMPER IN-TOW. WAITED AT THE SIDE OF THE
              ROAD FOR AN HOUR AND A HALF BEFORE KIA SENT A TOW
 9            VEHICLE. DISCOVERED ALL 4 SPARK PLUGS WERE DESTROYED,
10            AND A HOLE IN CYLINDER 3. KIA WILL NOT WARRANTY IT,
              BLAMING THE ENGINE FAILURE ON THE CAMPER NOT HAVING
11            TRAILER BRAKES(COMPLETELY ABSURD). THE FIRST FAILURE IN
12            JUNE, THE TRAILER WEIGHED 500LBS MORE, AND HAD TRAILER
              BRAKES. KIA DOES NOT WANT TO ADMIT FAULT FOR THIS
13            EXTREMELY DANGEROUS FAULT IN THEIR ENGINE. THE VEHICLE
14            IS RATED FOR 2,000LBS TOWING CAPACITY, AND BOTH TRAILERS
              WERE WELL UNDER THE LIMIT. MY CAMPER IS ONLY 1,155LBS.
15            COMPLETE ENGINE FAILURE ON THE HIGHWAY PUT ME AND MY
16            ENTIRE FAMILY IN DANGER TWICE. THIS IS UN-ACCEPTABLE. THIS
              WAS A LOADED SX AWD.(TURBOCHARGED). *TR
17

18            October 10, 2015 NHTSA ID NUMBER: 10781245
              WHILE DRIVING CAR AT HIGHWAY SPEEDS, SUDDENLY CAR
19            BEGAN TO DECELERATE, LUCKILY WAS ABLE TO GET TO
20            SHOULDER OF HIGHWAY. CAR DIED WHEN GETTING TO
              SHOULDER, STARTED AGAIN, ENGINE MAKING HORRIBLE
21            KNOCKING SOUND, AND WOULDN'T MOVE. GOT TOWED TO KIA
22            DEALER, STATED WE NEEDED A NEW ENGINE. KIA DEALER
              STATED THE CONNECTING ROD ON THE CRANKSHAFT EITHER
23            SEIZED UP OR BROKE AND LOCKED UP.
24
              December 30, 2016 NHTSA ID NUMBER: 10938677
25            WHILE DRIVING ON THE HIGHWAY, WE HEARD A THUMP FROM
26            OUR 2012 KIA SPORTAGE. WHEN WE GOT HOME, MY HUSBAND
              CHECKED THE ENGINE AND HE FOUND WE HAD NO OIL. WE NEVER
27            HAD A CHECK ENGINE OR OIL LIGHT COME ON AND NEVER HAD
28            AN OIL SPOT UNDER OUR CAR. WE TOOK IT TO OUR KIA DEALER
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 1            AND WAS TOLD IT NEEDED A NEW ENGINE. AFTER READING
 2
              OTHER COMPLAINTS ABOUT THE SAME ISSUE, I REALIZE WE WERE
              VERY LUCKY WE WERE ABLE TO MAKE IT HOME WITH OUR CAR
 3            THAT NIGHT. OUR KIA HAD LESS THAN 35,000 MILES ON IT AND WE
 4            CHANGED THE OIL REGULARLY , SO WE JUST KNEW IT WOULD BE
              UNDER WARRANTY. HOWEVER, BECAUSE MY HUSBAND DID SOME
 5            OF THE OIL CHANGES HIMSELF, THEY WOULD NOT HONOR THE
 6            WARRANTY- HE DIDN'T HAVE ALL OF THE RECEIPTS FOR THE OIL
              AND FILTERS SINCE 2012. THE RECEIPTS WE COULD PROVIDE FROM
 7            BUSINESSES THAT DID OIL CHANGES AND SOME COPIES OF
 8            RECEIPTS MY HUSBAND COULD GET FROM THE AUTO PARTS
              STORES SHOWED THAT THE OIL WAS CHANGED OFTEN, BUT WE
 9            DIDN'T HAVE ALL THE RECEIPTS. REGARDLESS, A VEHICLE WITH
10            LESS THAN 35,000 MILES, WITH PROOF OF SEVERAL OIL CHANGES,
              NOT EVER HAVING A CHECK ENGINE OR OIL LIGHT COME ON, AND
11            NO OIL SPOTS WHERE IT'S PARKED EVERY DAY- SHOULD NOT RUN
12            OUT OF OIL AND NEED A NEW ENGINE. I KNEW THIS HAD TO BE A
              DEFECT WITH KIA ENGINES AND AFTER READING MANY
13            COMPLAINTS FROM OTHER KIA OWNERS, IT'S OBVIOUSLY A
14            KNOWN AND DANGEROUS DEFECT AND NEEDS TO BE ADDRESSED.
              *TR
15

16            December 24, 2020 NHTSA ID NUMBER: 11384850
              2012 KIA SPORTAGE LX 2.4L MPI ENGINE WITH APPROXIMATELY
17            120K MILES ENGINE SEIZED AT MODERATE SPEED ON THE
18            INTERSTATE. CAR WAS WELL MAINTAINED BOUGHT SECOND
              HAND FROM BRANDON KIA IN TAMPA, FL IN JULY 2018 WITH
19            APPROX. 92K MILES. ENGINE SEIZED ON 14 DEC 2020. TOWED TO
20            LOCAL REPAIR SHOP AND ANALYZED AS REPLACE ENGINE. WE
              READ ABOUT THE KIA/HYUNDAI ENGINE PROBLEMS SO WENT TO
21            LOCAL KIA DEALER TO INQUIRE. THE SERVICE REP SAID TOW IT IN
22            AND THEY WOULD ANALYZE AND IF THE SEIZURE MET THE
              CONDITIONS, THEY WOULD REPLACE PER KIA GUIDANCE. SO WE
23            DID THIS, AND WERE TOLD "SORRY, YOUR VEHICLE ISN'T
24            COVERED." SAME RUN AROUND AS EVERYONE ELSE IS
              EXPERIENCING WITH KIA. KIA NEEDS TO ADMIT EVERY THETA II
25            ENGINE THEY PRODUCED BETWEEN 2011 AND 2014 HAD A
26            MANUFACTURING FLAW AND JUST BITE THE BULLET AND
              REPLACE THEM WHEN THEY FAIL. WE ARE WEIGHING OUR
27            OPTIONS NOW, NONE OF WHICH ARE GOOD AT THIS POINT. THE
28            ENGINE REPLACEMENT WILL COST WHAT THE CAR IS WORTH, SO
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 1            IF KIA WILL NOT REPLACE THE ENGINE OR AT LEAST ABSORB
 2
              SOME OF THE COST, THE CAR IS NOT WORTH REPAIRING. KIA
              NEEDS TO STAND BY THEIR PRODUCTS. NO ENGINE SHOULD FAIL
 3            AT 120K MILES FOR CRANKCASE ISSUES, WHICH IS WHAT IS
 4            HAPPENING WITH THESE THETA II ENGINES. PLEASE PUT
              PRESSURE ON KIA TO REPLACE THESE ENGINES, NO
 5            EXCLUSIONS!!!
 6
              March 30, 2021 NHTSA ID NUMBER: 11405703
 7            I WAS DRIVE DOWN THE HWY AND THE TRUCK JUST CUT OFF ON
 8            THW HWY AND LITTLE SMOKE CAME FROM THE HOOD I HAD TO
              TRY PUSH THE TRUCK TO THE SIDE OF THE ROAD AND THE TRUCK
 9            NEVER CRANK AGAIN ITS DEAD
10
              March 30, 2021 NHTSA ID NUMBER: 11405573
11            FIRST COMPLAINT #11340436 FILED IN JULY 2020 FOR ORIGINAL
12            2012 ENGINE. ENGINE LIGHT NEVER CAME ON. DRIVING ON A
              HIGHWAY 70-75 MPH. KNOCKING SOUND IN ENGINE. CRANKSHAFT
13            PISTON ROD DAMAGED. ENGINE REPLACED WITH USED 2014
14            MOTOR. MARCH 2021 COMPLAINT BEING FILED FOR REPLACEMENT
              2014 ENGINE (IN JULY 2020) ENGINE LIGHT HAS COME ON
15            REPEATEDLY IN THE LAST MONTH WHEN JUST DRIVING AROUND
16            TOWN. 1) OIL WAS CHANGED; LIGHT RESET. 2) SOLENOID SWITCH
              REPLACED; LIGHT RESET. 3) LEAKING OIL; VALVE COVER
17            SECURED 4) VARIABLE VALVE TIMING GEAR PROBLEM, TIMING IS
18            OFF CAUSING OIL PRESSURE PROBLEMS. VEHICLE RUNNING
              ROUGH, ENGINE IS AUDIBLY MISSING.
19

20                                    2013 Kia Sportage
21            September 28, 2016 NHTSA ID NUMBER: 10910177
22            TL* THE CONTACT OWNS A 2013 KIA SPORTAGE. WHILE DRIVING
              APPROXIMATELY 40 MPH AND APPROACHING A RAMP, THE
23            VEHICLE SHUT DOWN WITHOUT WARNING. THE VEHICLE WAS
24            COASTED OVER TO THE SIDE OF THE ROAD AND RESTARTED. THE
              CHECK ENGINE AND OIL INDICATORS ILLUMINATED. THE VEHICLE
25            WAS DRIVEN TO THE DEALER WHERE IT WAS DIAGNOSED THAT
26            THE ENGINE HAD BLOWN AND NEEDED TO BE REPLACED. THE
              VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
27            NOTIFIED. THE APPROXIMATE FAILURE MILEAGE WAS 57,000.
28

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 1            March 29, 2017 NHTSA ID NUMBER: 10969408
 2
              1ST INCIDENT ENGINE STALLED WHILE DRIVING, NOTICED RPM'S
              WERE RUNNING TO HIGH AND AUTOMATIC TRANS SHIFTED ONLY
 3            WHEN BACKING OFF ACCELERATOR PETAL AND A "PAAP" SOUND
 4            WAS EMITTED FROM THE ENGINE, ENGINE TURNED OVER BUT
              FAILED TO START BEFORE BATTERY DIED AFTER 3 TURNOVER,
 5            DEALER REPLACED THE BATTERY AND FOUND NO OTHER ISSUES,
 6            CUSTOMER WAS CHARGED $180.00. BUT, "OVER THE NEXT 14 DAYS
              DRIVER NOTICED ENGINE MOMENTARY RAN ERRATICALLY
 7            WITHOUT ANY PATTERN, THEN ABOUT 13 DAYS A CLACKING
 8            SOUND BEGAN, AND BECAME INCREASINGLY LOUDER, VEHICLE
              STALLED TWICE WHEN RELEASING THE ACCELERATOR PETAL,
 9            AFTER THE 2ND STALL THE CHECK ENGINE LIGHT CAME ON, A
10            CODE P0014 WAS NOTED, ENGINE RESTARTED BUT WAS MAKING
              LOUD CLACKING SOUNDS, TOWED TO ANOTHER DEALER, STATED
11            CONNECTING ROD BEARING FAILURE RESULTED IN CLOGGING
12            THE OIL CONTROL VALVE STARVING THE TOP OF THE ENGINE OF
              OIL. DEALER ALSO STATED THE TIMING CHAIN HAD JUMPED.
13            COVERED BY KIA WARRANTY A NEW ENGINE IS TO BE INSTALLED
14            AT NO CHARGE, WERE HOPING, FAILURE OCCURRED AT 59,000
              MILES, OIL WAS CHANGED AT REGULAR INTERVALS.
15

16            July 4, 2017 NHTSA ID NUMBER: 11002915
              AT 85K MILES AND AFTER REGULAR MAINTENANCE, THE ENGINE
17            SEIZED WHILE IN STOP-AND-GO TRAFFIC. THE CAR ACCELERATED
18            TO ABOUT 35 MPH FROM ABOUT 10 MPH AND THEN JUST DIED,
              REQUIRING A NEW ENGINE. THERE WAS NO PRIOR INDICATION OF
19            ANY ENGINE ISSUES. THE CAR HAD JUST COMPLETED A 400 MILE
20            ROUND-TRIP ROAD TRIP THE PREVIOUS WEEKEND WITHOUT ANY
              ISSUES. WE BELIEVE THIS IS THE SAME ENGINE ISSUE CURRENTLY
21            UNDER RECALL AND THAT THE RECALL SHOULD BE EXPANDED.
22
              September 25, 2019 NHTSA ID NUMBER: 11257996
23            ENGINE HAD A KNOCKING IN IT. TOOK TO A GARAGE AND WAS
24            TOLD ENGINE HAD FAILED AT 128,000 MILES AND NEEDS A NEW
              ENGINE. CALLED KIA AND WAS TOLD NOT ON RECALL EVEN
25            THOUGH TWO OTHER ENGINES FOR THIS YEAR ARE RECALLED
26            DUE TO EARLY ENGINE FAILURE. HOPING THIS MODEL ENGINE
              WILL SOON BE ON THE RECALL LIST ALSO.
27

28            January 18, 2021 NHTSA ID NUMBER: 11388747
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 1            WAS DRIVING HOME ALONE FROM LOUISIANA TO MISSISSIPPI AND
 2
              PASSED A CAR AND CAR DIES AND ALL DASH LIGHTS COME ON SO
              I PULLED OVER AND TURNED OFF CAR AND SAT FOR A FEW
 3            MINUTES. I TURNED CAR BACK ON AND NO DASH LIGHTS CAME
 4            ON AND DIDN'T HEAR ANY NOISE TO INDICATE ANYTHING WAS
              WRONG WITH VEHICLE SO I CONTINUED ON MY TRIP BEING I WAS
 5            ALONE AND IN A RURAL AREA. CAR RAN NORMAL FOR ABOUT 30
 6            MILES AND CAR STARTED SLOWING DOWN TO WHERE THERE WAS
              NO POWER AND FINALLY WOULDN'T GO. NOTE: NO ENGINE LIGHTS
 7            CAME ON AT THAT TIME.HAD IT TOWED TO MY HOME (3) HOURS
 8            AWAY, AND MY MECHANIC SAID THE BEARING ARE RUINED AND
              THERE'S METAL SHAVINGS IN THE OIL AND THE OIL HAS A BURNT
 9            SMELL TO IT. I HAD OIL CHANGED REGULARLY AND THAT OIL
10            CHANGE HAD ABOUT 600 MILES ON IT.

11
              128. On March 29, 2019, NHTSA opened a preliminary evaluation to assess
12
     the scope, frequency, and potential safety-related consequences of alleged defects
13
     relating to non-collision engine fires in Defendants’ vehicles in response to a petition
14
     from the Center for Auto Safety after identifying more than 3,000 reports of non-
15
     collision fires in certain Hyundai and Kia vehicles, including certain Class Vehicles,
16
     dating back to 2010.4
17
              129. Notably, NHTSA expanded the scope of its investigation into
18
     Defendants’ vehicles to include “all other [Hyundai and Kia] vehicles equipped with
19
     Theta II, Lambda II, Gamma and Nu engines, manufactured for sale or lease in the
20
     United States, including, but not limited to, the District of Columbia, and current U.S.
21
     territories and possessions.”5 To date, this NHTSA investigation is ongoing.
22

23       4
          See NHTSA PE19-003 (Hyundai), available at
     https://static.nhtsa.gov/odi/inv/2019/INOA-PE19003-2613.PDF (last visited Sept. 7,
24   2022); NHTSA PE19-004 (Kia), available at
25   https://static.nhtsa.gov/odi/inv/2019/INOA-PE19004-4727.PDF (last visited Sept. 7,
     2022); See 2011-14 Hyundai Kia Fire Complaints excel spreadsheet containing
26   NHTSA complaint data, available at http://www.autosafety.org/wp-content/uploads/
     2018/06/2011-14-Hyundai-Kia-Fire-Complaints-FINAL.xlsx (last visited Sept. 7,
27   2022).
        5
28        See Apr. 12, 2019 NHTSA Ltr. to Hyundai, available at https://static.nhtsa.gov/
     odi/inv/2019/INIM-PE19003-74878.pdf (last visited Sept. 7, 2022); See Apr. 12, 2019
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 1            130. While automakers occasionally produce vehicles that catch fire, when
 2   compared to these Hyundai and Kia vehicles, the Center for Auto Safety noted that
 3   there is enough of a statistical disparity to suggest a systemic issue. More specifically,
 4   in its June 7, 2018 review of all NHTSA-reported cases of non-collision fires
 5   involving similar class and size vehicles, the Center found there were 22 reported
 6   cases in competitor vehicles as opposed to 120 for the Kia and Hyundai models. 6 The
 7   Center’s June 11, 2018 Petition noted that Defendants’ competitors Honda and Toyota
 8   sold 3.4 million comparable vehicles in the U.S. to Defendants’ approximately 2.2
 9   million vehicles, and that “[w]hen factoring in the number of vehicles of these types
10   sold per manufacturer compared to the number of fire complaints, the differences are
11   even more profound.”7
12            2.       Warranty claims, part sales, and customer complaints lodged with
                       Defendants also alerted Defendants to the Engine Failure Defect.
13
              131. Defendants knew or should have known about the Engine Failure Defect
14
     because of the sheer number of reports they received regarding the connecting rod
15
     bearings and lubrication channels. For instance, Hyundai and Kia’s customer relations
16
     departments, which interact with Hyundai- and Kia-authorized service technicians to
17
     identify potentially widespread vehicle problems and assist in the diagnosis of vehicle
18
     issues, have received numerous reports of engine problems relating to the connecting
19
     rod bearings and lubrication channels. Customer relations also collects and analyzes
20
     field data including, but not limited to, repair requests made at dealerships and service
21
     centers, technical reports prepared by engineers that have reviewed vehicles for which
22
     warranty coverage is requested, parts sales reports, and warranty claims data.
23

24

25
     NHTSA Ltr. to Kia, available at https://static.nhtsa.gov/odi/inv/2019/INIM-PE19004-
26   74879.pdf (last visited Sept. 7, 2022).
        6
          See June 11, 2018 Center for Auto Safety Petition, available at https://www.auto
27   safety.org/wp-content/uploads/2018/06/Center-for-Auto-Safety-Kia-Hyundai-Fire-
28
     Defect-Petition.pdf (last visited Sept. 7, 2022).
        7
          Id.
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 1            132. Defendants’ warranty departments similarly review and analyze warranty
 2   data submitted by their dealerships and authorized technicians to identify defect trends
 3   in its vehicles. Hyundai and Kia dictate that when a repair is made under warranty (or
 4   warranty coverage is requested), service centers must provide Hyundai and Kia with
 5   detailed documentation of the problem and the fix that describes the complaint, cause,
 6   and correction, and must also save the broken part should Hyundai and Kia later
 7   decide to audit the dealership or otherwise verify the warranty repair. Service centers
 8   are meticulous about providing this detailed information about in-warranty repairs to
 9   Hyundai and Kia because the automakers will not pay the service centers for the repair
10   if the complaint, cause, and correction are not sufficiently described.
11            133. Defendants also knew or should have known about the Engine Failure
12   Defect because of the high number of replacement parts likely ordered from
13   Defendants. All Hyundai and Kia service centers are required to order replacement
14   parts, including engines, piston assemblies, and connecting rod bearings directly from
15   Defendants. Other independent vehicle repair shops that service Class Vehicles also
16   order replacement parts directly from Defendants. Defendants routinely monitor part
17   sales reports, and they are responsible for shipping parts requested by dealerships and
18   technicians. Defendants have detailed, accurate, and real-time data regarding the
19   number and frequency of replacement part orders. The increase in orders for the MPI
20   and GDI engines and engine components used in the Class Vehicles was known to
21   Defendants and should have alerted the automakers to the scope and severity of the
22   Engine Failure Defect.
23            134. Defendants are experienced in the design and manufacture of consumer
24   vehicles. As experienced manufacturers, Defendants likely conduct testing on
25   incoming batches of components, including the MPI and GDI engines at issue here, to
26   verify that the parts are free from defects and comply with Defendants’ specifications.
27   Accordingly, Defendants knew or should have known that the engines used in the
28

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 1   Class Vehicles were defective and likely to fail prematurely, costing Plaintiffs and
 2   putative class members thousands of dollars in expenses.
 3            3.       Defendants’ belated, piecemeal, inadequate, and incomplete recalls
                       evidence Defendants’ knowledge of the Engine Failure Defect.
 4
              135. From 2015 to present, Defendants have reluctantly and belatedly recalled
 5
     hundreds of thousands of vehicles—including certain Class Vehicles—spanning many
 6
     models and years and equipped with a myriad of GDI and MPI engines, for the same
 7
     Engine Failure Defect.
 8
              136. The recalls have similarities that point to the presence of a common
 9
     defect in the engines: (1) they all focus on mitigating the risks of engine stalls and/or
10
     fires; (2) they all point to common warning signs, including knocking sounds and
11
     “check engine” and “oil pressure” warnings; and (3) multiple recalls include updates
12
     to the vehicles’ KSDS as part of their remedies. This last fact demonstrates that all of
13
     the Class Vehicles suffer from the same problems, while acknowledging it can’t
14
     actually be fixed, only mitigated by warning when catastrophe is imminent. 8 In these
15
     recalls, the variations on the concept of engine oil leaks that can result in fires all
16
     undersell the severity of the problem: oil leaks that result in fire occur in the Class
17
     Vehicles’ defective engines when a hole is punched in the engine block by a broken
18
     and rapidly spinning connecting rod, spilling engine oil and resulting in fire.
19
              137. Below is a summary of the relevant recalls known to date:
20

21

22
         8
          Part 573 Safety Recall Report for NHTSA Recall No. 19V063000, NHTSA (Aug.
23   23, 2019), https://static.nhtsa.gov/odi/rcl/2019/RCLRPT-19V063-1419.PDF; Part 573
24
     Safety Recall Report for NHTSA Recall No. 20V746000, NHTSA (Dec. 1, 2020),
     https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V746-3838.PDF; Recall 198
25   Attachment A; Chronology of Events Leading up to Defect Decision, NHTSA,
     https://static.nhtsa.gov/odi/rcl/2020/RMISC-20V746-4680.pdf (chronology NHTSA
26   Recall No. 20V746000); Part 573 Safety Recall Report for NHTSA Recall No.
     20V75000, NHTSA (Dec. 2, 2020), https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-
27   20V750-5519.PDF; Engine Compartment Fires (SC200); Basis of Safety Defect
28   Determination 573.6(c)(6), NHTSA, https://static.nhtsa.gov/odi/rcl/2020/RMISC-
     20V750-6401.pdf (chronology NHTSA Recall No. 20V75000).
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 1                                                                         Production Dates &
        Recall &             Vehicles &                                    Locations for Class
 2                                               Recall Details
         Date                 Engines                                            Vehicles
 3    15V568000             2011–2012      Reason: Risk of stall         Dec. 11, 2009, to Apr. 12,
      9/10/2015             Hyundai        from “connecting rod          2012, by Hyundai Motor
 4
                            Sonata (2.0L   wear” caused by               Manufacturing Alabama.
 5                          and 2.4L       “metallic debris may not
                            Theta II GDI   have been fully removed
 6                          engines)       during manufacturing of
                                           the engine crankshaft.”
 7

 8                                         Warning signs:
                                           “knocking noise from
 9                                         engine” and
                                           [i[llumination of the
10                                         engine warning lamp.”
11
                                           Chronology: NHTSA
12                                         first raised the issue with
                                           Hyundai in June 2015,
13                                         and Hyundai eventually
                                           recalled the vehicles in
14                                         response.
15
                                           Remedy: Engine
16                                         inspection and, if
                                           necessary, replacement;
17                                         extended warranty for
                                           engine short block; and
18
                                           reimbursement for
19                                         repairs.
20    17V226000             2013–2014      Reason: Risk of stall and     Santa Fe: June 28, 2012,
      3/31/2017             Hyundai        fire from “[m]achining        to May 31, 2014, by Kia
21                          Sonata;        errors during the engine      Motor Manufacturing
22                          2013–2014      manufacturing process”        Georgia.
                            Hyundai        that “cause premature
23                          Santa Fe       bearing wear within the       Sonata: Mar. 21, 2012, to
                            Sport (2.0L    engine.”                      May 29, 2014, by
24                          and 2.4L                                     Hyundai Motor
25
                            Theta II GDI   Warning signs:                Manufacturing Alabama
                            engines)       “[k]nocking noise from
26                                         engine”, “[r]educed
                                           power and/or hesitation”,
27                                         “[i]llumination of the
                                           ‘Check Engine’ warning
28                                         lamp” and “[i]llumination
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 1                                                                          Production Dates &
        Recall &             Vehicles &                                     Locations for Class
 2                                                Recall Details
         Date                 Engines                                            Vehicles
 3                                          of engine oil pressure
                                            warning lamp.”
 4

 5                                          Chronology: Hyundai
                                            expanded original
 6                                          15V568000 recall to
                                            include these additional
 7                                          vehicles. In May 2017,
 8                                          NHTSA opened
                                            investigation into this and
 9                                          related safety defects in
                                            other Hyundai and Kia
10                                          vehicles.
11
                                            Remedy: Engine
12                                          inspection and, if
                                            necessary, replacement;
13                                          and reimbursement for
                                            repairs.
14

15    17V224000             2011–2014       Reason: Risk of stall         Optima: Aug. 12, 2010,
      3/31/2017             Kia Optima;     from “[m]achining errors      to Sept. 27, 2013; Aug,
16                          2012–2014       during the engine             28, 2013, to May 15,
                            Kia Sorento;    manufacturing process”        2014, by KMMG with
17                          2011–2013       that “cause premature         engines supplied by
18
                            Kia Sportage    bearing wear within the       Hyundai Motor
                            (2.0L and       engine.”                      Manufacturing Alabama.
19                          2.4L Theta II
                            GDI engines)    Warning signs:                Sorento: Apr. 19, 2011,
20                                          “[k]nocking noise from        to Feb. 10, 2014.
                                            engine”, “[i]llumination
21                                          of the engine warning         Sportage: Dec. 30, 2010,
22                                          lamp and/or oil pressure      to Aug. 30, 2013.
                                            warning lamp.”
23
                                            Chronology: From
24                                          2015–2016, Kia monitors
25
                                            Hyundai recalls for same
                                            engines and incidents of
26                                          engine defect in Kia
                                            vehicles before recalling
27                                          Kia vehicles. In May
                                            2017, NHTSA opened
28                                          investigation into this and
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 1                                                                       Production Dates &
        Recall &            Vehicles &                                   Locations for Class
 2                                             Recall Details
         Date                Engines                                          Vehicles
 3                                       related safety defects in
                                         other Hyundai and Kia
 4
                                         vehicles.
 5
                                         Remedy: Engine
 6                                       inspection and, if
                                         necessary, replacement;
 7                                       and reimbursement for
 8                                       repairs.

 9    17V578000             2017         Reason: Risk of stalls        Jan. 26, 2017, to Feb. 13,
      9/20/2017             Hyundai      from engine bearing wear      2017, by Hyundai Motor
10                          Santa Fe     caused by “crankshaft         Company.
11
                            (3.3L V6     assemblies … produced
                            Lambda II    with surface irregularities
12                          engines)     in the crankshaft pin.”
13                                       Warning signs:
                                         “[a]bnormal noise from
14                                       the engine”; “[r]educed
15                                       motive power and/or
                                         hesitation”; and
16                                       “[i]llumination of the
                                         ‘Check Engine’…[or]
17                                       engine oil pressure
18
                                         warning lamp.”

19                                       Chronology: Hyundai
                                         began investigating in
20                                       May 2017, after “field
                                         report from a 2017 Santa
21                                       Fe vehicle indicating a
22                                       ‘knocking’ noise coming
                                         from the engine.”
23
                                         Remedy: “The engine
24                                       crankshaft is covered for
25
                                         10 years or 100,000 miles
                                         under Hyundai’s new
26                                       vehicle limited warranty.
                                         As owners of these
27                                       vehicles would not have
                                         incurred expenses for the
28                                       warranted repair as a
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 1                                                                       Production Dates &
        Recall &             Vehicles &                                  Locations for Class
 2                                             Recall Details
         Date                 Engines                                         Vehicles
 3                                        result of this condition,
                                          no notification regarding
 4
                                          reimbursement … is
 5                                        necessary.”
 6    17V586000             2017 Kia      Reason: Risk of stalls       Mar. 27, 2017, to Mar.
      9/21/2017             Sorento       and fire from engine         30, 2017.
 7                          (3.3L V6      bearing wear caused by
 8                          Lambda II     “improperly heat treated
                            engines)      crankshaft.”
 9
                                          Warning signs:
10                                        “knocking noise from
11
                                          engine” and
                                          [i[llumination of the
12                                        engine warning lamp.”
13                                        Chronology: Kia began
                                          investigating in July
14                                        2017, after customer
15                                        reported “engine blew the
                                          vehicle caught fire” and
16                                        sustained burn injuries.
17                                        Remedy: “disassemble
18
                                          the oil pan and check the
                                          crankshaft’s lot number
19                                        using a borescope and
                                          replace the engine sub
20                                        assembly, if necessary.
                                          Kia will reimburse
21                                        owners for repair
22                                        expenses already
                                          incurred…”
23
      19V063000             2011–2013     Reason: Risk of engine       May 1, 2010 to Dec. 31,
24    2/5/2019              Hyundai       stalls and fires due to      2012 by Hyundai Motor
25
                            Tucson (all   “engine oil leak which . .   Company.
                            types)        . could eventually lead to
26                                        engine damage.”
27                                        Warning signs:
                                          “[k]nocking noise from
28                                        engine[,]” “[r]educed
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 1                                                                        Production Dates &
        Recall &             Vehicles &                                   Locations for Class
 2                                              Recall Details
         Date                 Engines                                          Vehicles
 3                                         power and/or hesitation,”
                                           and “[c]heck [e]ngine” or
 4
                                           “oil pressure” warning
 5                                         lights.
 6                                         Chronology: NHTSA
                                           began investigating in
 7                                         May 2017, following up
 8                                         on related recalls for
                                           2011–2014 Sonata and
 9                                         2013–2014 Santa Fe
                                           Sports.
10
                                           Remedy: Inspection and
11
                                           possible replacement of
12                                         the oil pan and/or engine
                                           sub-assembly, along with
13                                         oil pressure switch
                                           replacement. Possible
14                                         reimbursement for prior
15                                         repairs.

16    19V101000             2011–2012      Reason: Risk of engine       June 11, 2010, to Feb. 13,
      2/5/2019              Kia Sportage   stalls and fires due to      2012, by Hyundai Motor
17                          (2.4L Theta    “engine oil leak” that       Company.
18
                            II engines)    could result in damage to
                                           the engine.
19
                                           Warning signs: “[c]heck
20                                         [e]ngine” or “oil
                                           pressure” warning lights;
21                                         “[r]educed power and/or
22                                         hesitation,” and “[s]mell
                                           and/or smoke associated
23                                         with oil on hot surfaces.”
24                                         Chronology: NHTSA
25
                                           began investigating in
                                           May 2017, following up
26                                         on related recalls for
                                           2011–2014 Optima,
27                                         2012–2014 Sorento, and
                                           2011–2013 Sportages.
28

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 1                                                                       Production Dates &
        Recall &             Vehicles &                                  Locations for Class
 2                                              Recall Details
         Date                 Engines                                         Vehicles
 3                                         Remedy: Inspection and
                                           possible replacement of
 4
                                           the oil pan and/or engine
 5                                         sub-assembly, along with
                                           oil pressure switch
 6                                         replacement. Possible
                                           reimbursement for prior
 7                                         repairs.
 8
      20V746000             2012           Reason: Risk of engine      Santa Fe: Jan. 10, 2012,
 9    12/1/2020             Hyundai        stalls and fires due to     to July 3, 2012, by
                            Santa Fe and   “premature wear of the      Hyundai Motor
10                                         connecting rod bearings,”   Manufacturing Alabama
11
                            2011–2013,     because “[t]he engines in   and Kia Motor Company
                            2016           the subject vehicles may    in the Republic of Korea.
12                          Hyundai        have been produced with
                            Sonata         conditions that can cause   Sonata Hybrid: June 2,
13                          Hybrid (2.4L   premature wear[.]”          2010, to Dec. 17, 2013;
                            Theta II MPI                               and Feb. 25, 2015, to
14                          and 2.0L Nu Warning signs:                 Apr. 25, 2016, by
15                          GDI engines) “Abnormal (knocking)          Hyundai Motor Company
                                         noise from the engine,”       in the Republic of Korea.
16                          2015–2016    “[r]educed power and/or
                            Hyundai      hesitation,” and “[c]heck     Veloster: May 26, 2014,
17                          Veloster     [e]ngine” or “oil             to July 13, 2016, by
18
                            (1.6L        pressure” warning lights.     Hyundai Motor Company
                            Gamma                                      in the Republic of Korea.
19                          engines)     Chronology: NHTSA
                                         began investigating in
20                                       March 2019 “to assess
                                         the scope, frequency, and
21                                       potential safety-related
22                                       consequences of alleged
                                         defects relating to non-
23                                       collision vehicle fires.”
24                                         Remedy: Engine
25
                                           inspection to determine
                                           whether there is any
26                                         bearing damage and
                                           updated KSDS software
27                                         to “continuously
                                           monitor[] engine
28                                         vibrations for unusual
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 1                                                                         Production Dates &
        Recall &             Vehicles &                                    Locations for Class
 2                                               Recall Details
         Date                 Engines                                           Vehicles
 3                                         patterns potentially
                                           indicating an abnormal
 4
                                           condition with the
 5                                         engine.” Possible
                                           reimbursement for some
 6                                         repairs9
 7    20V75000              2012–2013      Reason: Risk of engine        Sorento: Apr. 26, 2011
 8    12/2/2020             Kia Sorento    fire “due to potential fuel   to Jan. 10, 2013.
                            (2.4L Theta    leaking, oil leaking
 9                          II MPI         and/or engine damage.”        Forte: June 1, 2011, to
                            engines)                                     Mar. 22, 2013; Dec. 5,
10                                        Warning signs: include         2012, to Apr. 8, 2015.
11
                            2012–2015     “engine noise,” “check
                            Kia Forte and engine” or “low oil”
12                          Forte Koup    warning lights.                Optima Hybrid: Feb. 15,
                            (2.4L Theta                                  2011, to Dec. 12, 2013.
13                          II MPI and    Chronology: NHTSA
                            2.0L          began investigating in         Soul: July 21, 2013, to
14                          Nu GDI        March 2019 re non-crash        May 21, 2015.
15                          engines)      engine fires.
                                                                      Sportage: May 17, 2011,
16                          2011–2013      Remedy: Engine             to May 24, 2012.
                            Kia Optima     inspection to determine
17                          Hybrid (2.4L   whether there are any
18
                            Theta II MPI   engine oil leaks or needed
                            engines)       repairs, and updated
19                                         KSDS software “that will
                            2014–2015      prevent engine damage
20                          Kia Soul       from potential excessive
                            (2.0L          connecting rod bearing
21                          Nu GDI         wear.” Extended warranty
22                          engines)       coverage for 15
                                           years/150,000 miles for
23                          2012 Kia       engine long block
                            Sportage       assembly repairs due to
24                          (2.4L Theta
25
         9
          This recall itself does not include a warranty extension, but a related TSB, No 21-
26   EM-005H does, “for certain engine repairs and/or replacement where the engine
     damage, defect, or failure is related to connecting rod bearing wear,” which covers
27   various Class Vehicles, including 2011–2012 Santa Fe and 2011–2013 Sonata Hybrid
28   vehicles. Hyundai TSB No. 21-EM-005H; Engine Warranty Extension, NHTSA (Mar.
     2021), https://static.nhtsa.gov/odi/tsbs/2021/MC-10190049-0001.pdf.
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 1                                                                       Production Dates &
        Recall &             Vehicles &                                  Locations for Class
 2                                              Recall Details
         Date                 Engines                                         Vehicles
 3                          II MPI        connecting rod bearing
                            engines)      damage.
 4

 5            138. In June 2015, NHTSA contacted Hyundai regarding instances of stalling
 6   events in 2011–2012 Hyundai Sonatas. “Hyundai explained that, as of that time, it did
 7   not consider the issue to be safety-related….”10 NHTSA responded by, as Hyundai put
 8   it, “inform[ing] Hyundai of its concern over the potential for higher speed stalling
 9   events.”
10            139. Because of NHTSA’s prodding, in September 2015, Hyundai issued
11   Recall No. 15V568000 for 470,000 MY 2011–2012 Hyundai Sonata vehicles
12   equipped with 2.4L and 2.0L turbo Theta II GDI engines for a defect described as
13   “connecting rod wear” that “may result in engine stall.”
14            140. In its NHTSA filings, Hyundai described the Recall No. 15V568000
15   defect and manifestation as follows:
16                     Hyundai has determined that metal debris may have been
                       generated from factory machining operations as part of the
17                     manufacturing of the engine crankshaft during the subject
18                     production period. As part of the machining processes, the
                       engine crankshaft is cleaned to remove metallic debris. If the
19                     debris is not completely removed from the crankshaft’s oil
                       passages, it can be forced into the connecting rod oiling
20                     passages restricting oil flow to the bearings. Since bearings
21
                       are cooled by oil flow between the bearing and journal, a
                       reduction in the flow of oil may raise bearing temperatures
22                     increasing the potential of premature bearing wear. A worn
                       connecting rod bearing will produce a metallic, cyclic
23                     knocking noise from the engine which increases in
                       frequency as the engine rpm increases. A worn connecting
24                     rod bearing may also result in illumination of the oil pressure
25                     lamp in the instrument cluster. If the vehicle continues to be

26

27       10
          Part 573 Safety Recall Report Chronology for NHTSA Recall No. 15V568000,
28   NHTSA (Sept. 10, 2015), https://static.nhtsa.gov/odi/rcl/2015/RCLRPT-15V568-
     9490.PDF, at 2.
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 1                     driven with a worn connecting rod bearing, the bearing can
                       fail, and the vehicle could stall while in motion.[11]
 2

 3
              141. Subsequently, in December 2015, Hyundai issued a Technical Service

 4
     Bulletin (“TSB”) to dealerships about Recall No. 15V568000 and the steps for

 5
     performing recall procedures. The TSB instructed dealerships to conduct “an Engine

 6
     Noise Inspection to confirm [the engine’s] normal operation” and that the sound test

 7
     would “help indicate if the engine is operating normally or if an excessive connecting

 8
     rod bearing wear condition in the engine crankcase may be present.” The TSB went on

 9
     to describe the consequences if the defect manifested, stating, “If the vehicle continues

10
     to be driven with a worn connecting rod bearing, the bearing can fail, and the vehicle

11
     could stall while in motion, increasing the risk of a crash.”12

12
              142. Hyundai’s December 2015 TSB in Recall No. 15V568000 only called for

13
     engine replacement if the vehicle did not pass the sound test. If the engine did pass, no

14
     actual repair was made to the vehicle, its engine, or any other parts. Hyundai simply

15
     instructed the dealers to swap out the vehicle’s dipstick and top off the oil. This left

16
     “passing” vehicles and their owners vulnerable to future development and

17
     manifestation of the Engine Failure Defect and its dire consequences.

18
              143. In March 2017, Hyundai issued Recall No. 17V226000 for 572,000 MY

19
     2013–2014 Hyundai Sonata and Santa Fe Sport vehicles equipped with 2.0L and 2.4L

20
     Theta II GDI engines for a defect described as “bearing wear” that “may result in

21
     engine seizure.”

22
              144. In its NHTSA filings, Hyundai described the Recall No. 17V226000

23
     defect and manifestation as follows:

24
                       The subject engines may contain residual debris from factory
                       machining operations, potentially restricting oil flow to the
25                     main bearings and leading to premature bearing wear. A
                       worn connecting rod bearing will produce a cyclic knocking
26

27       11
           Id. at 1.
         12
28         Dec. 2015 Remedy Instructions and TSB, available at https://static.nhtsa.gov/odi/
     rcl/2015/RCRIT-15V568-3933.pdf (last visited Sept. 7, 2022), at 1.
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 1                     noise from the engine and may also result in the illumination
                       of the oil pressure lamp in the instrument panel. Over time,
 2                     the bearing may fail and the vehicle could lose motive power
 3                     while in motion.[13]

 4            145. In June 2017, Hyundai issued a TSB and Dealer Best Practice Guide to
 5   dealers addressing the issue in the 2013–2014 Sonata and Santa Fe vehicles. The
 6   documents describe a defect identical to that in the earlier Sonata model years and
 7   orders the same purported “fix”:
 8                     The engines in certain 2013–2014 model year Sonata (YF)
                       and Santa Fe Sport (AN) vehicles equipped with 2.4L and
 9                     2.0T GDI engines may contain residual debris from factory
                       machining operations, potentially restricting oil flow to the
10                     main bearings and leading to premature bearing wear. Over
11                     time, a bearing may fail and the vehicle could lose power
                       while in motion.
12
                       Indications of a worn connecting rod bearing include:
13

14                           1. Knocking noise from the engine
                             2. Reduced power and/or hesitation
15                           3. Illumination of the “Check Engine” warning lamp
16                           4. Illumination of engine oil pressure warning lamp

17                     The service process consists of an inspection and dipstick,
18                     oil and oil filter replacement. If the vehicle does not pass the
                       inspection, the dealer will replace the engine. [14]
19
              146. Much like Hyundai’s earlier 2011–2012 Sonata recall, in its Part 573
20
     Safety Recall Report for NHTSA Recall No. 17V226000, Hyundai summarily
21
     explains that, “Over time, the bearing may fail and the vehicle could lose motive
22

23

24

25       13
            Part 573 Safety Recall Report for NHTSA Recall No. 17V226000, Mar. 31,
26   2017, available at https://static.nhtsa.gov/odi/rcl/2017/RCLRPT-17V226-4558.pdf
     (last visited Sept. 7, 2022), at 1.
27       14
            June 2017 Dealer Best Practice Guide, available at
28   https://static.nhtsa.gov/odi/rcl/2017/RCMN-17V226-4739.pdf (last visited Sept. 7,
     2022), at 3.
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 1   power while in motion.”15 Careful not to even use the word “stall,” Hyundai’s 2017
 2   “recall inspection” of later model year Sonatas for a malfunction mechanically known
 3   to be associated with vehicle fires demonstrates Hyundai’s continued concealment of
 4   the Engine Failure Defect and its consequences.
 5            147. Notably, in its chronology submission for the recall associated with
 6   subsequent model year Sonatas (NHTSA Recall No. 17V226000), Hyundai conceded
 7   that its recall was the result of Hyundai “continu[ing] to monitor engine-related field
 8   data” from the original 15V568000 recall group and “noting an increase in claims
 9   relating to the subsequent model years.”16
10            148. Again attempting to mitigate the gravity of the Engine Failure Defect,
11   Hyundai noted in its chronology submission to NHTSA that “the majority of claims
12   for engine replacement indicated that customers were responding to substantial noise
13   or the vehicle’s check engine or oil pressure warning lights (and bringing their
14   vehicles to service as a result of those warnings).” 17 In other words, Hyundai was
15   relying on customers to prevent their own catastrophic engine failure that could at best
16   result in a moving stall and at worst result in a vehicle fire.
17            149. In March 2017, Kia also issued a recall virtually identical to that of
18   Hyundai: Recall No. 17V224000 for 618,160 MY 2011–2014 Optima, 2012–2014
19   Sorento, and 2011–2013 Sportage vehicles equipped with 2.0L turbo GDI or 2.4L
20   Theta II GDI engines for a defect described as “bearing wear” that “may result in
21   engine seizure.”
22            150. In its NHTSA filings, Kia described the Recall No. 17V224000 defect
23   and manifestation as follows:
24                     Metal debris may have been generated from factory
                       machining operations as part of the manufacturing of the
25
         15
26          Part 573 Safety Recall Report for NHTSA Recall No. 17V226000, Mar. 31,
     2017, available at https://static.nhtsa.gov/odi/rcl/2017/RCLRPT-17V226-4558.pdf
27   (last visited Sept. 7, 2022), at 2.
         16
28
            See id.
         17
            Id.
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 1                     engine crankshaft which may not have been completely
                       removed from the crankshaft’s oil passages during the
 2                     cleaning process. In addition, the machining processes of the
 3                     crankpins caused an uneven surface roughness. As a result,
                       the metal debris and uneven surface roughness can restrict
 4                     oil flow to the bearings, thereby increasing bearing
                       temperatures causing premature bearing wear. A worn
 5                     connecting rod bearing will produce a cyclic knocking noise
 6
                       from the engine and may also result in the illumination of the
                       engine warning lamp and/or oil pressure lamp in the
 7                     instrument panel. If the warnings are ignored and the vehicle
                       is continued to be driven, the bearing may fail and the
 8                     vehicle could stall while in motion.[18]
 9            151. But in Kia’s September 2017 TSB to dealers for Recall No. 17V224000,
10   in addition to the metal debris problem, it lists an extra cause for the oil restriction:
11   “the additional machining processes of the crankpins may have caused uneven surface
12   roughness.”19 The TSB states, “These combined conditions can restrict oil flow to the
13   bearings increasing the potential for premature bearing wear.” 20
14            152. Kia’s recall procedure mirrored that of Hyundai’s in its two recalls:
15   perform the sounds test, and if the engine passes, simply change out the color-coded
16   dipstick and change the oil. If the car does not pass, replace the engine. 21
17            153. Curiously, in its chronology submitted to NHTSA regarding Recall No.
18   17V224000, Kia notes that when it learned of the Hyundai 15V568000 recall in
19   September 2015, it “check[ed] Theta engine manufacturing process for Optima on
20   separate assembly line and identifie[d] different procedures and no issues.”22 But the
21

22       18
            Part 573 Safety Recall Report for NHTSA Recall No. 17V224000, Mar. 31,
23   2017, available at https://static.nhtsa.gov/odi/rcl/2017/RCLRPT-17V224-2355.PDF
     (last visited Sept. 7, 2022), at 2.
24       19
            Revised Remedy Instructions and TSB for NHTSA Recall No. 17V224000, Sept.
     1, 2017, available at https://static.nhtsa.gov/odi/rcl/2017/RCRIT-17V224-4127.pdf
25   (last visited Sept. 7, 2022), at 1.
         20
26          Id.
         21
            See id.
27       22
            Chronology addendum to Second Amended Part 573 Safety Recall Report for
28   NHTSA Recall No. 17V226000, Aug. 23, 2017, available at https://static.nhtsa.gov/
     odi/rcl/2017/RMISC-17V224-3802.pdf (last visited Sept, 7, 2022), at 1.
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 1   chronology goes on to say that from January to April 2016, the engine remanufacturer
 2   Translead conducted a “detailed review of all recent Kia warranty returned engines”
 3   and identified an “oil delivery issue with Theta GDI engines (Optima, Sportage &
 4   Sorento).”23 (Emphasis added.) As Kia’s warranty claims increased through 2016, it
 5   extended the warranties on these vehicles, but still waited until March 2017 to issue a
 6   formal recall after finally focusing “on anticipatory risk compared to absence of
 7   accidents or injuries.”24
 8            154. Throughout all three recalls, Defendants boasted no reports of accidents
 9   or injuries associated with the Engine Failure Defect.25 Even if taken as true, this
10   means Hyundai and Kia would have hundreds of thousands of defective vehicle
11   drivers wait to be injured or die because of a defect that admittedly results in moving
12   stalls and spontaneous vehicle fires.
13            155. However, based on NHTSA’s March 29, 2019 decision to open
14   preliminary evaluations into Defendants’ high incidence of non-collision fires in
15   certain Class Vehicles, we now know that Defendants’ claims of no injuries are false.
16   By that time, Defendants had received at least 100 reports of injuries related to these
17   non-collision vehicle fires. 26 And this number continues to grow, as NHTSA expands
18   its investigation to include all Hyundai and Kia vehicles equipped with Theta II,
19   Lambda II, Gamma, and Nu engines, including certain Class Vehicles.
20            156. In September 2017, Hyundai and Kia recalled certain Class Vehicles with
21   3.3-liter Lambda II engines. Hyundai recalled 2017 Santa Fes and Kia recalled 2017
22

23
         23
            Id.
24       24
            Id. at 2.
         25
25          See id.; Part 573 Safety Recall Report for NHTSA Recall No. 17V226000, Mar.
     31, 2017, available at https://static.nhtsa.gov/odi/rcl/2017/RCLRPT-17V226-4558.pdf
26   (last visited Sept, 7, 2022).
         26
            See NHTSA PE19-003 (Hyundai), available at https://static.nhtsa.gov/odi/inv/
27   2019/INOA-PE19003-2613.PDF (last visited Sept. 7, 2022); NHTSA PE19-004 (Kia),
28   available at https://static.nhtsa.gov/odi/inv/2019/INOA-PE19004-4727.PDF (last
     visited Sept, 7, 2022).
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 1   Sorentos because “[t]he crankshaft assemblies may have been produced with surface
 2   irregularities in the crankshaft pin, causing engine bearing wear.”
 3            157. In addition to NHTSA’s investigation into non-collision fires in
 4   Defendants’ vehicles, the federal agency also previously opened Recall Queries
 5   (RQ17003 and RQ17004) into Hyundai’s recall of 2011–2014 Sonata and 2013–2014
 6   Santa Fe vehicles with “Theta II” engines (Recall Nos. 15V-568 and 17V-226), and
 7   Kia’s recall of 2011–2014 Optima, 2012–2014 Sorento, and 2011–2013 Sportage
 8   vehicles with “Theta II” engines (Recall No. 17V-224). The Recall Queries, opened on
 9   May 18, 2017, scrutinize both the timeliness and scope of Defendants’ “Theta II”
10   engine recalls and Defendants’ compliance with reporting requirements. These
11   NHTSA investigations are ongoing.
12            158. In or around October 2018, Kia began sending owners and lessees of
13   2011–2014 Optima, 2012–2014 Sorento, and 2011–2013 Sportage vehicles letters
14   regarding a “Product Improvement Campaign” in response to widespread reports of
15   non-collision vehicle fires that stated:
16                     Kia Motors America, Inc. is conducting an important
                       Product Improvement Campaign to perform a software
17                     update on all 2011–2013 MY Optima vehicles equipped with
18                     2.4L Gasoline Direct Injection (“GDI”) and 2.0L
                       Turbocharged GDI (“T-GDI”) engines, and some 2014 MY
19                     Optima vehicles equipped with 2.4L GDI and 2.0L T-GDI
                       engines to protect the engine from excessive connecting rod
20                     bearing damage. The update will be done free of charge and
21
                       will only involve the addition of newly developed computer
                       software for the Engine Control Unit (“ECU”).
22
                       Kia recently developed a Knock Sensor Detection System
23                     (“KSDS”) that detects vibrations indicating the onset of
                       excessive connecting rod bearing wear in the engine. The
24                     KSDS is designed to alert a vehicle driver at an early stage
25
                       of bearing wear before the occurrence of severe engine
                       damage including engine failure.
26
              159. In or around late January 2019, Kia expanded this “Product Improvement
27
     Campaign” to include later model years of Optima, Sorento, and Sportage vehicles.
28

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 1            160. In or around February 15, 2019, Hyundai followed suit by issuing a
 2   “Product Improvement Campaign” for certain 2011–2018 Sonatas, 2013–2018 Santa
 3   Fe Sports, and 2014–2015, 2018 Tucsons. The campaign provides the same or similar
 4   Knock Sensor Detection System as in the Kia vehicles.
 5            161. In December 2020, Hyundai and Kia recalled certain Class Vehicles
 6   under Recall Nos. 20V746000 (Hyundai) and 20V750000 (Kia) for the same Engine
 7   Failure Defect plaguing other vehicles that were the subject of NHTSA’s
 8   investigations and recalled earlier.
 9            162. Hyundai’s Recall No. 20V746000 includes 128,948 Class Vehicles27
10   across four models that are equipped with 2.4-liter Theta II MPI, 2.0-liter Nu GDI, and
11   1.6-liter Gamma GDI engines manufactured between June 2010 and July 2016 at
12   plants in Alabama and the Republic of Korea. Hyundai’s associated NHTSA filings
13   indicate all vehicles from this recall “were determined jointly by Hyundai and
14   NHTSA’s Office of Defects Investigation (“ODI”) during a review of Hyundai’s
15   response(s) to investigations PE19-003.”
16            163. Kia’s Recall No. 20V750000 includes 294,756 Class Vehicles28 across
17   six models that are equipped with 2.4-liter Theta II MPI and 2.0-liter Nu GDI engines
18   manufactured between February 2011 and May 2015 at unspecified plants or the Kia
19   Hwasung Plant. Kia’s associated NHTSA filings indicate all vehicles from this recall
20   were determined through a review of vehicle production records.
21            164. While the MPI engines in the Class Vehicles are recalled for the Engine
22   Failure Defect for the first time here, the Nu and Gamma GDI engines were previously
23   recalled in connection with a defect that sounds suspiciously like the Engine Failure
24   Defect.
25

26
         27
          MY 2012 Santa Fe; MY 2011–2013, 2016 Sonata Hybrid; MY 2015–2016
27   Veloster.
       28
28        MY 2012–2015 Forte; MY 2012–2015 Forte Koup; MY 2011–2013 Optima
     Hybrid; MY 2012–2013 Sorento; MY 2014–2015 Soul; MY 2012 Sportage.
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 1            165. On February 22, 2019, Kia recalled 2012–2016 Souls with 1.6-liter
 2   Gamma GDI engines for what it described as an overheating catalytic converter. A
 3   closer review of the defect summary reveals that the defect causes the same damage
 4   and risk as that of the Engine Failure Defect here, stating, “[the] damage may result in
 5   an engine stall,” “[a] broken connecting rod may puncture the engine block allowing
 6   engine oil to escape,” and such “leaking oil may contact the exhaust, increasing the
 7   risk of a fire.”
 8            166. Plaintiffs Joanna Caballero, Tavish Carduff, John Caro, Brian Frazier,
 9   Ashley Gagas, Kesha Marbury, James Martino, Sharon Moon, Janet O’Brien, James
10   Palmer, William Pressley, Seane Ronfeldt, Christina Roos, Jeannett Smith, Nicole
11   Thornhill, James Michael Twigger and Stanton Vignes have all experienced engine
12   failure in their Class Vehicles, and even fire in the cases of Ms. Caballero, Mr. Frazier,
13   Ms. Moon, Ms. Smith, Mr. Twigger, and Mr. Palmer. These incidents appear
14   consistent with, and on information and belief were caused by, the Engine Failure
15   Defect.
16            167. Defendants have also attempted to alleviate public and governmental
17   scrutiny of its vehicles’ increased incidence of engine failures and fires by initiating
18   other recalls in the various models plagued by engines fires, but these recalls fail to
19   adequately explain and remedy the Engine Failure Defect broadly observed across so
20   many of Defendants’ vehicles.
21            168. In December 2018, Defendants recalled certain 2011–2014 Hyundai
22   Sonata, 2013–2014 Hyundai Santa Fe Sport, 2011–2017 Kia Optima, 2012–2017 Kia
23   Sorento, and 2011–2018 Kia Sportage vehicles previously repaired under Recall Nos.
24   15V-568, 17V-226, and 17V-224, citing the problem as a damaged high pressure fuel
25   pipe connecting to the fuel pump outlet during an engine replacement procedure.
26            169. The MY 2011–2013 Tucsons are the subject of a separate recall for
27   defective oil pan seals prompted by a NHTSA investigation, which does not address
28   the Engine Failure Defect present in all Theta II engines, including the Tucson.
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 1            170. NHTSA began investigating the Hyundai Tucson in May 2017, following
 2   recalls for related vehicles. In December 2018, Hyundai analyzed and provided its
 3   own market data to ODI, which informed Hyundai that it expected them to issue a
 4   safety recall for MY 2011–2013 Tucsons. In February 2019, Hyundai issued Recall
 5   No. 19V063000 for 125,000 MY 2011–2013 Tucsons equipped with 2.4-liter Theta II
 6   engines and Kia issued Recall No. 19V101000 for 32,296 MY 2011–2012 Sportages
 7   equipped with 2.4-liter Theta II engines—all Class Vehicles—claiming the engine oil
 8   pan could leak and, if not addressed, lead to engine damage and a moving stall. Those
 9   recalls were inadequate to fully remedy even the oil pan defect they purport to address
10   because there is no provision to check for engine damage or repair or replace engine
11   parts other than the oil pan seal, and it does nothing to address the Engine Failure
12   Defect present in all Theta II vehicles.
13            171. As problematic as Defendants’ recalls and purported fixes were already,
14   they also left out swaths of other vehicles with GDI engines marked by reports of non-
15   collision fires, like certain Kia Souls, and the Hyundai Tucsons equipped with Gamma
16   and Nu GDI engines.
17            4.       Defendants knew or should have known about the Engine Failure
                       Defect given Defendants’ rigorous pre-sale durability testing.
18
              172. Defendants are experienced in the design and manufacture of consumer
19
     vehicles. As experienced manufacturers, Defendants conduct tests like pre-sale
20
     durability testing on incoming components, including the engine, to verify the parts
21
     are free from defects and align with Defendants’ specifications.
22
              173. Hyundai and Kia have long touted the joint-testing facility they maintain
23
     in California, known as the “Proving Grounds.”29 Opened in 2005, the Proving
24
     Grounds—a $60 million facility—was designed as a “test site for the next-generation
25
     Hyundai and Kia vehicles,” “reaffirm[ing] the compan[ies’] commitment to designing,
26

27       29
           Hyundai Celebrates Grand Opening of New $60 Mln U.S. Proving Ground,
28   Hyundai Motor Am. (Jan. 26, 2005), https://www.hyundainews.com/en-
     us/releases/393.
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 1   testing, and building Hyundai [and Kia] products in the United States for North
 2   American consumers.”30 Commentators have also noted the thorough nature of tests
 3   conducted at the Proving Grounds, with one such commentator calling them a “searing
 4   torture test.”31 According to Hyundai and Kia Senior Research Engineer, Jong-Woo
 5   Kim, all vehicles tested at the facility must pass a “30,000 miles . . . accelerated
 6   durability test and a 100,000 miles . . . field fleet durability test to be sold in North
 7   America.”32 Such rigorous testing is intended to simulate up to “five years’ wear and
 8   tear.”33
 9            174. Kia conducts expansive presale durability testing on its vehicles to make
10   sure they “endure over a long time without fault.”34 This presale testing includes seven
11   different types of durability tests: (1) an item durability test; (2) a module durability
12   test; (3) a Belgian road test; (4) a high-speed test; (5) a corrosion test; (6) a P/T test;
13   and (7) a vehicle test. Kia conducts these tests in extreme weather conditions including
14   coldness and heat.
15            175. In addition, John Juriga, the Director of Powertrain at Kia in 2015, stated
16   that Kia’s validation testing is among the toughest in the automotive industry. 35
17   Among other things, this validation testing runs the engine at maximum throttle (the
18   maximum speed the engine can operate under) while under full load “so we’re
19   stressing the components as much as possible and we run it virtually nonstop for 300
20

21
         30
            Id.
22       31
            Graem Fletcher, Kia’s proving grounds a searing torture test (Sept. 19, 2013),
23   https://driving.ca/kia/auto-news/news/kias-proving-grounds-a-searing-torture-test-3.
         32
            Enduring the Scorching Desert Heat in Extreme Heat Tests of Hyundai and Kia
24   (Sept. 15, 2020), https://tech.hyundaimotorgroup.com/article/enduring-the-scorching-
     desert-heat-in-extreme-heat-tests-of-hyundai-and-kia/.
25       33
            See Behind the scenes at Kia's desert testing facility (June 2, 2018),
26   https://www.autocar.co.uk/car-news/new-cars/behind-scenes-kias-desert-testing-
     facility.
27       34
            https://www.kia.com/fj/experience/innovation-story/performance.Theta.html
28
     (last visited Sept. 7, 2022).
         35
            https://www.youtube.com/watch?v=GNPB3RtHN2M (last visited Sept. 7, 2022).
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 1   hours.” After, Kia does an “overrun spec” where it runs it over spec for 10–20 hours to
 2   make sure it can survive past the red line limits in order to “make sure these products
 3   stay durable in the customers’ hands.”
 4            176. Moreover, Kia also uses “the most extreme and rigorous vehicle testing
 5   program ever devised by the company.”36 As part of this test, Kia stimulates stop-and-
 6   go driving repeated over several times to “put additional strain on the engine,
 7   transmission and HVAC systems and eliminate any possible flaws.” In addition, at its
 8   Mojave Proving Grounds test site, Kia utilizes a “high-speed oval, gravel off-road
 9   tracks, high-vibration road surfaces, brake test facilities and different gradients” that
10   “enable engineers to evaluate and refine the ride, handling, brakes and NVH of
11   prototype and production vehicles.”
12            177. Touting its safety and durability testing, Kia’s website declares, “We put
13   our engines through rigorous testing in the highest, hottest, and coldest places that a
14   car can possibly be before we put them in our cars.”37
15            178. On information and belief, Hyundai conducts durability testing on its
16   vehicles that is similar to Kia’s testing.38
17            179. Hyundai, when talking about its safety and durability testing, even goes
18   so far as to refer to an “added safety feature” called “Hyundai Assurance,” claiming to
19   “leave parts out in the sun for years on end to make sure they’ll stand up to even the
20   most extreme heat,” “punish our vehicles over rough terrain, hairpin turns and
21   pothole-riddled highways,” and “simulate America’s most demanding driving
22   conditions, over and over and over again” so that Hyundai is “completely satisfied
23   that every Hyundai is durable, reliable, and battle-tested.” (Emphasis added.)
24
         36
25
            https://www.thenewsmarket.com/global/kia-motors-corporation/death-valley-
     hot-weather-test-for-all-new-kia-sportage/s/bfe8a9b5-9786-4e73-a648-2970972d74f1
26   (last visited Sept. 7, 2022).
         37
            Performance, Kia, https://www.kia.com/fj/experience/innovation-
27   story/performance.Theta.html (last visited Sept. 7, 2022).
         38
28          See, e.g., https://www.hyundai.news/eu/articles/press-releases/hail-rain-or-shine-
     hyundai-motors-extreme-weather-testing.html (last visited Sept. 7, 2022).
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18            180. The Engine Failure Defect is precisely the type of defect that such
19   rigorous pre-sale testing would reveal, because the Defect is a manufacturing defect in
20   which the metal debris is either already present in the vehicles before they are ever
21   driven or begins to accumulate as mileage accrues and metal parts wear. As such, any
22   tested vehicles would show evidence of the Defect when the engines are examined
23   after the testing is complete, or if the vehicles manifested symptoms, including
24   knocking sounds, stalls, or engine fires during the high-mileage tests intended to
25   simulate up to five years of driving. These symptoms would be consistent with the
26   consumer NHTSA complaints quoted above, many of which report symptoms of
27   engine hesitation, stalling, knocking sounds, total failure, and fires, well before the
28   30,000- or 100,000-mile distances to which Defendants claim to test their vehicles.
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 1   D.        Despite knowledge of the Engine Failure Defect, Defendants marketed the
               Class Vehicles as safe, durable, and reliable.
 2
               181. Defendants have long touted the safety and durability of their vehicles as
 3
     well as the performance of their engines because they know safety is material to
 4
     consumers.
 5
               182. On information and belief, Defendants marketed the Class Vehicles’
 6
     safety, durability, and warranties throughout the class period. This is reflected by the
 7
     sales brochures Defendants issued for various Class Vehicles, which point to vehicle
 8
     safety and also point to the purported power of their engines.39
 9
               183. Defendants marketed their vehicles to Plaintiffs and putative class
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     members as safe, reliable, and functional. Below are examples pulled from
11
     Defendants’ vehicle brochures:
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           See generally Hyundai PDF Sales Brochures, Auto-Brochures,
27   https://www.auto-brochures.com/hyundai.html (last visited Sept. 7, 2022); Kia PDF
28   Sales Brochures, Auto-Brochures, https://www.auto-brochures.com/kia.html (last
     visited Sept. 7, 2022).
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                                  EXCERPT FROM 2014 KIA SOUL BROCHURE
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21
                            EXCERPT FROM 2016 HYUNDAI SONATA HYBRID BROCHURE
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18                          EXCERPT FROM 2015 HYUNDAI VELOSTER BROCHURE
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28          THE 2015 SONATA HYBRID BROCHURE TOUTS ITS “5-STAR OVERALL SAFETY RATING.”
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                        KIA’S BROCHURES FOR THE 2012 SORENTO TOUT ITS SAFETY AND
26                   “TECHNOLOGICALLY ADVANCED ENGINES,” INCLUDING THE 2.4L ENGINE.

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 1             184. On information and belief, Defendants’ brochures for other Class
 2   Vehicles make similar claims about safety, durability, and/or the technological
 3   prowess of the defective engine.
 4             185. On information and belief, Hyundai and Kia developed, created, and
 5   controlled all the advertising, marketing, and point-of-sale materials for their
 6   respective Class Vehicles. Therefore, Hyundai and Kia could and should have
 7   disclosed the Engine Failure Defect to Plaintiffs and Class members in such materials.
 8   E.        Defendants’ warranties for Class Vehicles
 9             186. Hyundai and Kia each issued two relevant warranties with each Class
10   Vehicle: a “New Vehicle Limited Warranty” and a “Powertrain Warranty.”
11             187. Under the basic New Vehicle Limited Warranty, Hyundai and Kia agreed
12   to repair defects within the earlier of 5 years or 60,000 miles.
13             188. Under the Powertrain Warranty, Hyundai agreed to repair defects
14   affecting various powertrain components through 10 years and 100,000 miles.
15   According to HMA’s Warranty and Consumer Information Manual, Powertrain
16   Coverage Components include:
17

18             ENGINE
               Cylinder block/head and all internal parts, manifolds, timing gears, timing
19             chain, timing cover, gaskets and seals, oil pump, water pump, fly-wheel, oil pan
               assembly, rocker cover and engine mounts, and turbocharger.
20
               TRANSMISSION/TRANSAXLE
21             Case and all internal parts, axle shafts (front/rear), constant velocity joints,
               front/rear hub bearings, propeller shafts, seals and gaskets, torque converter and
22             converter housing and clutch cover and housing, transfer case for Santa Fe,
               Tucson and Veracruz    AWD and rear differential for Santa Fe, Tucson, Veracruz
23             AWD and Genesis.40

24             189. Under the Powertrain Warranty, Kia agreed to repair defects affecting

25   various powertrain components through 10 years and 100,000 miles. According to

26
          40
           See, e.g.,
27   https://owners.hyundaiusa.com/content/dam/hyundai/us/myhyundai/manuals/factory-
28   warranty/2012/2012MY_Hyundai_Warranty_Handbook.pdf (last visited Sept. 7,
     2022).
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 1   KA’s Warranty and Consumer Information Manual, Powertrain Coverage
 2   Components include:
 3            In the Engine: Cylinder block, cylinder head and all internal parts, timing gear,
              seals and gaskets, valve cover, flywheel, oil pump, water pump and turbo
 4            charger.
 5            In the Transaxle: Transmission case and all internal parts, torque converter,
              drive shafts, universal joints, front hubs, bearings, seals and gaskets.
 6            In the Transmission: Transmission       case, transfer case, torque converter and all
              internal parts, seals, and gaskets.41
 7

 8            190. On information and belief, Hyundai and Kia provided these warranties, or
 9   substantially similar warranties, for all Class Vehicles at all relevant times.
10            191. Hyundai and Kia instruct vehicle owners and lessees to bring their
11   vehicles to a Hyundai or Kia dealership for the warranty repairs. Plaintiffs and
12   putative class members have and continue to present their Class Vehicles to Hyundai
13   and Kia dealerships with complaints related to the Engine Failure Defect.
14            192. Hyundai and Kia evaded their warranty obligations by failing to disclose
15   the Engine Failure Defect to consumers, and by representing that the Engine Failure
16   Defect is the result of the consumer’s failure to properly maintain the vehicle,
17   including its engine oil and oil level. This representation is false because the Class
18   Vehicles’ engines are inherently defective due to the Engine Failure Defect.
19            193. Hyundai and Kia have also evaded their warranty obligations by requiring
20   consumers to produce the Class Vehicle’s entire maintenance history, including a
21   mandate that all oil changes be completed at a Hyundai or Kia dealership, before
22   determining whether to make the necessary repairs under warranty. For example,
23   consumers have reported Hyundai and Kia denying warranty repairs for the Engine
24   Failure Defect where their vehicle maintenance, including oil changes, were
25   performed by third-party mechanics and service centers. Hyundai and Kia know the
26

27       41
           See, e.g.,
28   https://www.kia.com/us/content/dam/kia/us/en/images/warranty/manual/general-
     warranty-and-consumer-info/2012_warranty.pdf (last visited Sept. 7, 2022).
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 1   Engine Failure Defect can manifest in Class Vehicles even if the owner or lessee has
 2   followed Hyundai and Kia’s maintenance guidelines. Even if consumers produce their
 3   vehicle maintenance history, Hyundai and Kia blame the Engine Failure Defect and
 4   subsequent engine failure or fire on the consumer, refuse to cover the necessary
 5   repairs under warranty, and charge thousands of dollars to repair the engine.
 6            194. Hyundai advertises that it offers “America’s Best Warranty.” Hyundai
 7   publicizes the existence of its 10-year/100,000-mile Powertrain Warranty but fails to
 8   mention that subsequent owners only receive powertrain warranty coverage for 5
 9   years/60,000 miles. Subsequent owners are left to discover the limited warranty
10   coverage after purchasing their vehicle. Hyundai’s failure to cover repairs under the
11   powertrain warranty between 5 years/60,000 miles and 10 years/100,000 miles is
12   therefore unconscionable and the warranty limitation is unenforceable. A typical
13   Hyundai advertisement touting “America’s Best Warranty” is pictured below:
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24            195. Kia advertises that it offers “an industry-leading Kia 10-year or 100,000-
25   mile warranty program.” Kia publicizes the existence of its 10-year/100,000-mile
26   Powertrain Warranty but fails to mention that subsequent owners only receive
27   powertrain warranty coverage for 5 years/60,000 miles. Subsequent owners are left to
28   discover the limited warranty coverage after purchasing their vehicle. Kia’s failure to
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 1   cover repairs under the powertrain warranty between 5 years/60,000 miles and 10
 2   years/100,000 miles is therefore unconscionable and the warranty limitation is
 3   unenforceable. A typical Kia advertisement touting its warranty is pictured below:
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              196. In many instances, consumers must pay for diagnosis of the Engine
11
     Failure Defect, even though the Class Vehicle was manufactured with the Defect, and
12
     pay out of pocket for the repair or replacement of the engine, connecting rods, crank
13
     shaft, oil pump, and other engine components.
14
              197. Many putative class members presenting their Class Vehicles with the
15
     Engine Failure Defect to Hyundai and Kia dealerships were denied warranty repairs
16
     and informed that nothing was wrong with their vehicles. As a result, after expiration
17
     of the warranty period, putative class members are later forced to pay for costly repairs
18
     related to the Engine Failure Defect.
19
                                      V.    CLASS ALLEGATIONS
20
     A.       Class Definitions
21
              198. Under Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil
22
     Procedure, Plaintiffs bring this action on behalf of themselves, the Nationwide Class,
23
     and State Classes, defined as:
24
                       Nationwide Class
25
                       All persons or entities who purchased or leased a Class
26
                       Vehicle in the United States (including its territories and the
27                     District of Columbia).
28                     The Class Vehicles are:
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 1                          • Model year (“MY”) 2010–2012 Hyundai Santa Fe
 2                            vehicles equipped with a Theta II 2.4-liter MPI engine;
                            • MY 2011–2015 Hyundai Sonata Hybrid vehicles
 3                            equipped with a Theta II 2.4-liter MPI engine;
 4                          • MY 2016–2019 Hyundai Sonata Hybrid/Plug-In
 5
                              vehicles equipped with a Nu 2.0 GDI engine;
                            • MY 2010–2013 Hyundai Tucson vehicles equipped with
 6                            a Theta II 2.4-liter MPI engine;
 7                          • MY 2014–2021 Hyundai Tucson vehicles equipped with
                              a Nu 2.0 GDI engine;
 8
                            • MY 2014 Hyundai Elantra Coupe vehicles equipped
 9                            with a Nu 2.0 GDI engine;
10                          • MY 2014–2016 Hyundai Elantra vehicles equipped with
                              a Nu 2.0 GDI engine;
11
                            • MY 2014–2020 Hyundai Elantra GT vehicles equipped
12                            with a Nu 2.0 GDI engine;
13                          • MY 2012–2017 Hyundai Veloster vehicles equipped
                              with a Gamma 1.6-liter GDI engine;
14
                            • MY 2010–2013 Kia Forte vehicles equipped with a
15                            Theta II 2.4-liter MPI engine;
16                          • MY 2010–2013 Kia Forte Koup vehicles equipped with
                              a Theta II 2.4-liter MPI engine;
17                          • MY 2014–2018 Kia Forte vehicles equipped with a Nu
18                            2.0 GDI engine;
                            • MY 2014–2016 Kia Forte Koup vehicles equipped with
19
                              a Nu 2.0 GDI engine;
20                          • MY 2011–2016 Kia Optima Hybrid vehicles equipped
21                            with a Theta II 2.4-liter MPI engine;
                            • MY 2017–2020 Kia Optima Hybrid/Plug-In vehicles
22
                              equipped with a Nu 2.0 GDI engine;
23                          • MY 2011–2013 Kia Sorento vehicles equipped with a
24                            Theta II 2.4-liter MPI engine;
                            • MY 2012–2016 Kia Soul vehicles equipped with a
25                            Gamma 1.6-liter GDI engine;
26                          • MY 2014–2019 Kia Soul vehicles equipped with a Nu
27
                              2.0 GDI engine; and
                            • MY 2011–2013 Kia Sportage vehicles equipped with a
28                            Theta II 2.4-liter MPI engine.
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 1            199. In addition to the Nationwide Class, and under Fed. R. Civ. P. 23(c)(5),
 2   Plaintiffs seek to represent the following State Classes as well as any subclasses or
 3   issue classes as Plaintiffs may propose and/or the Court may designate at the time of
 4   class certification:
 5                     Alabama Class
 6                     All persons or entities who purchased or leased a Class
 7
                       Vehicle in the State of Alabama.

 8                     Arizona Class

 9                     All persons or entities who purchased or leased a Class
                       Vehicle in the State of Arizona.
10
                       California Class
11
                       All persons or entities who purchased or leased a Class
12
                       Vehicle in the State of California.
13
                       Connecticut Class
14
                       All persons or entities who purchased or leased a Class
15                     Vehicle in the State of Connecticut.
16                     Florida Class
17
                       All persons or entities who purchased or leased a Class
18                     Vehicle in the State of Florida.
19                     Georgia Class
20                     All persons or entities who purchased or leased a Class
                       Vehicle in the State of Georgia.
21

22
                       Maryland Class

23                     All persons or entities who purchased or leased a Class
                       Vehicle in the State of Maryland.
24
                       Michigan Class
25
                       All persons or entities who purchased or leased a Class
26                     Vehicle in the State of Michigan.
27

28

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 1                     Missouri Class
 2                     All persons or entities who purchased or leased a Class
 3
                       Vehicle in the State of Missouri.

 4                     North Carolina Class

 5                     All persons or entities who purchased or leased a Class
                       Vehicle in the State of North Carolina.
 6
                       Ohio Class
 7
                       All persons or entities who purchased or leased a Class
 8                     Vehicle in the State of Ohio.
 9
                       Pennsylvania Class
10
                       All persons or entities who purchased or leased a Class
11                     Vehicle in the State of Pennsylvania.
12                     Texas Class
13                     All persons or entities who purchased or leased a Class
14
                       Vehicle in the State of Texas.

15                     Washington Class

16                     All persons or entities who purchased or leased a Class
                       Vehicle in the State of Washington.
17
                       West Virginia Class
18
                       All persons or entities who purchased or leased a Class
19                     Vehicle in the State of West Virginia.
20
              200. Excluded from the Classes are individuals who have personal injury
21
     claims resulting from the Engine Failure Defect and conduct alleged herein;
22
     Defendants and their subsidiaries, affiliates, officers, and directors; all persons who
23
     timely elect exclusion from the Classes; and the Judge(s) to whom this case is
24
     assigned and their immediate family.
25
              201. Certification of Plaintiffs’ claims for class-wide treatment is appropriate
26
     because Plaintiffs can prove the elements of their claims on a class-wide basis using
27

28

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 1   the same evidence as would be used to prove those elements in individual actions
 2   alleging the same claim.
 3            202. This action has been brought and may be properly maintained on behalf
 4   of each of the Classes proposed herein under Federal Rule of Civil Procedure 23.
 5            203. Plaintiffs reserve the right to revise the Class definitions based on
 6   information learned through discovery and further investigation.
 7   B.       Class Action Requirements
 8            204. Numerosity. Federal Rule of Civil Procedure 23(a)(1): The members of
 9   the Classes are so numerous and geographically dispersed that individual joinder of all
10   Class members is impracticable. Plaintiffs are informed and believe, based on
11   information available regarding the nationwide sales and recalls of Class Vehicles,
12   there are hundreds of thousands of Class members. The precise number of Class
13   members is unknown to Plaintiffs but may be ascertained from the Defendants’
14   records and vehicle registration records. Class members may be notified of the
15   pendency of this action by recognized, Court-approved notice dissemination methods,
16   which may include U.S. Mail, electronic mail, Internet postings, and published notice.
17            205. Commonality and Predominance. Federal Rule of Civil Procedure
18   23(a)(2) & (b)(3): This action involves common questions of law and fact that
19   predominate over any questions affecting individual Class members, including,
20   without limitation:
21                     a.   Whether Defendants engaged in the conduct alleged
22
                            herein;

23                     b.   Whether Defendants designed, advertised, marketed,
                            distributed, leased, sold, or otherwise placed the Class
24                          Vehicles into the stream of commerce in the United
25                          States;
26                     c.   Whether the Class Vehicles have and were sold with
27                          the Engine Failure Defect;

28

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 1                     d.   Whether a reasonable consumer would consider the
 2
                            Engine Failure Defect and its consequences to be
                            material to the decision to purchase or lease a Class
 3                          Vehicle;
 4                     e.   Whether the Engine Failure Defect constitutes a safety
 5                          defect;
 6                     f.   Whether Defendants knew of the Engine Failure
 7                          Defect but failed to disclose the problem and its
                            consequences to Plaintiffs and Class members;
 8
                       g.   When Defendants discovered or knew of the Engine
 9
                            Failure Defect, and what, if anything, they did in
10                          response;
11                     h.   Whether Defendants had a duty to disclose the true
12                          nature of the Class Vehicles to Plaintiffs and Class
                            members;
13
                       i.   Whether Defendants omitted, concealed, or failed to
14
                            disclose material facts about the Class Vehicles to
15                          Plaintiffs and Class members;
16                     j.   Whether Defendants’ concealment of the true nature
17                          of the Class Vehicles would have induced a
                            reasonable consumer to act to his or her detriment by
18                          purchasing and/or leasing the Class Vehicles;
19
                       k.   Whether Defendants’ conduct violates the California
20                          Legal Remedies Act, California Unfair Competition
                            Law, California False Advertising Law, the Song-
21
                            Beverly Act, and any other statutes asserted herein;
22
                       l.   Whether Plaintiffs and Class members overpaid for
23                          their Class Vehicles;
24
                       m.   Whether Plaintiffs and Class members suffered out-of-
25                          pocket losses because of the Engine Failure Defect;
26                     n.   Whether Plaintiffs and Class members are entitled to
27                          damages and other monetary relief and, if so, in what
                            amount;
28

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 1                     o.   Whether Plaintiffs and Class members are entitled to
 2
                            equitable relief, including, but not limited to,
                            restitution or injunctive relief; and
 3
                       p.   Whether Defendants continue to unlawfully conceal
 4                          and misrepresent whether additional vehicles, besides
 5                          those reported in the press to date, are in fact Class
                            Vehicles.
 6

 7            206. Typicality. Federal Rule of Civil Procedure 23(a)(3): Plaintiffs’ claims

 8   are typical of the claims of the Class members whom they seek to represent because

 9   Plaintiffs and each Class member purchased a Class Vehicle and were similarly

10   injured by Defendants’ wrongful conduct as described herein. Plaintiffs and the Class

11   members suffered damages as a direct, proximate result of the same wrongful

12   practices by Defendants. Plaintiffs’ claims arise from the same practices and courses

13   of conduct that give rise to the claims of the other Class members. Plaintiffs’ claims

14   are based on the same legal theories as the claims of the Class members.

15            207. Adequacy. Federal Rule of Civil Procedure 23(a)(4): Plaintiffs’ and their

16   counsel are adequate because their interests do not conflict with the interests of the

17   Class members they seek to represent. Plaintiffs have retained counsel competent and

18   experienced in complex class action litigation, and Plaintiffs intend to prosecute this

19   action vigorously. Plaintiffs and their counsel will fairly and adequately protect the

20   Class members’ interests.

21            208. Superiority. Federal Rule of Civil Procedure 23(b)(3): A class action is

22   superior to any other available means for the fair and efficient adjudication of this

23   controversy and no unusual difficulties are likely to be encountered in the

24   management of this class action. The damages or other financial detriment suffered by

25   Plaintiffs and Class members are relatively small compared to the burden and expense

26   that would be required to individually litigate their claims against Defendants, so it

27   would be impracticable for Class members to individually seek redress for

28   Defendants’ wrongful conduct. Even if Class members could afford individual

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 1   litigation, the court system could not. Individualized litigation creates a potential for
 2   inconsistent or contradictory judgments and increases the delay and expense to all
 3   parties and the court system. By contrast, the class action device presents far fewer
 4   management difficulties and provides the benefits of single adjudication, economy of
 5   scale, and comprehensive supervision by a single court. On information and belief,
 6   Class members can be readily identified and notified based on, inter alia, Defendants’
 7   vehicle identification numbers, warranty claims, registration records, and database of
 8   complaints.
 9            209. Declaratory and Injunctive Relief. Federal Rule of Civil Procedure
10   Rule 23(b)(2): Defendants have acted, and refused to act, on grounds generally
11   applicable to the Classes, thereby making appropriate final injunctive relief and
12   declaratory relief with respect to the Classes as a whole.
13                          VI.   TOLLING OF STATUTES OF LIMITATIONS
14   A.       The discovery rule justifies tolling.
15            210. Plaintiffs and Class members did not discover, and could not have
16   discovered through the exercise of reasonable diligence, Defendants’ deception with
17   respect to the Engine Failure Defect.
18            211. Defendants’ concealment is ongoing, as evidenced by their piecemeal
19   recalls and product improvement campaigns, which do not specifically identify the
20   defect or offer a fix.
21            212. Plaintiffs and Class members could not have discovered through the
22   exercise of reasonable diligence that Defendants were concealing the Engine Failure
23   Defect and misconduct complained of herein, or that Defendants were misrepresenting
24   their true position with respect to the Engine Failure Defect.
25            213. Unless a Class member experienced a catastrophic engine failure,
26   Plaintiff and Class members would have no reason to discover the Engine Failure
27   Defect, and even if they did experience such a failure, would have no reason to
28   discover the existence of a widespread defect and effort to conceal it.
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 1            214. Plaintiffs and Class members therefore did not discover, and did not
 2   know of, facts that would have caused a reasonable person to suspect that Defendants
 3   had concealed information about the Engine Failure Defect in the Class Vehicles,
 4   which Plaintiffs discovered shortly before filing this action.
 5            215. For these reasons, the discovery rule tolls all applicable statutes of
 6   limitation with respect to claims as to the Class Vehicles.
 7   B.       Fraudulent concealment justifies tolling.
 8            216. All applicable statutes of limitation are also tolled by Defendants’
 9   knowing, active and ongoing fraudulent concealment of the facts alleged herein.
10            217. Defendants concealed the Engine Failure Defect, minimized the scope,
11   cause, and dangers of the Engine Failure Defect with inadequate recalls and purported
12   remedies, and refused to investigate, address, and remedy the Engine Failure Defect as
13   it pertains to all Class Vehicles.
14            218. Defendants still haven’t admitted the existence of the Engine Failure
15   Defect, but Defendants knew about the Defect before the earliest Class Vehicles were
16   sold, based on presale durability testing. That testing put up to 100,000 miles on
17   vehicle engines, while many of the relevant NHTSA complaints included above-
18   described symptomatic engine issues and failures well before 100,000 miles.
19   Additionally, early NHTSA complaints and warranty claims revealed the Defect as
20   early as 2010. Defendants’ concealment continues to date.
21   C.       Estoppel justifies tolling.
22            219. Defendants were under a continuous duty to disclose to Plaintiffs and
23   Class members the true character, quality, and nature of the Engine Failure Defect,
24   and the inevitable repairs, costs, time, and monetary damage resulting from the Engine
25   Failure Defect.
26            220. Based on the foregoing, Defendants are estopped from relying on any
27   statutes of limitations in defense of this action.
28

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 1              VII. CALIFORNIA LAW APPLIES TO THE CLAIMS OF THE
                               NATIONWIDE CLASS
 2
              221. California law applies to the nationwide claims because California’s
 3
     interest in this litigation exceeds that of any other state.
 4
              222. Defendant HMA is headquartered in Fountain Valley, California, and is
 5
     the sole entity in the United States responsible for distributing, selling, leasing, and
 6
     warranting Hyundai vehicles, including the Hyundai Class Vehicles.
 7
              223. Defendant KA is headquartered in Irvine, California and is the sole entity
 8
     in the United States responsible for distributing, selling, leasing, and warranting Kia
 9
     vehicles, including the Kia Class Vehicles.
10
              224. Defendants KA and HMA each maintain their customer relations,
11
     engineering, marketing, and warranty departments at their corporate headquarters in
12
     this judicial district. Defendants’ customer relations department is responsible for
13
     fielding customer complaints and monitoring customer complaints posted to their
14
     respective websites or third-party websites.
15
              225. Defendants KA and HMA’s warranty and engineering departments are
16
     responsible for the decisions to conceal the Engine Failure Defect from the Class
17
     members.
18
              226. Based on the foregoing, Defendants’ policies, practices, acts, and
19
     omissions giving rise to Plaintiffs’ and Class members’ claims were developed in, and
20
     emanated from, Defendants KA and HMA’s headquarters in this judicial district in
21
     California. As detailed herein, Defendants knew or should have known about the
22
     Engine Failure Defect through the activities of their divisions and affiliated entities
23
     located within California. Accordingly, the State of California has the most significant
24
     relationship to this litigation and its law should govern.
25

26

27

28

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 1                                    VIII. CLAIMS ALLEGED
 2                                            COUNT I
 3
     VIOLATIONS OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
 4                          (CAL. CIV. CODE § 1750, ET SEQ.)
 5      (On Behalf of the Nationwide Class or, Alternatively, the California Class)

 6            227. Plaintiffs and the Class reallege and incorporate by reference all
 7   paragraphs as though fully set forth herein.
 8            228. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 9   Class against all Defendants. Alternatively, Plaintiffs Gabrielle Alexander, Joanna
10   Caballero, Leslie Flaherty, Chad Perry, Nicole Thornhill, and Stanton Vignes bring
11   this claim on behalf of themselves and the California Class against all Defendants.
12            229. Defendants are persons as defined in California Civil Code § 1761(c).
13            230. Plaintiffs and the Class members are consumers as defined in California
14   Civil Code §1761(d).
15            231. Defendants engaged in unfair and deceptive acts in violation of the
16   CLRA through the practices described herein, and by knowingly and intentionally
17   concealing the Engine Failure Defect in the Class Vehicles from Plaintiffs and Class
18   members, along with concealing the risks, costs, and monetary damage resulting from
19   the Engine Failure Defect. These acts and practices violate, at a minimum, the
20   following sections of the CLRA: (a)(2) Misrepresenting the source, sponsorship,
21   approval, or certification of goods or services; (a)(5) Representing that goods or
22   services have sponsorships, characteristics, uses, benefits, or quantities which they do
23   not have, or that a person has a sponsorship, approval, status, affiliation, or connection
24   which he or she does not have; (a)(7) Representing that goods or services are of a
25   particular standard, quality, or grade, or that goods are of a particular style or model, if
26   they are of another; and (a)(9) Advertising goods and services with the intent not to
27   sell them as advertised.
28

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 1            232. Defendants’ unfair and deceptive acts or practices occurred repeatedly in
 2   Defendants’ trade or business, were capable of deceiving a substantial portion of the
 3   purchasing public, and imposed a serious safety risk on the public.
 4            233. Defendants knew the Class Vehicles’ engines were defectively
 5   manufactured, would fail prematurely, were prone to cause fires, and were not suitable
 6   for their intended use.
 7            234. Defendants had a duty to Plaintiffs and Class members to disclose the
 8   defective nature of the Class Vehicles’ engines because:
 9                     a.   Defendants were in a superior position to know the true state of
10   facts about the Engine Failure Defect and associated repair costs in the Class Vehicles
11   and their engines, and the Defect affects a core function of the car;
12                     b.   Plaintiffs and Class members could not reasonably have been
13   expected to learn or discover that the Class Vehicles and their engines had a dangerous
14   safety defect until manifestation of the Engine Failure Defect; and
15                     c.   Defendants knew that Plaintiffs and Class members could not
16   reasonably have been expected to learn or discover the Engine Failure Defect and the
17   associated repair costs until manifestation of the Engine Failure Defect; and
18                     d.   Defendants actively concealed the safety-related Defect and the
19   associated repair costs by asserting to Plaintiffs and Class members that the cause of
20   their engine problems was the result of Plaintiffs’ and the Class members’ inability to
21   maintain the proper engine oil levels despite knowing the repairs needed to correct the
22   Defect.
23            235. In failing to disclose the Engine Failure Defect and the associated safety
24   risks and repair costs that result from it, Defendants have knowingly and intentionally
25   concealed material facts and breached their duty to disclose.
26            236. The facts concealed or not disclosed by Defendants to Plaintiffs and Class
27   members are material in that a reasonable consumer would have considered them
28   important in deciding whether to purchase the Class Vehicles or to pay a lesser price.
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 1   Had Plaintiffs and the Class members known about the defective nature of the Class
 2   Vehicles and their engines, they would not have purchased or leased the Class
 3   Vehicles or would have paid less for them.
 4            237. On or about April 10, 2015, December 11, 2018, January 10, 2019,
 5   March 4, 2019, April 19, 2019, February 17, 2021, and March 12, 2021, Plaintiffs,
 6   through undersigned counsel, provided Defendants written notice of their violations of
 7   the CLRA under California Civil Code § 1782(a) regarding the Class Vehicles or
 8   Hyundai and Kia vehicles with the same alleged Engine Failure Defect.
 9            238. Plaintiffs and Class members’ injuries were proximately caused by
10   Defendants’ fraudulent and deceptive business practices.
11            239. Plaintiffs and the Class members seek all relief available under the
12   CLRA.
13                                           COUNT II
14      VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
15                          (CAL. BUS. & PROF. CODE § 17200)
     (On Behalf of The Nationwide Class or, Alternatively, The California State Class)
16
              240. Plaintiffs and the Class reallege and incorporate by reference all
17
     paragraphs as though fully set forth herein.
18
              241. Plaintiffs bring this claim on behalf of themselves and the Nationwide
19
     Class against all Defendants. Alternatively, Plaintiffs Gabrielle Alexander, Joanna
20
     Caballero, Leslie Flaherty, Chad Perry, Nicole Thornhill, and Stanton Vignes bring
21
     this claim on behalf of themselves and the California Class against all Defendants.
22
              242. The California Unfair Competition Law (“UCL”) prohibits acts of “unfair
23
     competition,” including any “unlawful, unfair or fraudulent business act or practice”
24
     and “unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code
25
     § 17200.
26
              243. Defendants engaged in unfair competition and unfair, unlawful or
27
     fraudulent business practices through the conduct, statements, and omissions described
28

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 1   herein, and by knowingly and intentionally concealing the Engine Failure Defect in
 2   the Class Vehicles from Plaintiffs and Class members, along with concealing the risks,
 3   costs, and monetary damage resulting from the Engine Failure Defect. Defendants
 4   should have disclosed this information because they were in a superior position to
 5   know the true facts related to the Engine Failure Defect, and Plaintiffs and Class
 6   members could not reasonably be expected to learn or discover the true facts related to
 7   the Engine Failure Defect.
 8            244. The Engine Failure Defect causes catastrophic engine failure and fire in
 9   the Class Vehicles and this constitutes a safety issue that triggered Defendants’ duty to
10   disclose the safety issue to consumers.
11            245. Defendants’ acts and practices have deceived Plaintiffs and are likely to
12   deceive the public. In failing to disclose the Engine Failure Defect and suppressing
13   other material facts from Plaintiffs and Class members, Defendants breached their
14   duties to disclose these facts, violated the UCL, and caused injuries to Plaintiffs and
15   Class members. Defendants’ omissions and concealment pertained to information that
16   was material to Plaintiffs and Class members, as it would have been to all reasonable
17   consumers.
18            246. The injuries suffered by Plaintiffs and Class members are not greatly
19   outweighed by any potential countervailing benefit to consumers or to competition,
20   nor are they injuries that Plaintiffs and Class members should have reasonably
21   avoided.
22            247. Defendants’ acts and practices are unlawful because they violate
23   California Civil Code §§ 1668, 1709, 1710, and 1750, et seq., and California
24   Commercial Code § 2313.
25            248. Plaintiffs and the other Class Members have suffered an injury in fact,
26   including the loss of money or property, as a result of Defendants’ unfair, unlawful,
27   and/or deceptive practices.
28

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 1            249. Plaintiffs seek to enjoin further unlawful, unfair, and/or fraudulent acts or
 2   practices by Defendants, to obtain restitutionary disgorgement of all monies and
 3   revenues generated because of such practices, and all other relief allowed under
 4   California Business & Professions Code § 17200.
 5                                           COUNT III
 6           VIOLATIONS OF CALIFORNIA FALSE ADVERTISING LAW
 7                        (CAL. BUS. & PROF. CODE § 17500, ET SEQ.)
          (On Behalf of the Nationwide Class or, Alternatively, the California Class)
 8
              250. Plaintiffs and the Class reallege and incorporate by reference all
 9
     paragraphs as though fully set forth herein.
10
              251. Plaintiffs bring this claim on behalf of themselves and the Nationwide
11
     Class against all Defendants. Alternatively, Plaintiffs Gabrielle Alexander, Joanna
12
     Caballero, Leslie Flaherty, Chad Perry, Nicole Thornhill, and Stanton Vignes bring
13
     this claim on behalf of themselves and the California Class against all Defendants.
14
              252. California Business & Professions Code § 17500 states: “It is unlawful
15
     for any … corporation … with intent directly or indirectly to dispose of real or
16
     personal property … to induce the public to enter into any obligation relating thereto,
17
     to make or disseminate or cause to be made or disseminated … from this state before
18
     the public in any state, in any newspaper or other publication, or any advertising
19
     device, … or in any other manner or means whatever, including over the Internet, any
20
     statement … which is untrue or misleading, and which is known, or which by the
21
     exercise of reasonable care should be known, to be untrue or misleading.”
22
              253. Defendants caused to be made or disseminated through California and the
23
     United States, through advertising, marketing and other publications, statements that
24
     were untrue or misleading, and which were known, or through the exercise of
25
     reasonable care should have been known to Defendants, to be untrue and misleading
26
     to consumers, including Plaintiffs and the Class members.
27

28

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 1            254. Defendants violated section 17500 because their misrepresentations and
 2   omissions regarding the safety, reliability, and functionality of the Class Vehicles as
 3   described herein were material, untrue, and misleading, and likely to deceive a
 4   reasonable consumer.
 5            255. Plaintiffs and Class members have suffered an injury in fact, including
 6   the loss of money or property, because of Defendants’ unfair, unlawful, and/or
 7   deceptive practices. In purchasing or leasing their Class Vehicles, Plaintiffs and the
 8   Class members relied on Defendants’ misrepresentations and omissions regarding the
 9   safety and reliability of the Class Vehicles. Defendants’ representations and omissions
10   were untrue because the Class Vehicles are distributed with a defective engine. Had
11   Plaintiffs and the Class members known this, they would not have purchased or leased
12   their Class Vehicles or paid as much for them. Accordingly, Plaintiffs and the Class
13   members overpaid for their Class Vehicles and did not receive the benefit of their
14   bargain.
15            256. All of the wrongful conduct alleged herein occurred, and continues to
16   occur, in the conduct of Defendants’ businesses. Defendants’ wrongful conduct is part
17   of a pattern or generalized course of conduct that is still perpetuated and repeated, both
18   in California and nationwide.
19            257. Plaintiffs, individually and on behalf of the Class members, request this
20   Court enter such orders or judgments as necessary to enjoin Defendants from
21   continuing their unfair, unlawful, and/or deceptive practices, to restore to Plaintiffs
22   and the Class members any money Defendants acquired by unfair competition,
23   including restitution and/or restitutionary disgorgement, and for such other relief
24   permitted.
25

26

27

28

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 1                                           COUNT IV
 2           VIOLATIONS OF THE CALIFORNIA SONG-BEVERLY ACT –
 3                         BREACH OF IMPLIED WARRANTY
                              (CAL. CIV. CODE § 1790, ET SEQ.)
 4        (On Behalf of the Nationwide Class or, Alternatively, the California Class)
 5            258. Plaintiffs and the Class reallege and incorporate by reference all
 6   paragraphs as though fully set forth herein.
 7            259. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 8   Class against all Defendants. Alternatively, Plaintiffs Gabrielle Alexander, Joanna
 9   Caballero, Leslie Flaherty, Chad Perry, Nicole Thornhill, and Stanton Vignes bring
10   this claim on behalf of themselves and the California Class against all Defendants.
11            260. At all relevant times, Defendants were the manufacturer, distributor,
12   warrantor, and seller of the Class Vehicles. Defendants knew or should have known
13   the specific use for which the Class Vehicles were purchased.
14            261. Defendants provided Plaintiffs and Class members with an implied
15   warranty that the Class Vehicles, and any parts thereof, are merchantable and fit for
16   the ordinary purposes for which they were sold. The Class Vehicles, however, are not
17   fit for their ordinary purpose because, inter alia, the Class Vehicles contained an
18   inherent defect at the time of sale that causes the Class Vehicles to experience
19   premature and catastrophic engine failure and fire.
20            262. The Class Vehicles are not fit for the purpose of providing safe and
21   reliable transportation because of the Engine Failure Defect.
22            263. Defendants impliedly warranted that the Class Vehicles were of
23   merchantable quality and fit for such use. This implied warranty included, inter alia,
24   the following: (i) a warranty that the Class Vehicles and engines manufactured,
25   supplied, distributed, and sold by Defendants were safe and reliable for providing
26   transportation and would not prematurely and catastrophically fail or catch fire; and
27   (ii) a warranty that the Class Vehicles and their engines would be fit for their intended
28

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 1   use–providing safe and reliable transportation–while the Class Vehicles were
 2   operated.
 3            264. Contrary to the applicable implied warranties, the Class Vehicles and
 4   their engines at the time of sale and thereafter were not fit for their ordinary and
 5   intended purpose. Instead, the Class Vehicles are defective, including, but not limited
 6   to, the Engine Failure Defect and/or manufacturing of the GDI and MPI engines.
 7            265. Defendants’ actions, as described herein, breached the implied warranty
 8   that the Class Vehicles were of merchantable quality and fit for such use in violation
 9   of California Civil Code §§ 1792 and 1791.1.
10                                           COUNT V
11    VIOLATIONS OF THE ALABAMA DECEPTIVE TRADE PRACTICES ACT
12                             (ALA. CODE § 8-19-1, ET SEQ.)
         (Alleged by Plaintiff Franklin Marbury on behalf of the Alabama Class)
13
              266. Plaintiffs and the Class reallege and incorporate by reference all
14
     paragraphs as though fully set forth herein.
15
              267. Plaintiff Kesha Franklin Marbury (“Plaintiff” for purposes of the
16
     Alabama causes of action) brings this action on behalf of herself and the Alabama
17
     State Class against all Defendants.
18
              268. Plaintiff and the Alabama Class are “consumers” and Defendants are
19
     “persons” within the meanings of the Alabama deceptive trade practices act
20
     (“Alabama DTPA”).
21
              269. The Class Vehicles are “goods” and Defendants were engaged in “trade
22
     or commerce” within the meaning of the Alabama DTPA.
23
              270. The Alabama DTPA declares unlawful: “(5) representing that goods or
24
     services have sponsorship, approval, characteristics, ingredients, uses, benefits, or
25
     qualities that they do not have”; “(7) representing that goods or services are of a
26
     particular standard, quality, or grade, … if they are of another”; and “(27) engaging in
27

28

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 1   any other unconscionable, false, misleading, or deceptive act or practice in the conduct
 2   of trade or commerce.”
 3            271. Defendants engaged in a deceptive act or practice in violation of the
 4   Alabama DTPA concerning the Class Vehicles that was likely to mislead consumers
 5   acting reasonably under the circumstances. Defendants knowingly misrepresented,
 6   concealed, and omitted material facts concerning the Class Vehicles, specifically the
 7   existence of the Engine Failure Defect.
 8            272. Plaintiff and the Alabama Class members could not have discovered the
 9   existence of the Engine Failure Defect, or Defendants’ deception and responsibility for
10   the Engine Failure Defect, until shortly before this class action was commenced.
11            273. Plaintiff and the Alabama Class members suffered monetary damages as
12   result of Defendants’ deceptive acts, practices, and omissions alleged herein. Had
13   Plaintiff and the members of the Alabama class known the truth about the Engine
14   Failure Defect they would not have purchased or leased the vehicles or would have
15   paid significantly less for them, and they would not have incurred monetary loss for
16   repairs and other costs associated with the Engine Failure Defect.
17            274. Plaintiff and the Alabama Class seek monetary relief against Defendants
18   in the greater amount of actual damages or statutory damages in the amount of $100.
19            275. Plaintiff also seeks an order enjoining Defendants’ unlawful practices and
20   any other just and proper relief available under the Alabama DTPA.
21            276. On February 17, 2021, Plaintiff sent a notice letter to Defendants HMC
22   and HMA.
23                                           COUNT VI
24   BREACH OF ALABAMA’S IMPLIED WARRANTY OF MERCHANTABILITY
25                          (ALA. CODE §§ 7-2-314; 7-2A-212)
        (Alleged by Plaintiff Franklin Marbury on behalf of the Alabama Class)
26
              277. Plaintiffs and the Class reallege and incorporate by reference all
27
     paragraphs as though fully set forth herein.
28

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 1            278. Plaintiff Kesha Franklin Marbury brings this action on behalf of herself
 2   and the Alabama State Class against all Defendants.
 3            279. Defendants are “merchants” and “sellers” of motor vehicles and the Class
 4   Vehicles are “goods” under Alabama law.
 5            280. Under Alabama law, an implied warranty of merchantability attaches to
 6   the Class Vehicles under Ala. Code §§ 7-2-314 and 7-2A-212.
 7            281. The Class Vehicles were not merchantable when sold or leased because
 8   the engines of the Class Vehicles are prone to premature and catastrophic failure, and
 9   pose an unreasonable risk of non-collision engine failures and engine fires due to the
10   Engine Failure Defect described herein.
11            282. Plaintiff and the other Alabama Class members are third-party
12   beneficiaries of Defendants’ implied warranty.
13            283. As a direct and proximate result of Defendants’ breach of the implied
14   warranty of merchantability, Plaintiff and other Alabama Class members have been
15   damaged in an amount to be determined at trial.
16                                          COUNT VII
17                VIOLATIONS OF THE ARIZONA CONSUMER FRAUD ACT
18                             (ARIZ. REV. STAT. § 44-1522, ET SEQ.)
                    (Alleged by Plaintiff Palmer on behalf of the Arizona Class)
19
              284. Plaintiffs and the Class reallege and incorporate by reference all
20
     paragraphs as though fully set forth herein.
21
              285. Plaintiff James Palmer (“Plaintiff” for purposes of the Arizona causes of
22
     action) brings this action on behalf of himself and the Arizona Class against all
23
     Defendants.
24
              286. Defendants and Plaintiff are persons within the meaning of the Arizona
25
     Consumer Fraud Act (“Arizona CFA”), Ariz. Rev. Stat. § 44-1521(6).
26
              287. The Class Vehicles are merchandise within the meaning of the Arizona
27
     CFA, Ariz. Rev. Stat. § 44-1521(5).
28

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 1            288. The Arizona CFA provides “[t]he act, use or employment by any person
 2   of any deception, deceptive or unfair act or practice, fraud, false pretense, false
 3   promise, misrepresentation, or concealment, suppression or omission of any material
 4   fact with intent that others rely on such concealment, suppression or omission, in
 5   connection with the sale or advertisement of any merchandise whether or not any
 6   person has in fact been misled, deceived or damaged thereby, is declared to be an
 7   unlawful practice.” Ariz. Rev. Stat. § 44-1522(A).
 8            289. Defendants, by the conduct, statements, and omissions described herein,
 9   made material misrepresentations and omissions regarding the nature and existence of
10   the Engine Failure Defect, including that Class Vehicles contain the Defect (and the
11   costs, safety risks, and diminished value of the vehicles arising therefrom), in
12   connection with the sale or advertisement of the Class Vehicles to Plaintiff and the
13   Arizona Class.
14            290. With the intent that purchasers such as Plaintiff and Arizona Class
15   members rely on Defendants’ omissions, Defendants failed to disclose and in fact
16   concealed from Plaintiff and the Arizona Class the nature and existence of the Engine
17   Failure Defect.
18            291. Defendants’ misrepresentations and omissions regarding the Engine
19   Failure Defect described herein were material.
20            292. Plaintiff could not have discovered the existence of the Engine Failure
21   Defect, or Defendants’ deception and responsibility for the Engine Failure Defect,
22   until shortly before this class action was commenced.
23            293. Defendants’ conduct described herein proximately caused harm to
24   Plaintiff and the Arizona Class. Had Plaintiff and the Arizona Class known about the
25   defective nature of the Class Vehicles, they would not have purchased the Class
26   Vehicles, would have paid less for them, or would have avoided the extensive repair
27   costs and serious safety issues associated therewith.
28

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 1                                          COUNT VIII
 2   BREACH OF ARIZONA’S IMPLIED WARRANTY OF MERCHANTABILITY
 3                   (ARIZ. REV. STAT. §§ 47-2314; 47-2A212)
            (Alleged by Plaintiff Palmer on behalf of the Arizona Class)
 4
              294. Plaintiffs and the Class reallege and incorporate by reference all
 5
     paragraphs as though fully set forth herein.
 6
              295. Plaintiff James Palmer brings this action on behalf of himself and the
 7
     Arizona Class against all Defendants.
 8
              296. Defendants are “merchants” and “sellers” of motor vehicles, and the
 9
     Class Vehicles are “goods” under Arizona law.
10
              297. Under Arizona law, an implied warranty of merchantability attaches to
11
     the Class Vehicles under Ariz. Rev. Stat §§ 47-2314 and 47-2A212.
12
              298. The Class Vehicles were not merchantable when sold or leased because
13
     the engines of the Class Vehicles are prone to premature and catastrophic failure and
14
     pose an unreasonable risk of non-collision engine failures and engine fires due to the
15
     Engine Failure Defect described herein.
16
              299. Plaintiff and the other Arizona Class members are third-party
17
     beneficiaries of Defendants’ implied warranty.
18
              300. As a direct and proximate result of Defendants’ breach of the implied
19
     warranty of merchantability, Plaintiff and other Arizona Class members have been
20
     damaged in an amount to be determined at trial.
21
                                             COUNT IX
22
      VIOLATIONS OF THE CONNECTICUT UNFAIR TRADE PRACTICES ACT
23                       (Conn. Gen. Stat. §§ 42-110a et seq.)
           (Alleged by Plaintiff Frazier on behalf of the Connecticut Class)
24
              301. Plaintiffs and the Class incorporate by reference each preceding
25
     paragraph as though fully set forth herein.
26

27

28

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 1            302. Plaintiff Brian Frazier (“Plaintiff” for purposes of the Connecticut causes
 2   of action) brings this count individually and on behalf of the other members of the
 3   Connecticut Class.
 4            303. The Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. §§ 42-
 5   110a, et seq., prohibits “engag[ing] in unfair methods of competition and unfair or
 6   deceptive acts or practices in the conduct of any trade or commerce.”
 7            304. By the conduct described in detail above and incorporated herein,
 8   Defendants engaged in deceptive trade practices.
 9            305. Defendants were provided notice of the Engine Failure Defect through
10   numerous complaints filed against them directly and through their dealers, as well as
11   their own internal engineering knowledge.
12            306. Defendants’ omissions regarding the Engine Failure Defect, described
13   above, which causes catastrophic engine failure or fire, are material facts that a
14   reasonable person would have considered in deciding whether or not to purchase (or
15   pay the same price for) the Class Vehicles.
16            307. Defendants intended for Plaintiff and the other Connecticut Class
17   members to rely on Defendants’ omissions regarding the Engine Failure Defect.
18            308. Plaintiff and the other Connecticut Class members justifiably acted or
19   relied to their detriment upon Defendants’ omissions of fact concerning the above-
20   described Engine Failure Defect, as evidenced by Plaintiff and the other Connecticut
21   Class members’ purchases of Class Vehicles.
22            309. Had Defendants disclosed all material information regarding the Engine
23   Failure Defect to Plaintiff and the other Connecticut Class members, Plaintiff and the
24   other Connecticut Class members would not have purchased or leased Class Vehicles
25   or would have paid less to do so.
26            310. Defendants’ omissions have deceived Plaintiff, and those same business
27   practices have deceived or are likely to deceive members of the consuming public and
28   the other members of the Connecticut Class.
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 1            311. As a direct and proximate result of Defendants’ deceptive trade practices,
 2   Plaintiff and the other Connecticut Class members have suffered ascertainable loss and
 3   actual damages. Plaintiff and the other Connecticut Class members who purchased or
 4   leased the Class Vehicles would not have purchased or leased the Class Vehicles, or,
 5   alternatively, would have paid less for them had the truth about the Engine Failure
 6   Defect been disclosed. Plaintiff and other Connecticut Class members also suffered
 7   diminished value of their vehicles. Plaintiff and the other Connecticut Class members
 8   are entitled to recover the actual damages, attorneys’ fees and costs, and all other relief
 9   allowed under Conn. Gen. Stat. §§ 42-110a, et seq.
10                                           COUNT X
11                BREACH OF CONNECTICUT’S IMPLIED WARRANTY OF
                                       MERCHANTABILITY
12                        (Conn. Gen. Stat. §§ 42a-2-314 and 42a-2a-504)
13                (Alleged by Plaintiff Frazier on behalf of the Connecticut Class)

14            312. Plaintiffs and the Class incorporate by reference each preceding

15   paragraph as though fully set forth herein.

16            313. Plaintiff Brian Frazier brings this count individually and on behalf of the

17   other members of the Connecticut Class.

18            314. Defendants are and were at all relevant times “merchants” with respect to

19   motor vehicles under C.G.S.A. §§ 42a-2-104 and 42a-2a-501.

20            315. Pursuant to C.G.S.A. §§ 42a-2-314 and 42a-2a-504, a warranty that the

21   Class Vehicles were in merchantable condition was implied by law, and the Class

22   Vehicles were bought and sold subject to an implied warranty of merchantability.

23            316. The Class Vehicles did not comply with the implied warranty of

24   merchantability because, at the time of sale and at all times thereafter, they were

25   defective and no in merchantable condition, would not pass without objection in the

26   trade, and were not fit for the ordinary purpose for which vehicles were used.

27   Specifically, the Class Vehicles suffer from the Engine Failure Defect which causes

28   the Class Vehicles’ to catastrophically fail or catch fire.

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 1            317. Defendants were provided notice of the Engine Failure Defect through
 2   numerous complaints filed with NHTSA and warranty claims made through their
 3   dealers, as well as their own internal engineering knowledge. And after his car was
 4   totaled, Plaintiff submitted a written request for reimbursement to KA, which declined
 5   to compensate Plaintiff or acknowledge fault. In addition, and in the alternative, a
 6   notice letter would have been futile under the circumstances because Plaintiff’s
 7   vehicle was irreparably destroyed by the engine fire, making any cure impossible.
 8            318. Plaintiff and the other Connecticut Class members suffered injuries due to
 9   the defective nature of the Class Vehicles and Defendants’ breach of the implied
10   warranty of merchantability.
11            319. As a direct and proximate result of Defendants’ breach of the implied
12   warranty of merchantability, Plaintiff and the other Connecticut Class members have
13   been damaged in an amount to be proven at trial.
14                                           COUNT XI
15       VIOLATIONS OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
16                                   PRACTICES ACT
                               (FLA. STAT. § 501. 201, ET SEQ.)
17    (Alleged by Plaintiffs Gagas, Caro, and Carpenter on behalf of the Florida Class)
18            320. Plaintiffs and the Class reallege and incorporate by reference all
19   paragraphs as though fully set forth herein.
20            321. Plaintiffs Ashley Gagas, John Caro, and James Carpenter (“Plaintiffs” for
21   purposes of the Florida causes of action) bring this action on behalf of themselves and
22   the Florida Class against all Defendants.
23            322. Plaintiffs and the Florida Class members are consumers within the
24   meaning of Fla. Stat. § 501.203(7).
25            323. At all relevant times, Defendants were engaged in trade or commerce
26   within the meaning of Fla. Stat. § 501.203(8).
27            324. The purpose of the Florida Deceptive and Unfair Trade Practices Act
28   (“Florida DUTPA”), Fla. Stat. § 501.201, et seq., is to “protect the consuming public .
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 1   . . from those who engage in unfair methods of competition, or unconscionable,
 2   deceptive or unfair acts or practice in the conduct of any trade or commerce.” Fla.
 3   Stat. § 501.202(2).
 4            325. The Florida DUTPA prohibits “[u]nfair methods of competition,
 5   unconscionable acts or practices, and unfair or deceptive acts or practices in the
 6   conduct of any trade or commerce.” Fla. Stat. § 501.204(1).
 7            326. Defendants engaged in an unfair and deceptive act or practice by
 8   knowingly concealing, suppressing, and omitting the Engine Failure Defect in the
 9   Class Vehicles from consumers, and this deception was likely to mislead a consumer
10   acting reasonably in the circumstances. The existence of the Engine Failure Defect is
11   material to a reasonable consumer in that it renders the Class Vehicles unsafe and
12   unusable, leads to thousands of dollars in repair expenses, and causes the Class
13   Vehicles to be worth substantially less than they would otherwise.
14            327. Defendants engaged in an act or practice concerning the Engine Failure
15   Defect and the Class Vehicles that is unfair because it causes or is likely to cause
16   substantial injury to consumers which is not reasonably avoidable by consumers and
17   not outweighed by countervailing benefits to consumers or competition.
18            328. Defendants have engaged in unfair and deceptive trade practices,
19   including representing that the Class Vehicles have characteristics, uses, benefits, and
20   qualities which they do not have; representing that the Class Vehicles are of a
21   particular standard and quality when they are not; advertising the Class Vehicles with
22   the intent to not sell them as advertised; and otherwise engaging in conduct likely to
23   deceive. Further, Defendants’ acts and practices described herein offend established
24   public policy because the harm caused consumers outweighs any benefit associated
25   with such practices, and because Defendants fraudulently concealed the defective
26   nature of the Class Vehicles from consumers.
27            329. As a direct and proximate result of Defendants’ unlawful conduct,
28   Plaintiffs and the Florida Class members have suffered monetary harm because they
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 1   purchased Class Vehicles they otherwise would not have, overpaid for their Class
 2   Vehicles, did not receive the benefit of their bargain, incurred out-of-pocket costs
 3   related to engine failures, and their Class Vehicles lost value. Meanwhile, Defendants
 4   have sold more Class Vehicles than they otherwise could have and charged inflated
 5   prices for the Class Vehicles, thereby unjustly enriching themselves.
 6            330. Under Fla. Stat. § 501.211, Plaintiffs and the Florida State Class members
 7   are entitled to damages, declaratory judgment, and equitable relief, including
 8   restitutionary disgorgement of all profits accruing to Defendants because of their
 9   deceptive practices, and an order requiring Defendants to adequately disclose and
10   repair the Engine Failure Defect.
11                                          COUNT XII
12    BREACH OF FLORIDA’S IMPLIED WARRANTY OF MERCHANTABILITY
13                         (F.S.A. §§ 672.314; 680.212)
                       (Alleged by Plaintiffs Gagas, Caro,
14                and Carpenter on behalf of the Florida Class)
15            331. Plaintiffs and the Class reallege and incorporate by reference all
16   paragraphs as though fully set forth herein.
17            332. Plaintiffs Ashley Gagas, John Caro, and James Carpenter bring this action
18   on behalf of themselves and the Florida Class against all Defendants.
19            333. Defendants are “merchants” and “sellers” of motor vehicles, and the
20   Class Vehicles are “goods” under Florida law.
21            334. Under Florida law, an implied warranty of merchantability attaches to the
22   Class Vehicles under F.S.A. §§ 672.314 and 680.212.
23            335. The Class Vehicles were not merchantable when sold or leased because
24   the engines of the Class Vehicles are prone to premature and catastrophic failure and
25   pose an unreasonable risk of non-collision engine failures and engine fires due to the
26   Engine Failure Defect as described herein.
27            336. Plaintiffs and the other Florida Class members are third-party
28   beneficiaries of Defendants’ implied warranty.
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 1            337. As a direct and proximate result of Defendants’ breach of the implied
 2   warranty of merchantability, Plaintiffs and other Florida Class members have been
 3   damaged in an amount to be determined at trial.
 4                                          COUNT XIII
 5        VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
 6                        (GA. CODE ANN. § 10-1-390, ET SEQ.)
              (Alleged by Plaintiff Martino on behalf of the Georgia Class)
 7
              338. Plaintiffs and the Class reallege and incorporate by reference all
 8
     paragraphs as though fully set forth herein.
 9
              339. Plaintiff James Martino (“Plaintiff” for purposes of the Georgia causes of
10
     action) brings this action on behalf of themself and the Georgia Class against all
11
     Defendants.
12
              340. The Georgia Fair Business Practices Act (“Georgia FBPA”) declares
13
     “[u]nfair or deceptive acts or practices in the conduct of consumer transactions and
14
     consumer acts or practices in trade or commerce” to be unlawful, Ga. Code. Ann. §
15
     10-1-393(a), including but not limited to “representing that goods or services have
16
     sponsorship, approval, characteristics, ingredients, uses, benefits, or quantities that
17
     they do not have,” “[r]epresenting that goods or services are of a particular standard,
18
     quality, or grade … if they are of another,” and “[a]dvertising goods or services with
19
     intent not to sell them as advertised.” Ga. Code. Ann. § 10-1-393(b).
20
              341. Defendants engaged in unfair and deceptive acts in violation of the
21
     Georgia FBPA by concealing the Engine Failure Defect in the Class Vehicles from
22
     Plaintiff and the Georgia Class members, and this deception was likely to mislead
23
     consumers acting reasonably under the circumstances.
24
              342. Plaintiff and the Georgia Class members justifiably relied on Defendants’
25
     unfair and deceptive acts in purchasing or leasing their Class Vehicles. The facts
26
     concealed or not disclosed by Defendants to Plaintiff and the Georgia Class members
27
     are material in that a reasonable consumer would have considered them to be
28

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 1   important in deciding whether to purchase Defendants’ Class Vehicles or pay a lesser
 2   price. Had Plaintiff and the Georgia Class known about the defective nature of the
 3   Class Vehicles, they would not have purchased the Class Vehicles, would have paid
 4   less for them, and would have avoided the extensive repair costs associated therewith.
 5            343. Defendants engaged in a deceptive act or practice that is unfair because it
 6   causes or is likely to cause substantial injury to consumers which is not reasonably
 7   avoidable by consumers and not outweighed by countervailing benefits to consumers
 8   or competition.
 9            344. Defendants’ unfair and deceptive acts and practices described herein
10   directly and proximately caused harm, including monetary loss, to Plaintiff and the
11   Georgia Class. Had Plaintiff and the Georgia Class known about the Engine Failure
12   Defect, they would not have purchased the Class Vehicles, would have paid less for
13   them, or would have avoided the extensive repair costs and serious safety issues
14   associated therewith.
15            345. More than thirty days prior to the commencement of this action, on
16   several occasions, Plaintiff wrote Defendants and demanded they rectify the problems
17   with his vehicle. Defendants failed to do so.
18                                          COUNT XIV
19                               VIOLATIONS OF THE GEORGIA
20                      UNIFORM DECEPTIVE TRADE PRACTICES ACT
                                    (GA. CODE ANN. § 10-1-371(5))
21                   (Alleged by Plaintiff Martino on behalf of the Georgia Class)
22            346. Plaintiffs and the Class reallege and incorporate by reference all
23   paragraphs as though fully set forth herein.
24            347. Plaintiff James Martino brings this action on behalf of themself and the
25   Georgia Class against all Defendants.
26            348. Defendants and Plaintiff are persons within the meaning of Georgia
27   Uniform Deceptive Trade Practices Act (“Georgia UDTPA”), Ga. Code Ann. § 10-1-
28   371(5).
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 1            349. The Georgia UDTPA prohibits “deceptive trade practices,” which include
 2   the “misrepresentation of standard or quality of goods or services,” and “engaging in
 3   any other conduct which similarly creates a likelihood of confusion or of
 4   misunderstanding.” Ga. Code. Ann. § 10-1-372(a).
 5            350. Defendants engaged in “deceptive trade practices” and “misrepresented
 6   the standard and quality of goods” in violation of the Georgia UDTPA by engaging in
 7   the practices described herein, and by knowingly and intentionally concealing the
 8   Engine Failure Defect from Plaintiff and the Georgia Class members.
 9            351. In the course of its business, Defendants concealed the Engine Failure
10   Defect in the Class Vehicles as described herein and otherwise engaged in activities
11   with a tendency or capacity to deceive. Defendants also engaged in unlawful trade
12   practices by employing deception, deceptive acts or practices, fraud,
13   misrepresentations, or concealment, suppression or omission of any material fact with
14   intent that others rely upon such concealment, suppression or omission, in connection
15   with the sale of the Class Vehicles.
16            352. The facts concealed or not disclosed by Defendants to Plaintiff and the
17   Georgia Class members are material in that a reasonable consumer would have
18   considered them important in deciding whether to purchase Defendants’ Class
19   Vehicles or pay a lesser price. Had Plaintiff and the Georgia Class known about the
20   defective nature of the Class Vehicles, they would not have purchased the Class
21   Vehicles, would have paid less for them, or would have avoided the extensive repair
22   costs associated therewith.
23            353. By failing to disclose and by actively concealing the Engine Failure
24   Defect from Plaintiff and the Georgia Class members, which Defendants marketed as
25   safe, reliable, and of high quality, Defendants engaged in unfair and deceptive
26   business practices in violation of the Georgia UDTPA.
27

28

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 1            354. New GM’s unfair or deceptive acts or practices were likely to and did in
 2   fact deceive reasonable consumers, including Plaintiff, about the true safety and
 3   reliability of their vehicles.
 4            355. Defendants’ deceptive acts and practices described herein directly and
 5   proximately caused ascertainable harm, including monetary loss, to Plaintiff and the
 6   Georgia Class.
 7            356. Defendants should be enjoined from the deceptive acts and practices
 8   described herein; ordered to recall and repair the Class Vehicles; and ordered to make
 9   restitutionary disgorgement to Plaintiff and the Georgia Class.
10                                          COUNT XV
11   BREACH OF GEORGIA’S IMPLIED WARRANTY OF MERCHANTABILITY
12                    (GA. CODE ANN. §§ 11-2-314; 11-2A-212)
            (Alleged by Plaintiff Martino on behalf of the Georgia Class)
13
              357. Plaintiffs and the Class reallege and incorporate by reference all
14
     paragraphs as though fully set forth herein.
15
              358. Plaintiff James Martino brings this action on behalf of himself and the
16
     Georgia Class against all Defendants.
17
              359. Defendants are “merchants” and “sellers” of motor vehicles, and the
18
     Class Vehicles are “goods” under Georgia law.
19
              360. Under Georgia law, an implied warranty of merchantability attaches to
20
     the Class Vehicles under Ga. Code Ann. §§ 11-2-314; 11-2A-212.
21
              361. The Class Vehicles were not merchantable when sold or leased because
22
     the engines of the Class Vehicles are prone to premature and catastrophic failure, and
23
     pose an unreasonable risk of non-collision engine failures and engine fires due to the
24
     Engine Failure Defect described herein.
25
              362. Plaintiff and the other Georgia Class members are third-party
26
     beneficiaries of Defendants’ implied warranty.
27

28

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 1            363. As a direct and proximate result of Defendants’ breach of the implied
 2   warranty of merchantability, Plaintiff and other Georgia Class members have been
 3   damaged in an amount to be determined at trial.
 4                                          COUNT XVI
 5        VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
 6                    (MD. CODE ANN. COM. LAW § 13-101, ET SEQ.)
               (Alleged by Plaintiff Moon on behalf of the Maryland Class)
 7
              364. Plaintiffs and the Class reallege and incorporate by reference all
 8
     paragraphs as though fully set forth herein.
 9
              365. Plaintiff Sharon Moon (“Plaintiff” for purposes of the Maryland causes of
10
     action) brings this action on behalf of themself and the Maryland Class against all
11
     Defendants.
12
              366. Defendants and Plaintiff are persons within the meaning of Md. Code
13
     Ann. Com. Law § 13-101(h).
14
              367. Unfair, abusive, or deceptive trade practices under the Maryland
15
     Consumer Protection Act (“Maryland CPA”) include any “(1) False, falsely
16
     disparaging, or misleading oral or written statement, visual description, or other
17
     representation of any kind which has the capacity, tendency, or effect of deceiving or
18
     misleading consumers; (2) Representation that: (i) Consumer goods…have a
19
     sponsorship, approval, accessory, characteristic, ingredient, use, benefit, or quantity
20
     which they do not have; … (iv) Consumer goods…are of a particular standard, quality,
21
     grade, style, or model which they are not; (3) Failure to state a material fact if the
22
     failure deceives or tends to deceive; … (5) Advertisement or offer of consumer goods,
23
     consumer realty, or consumer services: (i) Without intent to sell, lease, or rent them as
24
     advertised or offered … [and] (9) Deception, fraud, false pretense, false premise,
25
     misrepresentation, or knowing concealment, suppression, or omission of any material
26
     fact with the intent that a consumer rely on the same in connection with: (i) The
27

28

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 1   promotion or sale of any consumer goods, consumer realty, or consumer service…”
 2   Md. Code Ann. Com. Law § 13-101.
 3            368. Defendants engaged in a deceptive and unfair practice regarding the
 4   Engine Failure Defect and the Class Vehicles that was misleading when judged from
 5   the viewpoint of a reasonable but unsophisticated consumer.
 6            369. The Engine Failure Defect in the Class Vehicles, and Defendants’
 7   concealment of the same, is material because a significant number of unsophisticated
 8   consumers, including Plaintiff and the Maryland Class members, would find the
 9   Engine Failure Defect important in determining whether to purchase their vehicle.
10            370. Defendants engaged in an act or practice concerning the Engine Failure
11   Defect and Class Vehicles that is unfair because it causes or is likely to cause
12   substantial injury to consumers which is not reasonably avoidable by consumers and
13   not outweighed by countervailing benefits to consumers or competition.
14            371. Plaintiff could not have discovered the existence of the Engine Failure
15   Defect, or Defendants’ deception and responsibility for the Engine Failure Defect,
16   until shortly before this class action was commenced.
17            372. As a direct and proximate result of Defendants’ violations of the
18   Maryland CPA, Plaintiff and other Maryland Class members suffered ascertainable,
19   monetary loss in the form of out-of-pocket expenses, loss of use, and lost value related
20   to the Class Vehicles. Plaintiff and Maryland Class members also would have paid
21   less for their Class Vehicles or would not have purchased or leased them at all.
22            373. Plaintiff and the Maryland Class seek actual damages, attorneys’ fees,
23   and any other just and proper relief available under the Maryland CPA.
24

25

26

27

28

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 1                                         COUNT XVII
 2                     BREACH OF MARYLAND’S IMPLIED WARRANTY
 3                                   OF MERCHANTABILITY
                               (MD. CODE COM. LAW §§ 2-314; 2A-212)
 4                   (Alleged by Plaintiff Moon on behalf of the Maryland Class)
 5            374. Plaintiffs and the Class reallege and incorporate by reference all
 6   paragraphs as though fully set forth herein.
 7            375. Plaintiff Sharon Moon brings this action on behalf of herself and the
 8   Maryland Class against all Defendants.
 9            376. Defendants are “merchants” and “sellers” of motor vehicles, and the
10   Class Vehicles are “goods” under Maryland law.
11            377. Under Maryland law, an implied warranty of merchantability attaches to
12   the Class Vehicles under Md. Code Com. Law §§ 2-314; 2A-212.
13            378. The Class Vehicles were not merchantable when sold or leased because
14   the engines of the Class Vehicles are prone to premature and catastrophic failure, and
15   pose an unreasonable risk of non-collision engine failures and engine fires due to the
16   Engine Failure Defect described herein.
17            379. As a direct and proximate result of Defendants’ breach of the implied
18   warranty of merchantability, Plaintiff and other Maryland Class members have been
19   damaged in an amount to be determined at trial.
20                                         COUNT XVIII
21         VIOLATIONS OF THE MICHIGAN CONSUMER PROTECTION ACT
22                        (MICH. COMP. LAWS § 445.903, ET SEQ.)
               (Alleged by Plaintiff O’Brien on behalf of the Michigan Class)
23
              380. Plaintiffs and the Class reallege and incorporate by reference all
24
     paragraphs as though fully set forth herein.
25
              381. Plaintiff Janet O’Brien (“Plaintiff” for purposes of the Michigan causes of
26
     action) brings this action on behalf of herself and the Michigan Class against all
27
     Defendants.
28

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 1            382. Defendants, Plaintiff, and the Michigan Class members are persons, and
 2   Defendants were engaged in trade or commerce, within the meaning of the Michigan
 3   Consumer Protection Act (“Michigan CPA”).
 4            383. The Michigan CPA prohibits “Unfair, unconscionable, or deceptive
 5   methods, acts, or practices in the conduct of trade or commerce.” Mich. Comp. Laws §
 6   445.903(1).
 7            384. Prohibited practices include: “(c) representing that goods or services have
 8   … characteristics … that they do not have; … (e) representing that goods or services
 9   are of a particular standard… if they are of another; … (s) failing to reveal a material
10   fact, the omission of which tends to mislead or deceive the consumer, and which fact
11   could not reasonably be known by the consumer; … (bb) making a representation of
12   fact or statement of fact material to the transaction such that a person reasonably
13   believes the represented or suggested state of affairs to be other than it actually is;
14   [and] (cc) failing to reveal facts that are material to the transaction in light of
15   representations of fact made in a positive manner.” Mich. Comp. Laws § 445.911.
16            385. Defendants violated the Michigan CPA because they misrepresented,
17   concealed, and omitted material facts concerning the Class Vehicles, specifically the
18   existence of the Engine Failure Defect. A material fact for purposes of the Michigan
19   CPA is “one that is important to the transaction or affects the consumer’s decision to
20   enter into the transaction.”
21            386. As alleged herein, Defendants made representations of fact concerning
22   the Engine Failure Defect and the Class Vehicles such that a consumer would
23   reasonably believe the represented or suggested state of affairs to be other than it
24   actually is.
25            387. As alleged herein, Defendants omitted facts about the Engine Failure
26   Defect and the Class Vehicles that would tend to mislead or deceive a consumer,
27   including Plaintiff and the Michigan Class, and about which the consumer could not
28   reasonably know.
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 1            388. A reasonable person, including Plaintiff and the Michigan Class, would
 2   rely on Defendants’ representations of fact and omissions.
 3            389. Plaintiff could not have discovered the existence of the Engine Failure
 4   Defect, or Defendants’ deception and responsibility for the Engine Failure Defect,
 5   until shortly before this class action was commenced.
 6            390. Defendants’ conduct alleged herein directly and proximately caused
 7   actual damages and an ascertainable monetary loss to Plaintiff and the Michigan Class.
 8   Had Plaintiff and the members of the Michigan Class known the truth about the
 9   Engine Failure Defect they would not have purchased or leased the vehicles or would
10   have paid significantly less for them. Plaintiff and other Michigan Class members also
11   suffered ascertainable, monetary loss in the form of out-of-pocket expenses, loss of
12   use, and lost value related to the Class Vehicles.
13            391. Plaintiff and the Michigan Class seek monetary relief against Defendants
14   in the greater amount of actual damages or statutory damages in the amount of $250.
15   Plaintiff and the Michigan Class also seek an order enjoining Defendants’ unlawful
16   practices and any other just and proper relief available under the Michigan CPA.
17                                          COUNT XIX
18                      BREACH OF MICHIGAN’S IMPLIED WARRANTY
19                                   OF MERCHANTABILITY
                             (MICH. COMP. LAWS §§ 440.2314; 440.2860)
20                  (Alleged by Plaintiff O’Brien on behalf of the Michigan Class)
21            392. Plaintiffs and the Class reallege and incorporate by reference all
22   paragraphs as though fully set forth herein.
23            393. Plaintiff Janet O’Brien brings this action on behalf of herself and the
24   Michigan Class against all Defendants.
25            394. Defendants are “merchants” and “sellers” of motor vehicles, and the
26   Class Vehicles are “goods” under Michigan law.
27            395. Under Michigan law, an implied warranty of merchantability attaches to
28   the Class Vehicles under Mich. Comp. Laws §§ 440. 2314; 440.2862.
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 1            396. The Class Vehicles were not merchantable when sold or leased because
 2   the engines of the Class Vehicles are prone to premature and catastrophic failure, and
 3   pose an unreasonable risk of non-collision engine failures and engine fires due to the
 4   Engine Failure Defect described herein.
 5            397. As a direct and proximate result of Defendants’ breach of the implied
 6   warranty of merchantability, Plaintiff and other Michigan Class members have been
 7   damaged in an amount to be determined at trial.
 8                                          COUNT XX
 9       VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT
                            (Mo. Rev. Stat. §§ 407.010 et seq.)
10            (Alleged by Plaintiff Carduff on behalf of the Missouri Class)
11
              398. Plaintiffs and the Class incorporate by reference each preceding
12
     paragraph as though fully set forth herein.
13
              399. Plaintiff Tavish Carduff (“Plaintiff” for purposes of the Missouri causes
14
     of action) brings this Count on behalf of herself and the Missouri Class against all
15
     Defendants.
16
              400. Defendants, Plaintiff, and Class members are “persons” under the
17
     meaning of Mo. Rev. Stat. § 407.010(5).
18
              401. Defendants were engaged in “trade” or “commerce” within the meaning
19
     of Mo. Rev. Stat. § 407.010(7).
20
              402. Class Vehicles are “merchandise” within the meaning of Mo. Rev. Stat. §
21
     407.010(4).
22
              403. The Missouri Merchandising Practices Act prohibits “deception, fraud,
23
     false pretense, false promise, misrepresentation, unfair practice or the concealment,
24
     suppression, or omission of any material fact in connection with the sale or
25
     advertisement of any merchandise in trade or commerce.” Mo. Rev. Stat. § 407.020.
26
              404. Defendants concealed Class Vehicles’ defective engines that made them
27
     unsafe to drive. Defendants did not tell Plaintiff and Missouri Class members about
28
     the Engine Failure Defects. Even when Defendants announced recalls for certain Class
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 1   Vehicles, Defendants continued to conceal the Engine Failure Defects in others and
 2   concealed that the recall did not address the root cause of the problem.
 3            405. Defendants violated the Missouri MPA by, at minimum, representing that
 4   the Class Vehicles have characteristics, uses, benefits, and qualities which they do not
 5   have; representing that the Class Vehicles are of a particular standard and quality
 6   when they are not; advertising the Class Vehicles with the intent not to sell them as
 7   advertised; and omitting material facts in describing the Class Vehicles.
 8            406. Defendants’ acts and practices, as described throughout this Complaint,
 9   constitute violations of Mo. Rev. Stat. § 407.020(1).
10            407. Defendants intentionally and knowingly misrepresented material facts
11   regarding the Class Vehicles with the intent to mislead Plaintiff and the Missouri
12   Class.
13            408. Defendants knew or should have known that their conducted violated the
14   Missouri MPA.
15            409. Defendants’ fraudulent concealment of the true characteristics of Class
16   Vehicles’ Engine Failure Defect were material to Plaintiff and Missouri Class
17   members.
18            410. Defendants’ violations present a continuing risk to Plaintiff as well as to
19   the general public. Defendants’ unlawful acts and practices complained of herein
20   affect the public interest.
21            411. Defendants had an ongoing duty to their customers to refrain from unfair
22   and deceptive practices under the Missouri MPA. All owners of Class Vehicles
23   suffered ascertainable loss in the form of the diminished value of their vehicles as a
24   result of Defendants’ deceptive and unfair acts and practices made in the course of
25   Defendants’ business.
26            412. Plaintiff repeatedly voiced concerns about the vehicle to the dealership
27   from which she purchased the vehicle. She also paid out of pocket for a tow to Oakes
28   Kia for repair, where the service department informed her that the vehicle required a
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 1   new engine and catalytic converter to be drivable. KA offered to pay for $3,000
 2   toward the engine replacement, but only if Plaintiff and her husband signed a broad
 3   release of all potential legal claims. Plaintiff refused to sign the release and has paid
 4   approximately $9,712.94 out of pocket for these repairs to date.
 5            413. As a direct and proximate result of Defendants’ violations of the Missouri
 6   MPA, Plaintiff and the Missouri Class have suffered injury-in-fact and/or actual
 7   damage.
 8            414. Pursuant to Mo. Rev. Stat. § 407.025, Plaintiff and the Missouri Class
 9   seek actual damages, attorneys’ fees, punitive damages, restitution, civil penalties, and
10   any other relief available under the Missouri MPA that the Court deems just and
11   proper.
12                                          COUNT XXI
13                    BREACH OF MISSOURI’S IMPLIED WARRANTY OF
                                       MERCHANTABILITY
14                              (Mo. Rev. Stat. §§ 407.2–314 et seq.)
15                  (Alleged by Plaintiff Carduff on behalf of the Missouri Class)

16            415. Plaintiffs incorporate by reference each preceding paragraph as though

17   fully set forth herein.

18            416. Plaintiff Tavish Carduff brings this Count on behalf of herself and the

19   Missouri Class against all Defendants.

20            417. Defendants are and were at all relevant times “merchants” with respect to

21   motor vehicles under Mo. Rev. Stat. § 407.2–104, and “sellers” of motor vehicles

22   under § 407.2–103(1)(d).

23            418. The Class Vehicles were at all relevant times “goods” within the meaning

24   of Mo. Rev. Stat. §§ 407.2–105.

25            419. A warranty that the Class Vehicles were in merchantable condition and fit

26   for the ordinary purpose for which vehicles are used is implied by law pursuant to §§

27   407.2–314.

28

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 1            420. Defendants sold and/or leased Class Vehicles that they knew were not in
 2   merchantable condition and/or fit for the ordinary purpose for which they were sold—
 3   namely, providing safe and reliable transportation. Defendants did not disclose their
 4   knowledge that Class Vehicles were not in merchantable condition and/or fit for the
 5   ordinary purpose for which they were sold, in order to induce Plaintiff and Missouri
 6   Class members to purchase Class Vehicles.
 7            421. Plaintiff repeatedly voiced concerns about the vehicle to the dealership
 8   from which she purchased the vehicle. She also paid out of pocket for a tow to Oakes
 9   Kia for repair, where the service department informed her that the vehicle required a
10   new engine and catalytic converter to be drivable. KA offered to pay for $3,000
11   toward the engine replacement, but only if Plaintiff and her husband signed a broad
12   release of all potential legal claims. Plaintiff refused to sign the release and has paid
13   approximately $9,712.94 out of pocket for these repairs to date.
14            422. Defendants’ breach of the implied warranty of merchantability caused
15   damage to Plaintiff and Missouri Class members who purchased or leased the
16   defective vehicles. The amount of damages due will be proven at trial.
17                                         COUNT XXII
18         VIOLATIONS OF THE OHIO CONSUMER SALES PRACTICES ACT
                               (O.R.C. §§ 1345.01, et seq.)
19              (Alleged by Plaintiff Ronfeldt on behalf of the Ohio Class)
20
              423. Plaintiffs and the Class incorporate by reference each preceding
21
     paragraph as though fully set forth herein.
22
              424. Plaintiff Seane Ronfeldt (“Plaintiff” for purposes of the Ohio causes of
23
     action) brings this Count on behalf of himself and the Ohio Class.
24
              425. Plaintiff and the Ohio State Class are “consumers” within the meaning of
25
     Ohio Revised Code §1345.01(A)
26
              426. Defendants are “suppliers” within the meaning of Ohio Revised Code
27
     §1345.01(C).
28

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 1            427. Plaintiff, the Ohio Class, and the Defendants all engaged in a “consumer
 2   transaction” within the meaning of Ohio Revised Code §1345.01(D).
 3            428. The Ohio Consumer Sales Practices Act (“CSPA”) makes it unlawful for
 4   suppliers to “commit an unfair or deceptive act or practice in connection with a
 5   consumer transaction.” O.R.C. § 1345.02, et seq.
 6            429. Defendants violated the CSPA by selling Class Vehicles with the safety-
 7   related Engine Failure Defect making the vehicles prone to catastrophic and sudden
 8   engine failures and stalling at speed, often resulting in fires.
 9            430. Prior to and throughout Plaintiff and the Ohio Class’s purchases and
10   leases of their Defective Vehicles, Defendants engaged in unfair methods of
11   competition and unfair or deceptive acts or practices by, among other things,
12   representing that the defective Class Vehicles had characteristics, uses or benefits that
13   they do not have; that the Class Vehicles were of a particular standard, quality, or
14   grade that they were not; and, that the Class Vehicles were made available to Plaintiff
15   and the Ohio Class for a reason that does not exist. See O.R.C. § 1345.02(B)(1), (2),
16   and (4).
17            431. Additionally, Defendants knowingly made misleading statements and
18   representations with respect to the Class Vehicles (and particularly their defective
19   engines) that Defendants knew Plaintiff and the Ohio Class would likely rely upon in
20   deciding whether to purchase Defendants’ Vehicles. See O.R.C. §1345.03(6).
21            432. In the course of Defendants’ business, they willfully failed to disclose the
22   safety-related Engine Failure Defect in the Class Vehicles as described above.
23   Defendants also actively concealed the Engine Failure Defect when they learned of
24   them. Accordingly, Defendants engaged in unfair and deceptive acts or practices and
25   unconscionable acts or practices.
26            433. Defendants knowingly misrepresented the Class Vehicles as fit for the
27   purpose for which they were intended, when, in fact, Defendants knew the Class
28   Vehicles were unable to perform as advertised.
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 1            434. These acts and practices have deceived Plaintiff and the Ohio Class and
 2   are likely to, and did, deceive the public. In failing to disclose the Engine Failure
 3   Defect in the Class Vehicles and suppressing material facts from Plaintiff and the Ohio
 4   Class members, Defendants breached their duties to disclose these facts.
 5            435. The omissions and acts of concealment by the Defendants pertained to
 6   information that was material to Plaintiff and Ohio Class members, as it would have
 7   been to all reasonable consumers.
 8            436. Defendants knew that their conduct violated the CSPA.
 9            437. Plaintiff and the Ohio Class have suffered injury in fact and actual
10   damages as a direct and proximate result of Defendants’ material omissions and
11   misrepresentations. Had Plaintiff and the Ohio Class known about the Engine Failure
12   Defect in the Class Vehicles, they would not have purchased the Class Vehicles or
13   would have paid less for them.
14            438. Plaintiff and the Ohio Class have suffered actual damages and
15   ascertainable loss as a direct and proximate result of the Defendants’ violations of the
16   CSPA, including but not limited to diminished and or complete lost value for the Class
17   Vehicles they purchased or leased; lost or diminished use, enjoyment and utility of
18   such vehicles; and annoyance, aggravation and inconvenience resulting from
19   Defendants’ violations of the CSPA.
20            439. Pursuant to Ohio Revised Code § 1345.09, for each violation of the
21   CSPA, Plaintiff and the Ohio Class members seek the actual damages resulting from
22   each such violation, plus an amount not exceeding five thousand dollars in
23   noneconomic damages, together with equitable relief as determined by the Court to be
24   proper. Specifically, Plaintiff and the Ohio Class ask the Court to enjoin the
25   Defendants from further unfair or deceptive acts or practices; to order that Defendants
26   return all amounts that Plaintiff and the Ohio Class paid to Defendants for purchase
27   and/or lease of the Class Vehicles; to award attorneys’ fees and costs against the
28   Defendants; to assess punitive damages as the Court finds just and proper to punish
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 1   Defendants for their willful, intentional and malicious plans to deceive, defraud and
 2   injure Plaintiff and the Ohio Class; and to order any other just and proper relief
 3   available under the CSPA.
 4                                          COUNT XXIII
 5                     VIOLATIONS OF OHIO’S IMPLIED WARRANTY OF
                                        MERCHANTABILITY
 6                                  (O.R.C. §§ 1302.27 and 1310.19)
 7                     (Alleged by Plaintiff Ronfeldt on behalf of the Ohio Class)

 8            440. Plaintiffs and the Class incorporate by reference each preceding

 9   paragraph as though fully set forth herein.

10            441. Plaintiff Seane Ronfeldt brings this Count on behalf of himself and the

11   Ohio Class.

12            442. The Defendants are and were at all relevant times “merchants” with

13   respect to motor vehicles under Ohio Rev. Code §§ 1302.01(5) and 1310.01(A)(20),

14   and “sellers” of motor vehicles under Ohio Rev. Code § 1302.01(4).

15            443. With respect to leases, the Defendants are and were at all relevant times

16   “lessors” of motor vehicles under Ohio Rev. Code § 13.10.01(A)(20).

17            444. The Class Vehicles are and were at all relevant times “goods” within the

18   meaning of Ohio Rev. Code §§ 1302.01(8) and 1310.01(A)(8).

19            445. A warranty that the Class Vehicles were in merchantable condition and fit

20   for the ordinary purpose for which vehicles are used is implied by law pursuant to

21   Ohio Rev. Code §§ 1302.27 and 1310.19.

22            446. Defendants, and in particular KA, transacted business through its flagship

23   dealer in Northwest Ohio, Taylor Kia of Toledo.

24            447. On information and belief, through the operation of KA’s contracts and

25   agreements, and through day-to-day operational practices, Taylor Kia of Toledo

26   operated under the guidance of, and acted primarily for the benefit of, the Kia

27   Defendants.

28

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 1            448. At all times relevant to this Complaint with respect to Plaintiff—
 2   including both at the time of purchase and after the engine failure, particularly
 3   including the denial of responsibility to repair, replace, or reimburse for the engine
 4   failure—Taylor Kia of Toledo acted to the benefit of the Kia Defendants.
 5            449. Defendant KA solely made the decision to deny warranty coverage to
 6   repair, replace, or reimburse for Plaintiff’s defective failed engine.
 7            450. These Class Vehicles, when sold or leased and at all times thereafter,
 8   were not in merchantable condition and were not and are not fit for the ordinary
 9   purpose for which vehicles are used. Specifically, the Class Vehicles are inherently
10   defective in that they contain engines that are prone to sudden catastrophic failure
11   and/or fires, rendering the vehicles unreliable, highly dangerous, and unfit to drive.
12            451. Defendants were provided notice of the Engine Failure Defect through
13   numerous consumer complaints and incident reports over the years, specifically
14   pertaining to the engines in the Class Vehicles, but also those relating to similar
15   gasoline direct injection engines manufactured by Defendants for their other vehicles,
16   and Defendants ignored, denied and concealed the dangerous Engine Failure Defect
17   for years prior to taking any action or issuing any recalls that may (or may not)
18   address the defect.
19            452. As a direct and proximate result of the Defendants’ breach of the implied
20   warranty of merchantability, Plaintiff and the Ohio Class members have been
21   damaged in an amount to be proven at trial.
22                                        COUNT XXIV
23      VIOLATIONS OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE
                                TRADE PRACTICES ACT
24                          (N.C. Gen. Stat. §§ 75-1.1, et seq.)
25         (Alleged by Plaintiff Pressley on behalf of the North Carolina Class)

26            453. Plaintiffs and the Class incorporate each preceding paragraph as though

27   fully set forth herein.

28

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 1            454. Plaintiff William Pressley (“Plaintiff” for purposes of the North Carolina
 2   causes of action) brings this Count individually and on behalf of the other members of
 3   the North Carolina Class.
 4            455. Defendants engaged in unlawful, unfair, and deceptive trade practices in
 5   violation of the North Carolina Unfair and Deceptive Trade Practices Act by
 6   advertising, selling, and warranting the defective Class Vehicles.
 7            456. Defendants knew that the Class Vehicles suffered from the Engine
 8   Failure Defect that results in catastrophic engine failure, stalling, and fires.
 9            457. In advertising, selling, and warranting the Class Vehicles, Defendants
10   omitted material facts concerning the Engine Failure Defect that results in catastrophic
11   engine failure, stalling, and fires. Defendants failed to give Plaintiff and the other
12   North Carolina Class members sufficient notice or warning regarding this Defect.
13            458. Defendants intended that Plaintiff and the other North Carolina Class
14   members rely upon Defendants’ omissions when purchasing vehicles containing the
15   2.0-liter “Nu” Engines.
16            459. Plaintiff and the other North Carolina Class members were deceived by
17   Defendants’ concealment of the Engine Failure Defect.
18            460. Defendants’ conduct was in commerce and affected commerce.
19            461. As a direct and proximate result of these unfair, willful, unconscionable,
20   and deceptive commercial practices, Plaintiff and the other North Carolina Class
21   members have been damaged and are entitled to recover actual and treble damages, as
22   well as attorneys’ fees and costs, and all other relief allowed under N.C. Gen. Stat §§
23   75-16 and 75-16.1.
24

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 1                                         COUNT XXV
 2             BREACH OF NORTH CAROLINA’S IMPLIED WARRANTY OF
                                      MERCHANTABILITY
 3                         (N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212)
 4             (Alleged by Plaintiff Pressley on behalf of the North Carolina Class)

 5            462. Plaintiffs and the Class incorporate each preceding paragraph as though

 6   fully set forth herein.

 7            463. Plaintiff William Pressley brings this Count individually and on behalf of

 8   the other members of the North Carolina Class.

 9            464. Defendants are and were at all relevant times a merchant with respect to

10   motor vehicles under N.C. Gen Stat. § 25-2-314 and 25-2A-212.

11            465. Pursuant to N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212, a warranty that

12   the Class Vehicles were in merchantable condition was implied by law, and the Class

13   Vehicles were bought and sold subject to an implied warranty of merchantability.

14            466. The Class Vehicles did not comply with the implied warranty of

15   merchantability because, at the time of sale and at all times thereafter, they were

16   defective and not in merchantable condition, would not pass without objection in the

17   trade, and were not fit for the ordinary purpose for which vehicles were used.

18   Specifically, the Class Vehicles suffer from the Engine Failure Defect which causes

19   catastrophic engine failure, stalling, and fires.

20            467. Plaintiff and the other North Carolina Class members suffered injuries

21   due to the defective nature of the Class Vehicles and Defendant’s breach of the

22   warranty of merchantability.

23            468. Defendants were provided notice of the Engine Failure Defect through

24   numerous complaints filed against them directly and through their dealers, as well as

25   their own internal engineering knowledge. In addition, and in the alternative, the

26   notice letter would have been futile under the circumstances because Plaintiff’s

27   vehicle was irreparably destroyed by the Engine Failure Defect as described above,

28   making any cure impossible.

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 1            469. As a direct and proximate result of Defendant’s breach of the warranty of
 2   merchantability, Plaintiff and the other North Carolina Class members have been
 3   damaged in an amount to be proven at trial.
 4                                         COUNT XXVI
 5      VIOLATIONS OF THE PENNSYLVANIA UNFAIR TRADE PRACTICES
 6                        AND CONSUMER PROTECTION LAW
                                (73 PA. STAT. § 201-1, ET SEQ.)
 7    (Alleged by Plaintiffs DiPardo, DiPardo, and Roos on behalf of the Pennsylvania
                                            Class)
 8
              470. Plaintiffs and the Class reallege and incorporate by reference all
 9
     paragraphs as though fully set forth herein.
10
              471. Plaintiffs Jennifer DiPardo, Anthony DiPardo, and Christina Roos
11
     (“Plaintiffs” for purposes of the Pennsylvania causes of action) bring this action on
12
     behalf of themselves and the Pennsylvania Class against all Defendants.
13
              472. Plaintiffs are natural persons who purchased a Class Vehicle for personal,
14
     family, or household purposes.
15
              473. The Pennsylvania Unfair Trade Practices and Consumer Protection Law
16
     (“PUTPCPL”) prohibits “[u]nfair methods of competition and unfair or deceptive acts
17
     or practices in the conduct of any trade or commerce” as set forth in the statute. 73 Pa.
18
     Stat. § 201-3.
19
              474. As alleged herein, Defendants engaged in unfair and deceptive acts in the
20
     conduct of trade or commerce in violation of the PUTPCPL by knowingly and
21
     intentionally concealing the existence of the Engine Failure Defect in Class Vehicles,
22
     along with the costs, risks, and diminished value of the vehicles as a result of this
23
     Defect, from Plaintiffs and the Pennsylvania Class members. These acts and practices
24
     violate, at a minimum, the following sections of PUTPCPL section 201-2: (4)(ii)
25
     Misrepresenting the source, sponsorship, approval or certification of goods or
26
     services; (4)(v) Representing that goods or services have sponsorship, approval,
27
     characteristics, ingredients, uses, benefits or quantities that they do not have or that a
28

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 1   person has a sponsorship, approval, status, affiliation or connection that he does not
 2   have; (4)(vii) Representing that goods or services are of a particular standard, quality
 3   or grade, or that goods are of a particular style or model, if they are of another; (4)(ix)
 4   Advertising goods and services with intent not to sell them as advertised; and (4)(xxi)
 5   Engaging in any other fraudulent or deceptive conduct which creates a likelihood of
 6   confusion or of misunderstanding.
 7            475. Defendants knew that their Class Vehicles contained the Engine Failure
 8   Defect, could fail prematurely, and were not suitable for their intended use.
 9   Defendants engaged in a deceptive act or practice concerning the Engine Failure
10   Defect and the Class Vehicles that created a likelihood of confusion or
11   misunderstanding. Plaintiffs and the Pennsylvania Class members justifiably relied
12   upon the deception when deciding to purchase their Class Vehicles.
13            476. Defendants owed a duty to Plaintiffs and the Pennsylvania Class
14   members to disclose the defective nature of the Class Vehicles because: (a)
15   Defendants were in a superior position to know the true state of facts about the Defect
16   in the Class Vehicles; (b) Plaintiffs and the Pennsylvania Class members could not
17   reasonably be expected to learn or discover that the Class Vehicles were defective and
18   not in accordance with Defendants’ advertisements and representations; (c) the Engine
19   Failure Defect is a safety related defect; and (d) Defendants knew that Plaintiffs and
20   the Pennsylvania Class members could not reasonably be expected to learn or discover
21   the Engine Failure Defect in the Class Vehicles.
22            477. In failing to disclose the Engine Failure Defect and the associated safety
23   risks and repair costs, Defendants knowingly and intentionally concealed material
24   facts and breached their duty.
25            478. The facts concealed or not disclosed by Defendants to Plaintiffs and the
26   Pennsylvania Class members are material in that a reasonable consumer would have
27   considered them important in deciding whether to purchase Defendants’ Class
28   Vehicles or pay a lesser price.
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 1            479. Defendants’ deceptive acts and practices alleged herein directly and
 2   proximately caused actual damages and an ascertainable monetary loss to Plaintiffs
 3   and the Pennsylvania Class. Had Plaintiffs and the Pennsylvania Class members
 4   known the truth about the Engine Failure Defect they would not have purchased or
 5   leased the vehicles or would have paid significantly less for them. Plaintiffs and other
 6   Pennsylvania Class members also suffered ascertainable, monetary loss in the form of
 7   out-of-pocket expenses, loss of use, and lost value related to the Class Vehicles.
 8            480. Unfair or deceptive acts and practices as defined by the PUTPCPL also
 9   include “[f]ailing to comply with the terms of any written guarantee or warranty given
10   to the buyer at, prior to or after a contract for the purchase of goods or services is
11   made.” 73 Pa. Stat. § 201-2(4)(xiv). Defendants violated the PUTPCPL by refusing to
12   repair the Pennsylvania State Class members’ vehicles, and at no cost to them under
13   the terms of Defendants’ New Vehicle Limited Warranty and Powertrain Warranty
14   applicable to all Class Vehicles.
15            481. Defendants’ failure to honor their warranty terms directly and
16   proximately caused injuries to Plaintiffs and other Pennsylvania Class members. Had
17   Defendants honored their warranties, Plaintiffs and other Pennsylvania Class members
18   would not have incurred substantial repair costs.
19            482. Under 73 Pennsylvania Statutes section 201-9.2, Plaintiffs request the
20   Court grant treble damages.
21                                        COUNT XXVII
22              BREACH OF PENNSYLVANIA’S IMPLIED WARRANTY
23                               OF MERCHANTABILITY
                             (13 PA. CONS. STAT. §§ 2314; 2A212)
24    (Alleged by Plaintiffs DiPardo, DiPardo, and Roos on behalf of the Pennsylvania
                                            Class)
25
              483. Plaintiffs and the Class reallege and incorporate by reference all
26
     paragraphs as though fully set forth herein.
27

28

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 1            484. Plaintiffs Jennifer DiPardo, Anthony DiPardo, and Christina Roos bring
 2   this action on behalf of themselves and the Pennsylvania Class against all Defendants.
 3            485. Defendants are “merchants” and “sellers” of motor vehicles, and the
 4   Class Vehicles are “goods” under Pennsylvania law.
 5            486. Under Pennsylvania law, an implied warranty of merchantability attaches
 6   to the Class Vehicles under 13 Pa. Cons. Stat. §§ 2314; 2A212.
 7            487. The Class Vehicles were not merchantable when sold or leased because
 8   the engines of the Class Vehicles are prone to premature and catastrophic failure and
 9   pose an unreasonable risk of non-collision engine failures and engine fires due to the
10   Engine Failure Defect described herein.
11            488. As a direct and proximate result of Defendants’ breach of the implied
12   warranty of merchantability, Plaintiffs and other Pennsylvania Class members have
13   been damaged in an amount to be determined at trial.
14                                        COUNT XXVIII
15           VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES –
                            CONSUMER PROTECTION ACT
16                       (Tex. Bus. & Com. Code §§ 17.01, et seq.)
17                (Alleged by Plaintiff Smith on behalf of the Texas Class)

18            489. Plaintiffs and the Class incorporate by reference each preceding

19   paragraph as though fully set forth herein.

20            490. Plaintiff Jeannett Smith (“Plaintiff” for purposes of the Texas causes of

21   action) brings this Count individually and on behalf of the other members of the Texas

22   Class.

23            491. The Texas Deceptive Trade Practices—Consumer Protection Act

24   (“TDTPA”) states that it is unlawful to commit “[f]alse, misleading, or deceptive acts

25   or practices in the conduct of any trade or commerce.” Tex. Bus. & Com. Code §

26   17.46.

27            492. By the conduct described in detail above and incorporated herein,

28   Defendants engaged in false, misleading and deceptive trade practices.

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 1            493. Defendants were notified of the Engine Failure Defect by letter sent via
 2   certified mail, return receipt requested on May 1, 2020, on behalf of Plaintiff.
 3   Defendants were also provided notice of the Engine Failure Defect through numerous
 4   complaints filed against them directly and through their dealers, as well as their own
 5   internal engineering knowledge. In addition, and in the alternative, the notice and cure
 6   letter contemplated by Tex. Bus. & Com. Code § 17.505 would have been futile under
 7   the circumstances because Plaintiff’s vehicle was irreparably destroyed by the engine
 8   fire, making any cure impossible.
 9            494. Defendants’ omissions regarding the Engine Failure Defect, described
10   above, that results in Class Vehicles prone to sudden catastrophic engine failure,
11   stalling, and fires. Engine damage within the 2.0-liter “Nu” Engines and consequences
12   thereof, are material facts that a reasonable person would have considered in deciding
13   whether to purchase (or to pay the same price for) the Class Vehicles.
14            495. Defendants intended for Plaintiff and the other Texas Class members to
15   rely on Defendants’ omissions regarding the Engine Failure Defect.
16            496. Plaintiff and the other Texas Class members justifiably acted or relied to
17   their detriment upon Defendants’ omissions of fact concerning the above-described
18   Engine Failure Defect that results in in Class Vehicles prone to sudden catastrophic
19   engine failure, stalling, and fires, as evidenced by Plaintiff and the other Texas Class
20   members’ purchases of Class Vehicles.
21            497. Had Defendants disclosed all material information regarding the Engine
22   Failure Defect to Plaintiff and the other Texas Class members, Plaintiff and the other
23   Texas Class members would not have purchased or leased Class Vehicles or would
24   have paid less to do so.
25            498. Defendants’ omissions have deceived Plaintiff, and those same business
26   practices have deceived or are likely to deceive members of the consuming public and
27   the other members of the Texas Class.
28

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 1            499. In addition to being deceptive, the business practices of Defendants were
 2   unfair because Defendants knowingly sold Plaintiff and the other Texas Class
 3   members Class Vehicles with defective engines that are essentially unusable for the
 4   purposes for which they were sold. The injuries to Plaintiff and the other Texas Class
 5   members are substantial and greatly outweigh any alleged countervailing benefit to
 6   Plaintiff and the other Texas Class members or to competition under all of the
 7   circumstances. Moreover, in light of Defendants’ exclusive knowledge of the Engine
 8   Failure Defect, the injury is not one that Plaintiff or the other Texas Class members
 9   could have reasonably avoided.
10            500. As a direct and proximate result of Defendants’ unfair and deceptive
11   trade practices, Plaintiff and the other Texas Class members have suffered
12   ascertainable loss and actual damages. Plaintiff and the other Texas Class members
13   who purchased or leased the Class Vehicles would not have purchased or leased the
14   Class Vehicles, or, alternatively, would have paid less for them had the truth about the
15   Engine Failure Defect been disclosed. Plaintiff and the other Texas Class members
16   also suffered diminished value of their vehicles. Plaintiff and the other Texas Class
17   members are entitled to recover actual damages, attorneys’ fees and costs, and all
18   other relief allowed under the TDTPA.
19                                        COUNT XXIX
20     BREACH OF TEXAS’S IMPLIED WARRANTY OF MERCHANTABILITY
               (Tex. Bus. & Com. Code §§ 2.314 and 2A.212, et seq.)
21            (Alleged by Plaintiff Smith on behalf of the Texas Class)
22
              501. Plaintiffs and the Class incorporate by reference each preceding
23
     paragraph as though fully set forth herein.
24
              502. Plaintiff Jeannett Smith brings this Count individually and on behalf of
25
     the Texas Class.
26
              503. Defendants are and were at all relevant times a merchant with respect to
27
     motor vehicles under Tex. Bus. & Com. Code §§ 2.104 and 2A.103.
28

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 1            504. Pursuant to Tex. Bus. & Com. Code §§ 2.314 and 2A.212, a warranty that
 2   the Class Vehicles were in merchantable condition was implied by law, and the Class
 3   Vehicles were bought and sold subject to an implied warranty of merchantability.
 4            505. The Class Vehicles did not comply with the implied warranty of
 5   merchantability because, at the time of sale and at all times thereafter, they were
 6   defective and not in merchantable condition, would not pass without objection in the
 7   trade, and were not fit for the ordinary purpose for which vehicles were used.
 8   Specifically, the Class Vehicles suffer from the Engine Failure Defect making them
 9   prone to sudden catastrophic engine failure, stalling, and fires.
10            506. Defendants were notified of the Engine Failure Defect by letter sent via
11   certified mail, return receipt requested on May 1, 2020, on behalf of Plaintiff.
12   Defendants were also provided notice of the Engine Failure Defect through numerous
13   complaints filed against it directly and through their dealers, as well as their own
14   internal engineering knowledge. In addition and in the alternative, the notice would
15   have been futile under the circumstances because Plaintiff’s vehicle was irreparably
16   destroyed by the engine fire, making any cure impossible.
17            507. As a direct and proximate result of Defendants’ breach of the warranty of
18   merchantability, Plaintiff and the other Texas Class members have been damaged in
19   an amount to be proven at trial.
20                                         COUNT XXX
21      VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT
22                         (WASH. REV. CODE § 19.86.010, ET SEQ.)
        (Alleged by Plaintiffs Buettner and Short on behalf of the Washington Class)
23
              508. Plaintiffs and the Class reallege and incorporate by reference all
24
     paragraphs as though fully set forth herein.
25
              509. Plaintiffs Robert Buettner and Linda Short (“Plaintiffs” for purposes of
26
     the Washington causes of action) bring this action on behalf of themselves and the
27
     Washington Class against all Defendants.
28

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 1            510. Defendants, Plaintiffs and members of the Washington Class are
 2   “person[s]” within the meaning of Wash. Rev. Code § 19.86.010(2).
 3            511. Defendants are engaged in trade or commerce within the meaning of
 4   Wash. Rev. Code § 19.86.010(2).
 5            512. The Washington Consumer Protection Act (“Washington CPA”) makes
 6   unlawful “[u]nfair methods of competition and unfair or deceptive acts or practices in
 7   the conduct of any trade or commerce[.]” Wash. Rev. Code § 19.86.020.
 8            513. In the course of their business, Defendants intentionally or negligently
 9   concealed and suppressed material facts concerning the serious and dangerous Engine
10   Failure Defect in the Class Vehicles. Defendants concealed the truth about the Defect
11   and failed to make any effort to remedy the Defect even though they knew about it for
12   years.
13            514. Plaintiffs and the Washington Class members had no way of discerning
14   that Defendants had falsely and deceptively concealed the latent Engine Failure Defect
15   unless and until the Defect manifested by causing catastrophic and sudden engine
16   failures, stalls, or fires. Plaintiffs and the Washington Class members could not
17   unravel this deception on their own.
18            515. Even though Defendants knew of the Engine Failure Defect before any
19   Class Vehicles were sold, they continued to produce and market Class Vehicles for
20   sale. Plaintiffs purchased their vehicles after that date, at which time Defendants were
21   on notice of the Defect.
22            516. Defendants’ actions constitute a violation of the Washington CPA.
23   Defendants knew the true nature of the Class Vehicles because of pre-sale durability
24   testing, complaints and warranty claims by consumers to Defendants directly as well
25   as to NHTSA, and previous recalls related to these or similar engines for similar
26   defects.
27            517. Defendants owed Plaintiffs a duty to disclose the defect and its resulting
28   safety risks because Defendants:
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 1                     A. Possessed exclusive knowledge that they were manufacturing, selling,
 2                          and distributing vehicles throughout the United States with a
 3                          dangerous safety-related defect;
 4                     B. Intentionally concealed the foregoing from regulators, Plaintiffs, and
 5                          Washington Class members; and/or
 6                     C. Made incomplete representations, via recalls of Class Vehicles or
 7                          related vehicles for similar defects, concerning the safety and presence
 8                          of a defect in the Class Vehicles, while purposefully withholding
 9                          material facts from Plaintiffs and Washington Class members that
10                          contradicted those representations.
11            518. Defendants’ unfair and deceptive acts or practices were likely to and did
12   in fact deceive reasonable consumers, including Plaintiffs, about the true safety,
13   roadworthiness, and value of the Class Vehicles.
14            519. Plaintiffs and Washington Class members suffered ascertainable loss and
15   actual damages as a direct and proximate result of Defendants’ concealment of and
16   failure to disclose material information. Plaintiffs and Washington Class members
17   who purchased or leased Class Vehicles would not have done so or would have paid
18   significantly less for them if their true nature was known.
19            520. Meanwhile, Defendants had an ongoing duty to all their customers to
20   refrain from unfair and deceptive practices under the Washington CPA in the course of
21   their business.
22            521. Defendants’ violations present a continuing risk to Plaintiffs as well as to
23   the general public. Defendants’ unlawful acts and practices complained of herein
24   affect the public interest.
25            522. Under Wash. Rev. Code § 19.86.090, Plaintiffs and the Washington Class
26   seek an order enjoining Defendants’ unfair and/or deceptive acts or practices,
27   damages, punitive damages, and attorneys’ fees, costs, and any other just and proper
28

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 1   relief available under the Washington CPA. Because Defendants’ actions were willful
 2   and knowing, Plaintiffs’ damages should be trebled. Id.
 3                                         COUNT XXXI
 4               BREACH OF WASHINGTON’S IMPLIED WARRANTY
 5                               OF MERCHANTABILITY
                       (WASH. REV. CODE. §§ 62A.2-314; 62A.2A-212)
 6      (Alleged by Plaintiffs Buettner and Short on behalf of the Washington Class)
 7            523. Plaintiffs and the Class reallege and incorporate by reference all
 8   paragraphs as though fully set forth herein.
 9            524. Plaintiffs Robert Buettner and Linda Short bring this action on behalf of
10   themselves and the Washington Class against all Defendants.
11            525. Defendants are “merchants” and “sellers” of motor vehicles, and the
12   Class Vehicles are “goods” under Washington law.
13            526. Under Washington law, an implied warranty of merchantability attaches
14   to the Class Vehicles under Wash. Rev. Code §§ 62A.2-314; 62A.2A-212.
15            527. The Class Vehicles were not merchantable when sold or leased because
16   the engines of the Class Vehicles are prone to premature and catastrophic failure, and
17   pose an unreasonable risk of non-collision engine failures and engine fires due to the
18   Engine Failure Defect described herein.
19            528. Plaintiffs and the other Washington Class members are third-party
20   beneficiaries of Defendants’ implied warranty.
21            529. As a direct and proximate result of Defendants’ breach of the implied
22   warranty of merchantability, Plaintiffs and other Washington Class members have
23   been damaged in an amount to be determined at trial.
24

25

26

27

28

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 1                                        COUNT XXXII
 2          VIOLATION OF THE WEST VIRGINIA CONSUMER CREDIT AND
                                     PROTECTION ACT
 3                           (W. Va. Code §§ 46A-1-101, et seq.)
 4            (Alleged by Plaintiff Twigger on behalf of the West Virginia Class)

 5            530. Plaintiffs and the Class incorporate by reference each preceding

 6   paragraph as though fully set forth herein.

 7            531. Plaintiff James Michael Twigger (“Plaintiff” for purposes of the West

 8   Virginia causes of action) brings this Count on behalf of himself and the West

 9   Virginia Class.

10            532. Plaintiff, the West Virginia Class, and Defendants are “consumers” and

11   engaged in “consumer transaction[s]” within the meaning of West Virginia Code §

12   46A-6-102(2).

13            533. Defendants engaged in “trade” or “commerce” as defined by West

14   Virginia Code § 46A-6-102(6).

15            534. The West Virginia Consumer Credit and Protection Act (“WVCCPA”)

16   makes it unlawful to engage in any “[u]nfair methods of competition and unfair or

17   deceptive acts or practices in the conduct of any trade or commerce.” W. Va. Code §

18   46A-6-104.

19            535. Defendants violated the WVCCPA by selling Class Vehicles with

20   defective engines, containing the safety-related Engine Failure Defect that made Class

21   Vehicles prone to sudden catastrophic engine failure, stalling, and fires.

22            536. Prior to and throughout Plaintiff and the West Virginia Class members’

23   purchases and leases of their Class Vehicles, Defendants engaged in unfair methods of

24   competition and unfair or deceptive acts or practices by, among other things,

25   representing that the Class Vehicles had characteristics, uses, benefits and qualities

26   which they do not have; representing that the Class Vehicles are of a particular

27   standard, quality and grade when they are not; advertising Class Vehicles with the

28   intent not to sell or lease them as advertised; and engaging in other conduct creating a

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 1   likelihood of confusion or of misunderstanding. See WV Code § 46A-6-102(7)(E),
 2   (G), (I) and (L).
 3            537. Even though Defendants knew of the Engine Failure Defect at least as
 4   early as May 2012 for the Souls and June 2013 for the Tucsons, they continued to
 5   produce and market Class Vehicles for sale after that date. Plaintiff and the West
 6   Virginia Class members purchased or leased their Vehicles after Defendants had
 7   notice of the Engine Failure Defect.
 8            538. In the course of their business, Defendants willfully failed to disclose the
 9   safety-related Engine Failure Defect in the Class Vehicles as described above.
10   Defendants also actively concealed the true characteristics, qualities, and grades of the
11   engines in the Class Vehicles when Defendants gained this information. Accordingly,
12   Defendants engaged in unfair and deceptive acts or practices.
13            539. Defendants knowingly misrepresented the Class Vehicles as fit for the
14   purpose for which they were intended, when, in fact, Defendants knew the Class
15   Vehicles were unable to perform as advertised.
16            540. These acts and practices have deceived Plaintiff and the West Virginia
17   Class. In failing to disclose the true characteristics and qualities of the Class Vehicles
18   and suppressing material facts from Plaintiff and the West Virginia Class members,
19   Defendants breached their duties to disclose these facts.
20            541. The omissions and acts of concealment by Defendants pertained to
21   information that was material to Plaintiff and the West Virginia Class members, as it
22   would have been to all reasonable consumers.
23            542. Defendants knew that their conduct violated the WVCCPA.
24            543. Plaintiff and the West Virginia Class have suffered injury in fact and
25   actual damages as a direct and proximate result of Defendants’ material omissions and
26   misrepresentations. Had Plaintiff and the West Virginia Class known the true
27   characteristics and qualities of the engines in the Class Vehicles, they would not have
28   purchased the Class Vehicles or would have paid substantially less for them. In
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 1   satisfaction of WV Code § 46A-6-106(c), and § 46A-6A-3(a) and 5(c), and pursuant to
 2   this Court’s order dated March 15, 2020, Plaintiff sent statutory notice letters to all
 3   Defendants by certified mail, return receipt requested, on March 18, 2020. These
 4   letters alleged and specified violations of the WVCCPA and provided Defendants the
 5   opportunity to make a cure offer within 10 days of receipt of the letter. KA received
 6   the letter on March 31, 2020; KC received the letter on April 21, 2020; and HMA
 7   received the letter on March 19, 2020. None of the Defendants have responded.
 8            544. Plaintiff and the West Virginia Class have suffered actual damages and
 9   ascertainable loss as a direct and proximate result of the Defendants’ violations of the
10   WVCCPA, including but not limited to diminished and or complete lost value for the
11   Class Vehicles they purchased or leased; lost or diminished use, enjoyment and utility
12   of such vehicles; and annoyance, aggravation and inconvenience resulting from
13   Defendants’ violations of the WVCCPA.
14            545. Pursuant to WV Code § 46A-6-106(a), for each violation of the
15   WVCCPA, Plaintiff and the West Virginia Class seek the actual damages resulting
16   from each such violation, or $200, whichever is greater, together with equitable relief
17   as determined by the Court to be proper. Specifically, Plaintiff and the West Virginia
18   Class ask the Court to enjoin Defendants from further unfair or deceptive acts or
19   practices; to order that Defendants return all amounts that Plaintiff and the West
20   Virginia Class paid to Defendants for purchase and/or lease of the Class Vehicles; to
21   award attorneys’ fees and costs against Defendants; to assess punitive damages as the
22   Court finds just and proper to punish Defendants for their willful, intentional and
23   malicious plan to deceive, defraud and injure Plaintiff and the West Virginia Class;
24   and to order any other just and proper relief available under the WVCCPA.
25

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 1                                       COUNT XXXIII
 2               BREACH OF WEST VIRGINIA’S IMPLIED WARRANTY OF
                                      MERCHANTABILITY
 3                          (W. Va. Code §§ 46-2-314 and 46-2A-212)
 4              (Alleged by Plaintiff Twigger on behalf of the West Virginia Class)

 5            546. Plaintiffs and the Class incorporate by reference each preceding

 6   paragraph as though fully set forth herein.

 7            547. Plaintiff James Michael Twigger brings this Count on behalf of himself

 8   and the West Virginia Class.

 9            548. Defendants were at all relevant times “merchants” with respect to motor

10   vehicles under W. Va. Code §§ 46-2-104(1) and 46-2A-103(1)(t), and “sellers” of

11   motor vehicles under § 46-2-103(1)(d).

12            549. With respect to leases, Defendants are and were at all relevant times

13   “lessors” of motor vehicles under W. Va. Code § 46-2A-103(1)(p).

14            550. The Class Vehicles are and were at all relevant times “goods” within the

15   meaning of W. Va. Code §§ 46-2-105(1) and 46-2A-103(1)(h).

16            551. A warranty that the Class Vehicles were in merchantable condition and fit

17   for the ordinary purpose for which vehicles are used is implied by law pursuant to W.

18   Va. Code §§ 46-2-314 and 46-2A-212.

19            552. Defendants sold and/or leased Class Vehicles that were not in

20   merchantable condition and/or fit for the ordinary purpose for which they were sold—

21   namely, providing safe and reliable transportation, free from the risk of sudden engine

22   stalling and fire.

23            553. Defendants’ breaches of the implied warranty of merchantability caused

24   damage to Plaintiff and the West Virginia Class. The amount of damages due will be

25   proven at trial.

26

27

28

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 1                                         COUNT XXXIV
 2                         FRAUD BY CONCEALMENT (Common Law)
 3                  (Alleged by all Plaintiffs on behalf of the Nationwide Class or,
                                    alternatively, the State Classes)
 4
              554. Plaintiffs and the Class reallege and incorporate by reference all
 5
     paragraphs as though fully set forth herein.
 6
              555. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 7
     Class against all Defendants. Alternatively, Plaintiffs bring this claim on behalf of
 8
     themselves and the State Classes against all Defendants.
 9
              556. As alleged herein, Defendants intentionally concealed, suppressed, and
10
     omitted the material fact of the Engine Failure Defect in the Class Vehicles,
11
     specifically that the Class Vehicles had a manufacturing defect that could damage
12
     various engine components and result in sudden and catastrophic engine stalling,
13
     failure, and fire.
14
              557. Defendants also misrepresented the safety, reliability, quality, durability,
15
     and functionality of the Class Vehicles. These representations were false because,
16
     unbeknownst to Class members, the Class Vehicles contained the Engine Failure
17
     Defect rendering the vehicles dangerous, unreliable, prone to premature engine wear
18
     and failure, and not fit for their ordinary use.
19
              558. Defendants’ misrepresentations and omissions about the Engine Failure
20
     Defect in the Class Vehicles were material because the misrepresentations and
21
     omissions alleged herein induced Plaintiffs and the Class members to purchase their
22
     Class Vehicles when, had they known about the Engine Failure Defect, they would not
23
     have purchased their Class Vehicles or they would have paid less for them.
24
              559. Defendants knew or should have known about the Engine Failure Defect
25
     before the Class Vehicles were sold due to (1) their involvement in the design,
26
     installation, calibration, manufacture, durability testing, and warranty service of
27
     vehicles with the engines, (2) their issuance of related recalls for similar issues in other
28

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 1   vehicles, and (3) the myriad of relevant complaints about Class Vehicles submitted by
 2   consumers and received by Defendants directly, via online sources, and via NHTSA.
 3            560. Defendants had reason to expect that Plaintiffs and Class members would
 4   purchase or lease the Class Vehicles, or spend more money to acquire them, if the
 5   Class Vehicles and specifically their engines were safe, reliable, quality, durable, and
 6   functional. Likewise, Defendants knew or should have known that Plaintiffs and Class
 7   members would not purchase or lease, or at least pay as much, for the Class Vehicles
 8   if they knew they contained the Engine Failure Defect.
 9            561. Reasonable consumers, such as Plaintiffs and the Class, would not know
10   about the Engine Failure Defect in Class Vehicles and that the Defect could, through
11   normal operation and driving, damage various engine components and adjacent
12   systems and eventually result in catastrophic engine stalls and fires. Plaintiffs and the
13   Class members did not know these facts that were concealed from them by
14   Defendants. Moreover, as ordinary consumers, Plaintiff and the Class members did
15   not, and could not, unravel the deception on their own.
16            562. Defendants concealed the truth about the Engine Failure Defect,
17   intending for Plaintiffs and the Class to rely on their misrepresentations and omissions.
18   Plaintiffs and the Class members relied on Defendants’ misrepresentations and
19   omissions in choosing to purchase or lease their Class Vehicles, believing them to be
20   safe and free from major engine defects, like the Engine Failure Defect. Plaintiffs and
21   Class members were reasonable and justified in their reliance on Defendants’
22   representations about the Class Vehicles and omissions about the Engine Failure
23   Defect because Defendants are multinational automakers well-versed in the design,
24   manufacture, and service of automobiles.
25            563. Defendants had a duty to disclose the Engine Failure Defect to Plaintiffs
26   and Class members because the true facts about the Engine Failure Defect were known
27   and accessible only to Defendants, and because Defendants knew these facts were not
28   known to or reasonably discoverable by Plaintiffs or the Class members unless and
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 1   until the Defect manifested in their personal vehicle. Additionally, the Engine Failure
 2   Defect is safety related because it can damage various engine components and lead to
 3   engine stalls at high speeds, and even catastrophic engine fires. As alleged herein,
 4   Defendants denied and concealed the Defect in the face of consumer complaints.
 5   Plaintiffs and Class members did not, and could not, unravel Defendants’ deception on
 6   their own.
 7            564. Defendants also had a duty to disclose the true nature of these vehicles as
 8   a result of their knowledge of the Engine Failure Defect and issuance of prior and
 9   related recalls. By issuing recalls of certain vehicles and representing that these recalls
10   encompassed the full population of affected vehicles, Defendants led consumers and
11   even safety regulators to believe, at least for a time, that they were remedying the
12   engine problems. In fact, these recalls—in addition to being unsuccessful—failed to
13   include hundreds of thousands of additional vehicles that suffered from similar major
14   defects. And the recalls that Defendants have issued to date do not suffice to remedy
15   the problems or make Plaintiffs and Class members whole.
16            565. Defendants’ omissions were made with knowledge of their falsity, and
17   with the intent that Plaintiffs and the Class Members rely on them.
18            566. Plaintiffs and Class members were entitled to rely on Defendants’
19   misrepresentations and omissions because they are purchasers and lessees of
20   Defendants’ vehicles, and Defendants have been enriched by the sales of these Class
21   Vehicles.
22            567. Plaintiffs and the Class members reasonably relied on Defendants’
23   misrepresentations and omissions and suffered injury and monetary damages as a
24   direct and proximate result. Had Defendants not concealed the material facts of the
25   safety-related Engine Failure Defect, Plaintiffs and the Class would not have
26   purchased the Class Vehicles or would have paid less for them. Plaintiffs and Class
27   members have also incurred out-of-pocket costs related to the Engine Failure Defect,
28   loss of use of their Class Vehicles, and diminished value in their Class Vehicles
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 1   because of Defendants’ fraud and the growing public awareness about the Engine
 2   Failure Defect. Accordingly, Defendants are liable to Plaintiffs and the Class for
 3   damages in an amount to be proven at trial.
 4            568. Defendants’ acts were committed wantonly, maliciously, oppressively,
 5   deliberately, with intent to defraud; in reckless disregard of the rights and safety of
 6   Plaintiffs and the Class; and to enrich themselves. Their misconduct warrants an
 7   assessment of punitive damages in an amount sufficient to deter such conduct in the
 8   future, and such amount shall be determined according to proof at trial.
 9                                         COUNT XXXV
10                             BREACH OF EXPRESS WARRANTY
11                  (Alleged by all Plaintiffs on behalf of the Nationwide Class or,
                                    alternatively, the State Classes)
12
              569. Plaintiffs and the Class reallege and incorporate by reference all
13
     paragraphs as though fully set forth herein.
14
              570. Plaintiffs bring this claim on behalf of themselves and the Nationwide
15
     Class against all Defendants. Alternatively, Plaintiffs bring this claim on behalf of
16
     themselves and the State Classes against all Defendants.
17
              571. Defendants provided all purchasers and lessees of the Class Vehicles,
18
     including Plaintiffs and the Class members, with the express warranties alleged herein,
19
     which formed a part of the basis of the bargain. Accordingly, Defendants’ warranties
20
     are express warranties under state law.
21
              572. The parts affected by the Engine Failure Defect, including the rotating
22
     assembly and engine block, were manufactured and distributed by Defendants in the
23
     Class Vehicles and are covered by the warranties Defendants provided to all
24
     purchasers and lessors of Class Vehicles.
25
              573. Defendants breached these warranties by selling and leasing Class
26
     Vehicles with the Engine Failure Defect, requiring repair or replacement within the
27

28

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 1   applicable warranty periods, and refusing to honor the warranties by providing repairs
 2   or replacements at no cost to Class members during the applicable warranty periods.
 3            574. Plaintiffs notified Defendants of the breach within a reasonable time, or
 4   were not required to do so because affording Defendants a reasonable opportunity to
 5   cure their breaches would have been futile. Defendants also knew about the Engine
 6   Failure Defect and yet chose to conceal it and to neglect their warranty obligations.
 7            575. As a direct and proximate cause of Defendants’ breach, Plaintiffs and the
 8   Class members bought or leased Class Vehicles they otherwise would not have,
 9   overpaid for their vehicles, did not receive the benefit of their bargain, and their Class
10   Vehicles suffered a diminution in value. Plaintiffs and Class members also incurred
11   and will continue to incur costs related to the diagnosis and repair of the Engine
12   Failure Defect.
13            576. Defendants’ attempt to disclaim or limit these express warranties vis-à-
14   vis consumers are unconscionable and unenforceable under the circumstances.
15   Specifically, Defendants’ warranty limitations are unenforceable because Defendants
16   knowingly sold a defective product without informing consumers about the Engine
17   Failure Defect.
18            577. The time limits contained in Defendants’ warranty period were also
19   unconscionable and inadequate to protect Plaintiffs and Class members. Among other
20   things, Plaintiffs and Class members had no meaningful choice in determining these
21   time limitations, the terms of which unreasonably favored Defendants. A gross
22   disparity in formation and bargaining power existed between Defendants and the Class
23   members, and Defendants knew or should have known that the Class Vehicles were
24   defective at the time of sale and could fail well before the end of their useful lives.
25            578. Plaintiffs and the Class members complied with all obligations under the
26   warranty, or otherwise are excused from performance of such obligations because of
27   Defendants’ conduct alleged herein.
28

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 1                                            COUNT XXXVI
 2              VIOLATIONS OF THE MAGNUSON-MOSS WARRANTY ACT
 3                                   (15 U.S.C. § 2301, ET SEQ.)
                  (Alleged by all Plaintiffs on behalf of the Nationwide Class or,
 4                                alternatively, the State Classes)
 5            579. Plaintiffs and the Class reallege and incorporate by reference all
 6   paragraphs as though fully set forth herein.
 7            580. Plaintiffs bring this claim on behalf of themselves and the Nationwide
 8   Class against all Defendants. Alternatively, Plaintiffs bring this claim on behalf of
 9   themselves and the State Classes against all Defendants.
10            581. Plaintiffs and the Class are consumers within the meaning of the
11   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3). They are consumers because
12   they are persons entitled under applicable state law to enforce against the warrantor
13   the obligations of its implied warranties.
14            582. Defendants are suppliers and warrantors within the meaning of 15 U.S.C.
15   §§ 2301(4)-(5).
16            583. The Class Vehicles are consumer products within the meaning of 15
17   U.S.C. § 2301(1).
18            584. Defendants’ 5-year/60,000-mile Basic Warranty and 10-year/100,000-
19   mile Powertrain Warranty are written warranties within the meaning of 15 U.S.C. §
20   2301(6).
21            585. Defendants breached the express warranties by:
22                          a. Providing a 5-year/60,000-mile Basic Warranty and a 10-
23                             year/100,000-mile Powertrain Warranty with the purchase or lease
24                             of the Class Vehicles, thereby warranting to repair or replace any
25                             part defective in material or workmanship at no cost to the owner
26                             or lessee;
27

28

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 1                          b. Selling and leasing Class Vehicles with engines that were defective
 2                             in materials and/or workmanship, requiring repair or replacement
 3                             within the warranty period; and
 4                          c. Refusing and/or failing to honor the express warranties by
 5                             repairing or replacing, free of charge, the engine or any of its
 6                             component parts to remedy the defective connecting rod bearings
 7                             and insufficient engine oil lubrication channels.
 8            586. Plaintiffs and Class members relied on the existence and length of the
 9   express warranties in deciding whether to purchase or lease the Class Vehicles.
10            587. Defendants’ breach of the express warranties has deprived Plaintiffs and
11   Class members of the benefit of their bargain.
12            588. Defendants were afforded a reasonable opportunity to cure their breach of
13   the written warranties and/or Plaintiffs and Class members were not required to do so
14   because affording Defendants a reasonable opportunity to cure their breach of written
15   warranties would have been futile. Defendants were also on notice of the alleged
16   Engine Failure Defect from the complaints and service requests it received from Class
17   members, as well as from their own warranty claims, customer complaint data, and/or
18   parts sales data.
19            589. 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who
20   is damaged by the failure of a warrantor to comply with an implied warranty.
21            590. Defendants provided Plaintiffs with an implied warranty of
22   merchantability in connection with the purchase or lease of their Class Vehicles that is
23   an “implied warranty” within the meaning of the Magnuson-Moss Warranty Act, 15
24   U.S.C. § 2301(7). As a part of the implied warranty of merchantability, Defendants
25   warranted that the Class Vehicles were fit for their ordinary purpose as safe passenger
26   motor vehicles, would pass without objection in the trade as designed, manufactured,
27   and marketed, and were adequately contained, packaged, and labeled.
28

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 1            591. Defendants breached their implied warranties, as alleged herein, and are
 2   therefore liable to Plaintiffs under 15 U.S.C. § 2310(d)(1). Without limitation, the
 3   Class Vehicles share common manufacturing defects in that they are equipped with
 4   the Engine Failure Defect that causes the engine’s rotating assembly, inclusive of the
 5   connecting rod bearings and engine block, to prematurely wear until the internal
 6   engine components seize and pierce the engine block, which results in a sudden stop
 7   of engine operation while the vehicles are being operated, and can result in fire,
 8   leaving occupants of the Class Vehicles vulnerable to crashes, serious injury, and
 9   death. Defendants have admitted that the Class Vehicles are defective in issuing their
10   recalls, but the recalls are insufficient to address the Engine Failure Defect.
11            592. In their capacities as warrantors, Defendants had knowledge of the
12   Engine Failure Defect in the Class Vehicles. Any effort by Defendants to limit the
13   implied warranties in a manner that would exclude coverage of the Class Vehicles is
14   unconscionable.
15            593. Any limitations Defendants might seek to impose on their warranties are
16   procedurally unconscionable. There was unequal bargaining power between
17   Defendants and Plaintiffs, as, at the time of purchase and lease, Plaintiffs had no other
18   options for purchasing warranty coverage other than directly from Defendants.
19            594. Any limitations Defendants might seek to impose on their warranties are
20   substantively unconscionable. Defendants knew that the Class Vehicles were defective
21   and would continue to pose safety risks after the warranties purportedly expired.
22   Defendants failed to disclose these defects to Plaintiffs. Thus, Defendants’
23   enforcement of the durational limitations on those warranties is harsh and shocks the
24   conscience.
25            595. Plaintiffs have had sufficient direct dealings with either Defendants or
26   their agents (dealerships) to establish privity of contract between Defendants and
27   Plaintiffs. Nonetheless, privity is not required here because Plaintiffs are intended
28   third-party beneficiaries of contracts between Defendants and their dealers, and
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 1   specifically, of Defendants’ implied warranties. The dealers were not intended to be
 2   the ultimate consumers of the Class Vehicles and have no rights under the warranty
 3   agreements provided with the Class Vehicles; the warranty agreements were designed
 4   for and intended to benefit consumers. Finally, privity is also not required because the
 5   Class Vehicles are dangerous instrumentalities due to the Engine Failure Defect
 6   alleged herein.
 7            596. Under 15 U.S.C. § 2310(e), Plaintiffs are entitled to bring this class action
 8   and are not required to give Defendants notice and an opportunity to cure until such
 9   time as the Court determines the representative capacity of Plaintiffs under Rule 23 of
10   the Federal Rules of Civil Procedure.
11            597. As a direct and proximate result of Defendants’ breach of the written and
12   implied warranties, Plaintiffs and Class members sustained monetary damages and
13   other losses in an amount to be determined at trial. The amount in controversy of
14   Plaintiffs’ individual claims meets or exceeds the sum or value of $25. The amount in
15   controversy of this action exceeds the sum of $50,000, exclusive of interest and costs,
16   computed on the basis of all claims to be determined in this lawsuit. Plaintiffs,
17   individually and on behalf of all other Class members, seek all damages permitted by
18   law, including actual damages, consequential damages, statutory damages, specific
19   performance, diminution in value of their vehicles, and any other relief as deemed
20   appropriate in an amount to be proven at trial. In addition, under 15 U.S.C. §
21   2310(d)(2), Plaintiffs are entitled to recover a sum equal to the aggregate amount of
22   costs and expenses (including attorneys’ fees based on actual time expended)
23   determined by the Court to have reasonably been incurred by Plaintiffs and the other
24   Class members in connection with the commencement and prosecution of this action.
25            598. Further, Plaintiffs and the Magnuson-Moss Subclass are also entitled to
26   equitable relief under 15 U.S.C. § 2310(d)(1). Based on Defendants’ continuing
27   failures to fix the known dangerous Engine Failure Defect, Plaintiffs seek a
28   declaration that Defendants have not adequately implemented their recall
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 1   commitments and requirements and general commitments to fix their failed processes,
 2   and injunctive relief in the form of judicial supervision over the recall process is
 3   warranted. Plaintiffs also seek the establishment of a Hyundai and Kia-funded
 4   program for Plaintiffs and Class members to recover out of pocket costs incurred in
 5   attempting to rectify the Engine Failure Defect in their Class Vehicles.
 6                                       COUNT XXXVII
 7            BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING
 8              (Alleged by all Plaintiffs on behalf of the Nationwide Class or,
                                Alternatively, the State Classes)
 9
              599. Plaintiffs and the Class reallege and incorporate by reference all
10
     paragraphs as though fully set forth herein.
11
              600. Plaintiffs bring this claim on behalf of themselves and the Nationwide
12
     Class against all Defendants. Alternatively, Plaintiffs bring this claim on behalf of
13
     themselves and the State Classes against all Defendants.
14
              601. All contracts contain an implied covenant of good faith and fair dealing.
15
     The implied covenant of good faith and fair dealing is an independent duty and may be
16
     breached even if there is no breach of a contract’s express terms.
17
              602. A contractual relationship existed between Plaintiffs and the Class and
18
     Defendants. As alleged herein, Defendants were the designers, manufacturers,
19
     distributors, and warrantors of the Class Vehicles. Defendants provided Plaintiffs with
20
     both an express warranty arising from Defendants’ 5-year/60,000-mile Basic
21
     Warranties and 10-year/100,000-mile Powertrain Warranties, as well as an implied
22
     warranty of merchantability in connection with the purchase or lease of their Class
23
     Vehicles. Defendants warranted that the Class Vehicles were fit for their ordinary
24
     purpose as safe passenger motor vehicles, would pass without objection in the trade as
25
     designed, manufactured, and marketed, and were adequately contained, packaged, and
26
     labeled.
27

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 1            603. At all relevant times, Plaintiffs and the Class members adhered to the
 2   warranty requirements for their Class Vehicles relevant to the Engine Failure Defect.
 3            604. Defendants breached the covenant of good faith and fair dealing by, inter
 4   alia, failing to notify Plaintiffs and Class members of the Engine Failure Defect in the
 5   Class Vehicles, and failing to fully and properly repair this Defect, thereby depriving
 6   Plaintiffs and the Class of the benefits under the contract. As a result of Defendants’
 7   breach of their duty of good fair and fair dealing, Plaintiffs were monetarily damaged,
 8   suffering out of pocket costs related to the Engine Failure Defect, loss of use, and
 9   diminution of value in the Class Vehicles. Had Plaintiffs and Class members known
10   about the Engine Failure Defect, they would not have purchased or leased the Class
11   Vehicles, or they would have paid less for them.
12            605. Defendants acted in bad faith and/or with a malicious motive to deny
13   Plaintiffs and Class members some benefit of the bargain originally intended by the
14   parties, thereby causing them injuries in an amount to be determined at trial.
15                                      REQUEST FOR RELIEF
16            WHEREFORE, Plaintiffs, individually and on behalf of members of the
17   Nationwide and State Classes, respectfully request that the Court enter judgment in
18   their favor and against the Defendants, as follows:
19            A.       Certification of the proposed Nationwide and State Classes, including
20   appointment of Plaintiffs as class representatives and appointment of Plaintiffs’
21   counsel as Class Counsel;
22            B.       Damages, including actual, compensatory, general, special, incidental,
23   statutory, punitive, and consequential damages, costs, and disgorgement in an amount
24   to be determined at trial;
25            C.       An order requiring Defendants to pay both pre- and post-judgment
26   interest on any amounts awarded;
27            D.       Grant appropriate injunctive and/or declaratory relief, including, without
28   limitation, an order requiring Defendants to repair, recall, and/or replace the Class
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 1   Vehicles and extend the applicable warranties to a reasonable period of time, or at a
 2   minimum, provide Plaintiffs and Class members with appropriate curative notice
 3   regarding the existence and cause of the Engine Failure Defect;
 4            E.       An award of reasonable costs and attorney fees; and
 5            F.       Such other or further relief as may be appropriate.
 6                                    DEMAND FOR JURY TRIAL
 7            Plaintiffs hereby demand a jury trial for all claims so triable.
 8
     DATED: September 13, 2022              Respectfully submitted,
 9
                                           HAGENS BERMAN SOBOL SHAPIRO LLP
10
                                            /s/ Steve W. Berman
11                                          Steve W. Berman (pro hac vice)
                                            1301 Second Avenue, Suite 2000
12                                          Seattle, WA 98101
13                                          Telephone: (206) 623-7292
                                            Facsimile: (206) 623-0594
14                                          steve@hbsslaw.com
15                                          Matthew D. Schelkopf
16
                                            Joseph B. Kenney
                                            SAUDER SCHELKOPF LLC
17                                          1109 Lancaster Avenue
                                            Berwyn, PA 19312
18                                          Telephone: (610) 200-0581
                                            Facsimile: (610) 421-1326
19                                          mds@sauderschelkopf.com
20                                          jbk@sauderschelkopf.com

21                                          Interim co-Lead Counsel
22

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 1                                    Gretchen Freeman Cappio
                                      Ryan McDevitt
 2                                    Maxwell Goins
 3                                    Adele Daniel
                                      KELLER ROHRBACK L.L.P.
 4                                    1201 Third Avenue, Suite 3200
                                      Seattle, WA 98101
 5                                    Telephone: (206) 623-1900
 6
                                      Facsimile: (206) 623-3384
                                      gcappio@kellerrohrback.com
 7                                    rmcdevitt@kellerrohrback.com
                                      mgoins@kellerrohrback.com
 8                                    adaniel@kellerrohrback.com
 9                                    Settlement Counsel
10
                                      Bonner C. Walsh (pro hac vice)
11                                    WALSH PLLC
                                      1561 Long Haul Road
12                                    Grangeville, ID 83530
13
                                      Telephone: (541) 359-2827
                                      Facsimile: (866) 503-8206
14                                    bonner@walshpllc.com
15                                    Adam Gonnelli (pro hac vice)
                                      LAW OFFICE OF ADAM R. GONNELLI, L.L.C.
16                                    707 Alexander Road
17                                    Bldg. 2, Suite 208
                                      Princeton, NJ, 08540
18                                    Telephone: (917) 541-7110
                                      Facsimile: (315) 446-7521
19                                    adam@arglawoffice.com
20
                                      Rachel E. Fitzpatrick (pro hac vice)
21                                    HAGENS BERMAN SOBOL SHAPIRO LLP
                                      11 W. Jefferson Street, Suite 1000
22                                    Phoenix, AZ 85003
                                      Telephone: (602) 840-5900
23                                    Facsimile: (602) 840-3012
24                                    rachelf@hbsslaw.com

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 1                                    Benjamin L. Bailey
                                      Jonathan D. Boggs
 2                                    BAILEY GLASSER LLP
 3                                    209 Capitol Street
                                      Charleston, WV 25301
 4                                    Telephone: (304) 345-6555
                                      Facsimile: (304) 342-1110
 5                                    bbailey@baileyglasser.com
 6
                                      jboggs@baileyglasser.com

 7                                    W. Daniel “Dee” Miles, III
                                      H. Clay Barnett, III
 8                                    J. Mitch Williams
                                      BEASLEY, ALLEN, CROW,
 9                                    METHVIN, PORTIS & MILES, P.C.
10                                    272 Commerce Street
                                      Montgomery, AL 36104
11                                    Telephone: (334) 269-2343
                                      dee.miles@beasleyallen.com
12                                    clay.barnett@beasleyallen.com
13
                                      mitch.williams@beasleyallen.com

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